Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 1 of 268




                       EXHIBIT A
             Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 2 of 268

                      TOUGH MUDDER SERVICE LIST
BY FIRST-CLASS MAIL – INT’L                    Ernst & Young LLP
                                               PO Box 57104
Wuxi Mayshee Developing Company Ltd            Postal Station A
21 Yichun Dasha, 588Nanhu Avenue               Toronto M5W 5M5 ON
Nanchang District, Wuxi                        CANADA
Jiangsu,
CHINA                                          Guy D. Livingstone
                                               Route de Corberaye 18a
International Management Group                 Le Chable VS 1934
Level 25 MLC Centre                            SWITZERLAND
19 Martin Place
Sydney, NSW 2000                               Hamburger Asia Sdn. Bhd.
AUSTRALIA                                      Miyeera Navaretna Petaling Jaya Selangor
                                               Darul Ehs
IMG of America PTY Ltd                         Level 7 Oasis Wing Brunsfield Jalan PJU
MLC Centre Level 25                            Oasis Tower 3 2, Oasis Square Oasis Dama
19 Martin Place                                MALAYSIA
Sydney, NSW 2000
AUSTRALIA                                      Hunt International
                                               1801-666 Sherbrooke O
America Asstex Corp. Ltd.                      Montreal H3A 1E7 QC
17 Canton Rd, Rm 06,13A/F                      CANADA
South Tower, World Financial Centre
Harbour City, TSIM SHA TSUI                    Hunt International
CHINA                                          21 King Street West
                                               Suite 105
ACE Security and Event Services                Hamilton L8P 4W7 ON
Kaplan House, Level 3                          CANADA
369 Royal Parade
Parkville, VIC 3052                            IMG (Australia)
AUSTRALIA                                      Marcus Gale
                                               580 St. Kilda Road Level 8
Amy Nickell                                    Melbourne Victoria
7 Water End Road                               AUSTRALIA
Berkhamsted HP4 2SH
UNITED KINGDOM                                 InEvent
                                               Unit 429, Birch Park
Black Tie Sports Ltd. (Croatia)                Thorp Arch Estate
Marko Martinovi                                Wetherby LS23 7FG
Wangdun Road 135                               UNITED KINGDOM
SIP Suzhou
CHINA                                          Inevent
                                               Martyn Salt
Cresent Valley Pty Ltd.                        2 Merafield Road
Andrew Douglas                                 Plympton, Plymouth PL7 1TL
35 Bell Cresent                                UNITED KINGDOM
Tokai 7945 WC
SOUTH AFRICA                                   International Entertainment Production P
                                               PO Box 130
Ernst & Young LLP                              Kenthurst 2156 NSW
400 Capability Green                           AUSTRALIA
Luton, Bedfordshire LU1 3LU
UNITED KINGDOM                                 JUGS Ventures Ltd
                                               JUGS Malta LTD
                                               The Hub Troubridge Street
                                               Marsa 1113
                                               MALTA
                Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 3 of 268



KHO Capital (Philippines)                          William T. Dean
Jake Zimmerman                                     Flat 1, 8 Washington Crescent
832 A. Arnaiz Ave 2nd Floor                        London W9IEL
Makati                                             UNITED KINGDOM
PHILIPPINES
                                                   Wurth Elektronik eiSos GmbH&Co. KG
Nadja Van Every                                    Patricia Kirchner
4121 West 13th Avenue                              Max-Eyth-StraBe 1
V6R 2T5, Canada                                    Waldenburg 74638
Vancouver, BC                                      GERMANY
CANADA
                                                   Wurth Elektronik eiSos GmbH&Co. KG
Ponto Org Organizacao de Eventos Ltda              Patricia Kirchner
Henrique Gomes                                     Max-Eyth-StraBe 1 z.H. Diana Herrmann
Rua Arrudas 245 Sala 05                            Waldenburg 745638
Santa Lucia Belo Horizante MG                      GERMANY
BRAZIL
                                                   Wuxi Mayshee Developing Company
Realize Massive S.R.L. (Italy)                     Jessica Wee
Fabiana De Rosa                                    NO.55301 JINKEZHONGNAN ROAD NANCHANG DIS
Piazza IV Novembre                                 WUXI 214024
Milano 4-20124                                     CHINA
ITALY
                                                   Wuxi Mayshee Developing Company Ltd
Roja Moser                                         Mayshee Promos, LLC
5 Manor Mansions                                   21 Yichun Dasha, 588Nanhu Avenue
455 Holloway Road                                  Nanchang District, Wuxi
London N7 6LR                                      CHINA
UNITED KINGDOM
                                                   Wuxi Mayshee Developing Company Ltd
Roja Moser                                         21 Yichun Dasha, 588Nanhu Avenue
Bahnhofstr 13                                      Nanchang District, Wuxi
9586 Furnitz                                       Jiangsu
AUSTRIA                                            CHINA

RunIreland Ltd.                                    1017854 Ontario Inc.
Ray O'Connor                                       PO Box, Oro,
Liosban Business Park Tuam Road Unit 3             ON LOL 2X0
Galway                                             CANADA
IRELAND
                                                   123 Agency Group
Sysco                                              159 High Street
Sysco Quebec                                       Prahran 3181 VIC
11 625 55th Ave                                    AUSTRALIA
Montreal (Quebec) H1E 2K2
CANADA                                             1763412 Ontario Inc.
                                                   180 Yorkland Blvd., Suite #6
The Green Tea Room                                 North York M2J 1R5 ON
Thornhill Golf Club                                CANADA
Thornhill
UNITED KINGDOM                                     29 Fingers
                                                   Dairy Cottage, Borough Court Road
The Green Tea Room                                 Hartley, Wintney
Catherine Braid                                    Hampshire
Cample Slacks House                                UNITED KINGDOM
Closeburn, Thornhill
UNITED KINGDOM




                                           - 2 -
             Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 4 of 268



310-Dump                                           Aaron Jones
18150-111 Avenue                                   40 Dungogie Drive
Edmonton T5S 2-RI                                  Tallebudgera 4228 QLD
CANADA                                             AUSTRALIA

360 Environmental Pty Ltd.                         Abels Festservice
10 Bermondsey Street                               Wernigeroder StraBe 56a
West Leederville WA 6007 WA                        Derenburg 38895
AUSTRALIA                                          GERMANY

4 Pines Brewing Company Wholesale LTD              Abi Jones / Marita Events
Unit 4F, 9-13 Winbourne Road                       Treglen
Brookvale NSW 2100                                 Broadfield Close
AUSTRALIA                                          Penygraig, S. Wales CF40 1SY
                                                   UNITED KINGDOM
4ID Solutions
1/13 Burnet Road                                   ABMS CONSULTANTS INC
Warnervale 2259 NSW                                39 RUE DE LA BAIE
AUSTRALIA                                          GRANBY QC J2G 8C8
                                                   CANADA
5iveSenses Experiental Pty Ltd
Suite 8/780 Darling Street                         ABMS Consultants Inc.
Rozelle 2039 NSW                                   39 Rue de la Baie
AUSTRALIA                                          Granby, QC J2J OR2
                                                   CANADA
750mph LTD.
20 Golden Square                                   ACCES COMMUNICATIONS
London W1F 9JL                                     5591 RUE PARE
UNITED KINGDOM                                     MONTREAL, QC QC
                                                   CANADA
A Space Cabins Limited
609 Jordanstown Drive                              Ace Plant
Greenogue Business Park                            Adams Cundell Engineers Ltd
Rathcoole, Co Dublin                               Cosgrove Road, Old Stratford
IRELAND                                            Milton Keynes MK19 6LA
                                                   UNITED KINGDOM
A. Farber & Partners Inc.
General Trust Account - Corporate                  ACHAT Premium Schwarzheide
150 York Street Suite 1600                         Ruhlander StraBe 75
Toronot M5H 3S5 ON                                 Schwarzheide 01987
CANADA                                             GERMANY

A1 Designs                                         AchieveIT Australia Pty Ltd
2b Perry Street                                    Level 1
Wendover                                           1 Redwood Drive
Bucks HP22 6JT                                     Notting Hill, VIC 3168
UNITED KINGDOM                                     AUSTRALIA

A2K Technologies Pty Ltd                           Acklands-Grainger
62 Brandl Street                                   8-8699 Escarpment Way
Eight Mile Plains 4113 QLD                         Milton L9T 0J9 ON
AUSTRALIA                                          CANADA

AAA Portable Grandstand Hire P/L                   Acorn Event Structures dba Acorn Scaffol
36 Dalmar St                                       Moor Lane Trading Estate, Moxon Way
Croydon 2132 NSW                                   Sherburn In Elmet,
AUSTRALIA                                          Leeds LS25 6ES
                                                   UNITED KINGDOM



                                           - 3 -
             Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 5 of 268



Activpayroll                                     Advanced Design Services GmbH
5 Cults Business Park                            Anna Kaufmann
Station Road, Cults                              Schatzweg 3
Aberdeen AB15 9PE                                Munchen 80935
UNITED KINGDOM                                   GERMANY

AD & SM McLean P/L St Annes Vineyards            Advanced Tent Rental
PO Box 368                                       210 Wicksteed Ave
Moama 2731 NSW                                   Toronto M4G 2C3 ON
AUSTRALIA                                        CANADA

Adam Burns                                       Advanced Traffic Management (WA) Pty Ltd
942 Maramis Court                                PO Box 1944
Mississauga L5H 4G2 ON                           Midland 6936 WA
CANADA                                           AUSTRALIA

Adam Dyson                                       AES Portlaoise
8 Orr Crescent, Alanbrooke Barracks              Kyletalesha
Topcliffe, Thirsk                                Portlaoise
North Yorkshire Y07 3EA                          Co Laois
UNITED KINGDOM                                   IRELAND

Adam Hemmling                                    AFS Athletik UG (haftungsbeschrankt)
103 Morialta Street                              Ulmer Str 255
Mansfield 4122 QLD                               Stuttgart 70327
AUSTRALIA                                        GERMANY

Adam Murgatroyd                                  AG & Earth Pty Ltd
2 Catthorpe Road                                 97 Kirkham Road
Shawell LE17 6AQ                                 Bowral 2576 NSW
UNITED KINGDOM                                   AUSTRALIA

Adam White                                       AG & LE Newcombe
770 Cote d'Abraham                               85 Bath Road
Quebec City G1R 1A1 QC                           Wolvi 4570 QLD
CANADA                                           AUSTRALIA

Addison Lee                                      AG Charlottenburg-Handelsregister
7-10 Chandos Street                              Hardenbergstr. 31
London W1G 9DQ                                   Berlin 10623
UNITED KINGDOM                                   GERMANY

Adelaide Ice Service Pty Ltd                     AGL Sales Pty Limited
PO Box 2093                                      Locked Bag 20024
Regency Park 5942                                Melbourne 3001
SOUTH AFRICA                                     AUSTRALIA

Adolf Hast GmbH Co. KG                           ago GmbH
Pstfach 1170                                     Sportpark Mungersdorf
52515 Heinsberg                                  Olympiaweg 7
GERMANY                                          Koln 50933
                                                 GERMANY
Adriaan Sadler (Sole Trader)
42 Cranmore Road                                 Agrigroup Ltd t/a Agrigroup Agricultural
Mytchett GU16 6EW                                Glencairn Mill, Heads Nook
UNITED KINGDOM                                   Brampton
                                                 Cumbria CA8 9AA
                                                 UNITED KINGDOM



                                         - 4 -
             Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 6 of 268



Aim Hire Events Limited                           Ales Consulting Limited
PO Box 16115                                      103 Waterloo Road
Bethlehem                                         London SE1 8UL
Tauranga 3147                                     UNITED KINGDOM
NEW ZEALAND
                                                  Alex Brooks
Airquee Ltd                                       120 Wyndcliff Road
Duel House                                        London SE7 7LF
Llandowlaid Street                                UNITED KINGDOM
Cwmbran NP44 7XB
UNITED KINGDOM                                    Alex Deif
                                                  18 Jamesone Drive
Airspace Solutions.com Ltd                        Corbridge
Unit 17                                           Northumberland NE455EX
Tafarnaubach Industrial Estate                    UNITED KINGDOM
Tredegar Gwen NP22 3AA
GERMANY                                           Alex Kilby
                                                  34 Cazenove Road
AJ Cornthwaite Agriculural Contracting            London E17 4NP
Icknield Farm                                     UNITED KINGDOM
Icknield Way
Tring, Herts HP23 4JX                             Alex Roudayna de la Huerta Susilla
UNITED KINGDOM                                    Sauzales 42 Interior 02
                                                  Colonia Riconada Coapa 14330
AK Cool Room Hire                                 Ciudad de Mexico
PO Box 902                                        MEXICO
Moonee Pond 3039 VIC
AUSTRALIA                                         Alex Smertnik
                                                  96 Morshead Mansions
Aktion Attraktionz                                London W9 1LG
54 Puketona Road                                  UNITED KINGDOM
Paihia 0200
Northland                                         Alex Tossi Fotografie
NEW ZEALAND                                       AlexandrinenstraBe 2-3
                                                  10969 Berlin
Alanna Seed Farms Ltd                             GERMANY
PO Box 1719
Drumheller T0J 0Y0                                Alex Tross Youle
CANADA                                            55 St. Andrew's Road
                                                  Henely-on-Thames
Alba Printers Ltd                                 Oxon RG9 1JA
1 St Michael Street                               UNITED KINGDOM
Dumfries DG1 2QD
UNITED KINGDOM                                    Alexander Robinson
                                                  7 Beaufort Avenue
Albert Park Indoor Sports Centre                  London CV32 7TA
PO Box 249                                        UNITED KINGDOM
South Melbourne 3205 VIC
AUSTRALIA                                         Alexander Valko
                                                  Martinsburg 29
Alberta Weekly Newspapers Association             Osnabruck 49078
3228 Parsons Rd.                                  GERMANY
Edmonton T6N 1M2
CANADA                                            Alexander von Rosenbach dba CompassRose
                                                  Oosterpark 83-2
                                                  Amsterdam 1092
                                                  AUSTRALIA




                                          - 5 -
             Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 7 of 268



Alice Bloomer                                    Allcott Hire Pty Ltd
12 Grange Rd                                     Unit 26B
Lewes, East Sussex BN7 1TR                       1 Maitland Place
UNITED KINGDOM                                   Baulkham Hills NSW 2153
                                                 AUSTRALIA
Alice Porter
145 Gloaming Hill                                Allen Archaeology Limited
Titahi Bay                                       Whisby Lodge, Hillcroft Business Park
Porirua 5022                                     Whisby Road
NEW ZEALAND                                      Lincoln LN6 3QL
                                                 UNITED KINGDOM
Alimento Event Catering
9 The Courtyard Holmbush Farm                    Allen Daltrey
Crawley Road Horsham                             240 Inglefield Street
West Sussex RH12 4SE                             RD6 Te Awamutu
UNITED KINGDOM                                   NEW ZEALAND

Alison Schaefer                                  Allianz Australia Workers' Comp VIC Ltd
8 Hillview Drive                                 GPO Box 80
Buderim 4556 QLD                                 Melbourne, VIC 3001
AUSTRALIA                                        AUSTRALIA

All About Horsham Magazine                       Allison Tai
AA Publishing Ltd.                               90 Falaise Place
2 Viney Close                                    Vancouver V5M 4C2
Ashington, West Sussex RH20 3PT                  CANADA
UNITED KINGDOM
                                                 Ally Holden
All Hands on Deck GmbH                           227 Woodlands Park Road
Kopenhagener StraBe 23                           Titirangi
Berlin 10437                                     Auckland 0604
GERMANY                                          NEW ZEALAND

All Media Channels Horfunk-PR und mehr           Alpha-Marketing Petra Noll
TorfstraBe 16                                    Richard-Wagner-StraBe 361/2
13353 Berlin                                     Bobenheim-Roxheim 67240
GERMANY                                          GERMANY

All Press Printing & Signs                       Altavia HTT Ltd
Bacchus Marsh Office                             04 Park Square, Newton Chambers Road
6 Church Street                                  Thorncliffe Park, Chapeltown
Bacchus Marsh 3340                               Sheffield S35 2PH
AUSTRALIA                                        UNITED KINGDOM

All West Plant Hire                              Alternative Business Machines Limited
PO Box 693                                       111
Armadale 6992 WA                                 Freston Road
AUSTRALIA                                        London W11 4BD
                                                 UNITED KINGDOM
allbuyone GmbH
Talangerstr. 5                                   Alternative Freight Services
D- 82152 Krailling                               Level 3/326 Keilor Road
GERMANY                                          Niddrie 3042 VIC
                                                 AUSTRALIA




                                         - 6 -
             Case 20-10036-CSS    Doc 42-1    Filed 02/12/20   Page 8 of 268



Altus Group                                        Andre Brodbeck
180 Great Portland Street                          Bismarckstr 52
London W1W 5QZ                                     95444 Bayreuth
UNITED KINGDOM                                     GERMANY

Altus Traffic Pty Ltd                              Andrea Berquez
Level 1, 660 Lorimer St                            26 Chestnut Lane
Port Melbourne 3207 VIC                            Matfield
AUSTRALIA                                          Tonbridge, Kent TN12 7JL
                                                   UNITED KINGDOM
Alysa Parker
53 Park Hill Road                                  Andrea Rogers
Howick                                             23 Claude Street
NEW ZEALAND                                        Hamilton 3214
                                                   NEW ZEALAND
Amanda Neil
78 Clarridge Court                                 Andrea Wilkins
Brampton L6X 3N4 ON                                25 Aroha Avenue
CANADA                                             Sandringham
                                                   Auckland 1025
Amanda Smith Recruitment Ltd                       NEW ZEALAND
t/a Wildberry Associates
88 Kingsway                                        Andreas Gottlieb
Holborn, London WC2B 6AA                           BornstraBe 1
UNITED KINGDOM                                     56077 Koblenz
                                                   GERMANY
Amber Filleul
2/116 Argyle Street                                Andrew Allum
St Kilda 3182 VIC                                  177 Sherwood Circle NW
AUSTRALIA                                          Calgary T3R 1R7
                                                   CANADA
Ambulance Service of New South Wales
Rozelle Administration Office                      Andrew Bonning
Locked Bag 14                                      8120 McKeevers Place
Rozelle, NSW 2039                                  Whistler V0N 1B8
AUSTRALIA                                          CANADA

Ambulance Victoria                                 Andrew Merrick
75 Brady Street                                    45 Cobham Crescent
South Melbourne, VIC 3205                          Kelston
AUSTRALIA                                          Auckland
                                                   NEW ZEALAND
AMOS The International Sports Business S
33 Rue Daviel                                      Andrew Pazikas
75013 Paris                                        Flat 2/2
FRANCE                                             209 Crow Road
                                                   Glasgow G11 7PY
AMT Schwarzenbek-Land                              UNITED KINGDOM
Postfach 1110
Schwarzenbek 21484                                 Andrew Tuck
GERMANY                                            20 Greenfield Drive
                                                   Western Heights
Ana Marino                                         Hamilton
1/12 Inga Road                                     NEW ZEALAND
Milford, North Shore
Auckland
NEW ZEALAND




                                           - 7 -
             Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 9 of 268



Andria Vagana                                       Anne Bourne
9 Kawai Rise                                        43 Newington Close
T Atatu Peninsula, Waitakere                        Frome
Auckland 0610                                       Somerset BA11 1HW
NEW ZEALAND                                         UNITED KINGDOM

Andy Dan Hein                                       Anne Champagne
18 Woods Ave                                        399 Ste-Adele Street
Omemee K0L 2WO ON                                   Saint Charles-Borrmee J6E 1Y6
CANADA                                              CANADA

Andy Towersey                                       Anping County Shangsheng
126 Earlsbrook Road                                 Metal Wire Mesh Products Co., Ltd
Rehill                                              Anping Industrail Zone
Surrey RH1 6HZ                                      Hengshui, Hebei
UNITED KINGDOM                                      CHINA

Angel Springs Limited                               Anthony Hemopo
Angel House Shaw Road                               45 Raukura Street
Wolverhampton WV10 9LE                              Turangi
UNITED KINGDOM                                      NEW ZEALAND

Angela Everett                                      anthonyjaye.com
476 Grandtrunk Ave West                             Building 1/617 Spencer Street
Kingston K7M8W8 ON                                  West Melbourne 3003 VIC
CANADA                                              AUSTRALIA

Angie Lench                                         Antony Gale
18 Richmond Drive                                   41 Birch Close
Waterford                                           Romford
Herts WD17 3BG                                      Essex RM7 8ES
UNITED KINGDOM                                      UNITED KINGDOM

Aniela Schlott                                      Any Events Catering
ScharfensteinerstraBe 8                             29 Stockham Close
63075 Offenbach am Main                             Cricklade
GERMANY                                             Wilts SN6 6EF
                                                    UNITED KINGDOM
Anisa Mori
8309 Crazy Canuck Drive                             Anything Print
Whistler V0N 1B9                                    Unit 6, Oyster Business Park
CANADA                                              Greenstead Road, Colchester
                                                    Essex COI 2SJ
ANL Container Hire & Sales Pty Ltd                  UNITED KINGDOM
561 Grieve Pde
Altona                                              Apex Tents (Salmon Rentals Ltd.)
North VIC 3025                                      4027 Phillips Avenue
AUSTRALIA                                           Burnaby V5A 2X4
                                                    CANADA
Anna Mae's Mac-n-Cheese
Office 4-6 Canfield Place                           Apt Rives
London NW6 3BT                                      Route de Corberaye 16
UNITED KINGDOM                                      Le Chable VS 1934
                                                    SWITZERLAND




                                            - 8 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 10 of 268



Aqua Trucks WA                                     ASAP Secured
562 Lake Road                                      8160 Parkhill Drive
Armadale 6112                                      Milton L9T 5V7 ON
AUSTRALIA                                          CANADA

Aquarius Transport Group Pty Ltd                   Ashley Harris
PO Box 4262                                        64 Tickleford Drive
Londonderry, NSW 2753                              Weston
AUSTRALIA                                          Southampton SO19 9AU
                                                   UNITED KINGDOM
Arbeitsgemeinschaft Landschafttsokologie
GerberstraBe 4                                     Ashley Onions
Hannover 30169                                     10 Highview Rd
GERMANY                                            Ferny Creek 3786 VIC
                                                   AUSTRALIA
Arbeitsgruppe Land & Wasser
Am Amtshof 18                                      Askulap Sanitatsdienste
Beedenbostel 29355                                 Klausstr. 10
GERMANY                                            65366 Geisenheim
                                                   GERMANY
Archeological Consultancy Services
Unit 21 Boyne Business Park                        Aspect Caloundra
Greenhills, Drogheda                               80 Lower Gay Terrace
Co Louth 123958                                    Caloundra 4551 QLD
IRELAND                                            AUSTRALIA

Archisign Pty Ltd                                  Aston Manor Limited
Factory 1                                          Deykin Avenue, Witton
1/31 The Concourse                                 Birmingham B67BH
Cowes 3922 VIC                                     UNITED KINGDOM
AUSTRALIA
                                                   ATF Services Pty Ltd
Arctic Ice                                         PO Box 47
14 Tombo Street                                    Concord, NSW 2137
Capalaba 4157 QLD                                  AUSTRALIA
AUSTRALIA
                                                   Athboy Plant Hire
Argyll 1st Ltd                                     Mooneystown
Ellangowan Cromlech Road                           Athboy, Co. Meath
Sandbank Dunoon                                    IRELAND
Argyll and Bute PA23 8QH
UNITED KINGDOM                                     ATHE Design
                                                   15A Harecourt Road
Artisan Cuisine                                    London N1 2LW
86 Patrick Road                                    UNITED KINGDOM
Corby NN1 89ND
UNITED KINGDOM                                     Atlas Event & Party Hire
                                                   156 Edward St
AS & CP Grant                                      Clarence Gardens 5039
21 Selwood Court                                   SOUTH AFRICA
Rowville 3178 VIC
AUSTRALIA                                          Atlas Hotels
                                                   Bridgeway House
AS Retail Property Services Ltd                    Bridgeway
510 Linen Hall                                     Stratford upon Avon CV37 6YX
162-168 Regent Street                              UNITED KINGDOM
London W1B 5TF
UNITED KINGDOM



                                           - 9 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 11 of 268



Atlassian Pty Ltd                                Australian Concert and Entertainment Sec
Level 6, 341 George Street                       National Head Office
Sydney 2000 NSW                                  79-81 Regent Street
AUSTRALIA                                        Redfern NSW 2016
                                                 AUSTRALIA
Atlus Group
180 Great Portland Street                        Australian Container Units Pty Ltd
London W1W 5QZ                                   PO BOX 87
UNITED KINGDOM                                   Beerburrum, QLD 4517
                                                 AUSTRALIA
ATM2GO Pty Ltd
PO Box 709                                       Australian Racing Drivers Club Pty Ltd
Kallangur, QLD 4503                              PO Box 6747
AUSTRALIA                                        Blacktown Delivery Center, NSW 2148
                                                 AUSTRALIA
Atmosphere Event Specialists
15 Wiltshire Lane                                Automatic Data Processing Ltd
Delacombe 3356 VIC                               Syward Place, Pyrcroft Road
AUSTRALIA                                        Chertsey
                                                 Surrey KT16 9JT
Atom Publishing Ltd                              UNITED KINGDOM
45/47 Clerkenwell Green
London EC1R OEB                                  Avis Budget UK
UNITED KINGDOM                                   Avis Budget House
                                                 Park Road
Attica Equipment Ltd.                            Bracknell RG12 2EW
150 Glacier Street                               UNITED KINGDOM
Mayfair Industrial Park
Coquitlam V3K 5Z6                                Avison Young
CANADA                                           PO Box 8790
                                                 Birmingham B1 2JJ
Auspicious Arts Projects Inc.                    UNITED KINGDOM
1/117 Sturt Street
Southbank 3006 VIC                               AVS Overath GmbH
AUSTRALIA                                        Burghof 1
                                                 51491 Overath
Austin Azar                                      GERMANY
14306-101 Ave
Edmonton T5N 0K6                                 Awin Ltd
CANADA                                           2 Thomas More Square
                                                 Fifth Floor
Australasian Performing Right Associatio         London E1W 1YN
16 Mountain St                                   UNITED KINGDOM
Ultimo NSW 2007
AUSTRALIA                                        Axa XL Insurance Reinsurance
                                                 20 Gracechurch Street
Australia Post                                   London EC3V 0BG
GPO Box 5218                                     UNITED KINGDOM
Melbourne 3001 VIC
AUSTRALIA                                        B&H Spedition GmbH & Co. Internationale
                                                 Int. Transporte KG
Australian Armoured Security Pty Ltd             PF 68
Unit 25                                          99875 Waltershausen
1147 South Pine Td                               GERMANY
Arana Hills, QLD 4054
AUSTRALIA




                                           - 10 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 12 of 268



B&H Spedition GmbH & Co. Logistik KG             Bar Hum Bug dba WMM Pty Ltd
Logistik KG                                      586 Little Bourke Street
PF 68                                            Melbourne 3000
Waltershausen 99875                              AUSTRALIA
GERMANY
                                                 Barbara Nicholson
B.E.S.T. Veranstaltungsdienste GmbH Berl         4900 Line 4 North
Stiffring 6                                      Hillsdale L0L 1V0 ON
Berlin D-13627                                   CANADA
GERMANY
                                                 Barents Krans
B.H.S Ltd                                        Parkstraat 107
10 Turakina Street                               P.O. Box 30428
Grey Lynn 1021                                   The Hague, GK 2500
NEW ZEALAND                                      NETHERLANDS

Bacchus Marsh Avenue Motel                       Bart Hornblow
Hosts 1 Fred & Pam                               35 Solar Road
272 Main Street                                  Glen Eden
Bacchus Marsh 3340 VIC                           Auckland
AUSTRALIA                                        NEW ZEALAND

Bacchus Marsh Water Cartage Pty Ltd              Bartenderone Corp
PO Box 364                                       95 King Street East
Bacchus Marsh 3340 VIC                           Suite B101
AUSTRALIA                                        Toronto M5C 1G4 ON
                                                 CANADA
BAGJUMP Action Sports GmbH
SchloglstraBe 55                                 BAS Produktions-und Handels-GmbH
6060 Hall in Tirol                               Untere Breite Strasse 23
GERMANY                                          Ravensburg 88212
                                                 GERMANY
Ballarat Mobile Coolrooms
22 Boak Avenue                                   BAS Verkehrstechnik AG
Mt. Helen, Victoria 3350                         EichendorffstraBe 2
AUSTRALIA                                        Dortmund 44143
                                                 GERMANY
Ballymore Eustace GAA
41 South Main Street                             Bastian Schmidt
Naas                                             Hufen 51
Co Kildare                                       51545 Waldbrol
IRELAND                                          GERMANY

Bambus Weiterbildung                             Bathurst Estate
Armbrustergasse 10                               No.29 High Street
Wien 1190                                        Marlborough
GERMANY                                          Wiltshire SN8 1LW
                                                 UNITED KINGDOM
Banana Kick Ltd
The Engine Room, Roundhouse Business Par         Battlefield Equipment Rentals
Graingers Way                                    430 Huronia Drive
Leeds LS12 1AH                                   Barrie L4N 8Y9 ON
UNITED KINGDOM                                   CANADA

Banham                                           BB Sport GmbH & Co. KG
20 Thornsett Road                                Soderbergstr. 14
London SW18 4EF                                  Toging am Inn 84513
UNITED KINGDOM                                   GERMANY



                                           - 11 -
            Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 13 of 268



BC Emergency Health Services                   Ben Pigou
BC Ambulance Service                           594 Highcliff Road
302-2955 Virtual Way                           Ocean Grove
Vancouver V5M4X6                               Dunedin 9013
CANADA                                         NEW ZEALAND

Be! Building Group Pty Ltd                     Ben Treby
Lot 1/338 Yandina Coolum Road                  35 Calvert Road
Coolum Beach 4573 QLD                          London SE10 0DH
AUSTRALIA                                      UNITED KINGDOM

Bearcom                                        Benedikt Beck
24 Mallard Road                                Englschalkinger StraBe 228
Toronto M3B 1S1 ON                             81927 Munich
CANADA                                         GERMANY

Bearded Kitten Limited                         Benedikt Happe
165 Victorian Grove                            Blutenburgstr 45
London N16 8EH                                 Munchen 80636
UNITED KINGDOM                                 GERMANY

Beauchamps Solicitors                          Benez Group Ltd
Riverside Two                                  5 Downland Close
Sir John Rogerson's Quay                       Southwick
Dublin 2, Ireland                              Brighton BN42 4RH
IRELAND                                        UNITED KINGDOM

BECKY HEAMAN                                   Benjamin L Stevens
139 AUBURN SOUND VIEW SE                       Glenwood, 1 Friars Lane
CALGARY AB T3M 0E1                             Richmond
CANADA                                         Surrey TW9 INL
                                               UNITED KINGDOM
Beijing CGX Management Co. Ltd.
1001-032, No.3, Beijing Inn                    Benjamin Maiden dba The Maiden Standard
Nanzhugan Lane, Dongcheng District             Ashfield Road
Beijing 100010, China                          Bristol BS3 3ER
CHINA                                          UNITED KINGDOM

Bell Mobility Inc                              Benjamin Morin Boucher
PO Box 5480                                    102-1688 Boul Pie-Xi N
Station Terminal                               Quebec G3J 0J3 QC
Vancouver V6B 4B5                              CANADA
CANADA
                                               Bernadette Blaik
Belvoir Castle Opening                         2/116 Railway Parade
Belvoir Castle, Belvoir                        Noble Park 3174 VIC
Grantham                                       AUSTRALIA
Lincolnshire NG32 1PE
UNITED KINGDOM                                 BEST Veranstaltungsdienste GmbH Berlin
                                               Stieffring 6
Belvoir Parish Council                         D-13627 Berlin
1 Back Lane                                    GERMANY
Harston NG32 1PN
UNITED KINGDOM                                 Best Western Hotel Heidehof
                                               Billingstr 29
                                               Hermannsburg 29320
                                               GERMANY




                                        - 12 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 14 of 268



Beth Albon                                       Bingemans Inc
The Grange, Hall Road                            425 Bingemans Centre Drive
Beccles NR348JN                                  Kitchener N2B 3X7 ON
UNITED KINGDOM                                   CANADA

Betty Lous Tin Truck                             Bins Skips Waste and Recycling
45 Gainsborough Road                             PO Box 5445
Toronto M4L 3C1 ON                               Chittaway Bay 2261 NSW
CANADA                                           AUSTRALIA

Beverage Billfold, Pty Ltd                       Bio-Track Pty Ltd
40 The Promenade                                 781 Mount Glorious Road
Isle of Capri 4217 QLD                           Highvale
AUSTRALIA                                        Brisbane 4520
                                                 AUSTRALIA
Bezirksregierung Munster
Munster                                          Bird, Brittany
GERMANY                                          19 Bourke Close
                                                 London SW4 8ER
BFL Canada                                       UNITED KINGDOM
Risk & Insurance Services Inc
181 University Ave Suite 1700                    Birgit Weber
Toronto M6H 3M7 ON                               Tiba Managementberatug GmbH
CANADA                                           ElsenheimerstraB 47a
                                                 Munich 80687
BGD Events                                       GERMANY
457 Tower Drive
Oakville L6L 4R4 ON                              Bjorn Steiger Stiftung GmbH
CANADA                                           Petristrasse 12
                                                 71364 Winnenden
BGL Operations Pty Ltd T/A Bells Pure Ic         GERMANY
Bells Pure Ice
57 Beverage Drive                                Black Wattle Catering
Tullamarine, VIC 3043                            PO Box 677
AUSTRALIA                                        Toodyay 6566 WA
                                                 AUSTRALIA
Bickel Friedrich
Altentrudingen 26                                Blackaddie House Hotel
Wassertrudingen 91717                            Blackaddie Road
GERMANY                                          Sanquhar
                                                 Dumfries & Galloway DG4 6JJ
Big Brothers Big Sisters of Orillia & Di         UNITED KINGDOM
102-17 Colborne Street East
Orillia L3V 1T4 ON                               Blackrock Catering
CANADA                                           180 Yorkland Boulevard
                                                 North York Ortario M2J 1R5
Big Fun UK Limited                               CANADA
High Farm
Brightwell, Suffolk IP10 0AZ                     Blaise Nageondelestang
UNITED KINGDOM                                   44a Napier Street
                                                 South Melbourne 3205 VIC
Bilko Promotional Merchandising Ltd              AUSTRALIA
44 Linford Street
London SW8 4UN                                   BLM
UNITED KINGDOM                                   Plantation Place
                                                 30 Frenchurch Street
                                                 London EC3M 3BL
                                                 UNITED KINGDOM



                                           - 13 -
            Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 15 of 268



Blue Gum Clothing Co. Pty Ltd                  Borgers
16-18 Ceylon Street                            Kurfurstendamm 196
Nunawading 3131 VIC                            10707 Berlin
AUSTRALIA                                      GERMANY

Blue Loos Event Hire Limited                   Borgers Rechtsanwalte Partnerschaft
The Elms, Horton                               Fachanwalte, Kanzlei fur Bau- und Immobi
Malpas                                         Kurfurstendamm 196
Cheshire SY14 7EU                              10707 Berlin
UNITED KINGDOM                                 GERMANY

BM Advisory                                    Born Barikor
Corporate Advisory & Restructuring             3A Coombe Lane West
82 John Street                                 Kingston upon Thames KT2 7EW
London EC1M 4JN                                UNITED KINGDOM
UNITED KINGDOM
                                               Borney UK Limited
Bobbie Lawrenson                               Unit 11 Windover Court
Crossways, Hampton Lovett                      Windover Road
Droitwich                                      Huntington, Cambridgeshire PE29 7EA
Worcestershire WR9 0LU                         UNITED KINGDOM
UNITED KINGDOM
                                               Botanic Gardens Trust
Bodendiek & Bodendiek GbR                      Mrs Macquaries Road
Silberdistelweg 9                              Sydney 2000
Berlin 12357                                   AUSTRALIA
GERMANY
                                               Bouchier
Bonnie McGinty                                 PO Box 6607
1724 George Johnston Road                      Fort McMurray T9H 5N4
Minesing L0L 1Y0 ON                            CANADA
CANADA
                                               Boughton Estates, Ltd.
Booking Protect Limited                        12615 (Scotland)
83 Ducie Street                                Weatherhouse, Bowhill
Manchester M1 2JQ                              Selkirk TD7 SES
UNITED KINGDOM                                 UNITED KINGDOM

Booth Print                                    Bowhill
PO Box 455                                     Estate Office
Bakers Hill 6562 WA                            Bowhill, Selkirk
AUSTRALIA                                      TD7 5ES
                                               UNITED KINGDOM
Borden Ladner Gervais
40 King St. West                               Bowman Gilfillan Inc
41st Floor                                     22 Bree Street
Toronto M5H 3Y4 ON                             Cape Town
CANADA                                         SOUTH AFRICA

Borderloos                                     Boxall + Wilson
Armstrong Reiver LLP                           10 Tetherdown
Westlinton Carlisle                            Prestwood
Cumbria CA6 6AF                                Great Missenden, Bucks HP16 0RY
UNITED KINGDOM                                 UNITED KINGDOM




                                        - 14 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 16 of 268



Boyen Business Trust                             Brian Radford
1002/16 Liverpool Street                         20 Coromandel Crescent
Melbourne 3000 VIC                               Mairangi Bay
AUSTRALIA                                        Auckland 0630
                                                 NEW ZEALAND
Brad Scott
10 Henry Partington Place                        Brightspire t/a Holt Lodge Hotel
Greenhithe                                       15 Forgate Street
Auckland                                         Chester CH1 1HD
NEW ZEALAND                                      UNITED KINGDOM

Bradford North Bingley Premier Inn               Bristol City Council
502 Bradford Road                                PO Box 3176
Bradford BD20 5NG                                Bristol BS3 9FS
UNITED KINGDOM                                   UNITED KINGDOM

Bradley Carron-Arthur                            Bristol24/7 CIC
40 Daley Road                                    Unit 2.4 Paintworks
Acton, ACT 2601                                  Arnos Vale
AUSTRALIA                                        Bristol BS4 3EH
                                                 UNITED KINGDOM
Brady Corporation Ltd T/A Seton
14 Wildmere Road                                 British Red Cross
Wildmere Industrial Estate                       Floor 3
Banbury, Oxfordshire OX16 3JU                    1 Smithhills Street
UNITED KINGDOM                                   Paisley PA1 1EA
                                                 UNITED KINGDOM
Bravo Management Pty Ltd
Level 1, 435 Malvern Road                        BRK Excavation
South Yarra 3141 VIC                             5 SuttonLeigh Way
AUSTRALIA                                        Darley
                                                 AUSTRALIA
Braycam Ptd Ltd T/A Don Clyne Earthmovin
4/16-24 Margaret Street                          Broadford Apartments
Woodford 4514 QLD                                3 Short Street
AUSTRALIA                                        Broadford 3658 VIC
                                                 AUSTRALIA
Brendan Daly
53 Sixteenth Street                              Broadford Urban Fire Brigade
Toronto M8V 357 ON                               PO Box 230
CANADA                                           Broadford 3658 VIC
                                                 AUSTRALIA
Brendan DeLouwer
6314 Fairway Drive                               Brockways Fuel Service Pty Ltd dba Tanks
Whistler V0N 1B6                                 800 Canning Mills Road
CANADA                                           Roleystone 6111
                                                 AUSTRALIA
Brett Ferguson
326 19th Street                                  Brodies LLP
1                                                2 Blythswood Square
Brooklyn 1121                                    Glasgow
AUSTRALIA                                        Scotland G2 4AD
                                                 UNITED KINGDOM
Brew Dog Plc
Balmacassie Commercial Park                      Broken Boundary Adventures
Ellon AB41 8BX                                   145 Cedar Grove Road
UNITED KINGDOM                                   Pemberton V0N 2L2
                                                 CANADA



                                           - 15 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 17 of 268



BROMONT TERRASSE                                  Buccleuch & Queensberry Arms Hotel
55 RUE DE PACIFIQUE EST                           112 Drumlanrig Street
BROMONT, QUEBEC J2L 1J4                           Thornhill
CANADA                                            Drumfries & Galloway DG3 5LU
                                                  UNITED KINGDOM
Brookfield Multiplex Constructions Pty L
Level 2, The Old Swan Brewery                     Bulk Fuel Australia Pty Ltd
173 Mounts Bay Road                               PO Box 181
Crawley 6000 WA                                   Salisbury, QLD 4107
AUSTRALIA                                         AUSTRALIA

Broughton Hospitality Partnership                 Bundesanzeiger Verlag GmbH
Estate Office                                     Postfach 100534
Broughton Hall Estate                             Koln 50445
Skipton, Yorkshire BD23 3AE                       GERMANY
UNITED KINGDOM
                                                  Bunnyfoot Ltd
Brownlow Hill Pty Ltd                             Harwell Innovation Centre
135 Brownlow Hill Loop Road                       Harwell
Brownlow Hill 2570                                Oxfordshire OX11 0QG
AUSTRALIA                                         UNITED KINGDOM

Brownways Transport Pty Ltd                       Bunzl Outsourcing Services Ltd
9 Burrows Road South                              ABN: 99 007 286 133
St Peters 2044 NSW                                Perth Shop 346 Newcastle Street
AUSTRALIA                                         North Bridge 6003 WA
                                                  AUSTRALIA
Bryan Bryce
17 Montgomery Drive                               Burkhard Wostefeld
Carron                                            Espenweg 38
Falkirk FK2 8SJ                                   Bergkamen 59192
UNITED KINGDOM                                    GERMANY

BSD - Wirtschaftsdienste GmbH                     Burl's Creek
Postfach 10 05 10                                 PO Box 7
20003 Hamburg                                     Oro L0L 2X0 ON
GERMANY                                           CANADA

BT Global Services                                Businesscom Networks Limited
Correspondence Centre                             Suite 2, Portland House
Providence Row                                    Glacis Road
Durham DH98 1BT                                   Gibralter
UNITED KINGDOM                                    GIBRALTER

BTC Group                                         Busnetworx GmbH
BTC House                                         Delitzacher Str. 36
9 Millington Road                                 04129 Leipzig
Hayes, Middlesex UB3 4AZ                          GERMANY
UNITED KINGDOM
                                                  Busniess Geographics Pty Ltd
BTO Solicitors                                    PO Box 838
48 St. Vincent Street                             Paddington 4064 QLD
Glasgow G2 5HS                                    AUSTRALIA
UNITED KINGDOM




                                           - 16 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 18 of 268



Buttner Service GmbH                             CABM Machines Inc.
Garten-, Landschafts-,                           207-17637 1st Ave
Kappenberger Damm 284                            Surrey V3S 9S1
48163 Munster                                    CANADA
GERMANY
                                                 Calendar Lady Promotions Ltd
Buzz Connected Media Inc. DBA Vancity Bu         The Old House, Brampton Abbotts
901-525 Seymour St.                              Ross on Wye
Vancouver V6B 3H7                                Herefordshire HR9 7JG
CANADA                                           UNITED KINGDOM

Byrne Wallace                                    Caley Kelly
88 Harcourt Street                               44 Valley Woods Road
Dublin 2                                         Toronto M3A 2R7 ON
IRELAND                                          CANADA

C Ludolf                                         Callum Ray
8 Church Way                                     1 Lethbridge Court
Thorpe Malsor                                    Moffat Beach 4551 QLD
Northamptonshire NN141JS                         AUSTRALIA
UNITED KINGDOM
                                                 Callum Worthy
C M Catering                                     12 Bowyer Gardens
Shop 71                                          Deane, Bolton BL3 4SN
65 Myrtle Street                                 UNITED KINGDOM
Chippendale, NSW 2008
AUSTRALIA                                        Cameron Brady
                                                 44 Farringforrd Drive
C.G. Group Inc.                                  Brantford N3R 6K7 ON
1315 Finch Ave West                              CANADA
Suite 507
Toronto M3J 2G6 ON                               Cameron Contracting
CANADA                                           Agricultural Services
                                                 476 Berrys Beach Road
C.H. Robinson Europe BV                          Ventnor, VIC 3922
Teleportboulevard 120                            AUSTRALIA
1043 EJ
Amsterdam                                        Camping Vacances Bromont
NETHERLANDS                                      22, rue Bleury
                                                 Bromont J2L 1B3 QC
C.J. & P. Davis T/A Onsite Group                 CANADA
12 Heb Place
Takanini                                         CANADA WIDE COMMUNICATIONS
Auckland 2105                                    dba B.C. COMMUNICATIONS
NEW ZEALAND                                      399 MOUNTAIN HIGHWAY
                                                 NORTH VANCOUER, BC V7J 2K9
Cabinet Joseph                                   CANADA
113 Rue Vilas
Cowansville J2K 2E1 QC                           Canadian Breast Cancer Foundation
CANADA                                           375 University Ave
                                                 Suite 301, Third Floor
Cable Ties UK                                    Toronto M5G 2J8 ON
4 Fox Covert Way, Crown Farm Industrial          CANADA
Forest Town, Mansfield
Nottinghamshire NG19 0FR
UNITED KINGDOM




                                           - 17 -
            Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 19 of 268



Canadian Running Magazine                       Carolyne Prevost
Gripped Inc                                     1907-88 Parklawn Road
75 Harbord Street                               Toronto M8Y 3H8 ON
Toronto M5S 1G4 ON                              CANADA
CANADA
                                                Carriage Ridge & Hills Resort
Canadian Sport Tourism Alliance                 90 Highland Drive
600-116 Lisgar Street                           RR#1
Ottawa K2P 0C2 ON                               Shanty Bay L0L 2L0 ON
CANADA                                          CANADA

Candian Tire - Oaville                          Cary, Benjamin
400 Dundas Street East                          14 Flock Mill Place
Oakville L6H 6Z9 ON                             London SW18 4QJ
CANADA                                          UNITED KINGDOM

Cap Security Services Pty Ltd                   Cash and Traffic Management Ltd
PO Box 3211                                     36 Bennetts Road South
Yeronga 4104 QLD                                Keresley, Coventry CV6 2FP
AUSTRALIA                                       UNITED KINGDOM

Carey Walkey                                    Cash Keeping Services
14 Tyson Cres.                                  Paula Connoly
Red Deer T4P 0T2                                38 Monalea Wood
CANADA                                          Firhouse
                                                IRELAND
Carina Bungard
HeisterbachstraBe 43                            Cash Security Services
50939 Kolin                                     PO Box 892
GERMANY                                         Modbury 5092
                                                SOUTH AFRICA
Carl James
2 Swinburne Close                               Casie Jones
Kettering                                       12 Healy Court
Northants NN16 9BX                              Ormeau 4208
UNITED KINGDOM                                  AUSTRALIA

CARL YOUNG                                      Cathy Nystazos
18 MOUNT PLEASANT                               91 Goodman Drive
EWELL VILLAGE                                   Noble Park 3174 VIC
KT17 1XE                                        AUSTRALIA
UNITED KINGDOM
                                                Cecilia Rozario
Carmen Chong                                    5308/177-219 Mitchell Road
18/42-44 Clarendon Street                       Erskineville, Sydney NSW 2043
Thornbury 3071 VIC                              AUSTRALIA
AUSTRALIA
                                                Celestial Investments Pty Ltd
CARNEY'S WASTE SYSTEMS                          15 Davidson Terrace
38950 Queens Way                                Teneriffe, Brisband
Squamish V88 0K8                                Queensland 4005
CANADA                                          AUSTRALIA

Carola Fekter                                   Central Coast Council
RomerstraBe 48                                  PO Box 21
4800 Attnang-Puchheim                           Gosford 2250 NSW
AUSTRIA                                         AUSTRALIA




                                         - 18 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 20 of 268



Central Coast Newspapers                         Chantler's Environmental Services Ltd
PO Box 1056                                      9426 Wellington Rd
Gosford NSW 2250                                 22 RR 2
AUSTRALIA                                        Hillsburgh N0B 1Z0 ON
                                                 CANADA
Central Coast Volunteer Rescue Squad Inc
PO Box 300                                       Charles Hewett
Wyong 2259 NSW                                   10 Farmers Walk
AUSTRALIA                                        Wimborne, Dorset BH21 1NE
                                                 UNITED KINGDOM
Centro Nautico de Sotogrande
Gustavo L Rodriguez Grieve                       Charli Alarie-Gagnon
Paeso del Rio 48, Pto. De Sotogrande             285 Ch Dyer
San Toque 11310 Cadiz, Spain                     Sutton J0E 2K0 QC
SPAIN                                            CANADA

Century Signs and Awnings                        Charlie Partridge
1111B Industrial Way                             102b Clifden Road
Squamish V8B 0H1                                 London E5 0LN
CANADA                                           UNITED KINGDOM

Cervantes Sainz, S.C.                            Chep Pallecon Solutions Pty Ltd
Torra Del Bosque Blvd. Manuel Avila Cama         PO Box 70
Sixth Floor                                      Archerfield QLD 4108
Lomas de Chapultepec 11000 DF                    AUSTRALIA
MEXICO
                                                 Cheryl Jahn
CF Corporate Finance Limited                     Wiener Weg1B
Reading International Business Park              Koln 50858
Reading                                          GERMANY
Berkshire RG2 6AA
UNITED KINGDOM                                   Cheshire East Borough Council
                                                 PO Box 3656
CFS Hire Pty Ltd                                 Chester CH1 9PQ
1B Spring Street                                 UNITED KINGDOM
Sumner Park, QLD 4074
AUSTRALIA                                        Chime Sports Marketing LLP T/A Essential
                                                 Southside, 6th Floor
Chad William Evans                               105 Victoria Street
15 James Road                                    London SW1E 6QT
Manurewa                                         UNITED KINGDOM
Auckland
NEW ZEALAND                                      Chirurgische Praxis
                                                 Dr. med. Karl Lill/ChirurgUnfallchirung
Chalkwest Pty Ltd dba Budget Car                 Kellerstrasse 15
ABN: 32 078 909 283                              86732 Oettingen
83 Belmont Ave                                   GERMANY
Belmont 6104 WA
AUSTRALIA                                        Chloe Robinson
                                                 17 The Bend
Chanelle Rodrigues                               Port Melbourne VIC 3207
Flat 5 Leslie Bentley House                      AUSTRALIA
66 Parade
Birmingham B1 3QQ                                Chloe Stubbs
UNITED KINGDOM                                   2/43 Tawhiri Road
                                                 One Tree Hill
                                                 Auckland
                                                 NEW ZEALAND



                                           - 19 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 21 of 268



Chole Rosemarin                                  Chris Reid
926 College Street                               160 Ennis Ave
Toronto M6H 1A4 ON                               Pakuranga
CANADA                                           Auckland 2010
                                                 NEW ZEALAND
Cholmondeley Castle Gardens
dba Cholmondeley Castle Tea Room                 Christian Tapili
Malpas                                           63A Wairere Road
Cheshire SY14 8AH                                The Gardens
UNITED KINGDOM                                   Manuerwa
                                                 NEW ZEALAND
Cholmondeley Estates
The Estate Office, Cholmondele                   Christian Wirth
Nr Malpas                                        Kirchstr 34
Cheshire SY 14 8EZ                               Arnsberg-Oeventrop 59823
UNITED KINGDOM                                   GERMANY

Chompers Catering Ltd                            Christiane Holden
Winchester Science Centre                        255 Kinds Road
Telegraph Way                                    Kingston Upon Thames KY2 5JH
Morn Hill Winchester Hants SO211HZ               UNITED KINGDOM
UNITED KINGDOM
                                                 Christina Wiggers
Chor Group Inc                                   5/18 Takitimu Drive
40, rue de Richelieu                             Orakei
Blainville J7B 1M2 QC                            Auckland 1071
CANADA                                           NEW ZEALAND

Chris Green                                      Christine Herford
Cloven Rocks                                     41 Finucane Road
Simonsbath                                       Capalaba 4157
Somerset TA24 7JU                                NEW ZEALAND
UNITED KINGDOM
                                                 Christine Hunter
Chris Kerr                                       Box 91
616 Aberdeen Road                                Ymir V0G 2K0
Te Hapara, Gisborne 4010                         CANADA
NEW ZEALAND
                                                 Christoph Umminger
Chris Lamb                                       Edenkobener Str 22
26 Ash Rise                                      Mannheim 68309
Northampton NN2 8SB                              GERMANY
UNITED KINGDOM
                                                 Christopher Fowler
Chris Lemke                                      100 Ellerbeck Street
Negenborner Weg 69                               Toronto M4K 2V1 ON
37574 Einbeck                                    CANADA
GERMANY
                                                 Christopher Matthews
Chris Moir                                       17 Monash Avenue
3/1, 50 Mavisbank Gardens                        Catterick Garrison
Glasgow G511HL                                   North Yorkshire DL9 3SE
UNITED KINGDOM                                   UNITED KINGDOM




                                          - 20 -
            Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 22 of 268



Christopher Rourke                              City Hire Pty Ltd dba Event Rentals
11, Edinburgh Drive                             117 Mina Parade
Pemberton                                       Newmarket 4051 QLD
Wigan, Gr Manchester                            AUSTRALIA
UNITED KINGDOM
                                                City of Hamilton
Christopher Timms                               120 King St. West
Flat 99, 127 Cook Road                          Suite 900
Centennial Park                                 Hamilton L8P 4V2 ON
Sydney 2021 NSW                                 CANADA
AUSTRALIA
                                                City of London
Christopher Tremmel                             Chamber of London
Oberm Rohlande 50                               PO Box 270
Menden 58710                                    Guildhall
GERMANY                                         UNITED KINGDOM

Christopher von Stelzer                         City of Sydney
WaldingerstraBe 8B                              GPO Box 1591
85084 Reichertshofen                            Sydney 2001 NSW
GERMANY                                         AUSTRALIA

Christopher-D. Ahlbrecht                        Claire Burley
Heinrich-Fickenscher-StraBe 18.                 95 Parkstone Road
Bayreuth 95448                                  Birmingham B29 6PP
GERMANY                                         UNITED KINGDOM

Chronosoft Solutions                            Clare Gatenby
PO Box 8288                                     16 Seabrook Lane
Woolloongabba QLD 4102                          R.D.3
AUSTRALIA                                       Hamilton
                                                NEW ZEALAND
Cider Productions Pty Ltd
David Purcell                                   Clare Higgins
PO Box 89                                       15 Greenferns
Jerrabomberra 2619 NSW                          Blackwood MI11 9XT
AUSTRALIA                                       UNITED KINGDOM

CIPD Enterprises Ltd                            Clare J B Martin
151 The Broadway                                8 Glenorchy Street
London SW19 1JQ                                 Glen Eden
UNITED KINGDOM                                  NEW ZEALAND

Cipher Medical Consultancy                      Cleanaway A Transpacific Company
Unit 5 Enterprise Court                         73 Old Dookie Road
Queens Meadow Business Park                     Shepparton 3630 VIC
Hartlepool, Durham TS25 2FE                     AUSTRALIA
UNITED KINGDOM
                                                Click Print Corporate Pty Ltd
Cirencester Park Farms Ltd                      Shop 2 Ground Floor
Ox Yard Office, Ewe Pens Farm                   34 Campbell Street
Cirencester Park                                Blacktown, NSW 2148
Cirencester, Glos GL76LX                        AUSTRALIA
UNITED KINGDOM
                                                Clifton Fabrications Ltd
                                                43 Compton Way
                                                Winchester SO22 4HE
                                                UNITED KINGDOM



                                         - 21 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 23 of 268



Clinton James Ballot                             Companies House
473 Don Buck Road                                Late Filing Penalties
Massey                                           PO Box 710 Crown way
Auckland                                         Cardiff CF14 SUZ
NEW ZEALAND                                      UNITED KINGDOM

Closed Loop Environmental Solutions Pty          Compelling Media dba Bestfit Media
Level 1                                          Crown House
40 Albert                                        Leeds LS12 2EJ
South Melbourne, VIC 3205                        UNITED KINGDOM
AUSTRALIA
                                                 Complete Merchandise Ltd
Closed Loop Environmental Solutions UK L         29 Woolmer Way
16 Choats Road                                   Bordon, Hampshire GU35 9QE
Dagenham                                         UNITED KINGDOM
Essex RM9 6LF
UNITED KINGDOM                                   Complete Print Services Inc
                                                 c/o Brian Bushell
Coadman Engineering                              PO Box 74067 Fraser Heights PO
6 Oakland Ave                                    Surrey V4N1P0
Redland Bay                                      CANADA
AUSTRALIA
                                                 Connect Systems LLP
Coastal Riral Traders                            The Island , Moor Road
10 Ourimbah Street                               Chesham, Bucks HP5 1NZ
Ourimbah NSW 2258                                UNITED KINGDOM
AUSTRALIA
                                                 Connnor Hancock
Coates Hire Operations Pty Ltd                   6 Ash Close
6 Greenhill Avenue                               Barlbrough
Moorebank, NSW 2170 NSW                          Chesterfield S43 4XL
AUSTRALIA                                        UNITED KINGDOM

Coffee News                                      Conor Hancock
17303-107 Avenue                                 4 Watermeade
Edmonton T5S 1ES                                 Eckington, Sheffield S1 4HZ
CANADA                                           UNITED KINGDOM

COGS Services Pty Ltd                            Contemporary Services Canada
Building E2                                      119 West Pender, Suite 123
63-85 Turner Street                              Vancouver V6B 5E4
Port Melbourne 3207 VIC                          CANADA
AUSTRALIA
                                                 Content Square
Coldstream Brewery Pty Ltd                       5 Boulevard de la Madeleine
694 Maroondah Highway                            75001 Paris
Coldstream 3770 VIC                              FRANCE
AUSTRALIA
                                                 Continental Soil Technology
Colin Lamond                                     The Old Dairy, Chavenage Estate
35 Salvensen Gardens                             Tetbury
Edinburgh EH4 5JW                                Gloucestershire GL8 8XU
UNITED KINGDOM                                   UNITED KINGDOM

Collaborative Construction Solutions Pty         Contractor Rental Supply
Unit 9, 7 Teamster Close                         535 Welman Road
Tuggerah 2259 NSW                                Barrie ON
AUSTRALIA                                        CANADA



                                           - 22 -
            Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 24 of 268



Converteo                                      Correct Group Ltd.
61, rue Meslay                                 10-14 Interlink House
Paris 75003                                    73A Maygrove Road
FRANCE                                         West Hampstead NW6 2EG
                                               UNITED KINGDOM
Cooper Equipment Rentals
Heritage Green                                 Cotswold District Council
PO Post Office Box 99079                       Council Offices
Stoney Creek L8J 2P7 ON                        Trinity Road
CANADA                                         Cirencester GL7 1PX
                                               UNITED KINGDOM
COPY CORNER
KIVELINGSTR 1                                  Cotswold Turf Care Ltd
49808 LINGEN                                   London Road, Brimscombe
GERMAN                                         Stroud
GERMANY                                        Glos. GL5 2TL
                                               UNITED KINGDOM
CopyXpress Pty Ltd
55 York Road                                   Country Fire Authority
Penrith, NSW 2750                              PO Box 701
AUSTRALIA                                      MT Waverley, VIC 3149
                                               AUSTRALIA
Core Protective Group
42 Emma Street                                 Country Land and Business Association Li
Carrum 3197 VIC                                16 Belgrave Square
AUSTRALIA                                      London SW1X 8PQ
                                               UNITED KINGDOM
Cornelia Meier
14 Lorelei Place                               Country Pak Wholesalers Pty Ltd
Papakura 2113                                  MP 51, Market City
NEW ZEALAND                                    280 Bannister Road
                                               Canning Vale 6155 WA
Corney & Barrow Bars Limited                   AUSTRALIA
1 Thomas More Street
London E1W 1YZ                                 County of Simcoe
UNITED KINGDOM                                 1110 Highway 26
                                               Midhurst L9X 1N6 ON
CORPORATE EXPRESS                              CANADA
C/O T0446 C
POBOX 446 STN A                                Courier & Logistic Service GmbH
TORANTO M5W4A2 ON                              Im Gewerbegeier 11
CANADA                                         85290 Geisenfeld
                                               GERMANY
CORPORATE EXPRESS,STAPLES ADVANTAGE
C/O TO4446C P O BOX 4446                       Craig Burrows
STN A, TORONTO, ON M5W 4A2                     15 Churchill Street
CANADA                                         Kensington
                                               Whangarei
Corporate Protection Australia                 NEW ZEALAND
Fire & Rescue Pty Ltd
11/35 Paringa Road                             Craig Ferguson
Murarrie 4172 QLD                              11b Orchard Road
AUSTRALIA                                      Browns Bay
                                               Auckland
                                               NEW ZEALAND




                                        - 23 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 25 of 268



Craig John Nicholls                              Criteo GmbH
37 Marendellas Drive                             Lehel Carre
Bucklands Beach                                  Gewurzmuhlstrasse 11
Auckland 2014                                    Munchen 80538
NEW ZEALAND                                      GERMANY

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Grombacher Str. 70                               10 Bloomsbury Way
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GERMANY                                          UNITED KINGDOM

Creative Capture Ltd                             Crossroads Trading
68 Sullivan's Reach                              Cnr Daylesford & Old Melbourne Rd
Surrey KT12 2QB                                  Melbourne
UNITED KINGDOM                                   AUSTRALIA

Creativevents Limited                            Crowne Plaza Marlow
Room 137                                         Fieldhouse Lane, Marlow
Earls Court Exhibition Centre, Warwick R         Buckinghamshire SL7 1GJ
London SW5 9TA                                   UNITED KINGDOM
UNITED KINGDOM
                                                 CSM Sports & Entertainment LLP t/a CSM R
Creditform Wuppertal Brodmerkel & Kottin         Heather Court
Werth 91+93                                      6 Maidstobe Road
42275 Wuppertal                                  Kent DA14 5HH
GERMANY                                          UNITED KINGDOM

Creditrepaireq.com.au                            Culden Faw LTD
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PO Box 957                                       Benhams Lane Fawley
Bacchus Marsh 3340 VIC                           Henley on Thames RG9 6AP
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Creek Cruiser atf The Abby Family Trust          Curtis Hanlon
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6 Scott Road                                     Western Springs
Langhorne Creek 5255                             Auckland 1022
SOUTH AFRICA                                     NEW ZEALAND

Crest Medical Ltd dba Wallace Cameron            Cushman & Wakefield LLP (UK)
3 Chesford Grange                                125 Old Broad Street
Woolston                                         London EC2N 1AR
Warrington WA1 4RQ                               UNITED KINGDOM
UNITED KINGDOM
                                                 Custom Answers
Cristina Imaz Bengoa                             1-2807 West 16th Avenue
c/o Herriko Gudarien 1, 3 DCHA                   Vancouve V6K 3C5
48200 Durango                                    CANADA
SPAIN
                                                 Cuthells Pastoral Pty Ltd
Criteo Canada Corp.                              PO Box 3017
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Toronto M5V1L9 ON
CANADA                                           Cyclescheme Limited
                                                 PO Box 3809
                                                 Bath BA1 1WX
                                                 UNITED KINGDOM



                                           - 24 -
            Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 26 of 268



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133 Middletown Road                            Box 1971
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D Foster Electrical Pty Ltd T/A Fozlek         Danckert Spiller Richter Barlein
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AUSTRALIA                                      Berline 10707
                                               GERMANY
D&S Harrington
PO Box 774                                     Danica Carpentry Pty Ltd
Mascot, NSW 1460                               ABN 89 108 641 836
AUSTRALIA                                      Unit 4/4 Pusey Road
                                               Cockburn Central 6164 WA
DA Sound                                       AUSTRALIA
12932 SE Kent-Kangley Rd
Box 460                                        Daniel Corner
Kent WA                                        6 Holmhurst Ave
AUSTRALIA                                      Highcliffe BH23 5PQ
                                               UNITED KINGDOM
Dale Matheson Carr-Hilton Labonte LLP
1500-1140 W Pender Street                      Daniel Fleming
Vancouver V6E 4G1                              2b Turehu Street
CANADA                                         New Plymouth
                                               AUSTRALIA
Dalibor Andzakovic
37c Clonbern Road                              Daniel Forsting
Remuera                                        Disterlring 69
Auckland                                       Haselunne 49740
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AUSTRALIA
                                               Danny Crofton
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CANADA




                                         - 25 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 27 of 268



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UNITED KINGDOM
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                                                  AUSTRALIA
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CANADA                                            9 Janet Street
                                                  Minchinbury NSW 2770 2770
Dave Watts Photography                            AUSTRALIA
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Somerset BA22 7EQ
UNITED KINGDOM



                                           - 26 -
            Case 20-10036-CSS    Doc 42-1    Filed 02/12/20   Page 28 of 268



Dazzle Signs Pty Ltd                            DEKRA Automobil GmbH
36 Boys Home Road                               DEKRA Technology Center
Newhaven, VIC 3925                              Senftenberger Str. 30
AUSTRALIA                                       01998 Klettwitz
                                                GERMANY
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                                                15749 Mittenwalde
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                                                Paris 75011
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Debra Kay Cederman-Hill                         AUSTRALIA
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Declan Brady                                    UNITED KINGDOM
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                                                UNITED KINGDOM
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Defron Security                                 AUSTRALIA
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Toronto, Ontario M5V1Z4                         Optima Centre - Building B
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Degree of Saturation                            AUSTRALIA
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AUSTRALIA




                                          - 27 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 29 of 268



Derek Booth Consultancy Limited                  Digital Cinema Media
t/a DBCON                                        Regents Place
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Dialog Solutions GmbH                            Box 1511
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Bonn 53177                                       CANADA
GERMANY
                                                 Divaco Deutschland GmbH
Deutsche Rotes Kreuz                             Bredeneyer StraBe 2B
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Ankum 49577                                      GERMANY
GERMANY
                                                 DJ Brook Constructions
Device Insight GmbH                              12 Cunliffe Street
Willy-Brandt-Platz 6                             Macclesfield 5251
M nchen 81829                                    AUSTRALIA
GERMANY
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Devon Jones                                      90 Spottiswoode Street
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56 Ferndown Close                                GERMANY
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UNITED KINGDOM                                   DM Kisch Inc
                                                 PO Box 781218
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Diane Forsey                                     CANADA
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                                                 Greufriars Road
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UNITED KINGDOM                                   Massmannstr 6
                                                 80333 Munich
                                                 GERMANY




                                          - 28 -
            Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 30 of 268



Donohue Marquees Ltd                          Dr. Natasha Beach
Garryhill                                     Miss N A Beach
Bagenalstown                                  Flat 2 44 Edith Road
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IRELAND                                       UNITED KINGDOM

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Vienna 1010 1010                              Unit 9
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                                              CANADA
Dorner Hansa GmBH
GroBer Kamp 13                                Drum Wireless Ltd
22885 Barsbuttel                              Box 2878
GERMANY                                       Drumheller T0J 0Y0
                                              CANADA
DOSarrest Internet Security
186-8120 No. 2 Road                           Drumheller Agricultural Society
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Richmond V7C 5J8                              Drumheller TOJ OY 9O
CANADA                                        CANADA

Doublet UK Ltd.                               Drumheller Festival Society
97-99 Kew Road                                2979 PO Box
Richmond TW9 2PN                              Drumheller T0J 0Y0
UNITED KINGDOM                                CANADA

Dough & Deer Ltd                              Drumheller Mail Ltd
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Hampton                                       515 Highway 10 East
London TW122EP                                Drumheller T0J 0Y0
UNITED KINGDOM                                CANADA

Dove Radio Communications Ltd                 Drumheller Off Road Vehicle Association
PO Box 20337                                  PO Box 1092
Hamilton 3241                                 Drumheller T0J 0Y0
NEW ZEALAND                                   CANADA

Dr Loo                                        DTB Equipment Rental Pty Ltd
Bridge Holme Laithe                           Lot 6 Rix Road
Greenberfield Lane                            PO Box 128
Barnoldswick BB18 5JL                         Officer 3809 VIC
UNITED KINGDOM                                AUSTRALIA

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GERMANY                                       Kent CT7 9AZ
                                              UNITED KINGDOM
Dr. Kleeberg & Partner GmbH
Augustenstra e 10                             EAM Consulting
80333 M nchen                                 Kemp House
GERMANY                                       152 City Road
                                              London EC1V 2NX
                                              UNITED KINGDOM




                                       - 29 -
            Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 31 of 268



East Sheen Primary School                       Edelman UK
Upper Richmind Road West                        Accounts Department
London SW14 8ED                                 Southside 105 Victoria Street
UNITED KINGDOM                                  London SW1E 6QT
                                                UNITED KINGDOM
Easter Creek Holdings Pty Ltd
Cnr Peter Brock and Brabham Drives              Edelman.ergo GmbH
Eastern Creek                                   NiddastraBe 91
NSW 2766                                        Frankfurt am Main 60329
AUSTRALIA                                       GERMANY

Easy Chemicals Ltd                              Edge Security & Communications
1 Vale Park                                     341 Church Street
Colomendy Industrial Estate                     London N9 9HY
Denbigh LL16 5TA                                UNITED KINGDOM
UNITED KINGDOM
                                                Edinburgh City Council
Eats Gourmet                                    249 High Street
303 Moray Street                                Edinburgh EH1 1YJ
South Melbourne VIC                             UNITED KINGDOM
AUSTRALIA
                                                Edmonton Journal
EC3 Brokers Limited                             365 Bloor Street E
Dukes House                                     Toronto M4W 3L4 ON
32-38 Dukes Place                               CANADA
London EC3A 7LP
UNITED KINGDOM                                  Edmonton Marathon
                                                c/o Running Room Canada Inc
Eckhard Stockmann                               Attn: Liz Caine 9750 47 Avenue
Celler StraBe 9                                 Edmonton T6E 5P3
Eschede 29348                                   CANADA
GERMANY
                                                EE & T-Mobile (EE Limited)
Ecology & Heritage Partners Pty Ltd             Trident Place, Mosquito Way
292 Mt Alexander Road                           Hatfield AL10 9BW
Ascot Vale 3032 VIC                             UNITED KINGDOM
AUSTRALIA
                                                EE (EVERYTHING EVERYWHERE)
Economic Development Queensland                 PO Box 238
Level 7, 63 George Street                       Sheffield S98 1PS
GPO Box 2202                                    UNITED KINGDOM
Brisbane 4001 QLD
AUSTRALIA                                       EFM Management Australia Pty Ltd
                                                PO Box 6343
Ed Radcliffe                                    Alexandria 2015 NSW
1a Guardwell Terrace                            AUSTRALIA
Mr Albert
Auckland                                        EFM Management Ltd
NEW ZEALAND                                     Unit 3, Alpha Way
                                                Thorpe Industrial Park
Ed Victor Ltd.                                  Egham, Surrey TW20 8RZ
6 Bayley Street                                 UNITED KINGDOM
Bedford Square
London WC1B 3HE                                 Ekaterina Caroline Ludmila Bein
UNITED KINGDOM                                  Eschenstrasse 68
                                                85716 Unterschleissheim
                                                GERMANY




                                         - 30 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 32 of 268



Eleanor Barr-Sim                                  EMF Technology Ltd
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Frome, Somerset BA11 3BJ                          Pump Lane, Grazeley
UNITED KINGDOM                                    Reading RG7 1LL
                                                  UNITED KINGDOM
Element Rigging Pty Ltd
5 Randor street                                   Emily Abbott
Campbellfield 3055 VIC                            108 Victoria Cross Blvd SW
AUSTRALIA                                         Calgary T3E 7V2
                                                  CANADA
Elena Bulkowski
ScharnhauserstraBe 32                             Emily Gray
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                                                  CANADA
Elisa Ansar
Kirchstrasse 21                                   Emily McHugh
10557 Berlin                                      93 Empire Avenue
GERMANY                                           Toronto M4M 2L3 ON
                                                  CANADA
Eliza Gabrielle Boyd
101 Foveaux Street                                Emma Anderson
Surry Hills 2010                                  122 Monks Road
AUSTRALIA                                         Exeter, Devon EX4 7BQ
                                                  UNITED KINGDOM
Elke Riedl
Trachenberger StraBe 12                           Emma Careless
Dresden 01129                                     14 Adler Way
GERMANY                                           Liverpool L3 4FX
                                                  UNITED KINGDOM
Ellamber Homes Pty Ltd
140 Elliotts Road                                 Emma Ghaemmaghamy
Broadford 3658 VIC                                19 Tennyson Street
AUSTRALIA                                         Mt Eden
                                                  Auckland
Ellen Meekins                                     NEW ZEALAND
Woodlands House
Beeches Lane                                      Emma Owen
Cowden, Kent TN8 7LA                              22 Heoly Plwyf
UNITED KINGDOM                                    Ynysybwl
                                                  Pontypridd CF37 3HU
Ellison Construction Projects Ltd                 UNITED KINGDOM
UNIT 3, WILSDEM BUSINESS PARK
OLD MILL YARD, WILSDEN                            Emma Smith
BRADFORD, BD15 ODR                                7 Pyrite Street
UNITED KINGDOM                                    Auckland
                                                  NEW ZEALAND
Elodie Caro
10 North Street                                   Empire Collision South
Mount Lawley 6050                                 9000 60th Avenue
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                                                  CANADA
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22-2                                              MOOLOOLABA QLD 4557
Three Hills T0M 2A0                               AUSTRALIA
CANADA




                                           - 31 -
               Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 33 of 268



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Spinghall                                         680 George Street
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Co Meath                                          AUSTRALIA
IRELAND
                                                  Ernst & Young GmbH
Endless Fencing Ltd.                              ArnulfstraBe 59
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NEW ZEALAND                                       GERMANY

Energyst Rental Solutions                         Ernst & Young Ltd
Four Ashes Industrial Estate                      2 Takutai Square Britomart
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Wolverhampton, WV10 7DB                           Auckland 1140
UNITED KINGDOM                                    NEW ZEALAND

Engie Services Ltd t/a East Twenty Event          Erosion Control Contractors Inc
Q3 Quorum Business Park                           28371 Downes Road
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Newcastle-Upon-Tyne NE12 8EX                      CANADA
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                                                  Erwin Neumayr
Enno Freiherr von Ruffin                          7 Learmonth Avenue
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21493 Basthorst                                   Auckland
GERMANY                                           NEW ZEALAND

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St. Hubert J3Z 1G7 QC                             London SW6 3TF
CANADA                                            UNITED KINGDOM

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Burton upon Trent                                 Sydney 2000 NSW
Staffordshire DE13 9TE                            AUSTRALIA
UNITED KINGDOM
                                                  Estate of Gaddesden Home Farm
EPS Australia Pty Ltd                             Bridens Camp
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AUSTRALIA                                         UNITED KINGDOM

Eric Morighan                                     Estella Koh Jia Hui
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Auckland                                          AUSTRALIA
NEW ZEALAND
                                                  etherLive
Ernst & Young                                     Custom House, Templer's Way
Harcourt Centre                                   Industrial Estate
Harcourt Street                                   Wiltshire SN4 7SR
Dublin 2                                          UNITED KINGDOM
IRELAND




                                           - 32 -
            Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 34 of 268



EU Impact                                     Event Equipment Hire
Stationsweg 9                                 Unit 2
9751CA                                        Skyes St
Haren                                         Cleckheaton BD19 5HA
GERMANY                                       UNITED KINGDOM

Eubylon GmbH                                  Event Labor Works
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GERMANY                                       CANADA

Euro Touring Ltd. & Co KG                     Event Merchandising Limited
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04177 Leipzig                                 Humber Road
GERMANY                                       London NW2 6EW
                                              UNITED KINGDOM
Europack24 GmbH
August-Bebel-StraBe 20a                       Event Operations Group Australia Pty Ltd
01803 Heidenau                                Level 2
GERMANY                                       31 The Concourse
                                              Cowes, VIC 3922
Europcar                                      AUSTRALIA
Tangstedter Landstrasse 81
Hamburg 22415                                 Event Rental Works
GERMANY                                       PO Box 1172
                                              Pemberton V0N2L0
EuroSpeedway Verwaltungs GmbH                 CANADA
Lausitzallee 1
Klettwitz 01998                               Event Services International Pty Ltd
GERMANY                                       ABN: 84 124 878 717
                                              PO Box 7
Evan Sandham                                  Barellan, NSW 2665
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PH10
Toronto M4Y 2X3 ON                            Event Support Pty Ltd
CANADA                                        9 David Court
                                              Cowes, VIC 3922
Eve Trakway Limited                           AUSTRALIA
Bramley Vale Chesterfield
Derbyshire S44 5GA                            Event Workforce
UNITED KINGDOM                                PO Box 243
                                              Hawthorn, VIC 3122
Event Buddha Limited                          AUSTRALIA
The Records Barn, Ashley Hall
Ashley Hall Road                              Eventbande GmbH
Altrincham, Cheshire WA14 3QA                 Schneckenburgstr. 11
UNITED KINGDOM                                78467 Konstanz
                                              GERMANY
Event By Event Limited
Abbey House                                   EventFX Scotland
25 Clarendon Road                             13 Watt Crescent
Redhill, Surrey RH1 1QZ                       Craigforthie
UNITED KINGDOM                                Inverurie AB51 0LT
                                              UNITED KINGDOM




                                       - 33 -
            Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 35 of 268



Eventlogistik - Dresden                        Exploration Office Pty Ltd
Ingo Bochert                                   Level 1
Goppelner Str. 16                              554 Burwood Rd
D-01219 Dresden                                Hawthorn VIC 3122
GERMANY                                        AUSTRALIA

Eventology                                     Express Waste Pty Ltd
1851 Highland Ridge Road                       PO Box 1241
Shawnigan Lake V0R 2W0                         Camden 2570 NSW
CANADA                                         AUSTRALIA

Eventrix Pty Ltd                               Extreme Film & Photographics
46 Kendall Ave                                 PO Box 15
Cape Woolamai, VIC 3925                        Hornsby 2077 NSW
AUSTRALIA                                      AUSTRALIA

Events and Colbrow Med, Agaw                   F.R. Crew Ltd
Services Pty Ltd t/a First Aid                 Dudgemore Farm
Unit 24, 1866 Princes Highway                  Hayes Knoll, Purton Stoke
Clayton 3168 VIC                               Swindon SN5 4JJ
AUSTRALIA                                      UNITED KINGDOM

Events Centre, The                             FabFloor Pty Ltd t/as EVENTFLOOR
PO Box 5                                       PO Box 650
Caloundra, QLD 4551                            Altona North VIC 3025
AUSTRALIA                                      AUSTRALIA

Events Crew Limited                            Fabian Breitsamer
Unit 2 Days Yard                               Landhausstr 29
Bow Bridge, Henstridge                         Ispringen 75228
Somerset BA8 0TF                               GERMANY
UNITED KINGDOM
                                               Fabric Solutions Australia Pty Ltd
Evolution Screenprinting and Design            PO Box 6283
Unit 3                                         Yatala DC 4207 QLD
8 Kelly Ct                                     AUSTRALIA
Maroochydore 4558 QLD
AUSTRALIA                                      Facebook Ireland Limited
                                               4 Grand Canal Square
Excel Steel Pty Ltd                            Grand Canal Harbour
6 Astro Court                                  Dublin 2
Hallam 3803 VIC                                IRELAND
AUSTRALIA
                                               Fahnenversand.de - Inh. Nicolai Katcher
Excel Water                                    Ohmstr. 10
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Leeds                                          GERMANY
West Yorkshire LS25 7BF
UNITED KINGDOM                                 Fairmont Chateau Whistler
                                               Credit Department
Executive Sport Ltd                            4599 Chateau Blvd
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Wimbledon                                      CANADA
London SW19 4EU
UNITED KINGDOM                                 Faxtec Pty Ltd
                                               1/20 Hilda Street
                                               Cheltenham 3192
                                               AUSTRALIA



                                        - 34 -
            Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 36 of 268



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FedEx FXFC Priority                           Filip Annemans
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                                              Fillins Catering
FedEx Trade Networks Canada                   Unit 3, Brooks Street
P.O. Box 91620                                Brooks Street Industrial Estate
Station A                                     Stockport SK1 3HS
Toronto M5W0E9 ON                             UNITED KINGDOM
CANADA
                                              Finance and Corporation Services, Revenu
Felicitas Kuch                                200 King Street W
Maronenweg 18                                 PO Box 9059
71665 Vaihingen Enz                           Kitchener N2G 4Y3 ON
GERMANY                                       CANADA

Felix Baiker                                  Finn Templeton
Schwenkgasse 4                                2-91 Sarsfield Street
72669 Unterensingen                           Herne Bay
GERMANY                                       Auckland 1011
                                              NEW ZEALAND
Felix Grelak
Virchowstr 118                                Fiona Anthony
45147 Essen                                   35 Glan Rhyd, Coed Eva
GERMANY                                       Cwmbran NP44 6TY
                                              UNITED KINGDOM
Felix Tyler Construction
12 Brandlehow Road                            Fiona Pagan
London                                        11 Painters Pightle
UNITED KINGDOM                                Hook, Hampshire RG37 9SS
                                              UNITED KINGDOM
Fergies Print & Mail
37 College Street Hamilton                    Fire Rock Lounge
PO Box 736, Hamilton Central                  PO Box 65
Queensland 4007                               Whistler V0N 1B0
AUSTRALIA                                     CANADA

Fernhill Estate                               Fireline Consultancy Ltd
1041 Mulgoa Road                              25 Harbour Ridge
Mulgoa, NSW 2745                              Queens Street
AUSTRALIA                                     Portsmouth PO1 3HT
                                              UNITED KINGDOM



                                       - 35 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 37 of 268



Firmex Corp.                                     Fletcher King Chartered Surveyors
110 Spadina Avenue                               61 Conduit Street
Suite 700                                        London W1S 2GB
Toronto M5V2K4 ON                                UNITED KINGDOM
CANADA
                                                 Flint Bishop, LLP
First Care Medical Services                      St. Michael's Court
Australia Pty Ltd                                St. Michael's Lane
1d Oldsmobile Tce                                Derby DE1 3HQ
Dudley Park 5008                                 UNITED KINGDOM
SOUTH AFRICA
                                                 Florian Weber T/A emotionsinmotion
First Data Merchant Solutions                    Buttermelcherstr. 18
Australia Pty Ltd                                D-80469
Level 11 168 Walker Street                       Munich
North Sydney 2060 NSW                            GERMANY
AUSTRALIA
                                                 Flyer auf Achse de
First Mile Limited                               Ludwig Forster Str 22
Unit 3P Leroy House                              Eggenfelden 84307
436 Essex Road                                   GERMANY
London N1 3QP
UNITED KINGDOM                                   Foal Industries
                                                 33 St Georges Road
First Point Print                                Preston 3072 VIC
8-11 St Johns Lan                                AUSTRALIA
London EC1M 4BF
UNITED KINGDOM                                   Follett's Lake Breeze Pty Ltd
                                                 Step Road
First Radio Sales Limited                        Langhorne Creek 5255
154-160 Fleet Street                             SOUTH AFRICA
4th Floor
London EC4A 2DQ                                  Fonix LED Ltd
UNITED KINGDOM                                   Sandbourne House
                                                 Dominion Road
Fisher Alvin Ltd                                 Bournemoutt, Dorset BH11 8LH
Unit 102 Pointon Way                             UNITED KINGDOM
Stonebridge Cross Business Park, Droitwi
Worcestershir WR9 0LW                            Forstverwaltung F rst zu Stolberg-Wernig
UNITED KINGDOM                                   Betrieb Vogelberg
                                                 Hofgut Luisenlust
Fitter Food                                      Hirzenhain 63697
71 Eastcombe Avenue                              GERMANY
London SE7 7LL
UNITED KINGDOM                                   Fort Knox Records Management Pty Ltd
                                                 PO Box 60
Flair Events Staffing & Management Ltd           Canterbury
1 Maple Place                                    VIC 3126
Perth PH11RT NT                                  AUSTRALIA
AUSTRALIA
                                                 Fortec Trading Ltd t/a Glowtopia
Fleischerei Eichelmann                           Unit 1 Stanley Green Industrial Estate
Ludwig-Renn-Str 68                               Poole BH15 3TH
12687 Berlin                                     UNITED KINGDOM
GERMANY




                                           - 36 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 38 of 268



Fragomen LLP                                     Frontline Security
95 Gresham Street                                Royal Dublin Society
1st Floor                                        Ballsbridge
London EC3R 7BB                                  Dublin 4
UNITED KINGDOM                                   IRELAND

Francis Naper                                    Fruchte Engelhardt
Loughcrew                                        Obst und Gemuse
Oldcastle,                                       GroB- & Einxelhandel, Ziegelgasse 5
Co Meath                                         Oettingen 86732
IRELAND                                          GERMANY

Frank H. Hares                                   Fruit For All
8 Southend House                                 1/11 Tumbi Creek Rd
Sodbury Road, Wickwar                            Berkeley Vale NSW
Wotton-Under0Edge, Glos GL12 8PG                 AUSTRALIA
UNITED KINGDOM
                                                 FullStop Event
Frank Public Relations Limited                   Unit 103 2544 Douglas Road
35 Ballards Lane Finchley                        Burnaby V5C 5W7
London NW3 1XW                                   CANADA
UNITED KINGDOM
                                                 Fully Sussed
FRANK WATER LIMITED                              41 Peverell Park Road
UNIT 2B                                          Plymouth PL3 4LS
WILLINGTON LANE                                  UNITED KINGDOM
BRISTOL B56 5PY
UNITED KINGDOM                                   Funky Furnitire Hire Ltd
                                                 Kores Building
Frank Webber                                     7 Wst Road
Habbeler Weg 1                                   Harlow, Essex CM20 2AL
59757                                            UNITED KINGDOM
Arnsberg
GERMANY                                          Furst zu Oettingen
                                                 Schlo stra e 1
Frankenhof am Altmuhlsee                         D-86732
Streudorf 43                                     Oettingen
91710 Gunzenhausen                               GERMANY
GERMANY
                                                 Furst Zu Oettingen-Spielberg
Freie und Hansestadt Hamburg                     Schlossstrasse 1
Bezirksamt Hamburg-Mitte                         D-86732
Klosterwall 1, Block B                           Oettingen
20095 Hamburg                                    GERMANY
GERMANY
                                                 FURSTEN FOREST
Fresh Choice W.A. PTY LTD                        CEES MEEKS
PO Box 1536                                      POMMERNSTRASSE 12, FURERSTENAU
Canning Vale 6970 WA                             GERMANY
AUSTRALIA
                                                 FWR Pty Ltd
Frickmann Gorny Hellmann                         261 South Street
FrankenstraBe 35                                 Cleveland 4163 QLD
20097 Hamburg                                    AUSTRALIA
GERMANY




                                          - 37 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 39 of 268



Fyffes Group Limited                              Gareth Robers
Richardson Way                                    29 Ashleigh Street
Cross Point Business Park                         Darwen BB3 2JS
Coventry CV2 2TA                                  UNITED KINGDOM
UNITED KINGDOM
                                                  Garmin Australasia Pty Ltd
G4S Cash Solutions Ireland Ltd                    30 Clay Place
51 Bracken Road                                   Eastern Creek 2766 NSW
Sandyford Industrial Estate                       AUSTRALIA
Dublin 18
IRELAND                                           Garth Austin
                                                  4 Indee Court
G4S Cash Solutions UK Ltd.                        Shailer Park 4128
Unit 4, Lancer House, Hussar Court                AUSTRALIA
Westside View, Waterlooville
Hampshire PO7 7SE                                 Gary Pask Consulting
UNITED KINGDOM                                    PO Box 2016
                                                  Eltham 3095 VIC
Galabo Garten und Landschaftsbau GmbH             AUSTRALIA
KAPPENBERGER DAMM 284
Munster 48163                                     Gasthau WeiBes Ross
GERMANY                                           Kapellgasse 42
                                                  D-91717 Wassertrudingen
Gallowglass Health & Safety LLP                   GERMANY
199 The Vale
London W3 YQS                                     Gasthof Holtig
UNITED KINGDOM                                    Lindenstr 17
                                                  21493 Havekost
Gallowglass Ltd.                                  21493 Havekost
199 The Vale                                      GERMANY
London W3 7QS
UNITED KINGDOM                                    Gatwick Airport Ltd
                                                  Destinations Place
Gallowglass Security Partners LLP                 Gatwick Airport
1-5 Beehive Place                                 West Sussex RH6 0NP
London SW97CH                                     UNITED KINGDOM
UNITED KINGDOM
                                                  Gatwick Koi
Galway CF Hospital Project                        The Old Farm Shop
Independent House, Galway Retail Park             Holmbush Farm RH12 4SE
Headford Road                                     UNITED KINGDOM
Galway
IRELAND                                           Gavin Hogarth
                                                  55 Main Street
GAP Group Ltd                                     Kilmaurs
Carrick House                                     East Ayrshire KA3 2SY
40 Carrick Street                                 UNITED KINGDOM
Glasgow G2 8DA
UNITED KINGDOM                                    GCL Products Ltd
                                                  Units 1&2 Carrwood Road
GardaWorld Cash Services Canada Corporat          Sheepbridge
1390 Barre Street                                 Chesterfield, Derbyshire S41 9QB
Montreal H3C 1N4 QC                               UNITED KINGDOM
CANADA




                                           - 38 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 40 of 268



Geiger Limited                                    Georgia Straight Event Services
BTC House                                         #55, 6880 Lucas Road
9 Millington Road, Hayes                          Richmond, BC V7C 4T8
Middlesex UB3 4AZ                                 CANADA
UNITED KINGDOM
                                                  Georgian Bay Printers
Geith & Niggl GmbH & Co                           17 Colborne St East
Postfach 810669                                   Orillia L3V 1T4 ON
Munchen 81906                                     CANADA
GERMANY
                                                  Georgian Conference Services
Gemeinde Hirzenhain                               One Georgian Drive
Karl-Birx-Stra e 6                                Barrie L4M 3X9 ON
Postfach 53                                       CANADA
63697 Hirzenhain
GERMANY                                           Geraldton Fish Market
                                                  Golden West Logistics
Gemeinde Hoppegarten der Burgermeister            PO Box 78
Lindenallee 14                                    Geraldton 6531 WA
15366 Hoppegarten                                 AUSTRALIA
GERMANY
                                                  Gerate- und Maschinen GmbH
Gemeinde Schipkau Der Burgermeister               Am Kumpenkamp 1-3
Schulstr 4                                        Hermannsburg 29320
Schipkau, OT Klettwitz 01998                      GERMANY
GERMANY
                                                  Gerken GMBH
Gemeinde Sudheide                                 In dee Steele 15
Hermannsburg                                      Dusseldorf
Am Markt 3                                        40599 Dusseldorf
Sudheide 29320                                    GERMANY
GERMANY
                                                  Gerken Mietservice GmbH
Generator Power Limited                           In der Steele 8
Foxbridge Way                                     40599 Dusseldorf
Normanton Ind. Estate                             GERMANY
Normanton, West Yorkshire WF6 1TW
UNITED KINGDOM                                    Germain Kierdorf
                                                  812 Landsdowne Ave
Geoff Cropp                                       817
4 Eastview Road                                   Toronto M6H 4K5 ON
Glen Innes                                        CANADA
Auckland
NEW ZEALAND                                       German Zuniga
                                                  Justo Sierra 3392
George Patrick Arthur Barrie dba Shoot G          Colonia Vallarta San Jorge
Unit 5                                            Guadalajara, Jalisco CP 44690
98 Debeauvoir Road                                MEXICO
London N7 4EN
UNITED KINGDOM                                    Gervais
                                                  75 Milner Avenue
George Perry Ltd                                  Scarborough M1S 3P6 ON
Units 18,19 & 21, Birmingham Wholesale M          CANADA
Nobel Way
The Hub, Witton, Birmingham B6 7EU                Gestion Gesport Inc.
UNITED KINGDOM                                    992 Rue Joliette
                                                  Longueuil J4K4V9 QC
                                                  CANADA



                                           - 39 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 41 of 268



Get Me Media Ltd                                 GK Films & Media LTD
3-4 Great Marlborough Street                     97 Deans Lane
London W1F 7HH                                   Edgware HA8 9PD
UNITED KINGDOM                                   UNITED KINGDOM

Getr nke Sch fer                                 Glanusk Events LLP
Daimierstr. 1                                    Estate Office
76344 Eggenstein-Leo                             Glanusk Park, Crickhowell
GERMANY                                          Powys NP8 1LP
                                                 UNITED KINGDOM
Getranke Schenker
FrachgroBhandelsgesellschaft mbH                 Glanusk Family Limited Partnership
Sitz der Gesellschaft: Senftenberg               22 High Street
Cottbus HRB 1157                                 Hungerford
GERMANY                                          Berkshire RG17 0NF
                                                 UNITED KINGDOM
GFL Environmental Inc
5728 Old School Road                             Glenworth Valley Horse Riding Pty Ltd
Caledon L7C 0W6 ON                               69 Cooks Road
CANADA                                           Peats Ridge 2250 NSW
                                                 AUSTRALIA
GHD Pty Ltd
Level 3 GHD Tower                                Global Radio Services Limited
24 Honeysuckle Drive                             Credit Control Department
Newcastle, NSW 2300                              30 Leicester Square
AUSTRALIA                                        London WC2H 7LA
                                                 UNITED KINGDOM
GI Collections Aviva Credit Services UK
PO Box 3471                                      Global Sports Jobs Ltd
Surrey Street                                    Staple House, Suite 1
Norwich NR1 3FZ                                  Eleanor's Cross, Dunstable
UNITED KINGDOM                                   Beds LU6 1SU
                                                 UNITED KINGDOM
Giant Deckchairs Ltd
Unit 2                                           GMF Contractors Pty Ltd
8 Marsh Green Road                               PO Box 3142
North Exeter EX2 8NY                             Malaga 6945 WA
UNITED KINGDOM                                   AUSTRALIA

Gibbons Festivals & Events                       Go Services Inc/Potty Go Rentals
505-4280 Mountain Square                         PO Box 839
Whistler                                         Bentley T0C 0J0
CANADA                                           UNITED KINGDOM

Gibson Freight Australia Pty Ltd                 Going Bananas LTD
PO Box 270                                       26 A Washington Avenue
Mascot 1460 NSW                                  Glendowie
AUSTRALIA                                        Auckland 1071
                                                 NEW ZEALAND
Gillett Electrical Pty Ltd
1/21 Allen St                                    Golden Grill
Caloundra, QLD 4551                              157 Ashdale Ave
AUSTRALIA                                        Toronto M4L 2Y8 ON
                                                 CANADA
Giselli Benatti Temperani
10 Hill Avenue
Burleigh Heads 4220 QLD
AUSTRALIA



                                          - 40 -
            Case 20-10036-CSS    Doc 42-1    Filed 02/12/20   Page 42 of 268



Golf Car Rentals Pty Ltd                        Gotham Grill Toronto
ABN 25 108 652 473                              Unit 1002
Unit 4 52 Hector Street                         2200 Lakeshore Blvd W
Osborne Park 6017 WA                            Toronto M8V 1A4 ON
AUSTRALIA                                       CANADA

Golf Cart World Pty Ltd                         Gotz Klempert
157 Church Street                               TheresienstraBe 128
Ryde, NSW 2112                                  Munchen 80333
AUSTRALIA                                       GERMANY

Golf Imports Ltd t/a EZ GO                      Goulding Constructions Pty Ltd
18 Vernon Street                                16 Dorothy Ave
PO Box 72 333                                   Woy Woy 2256 NSW
Papakura                                        AUSTRALIA
NEW ZEALAND
                                                GP Fleming
Golonaise Pty Ltd dba Cleveland Visitor         103 Mia Mia Road
PO Box 3715                                     Broadford 3658 VIC
Loganholme 4129 QLD                             AUSTRALIA
AUSTRALIA
                                                Grace Records Management
Good Service Pty Ltd                            9 Hepher Road
PO Box 523                                      Campbelltown 2560 NSW
Caringbah 1495                                  AUSTRALIA
AUSTRALIA
                                                Gracey Monteith
Good Time Party Rentals Ltd                     483 Drury Hills Road
4605 76 Ave SE                                  RD1 Drury
Calgary T2C 3V3                                 Franklin 2577
CANADA                                          NEW ZEALAND

Goodwin & Goodwin                               Graeme Andrews
Unit 1                                          419 Sea View Road
Olympia Trading Estate, Corburg Road            Waiheke Island
London N22 6TZ                                  Auckland 1081
UNITED KINGDOM                                  NEW ZEALAND

Google Ireland Ltd                              Graeme Knott
Gordon House                                    Paynes Cottage
Barrow Street                                   Paynes Lane, Lt Bromley
Dublin 4                                        Essex C011 2PJ
IRELAND                                         UNITED KINGDOM

Gosford Palms Motor Inn                         Graeme Roy Switzer
7-9 Moore Street                                C/- Duncan Cotterill
West Gosford 2164 NSW                           PO Box 5326
AUSTRALIA                                       Auckland 1141
                                                NEW ZEALAND
Gosford RSL Club T/A Ashwood Motel
PO Box 303                                      Grafton Electrics
Gosford 2250 NSW                                Cnr Wellington & Charles Streets
AUSTRALIA                                       PO Box 289
                                                Northam WA 6401 WA
                                                AUSTRALIA




                                          - 41 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 43 of 268



Grant Crockett                                   Gregor Winkler
10/3 Great King Street                           AckerstraBe 14
Edinburgh EH36QL                                 Steinhagen 33803
UNITED KINGDOM                                   GERMANY

Grant Prodger                                    Ground Loard Ltd
50 B Kayes Road                                  The Granary
Pukekohe                                         Bourne Court
NEW ZEALAND                                      St. Melbourne, Andover SP11 6BT
                                                 UNITED KINGDOM
Grant Thorton UK LLP
300 Pavilion Drive                               Groundswell Laboratories P/L
Northampton Business Park                        116 Moray Street
Northampton NN4 7YE                              South Melbourne 3205 VIC
UNITED KINGDOM                                   AUSTRALIA

Green Street Media                               Group IQ Pty Ltd t/a Sponsorship IQ Pty
Military House                                   PO Box 341
24 Castle Street                                 Blackrock 3193 VIC
Chester, Cheshire CH1 2DS                        AUSTRALIA
UNITED KINGDOM
                                                 GS Tuck
Green Toilet Company Ltd                         Luckington
Rochester house, Ridgewood Farm                  Wiltshire SN14 6PW
Cockhill Field Lane, Braithwell                  UNITED KINGDOM
Rotherham S66 7AU
UNITED KINGDOM                                   GSS Security Ltd.
                                                 1219 Main Street East
Greenfield Leisure Yorkshire                     Hamilton L8K 1A5 ON
Unit 2 Bolton Road Workshops                     CANADA
Bolton Road
Wath on Dearne, Rotherham S637JY                 GT Trax Limited
UNITED KINGDOM                                   Orchard Business Centre
                                                 Orchard Road
Greengage                                        Royston, Hertfordshire SG8 5HD
64 Great Suffolk Street                          UNITED KINGDOM
London SE1 0BL
UNITED KINGDOM                                   GTI Medical
                                                 1268 Rue des Patriotes
Greenhill Entertainment Ltd                      Ancienne-Lorette G2E 5H3 QC
The Studio, Burn Lea                             CANADA
Casters Lane
Woking, Surrey GU22 8JG                          Guangzhou Bigenjoy Inflatable Product Co
UNITED KINGDOM                                   Hongxing Industrial Districts
                                                 Shisha Road
Greenhorizons Group of Farms Ltd                 Shijing Town, Guangzhou
1625 Kossuth Road                                CHINA
Cambridge N3H 4R6 ON
CANADA                                           Guardian Storage
                                                 38 York St
Greg Scott                                       South Melbourne 3205
4883 12A Ave                                     AUSTRALIA
Delta V4M 2B6
CANADA                                           Guardians of Safety Limited
                                                 28 Park Road
                                                 London SW19 2HS
                                                 UNITED KINGDOM




                                          - 42 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 44 of 268



Guardteck Security Live                          Halfords IP
202-4664 Lougheed Hwy                            7th Floor
Burnaby V5C 5T5                                  1 Market Street
CANADA                                           Sydney 2000 NSW
                                                 AUSTRALIA
Gummimatten-Kaufhaus.de v.d. Brink's Hig
Habraken 2327                                    Halsey & Partners
5507TK Veldhoven                                 Estate Office, Gaddesden Home Farm
NETHERLANDS                                      Bridens Camp, Hemel Hempstead
                                                 Hertfordshire HP2 6EZ
Gunnar FindeiB                                   UNITED KINGDOM
Magazinstr. 1a
08056 Zwickau                                    Hambleden Parish Council
GERMANY                                          20 Glade View
                                                 High Wycombe
Gutshof im Oertzetal                             Bucks HP12 4UN
Eschedeer StraBe 2                               UNITED KINGDOM
Hermannsburg 29320
GERMANY                                          Hambleden Village Hall
                                                 Hambleden
GVA an Apleona Company                           Henley-on-Thames RG9-6RP
PO Box 8790                                      UNITED KINGDOM
Birmingham B1 2JJ
UNITED KINGDOM                                   Hamburger Renn-Club e.V.
                                                 Rennbahnstrasse 96
H&H Huxted Ent Ltd                               Hamburg 22111
101 Slater Way                                   GERMANY
Strathmore T1P 1V1
CANADA                                           Hamilton Conservation Authority
                                                 PO Box 81067
H&H Reeds Printers Ltd                           838 Mineral Springs Road
Southern Road, Penrith                           Ancaster, Ontario L9G 4X1
Cumbria CA11 8JH                                 CANADA
UNITED KINGDOM
                                                 HAMILTON DEED
H&Q International Pty Ltd                        86 THORKILL ROAD
27 Cinnabar Ave                                  THAMES DITTON
Mt Waverley 3149 VIC                             KT7 OUQ
AUSTRALIA                                        UNITED KINGDOM

H.W. Watkins Plant Hire & Ground Works           Hamilton Police Service
24 Dan-y-Grug                                    Paid Duty Co-Ordinator
Crickhowell                                      155 King William Street
Powys NP8 1DD                                    Hamilton L8R 1A7 ON
UNITED KINGDOM                                   CANADA

Haika Urlich                                     Hamish McGuire
86 Upland Road                                   95 Stredwick Drive
Remuera                                          Torbay
Auckland                                         North Shore 0630
NEW ZEALAND                                      NEW ZEALAND

Haining Jiangsen Artificial Grass Co., L         Hampshire Flag Company
No. 660 Quitao Road, Hangzhou                    Unit 11, Pipers Wood Industrial Park
Zhejiang Province 310016                         Waterberry Drive
CHINA                                            Waterlooville, Hampshire PO7 7XU
                                                 UNITED KINGDOM




                                           - 43 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 45 of 268



Hampton Downs Group Ltd                           Harry the hirer
RD 2 Te Kauwhata                                  81-95 Burnley Street
Waikato 3782                                      Richmond 3121 VIC
NEW ZEALAND                                       AUSTRALIA

Hampton House Bed & Breakfast                     Haverford Pty Ltd
Mrs. E H Sarginson                                93 Carrington St
Hampton House, Stevensons Lane                    Revesby 2212 NSW
Hampton, Malpas Cheshire                          AUSTRALIA
UNITED KINGDOM
                                                  Haycom AV Pty Ltd
Hanes Engineering Co Ltd                          63 Fennell Street
PO Box 4                                          Port Melbourne, VIC 3207
Horotiu 3262                                      AUSTRALIA
NEW ZEALAND
                                                  HEALTH CARE OPTIONS PTY LTD
Hans Hermann Alvarez                              575 TARRAGINIDI ROAD
12 Normandy                                       P O BOX 217
Baie D'urfe H9X 3E3 QC                            SALISBURY QLD 4107
CANADA                                            AUSTRALIA

Hansons The Caterers Ltd                          Heartburn Entertainment
Colne Way Court                                   22 The Copse
Unit 7                                            Blaydon
Colne Way, Watford, Herts WD24 7NE                Gateshead NE21 5PH
UNITED KINGDOM                                    UNITED KINGDOM

Harbottle & Lewis LLP                             HEATHER LEIGHMANS.COM
Hanover House                                     WARTH BUSINESS CENTRE, WARTH RD
14 Hanover Square                                 BURY, LANCASHIRE BL9 9NB
London W1S 1HP                                    UNITED KINGDOM
UNITED KINGDOM
                                                  Heidenreich AuBenanlagen
Haringey London                                   Backebergsmuhle 5
Corporate Debt Management                         29320 Hermannsburgh
10 Station Road (Level 5)                         GERMANY
London N22 7TR
UNITED KINGDOM                                    Heidi Gotz
                                                  Sonnenwinkel 26
Harley Lemmon                                     04299 Leipzig
42 Pulham Cres                                    GERMANY
Queenwood
Hamilton                                          Heiko Grehling
NEW ZEALAND                                       FFR GmbH Ferdinand Porsche Stra e 21
                                                  60386 Frankfurt am Main
Harrison External Display System DBA Gla          GERMANY
38 Borough Road
Darlington                                        Heinrich Wobbe oHG
Co Burham DL1 1SW                                 Umschlaghalle SW 11
UNITED KINGDOM                                    BankstraBe 28
                                                  Hamburg 20097
Harrison External Display Systems                 GERMANY
38 Borough Road
Darlington DL1 1SW                                Helen Harper
UNITED KINGDOM                                    18 Rose Cresent
                                                  Ainsdale, Merseyside PR8 3SA
                                                  UNITED KINGDOM




                                           - 44 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 46 of 268



Help for Heroes Ltd                               Historic Environment Scotland Ent
14 Parkers Close                                  HES Finance Department
Downtown Business Park, Salisbury                 Longmore House Salisbury Place
Wilts SP5 3RB                                     Edinburgh EH9 1SH
UNITED KINGDOM                                    UNITED KINGDOM

Henmans of Herefordshire Ltd                      HM Revenue and Customs - Corporate Tax S
Arrowvale Works, Shobdon                          Corporation Tax Services
Leominster HR69NN                                 Benton Park View
UNITED KINGDOM                                    Newcastle Upon Tyne NE98 1ZZ
                                                  UNITED KINGDOM
Henning Laing
Arndtplatz 3                                      Hochsauerlandkreis
Osnabruck 49080                                   Der Landrat
GERMANY                                           Meschede 59870
                                                  GERMANY
Henriette Albon
Lekerinden 67                                     Holiday Inn Bristol Filton
5099 Bergen                                       Filton Road, Hambrook
NORWAY                                            Bristol BS16 1QX
                                                  UNITED KINGDOM
Hertfordshire Constabulary Police Headqu
Stanborough Road                                  Holiday Inn Express - London Gatwick Cra
Welwyn Garden City, Herts AL8 6XF                 The Squareabout
UNITED KINGDOM                                    Haslett Avenue East
                                                  Crawley RH10 1UA
Hertz System, Inc.                                UNITED KINGDOM
Hertz Equipment Rental
614 Dunlop Street West                            Holiday Inn High Wycombe
Barrie L4M 4S4 ON                                 Handy Cross
CANADA                                            High Wycombe
                                                  Buckinghamshire HP11 1TL
Hezelhof Radl-Hotel                               UNITED KINGDOM
MarktstraBe 11
Wassertrudingen 91717                             Holiday Inn Winchseter
GERMANY                                           Telegraph Way
                                                  Morn Hill
Hibiscus Water Supply (2008) Ltd                  Winchester SO21 1HZ
108 Stanmore Bay Road                             UNITED KINGDOM
Whangaparaoa
Auckland                                          Holmbush Farm
NEW ZEALAND                                       Crawley Road, Faygate
                                                  West Sussex RH12 4SE
Hint Media Ltd                                    UNITED KINGDOM
St Martin's House
7 Peacock Lane                                    Holmbush Fencing Supplies Limited
Leicester LE1 5PZ                                 Park Hovel, Holmbush Farm
UNITED KINGDOM                                    Faygate, Nr. Horsham
                                                  West Essex RH12 4SE
Hip Pocket Workwear and Safety Maroochyd          UNITED KINGDOM
PO Box 8145
Maroochydore DC, QLD 4558                         Holmhill Country House
AUSTRALIA                                         Thornhill
                                                  Dumfries and Galloway DG3 4AB
HIPP GmbH & Co. Vetrieb KG                        UNITED KINGDOM
Georg-Hipp-StraBe 7
Pfaffenhofen 85276
GERMANY



                                           - 45 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 47 of 268



Home Hardware - Milton                            Hotel Blauer Wolf
385 Steeles Avenue                                Marktplatz 9
Milton L9T 3G6 ON                                 Gunzenhausen 91710
CANADA                                            GERMANY

Homestyle Pies                                    Hotel Development Kettering Ltd
228 2nd Avenue West                               Rockingham Road
Hanna T0J 1P0                                     Kettering, Northants NN14 1UD
CANADA                                            UNITED KINGDOM

HootSuite Media Inc.                              Hotel Eifeltor
5 East 8th Avenue                                 Zur Sommerrodelbahn
Vancouver V5T 1R6                                 Mechernich 53894
CANADA                                            GERMANY

Hopf Landwirtschaft                               Hotel Garni Regent
Markus Hopf                                       Inh. Familie Pezer
Altentrudinger Str. 10                            Kirchwall 18
91717 Wassertrudingen                             53879 Euskirchen
GERMANY                                           GERMANY

Horizon Balloons                                  Hotel Zur Post
PO Box 2336                                       Bruchhausener Str 29
Ivanhoe East 3079                                 Arnsberg 59759
AUSTRALIA                                         GERMANY

Horseshoe a Skyline Resort Barrie                 Hotelbetriebe Guldenhaupt
1101 Horseshoe Valley Road West                   Alter Markt 6 Alter Markt 27
RR#1                                              Arnsberg 59821
Barrie L4M 4Y8 ON                                 GERMANY
CANADA
                                                  House of Flags
Horsham & District Angling Association            Bicton Ind Park
49 Hawkesbourne Road                              Kimbolton
Horsham, West Sussex                              Cambs PE28 0LQ
UNITED KINGDOM                                    UNITED KINGDOM

Horsham District Council                          HOW Planning LLP
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Horsham, West Sussex RH12 1RL                     UNITED KINGDOM
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Hospitality Services                              St Judes Church
Unit 2                                            Dulwich Road
Enterprise House                                  Herne Hill, London SE24 0PB
Swindon SN2 2YZ                                   UNITED KINGDOM
UNITED KINGDOM
                                                  HS Sports Limited
Hotel & Restaurant Landhaus                       Kinetic House
Drochower Strabe 4                                Varey Road
Meuro 01994                                       Congletin, Chershire CW12 1UW
GERMANY                                           UNITED KINGDOM

Hotel Am Markt                                    HSBC UK Bank plc
Marktstr 25                                       PO Box 728
Arnsberg 59759                                    Camberley GU15 3WU
GERMANY                                           UNITED KINGDOM



                                           - 46 -
            Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 48 of 268



Hubbway Ltd.,                                 Ibis Styles Hotels
Hubbway Business Centre                       Moehnestr 37
Bassington Lane                               59775 Arnsberg
Cramlington NE23 8AD                          GERMANY
UNITED KINGDOM
                                              Iceco Limited
Hubertus Schmitz                              South Kirkby
Iversheimerstr 54                             West Yorkshire WF9 3AP
53894 Mechernich Wachendorf                   UNITED KINGDOM
GERMANY
                                              Ideal Office Furniture Pty Ltd
Hucks Nets                                    PO Box 333
Gore Cross Business Park                      West Pennant Hills 2125 NSW
Corbin Way                                    AUSTRALIA
Bridport, Dorset DT6 3UX
UNITED KINGDOM                                If Business Solutions
                                              150 Gladstone Street
Hummerich & Bischoff                          South Melbourne 3205 VIC
Am Kanal 16-18                                AUSTRALIA
Potsdam 14467
GERMANY                                       IGA Gewerbe- Auskunftei UG
                                              Mevissenstr. 5a
Hunt Personnel                                Essen 45329
1801-666 Sherbrooke O.                        GERMANY
Montreal, QC H3A1E7
CANADA                                        IHK Berlin
                                              Fasanenstra e 85
Hydropop Event Services Inc                   Berlin 10623
11744 River Road                              GERMANY
Surrey V3V 2V7
CANADA                                        Imants Ignatjevs
                                              17 Clonmore Ardee
Hyped Media                                   Co. Louth
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Brooklyn 3012 VIC
AUSTRALIA                                     IMG Overseas LLC - Dubai Branch
                                              Elisa Pettit Suite 117 Gold & Diamond Pa
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Mississuga L5A 1W2 ON                         UNITED ARAB EMIRATES
CANADA
                                              Impact Magazine
Ian Richardson                                2007 2 Street
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Cochrane T4C 073                              CANADA
CANADA
                                              Ina-Mariea Beyer
Ian Van Every                                 Trutzchlerstr 6
4121 West 13th Avenue                         12487 Berlin
Vancouver V6R 2T5                             GERMANY
CANADA
                                              Incognitus
Ibis Budget                                   Level 31 North Tower
Wanderbeker Zollstrasse 25-29                 459 Collins Street
Hamburg City Ost 22041                        Melbourne 3000
GERMANY                                       AUSTRALIA




                                       - 47 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 49 of 268



Indexscope Ltd t/a ABCnet                        Inside Eagles Pty Ltd
Maple House                                      Level 5, 50 Carrington Street
382 Kenton Road                                  Sydney 2000 NSW
Harrow, Middlesex HA39DP                         AUSTRALIA
UNITED KINGDOM
                                                 InStaff & Jobs GmbH
Industrial Rentals Limited                       MarkgrafenstraBe 11
Unit 4 u store                                   10969 Berlin
Cromlech Road, Sandbank                          GERMANY
Dunoon PA23 8QH
UNITED KINGDOM                                   Instant Marquees
                                                 Unit D Highfield Road
Industrie & Gewerbe Verwaltung                   Camelford
IGV eK Munsterstr 248                            Cornwal PL32 9RA
Dusseldorf 40470                                 UNITED KINGDOM
GERMANY
                                                 Instant Scaffolds & access Equipment WA
Inflatable Safety Testing                        PO Box 129
PO Box 5953                                      Burswood 6100 WA
Northants NN14 6XL                               AUSTRALIA
UNITED KINGDOM
                                                 Intent   Productions Ltd
Information Resource Development Pty Lim         Unit 5   Gresham Way
Level 5, 621 Pacific Highway                     London   SW19 8ED
St Leondards 2065 NSW                            UNITED   KINGDOM
AUSTRALIA
                                                 Interactive Voices Inc
Ingenuity ABM Ltd                                150 Dufferin Ave
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2nd Floor                                        London N6A 5N6 ON
London W1T 4BB                                   CANADA
UNITED KINGDOM
                                                 International Comissioners Office
Ingrid Village Cafe                              Data Protection Notification Dept.
102-4305 Skiers Approach                         PO Box 66
Whistler V0N 1B4                                 Wilmslow, Chersire SK9 5AF
CANADA                                           UNITED KINGDOM

InkLink Supplies                                 International Management Group
61 Hawthorn Rd                                   Blake Ulrich Level 25 MLC Centre
Caulfield North, VIC 3163                        19 Martin Place
AUSTRALIA                                        Sydney 2000 NSW
                                                 AUSTRALIA
InkMasters
61 Hawthorn Road                                 Intersped Logistics (UK) Limited
Caulfield 3161                                   66 Hailey Road
AUSTRALIA                                        Erith
                                                 Kent DA18 4AA
Inland Plumbing and Total Reticulation           UNITED KINGDOM
394 Fitzgerald St
Northam 6401 WA                                  Invision Signs & Designs
AUSTRALIA                                        7 Peel Tce Northam
                                                 W.A. 6401, PO Box 788
InSide Drumheller Ltd                            Northam 6401 WAA
PO Box 1629                                      AUSTRALIA
515 Highway 10 East
Drumheller T0J 0Y0
CANADA



                                           - 48 -
            Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 50 of 268



Ira Caplan-Bickerdike                           Ivedrive Ltd T/A Action All
213 Richeleau Road                              Terrain. 31 Waihi Road
Montreal J0E2K0 QC                              PO Box 2496
CANADA                                          Tauranga
                                                NEW ZEALAND
Irish Red Cross
16 Merrion Square                               J. Browne Construction Company Ltd
Dublin 2                                        Meelin House, Pavillion Business Centre
IRELAND                                         6 Kinetic Crescent
                                                Enfield EN3 7FJ
Irvin St. Louis                                 UNITED KINGDOM
6, 3rd Street
Roxboro H8Y 1A4 QC                              J.E.F. Scaffolding Ltd.
CANADA                                          Heathwood Road, Higher Heath
                                                Whitchurch
Ishbel Urquhart                                 Shropshire SY13 2HG
2/46 Puriri Street                              UNITED KINGDOM
Helensville
Auckland 0800                                   JAC Nichols
NEW ZEALAND                                     5A Merrit Street
                                                Huntington, Cambridgeshire PE29 3HF
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PO Box 480
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AUSTRALIA                                       10 Cranstoun Court
                                                Thomson 3219 VIC
Island Marquees                                 AUSTRALIA
15 The Concourse
Cowes, VIC 3922                                 Jack Links Australia LLC
AUSTRALIA                                       9/36 Holbeche Road
                                                Arndell Park 2148 NSW
Island Off Printing                             AUSTRALIA
Unit 5/2 Carnarvon Road
West Gosford, NSW 2250                          Jack Webber
AUSTRALIA                                       46666 Braeside Avenue
                                                Chilliwack V2R 3Y9
Island Paradise Holiday Rentals                 CANADA
PO Box 284
Cowes VIC                                       Jade Ashley Skillen
AUSTRALIA                                       17 Maidenhair Way
                                                Red Lodge, Bury St Edmunds
ITHACA ICE WORKS PTY LTD                        Suffolk IP288WX
121 GOSPEL STREET                               UNITED KINGDOM
HEMMANT 4174
AUSTRALIA                                       Jairo Narvaez
                                                E20 #S3-266 y S3D
ITV Studios Limited                             Quito, Pichincha 170404
The London Television Centre                    SOUTH AFRICA
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London SE1 9LT                                  Jake Gow
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Hechtsheimer StraBe 72                          CANADA
Mainz 55131
GERMANY




                                         - 49 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 51 of 268



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Ellon, Aberdeenshire AB41 9FW                    Jason Vurma dba Multisport Canada Inc
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                                                 Barrie, on L4M 5N4
                                                 CANADA




                                           - 50 -
            Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 52 of 268



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Narelle Corbet                                  18 Ladbrooke Drive
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AUSTRALIA
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JC Leisure Connexions Ltd                       Skorno pri o tanju 5
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                                                AUSTRALIA
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AUSTRALIA



                                         - 51 -
               Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 53 of 268



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                                                  UNITED KINGDOM
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Orakei                                            John Smale Event Services
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                                                  Cumbria LA9 7AU
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Tallebudgera 4228 QLD                             Jon Lundrigan
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                                                  Cochrane T4C 0R9
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The Boulevard                                     Jon Mackenzie
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                                                  CANADA
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Bielefeld 33615                                   Lerkerinden 67
GERMANY                                           Bergen 5099
                                                  NORWAY
Johannes Hoppe
Ostentor 14                                       Jonathan Feist
59757 Arnsberg                                    4129 maisonneuve Ouest
GERMANY                                           Montreal H3Z 1K2 QC
                                                  CANADA
John Austen
5 Chelveston                                      Jonathan McDonald
Welwyn Garden City, Herts AL7 2PW                 46 Ashcroft Drive
UNITED KINGDOM                                    Croftfoot
                                                  Glasgow G445QA
John Boag's Premium Building                      UNITED KINGDOM
Wingello Park
14595 Hume Highway                                Jonathan Patrick
Marulan 2579 NSW                                  31 Heron Drive
AUSTRALIA                                         Lenton
                                                  Nottingham NG7 2DE
John Harris                                       UNITED KINGDOM
8 Montana Ave
Murrays Bay
NEW ZEALAND




                                           - 52 -
            Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 54 of 268



Jonathan Soh                                    Julia Walser
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East Tamaki Heights                             81379 Munchen
Auckland 2016                                   GERMANY
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                                                Just Traffic Solutions
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Leyonstone E11 1AH                              AUSTRALIA
UNITED KINGDOM
                                                Justin Colavincenzo
Jorg Troder                                     2222 Raudot
Konigsallee 92 A                                Montreal H4E 2N9 QC
Dusseldorf 40212                                CANADA
GERMANY
                                                Justin Doering
Jorge Orjuela                                   HunenstraBe 14
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Toronto M3A 1A6 ON                              GERMANY
CANADA
                                                Justin Scott-Walker
Jose Abraham Gonzalez Gonzalez                  15-2210 Horizon Drive
Malinalco #44 Col. Cumbria, Cuautitlan          West Kelowna V1Z 3L4
Izcalli, Estado de Mexico 54704                 CANADA
MEXICO
                                                Justis Danto-Clancy
Josh Deady                                      2-3 Maynard Avenue
7 Brookside                                     Toronto M6K 2Z7 ON
Gowerton                                        CANADA
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UNITED KINGDOM                                  JVA Technologies Pty Ltd
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Cowansvilee J2K 2J9 QC                          AUSTRALIA
CANADA
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Joshua Roberts                                  Karlsbader Str 11A
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UNITED KINGDOM
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Jost Von Brandis Service-Agentur GmbH           Postfach 1209
Elbberg 7                                       33434 Herzebrock-Clarholz
Hamburg 22767                                   GERMANY
GERMANY
                                                Karen Cushley
Judy Freudig                                    2 Galashiels Ave
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UNITED KINGDOM
                                                Karen Maier
Julia Heinrich                                  Altentrudingen 23
Horrenberger StraBe 24                          91717 Wassertrudingen
69168 Wiesloch                                  GERMANY
GERMANY




                                         - 53 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 55 of 268



Karl Wagner                                      Keith Stocker
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91717 Wassertrudingen                            Newport-on-Tay
GERMANY                                          Fife DD6 8AZ
                                                 UNITED KINGDOM
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399 College Street                               Kelly Douglas
Te Awamutu 3800                                  cure Kids, Level 4, Suite 4, Laundry Bui
NEW ZEALAND                                      58 Surrey Crescent, Grey Lynn
                                                 Auckland
Karsnook Pty Ltd T/A Fortyfive51                 NEW ZEALAND
PO Box 4047
Caloundra DC 4551 QLD                            Kelly Gledhill
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                                                 West Harbour, Auckland 0618
Kassia O'Connor                                  NEW ZEALAND
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Vancouver V6B 2W6                                Kenneth Buwing
CANADA                                           Adam-Stegerwald-StraBe 16
                                                 51063 Kolin
Kate Gordon                                      GERMANY
22 Ormond Road
Oxley 4075 QLD                                   Kent Durbin
AUSTRALIA                                        46 Isobel Road
                                                 Greenhithe
Kate Macgregor                                   Auckland
28 Harbour View Road                             NEW ZEALAND
Parkstone
Poole                                            Kerry Laws
UNITED KINGDOM                                   The Garden House
                                                 Crathorne
Katharina Oster Events and Promotion             North Yorkshire TS15 0BA
BahnhofstraBe 17a                                UNITED KINGDOM
Alzenau i.Ufr. 63755
GERMANY                                          Kerry Nash
                                                 132 Carfax Avenue
Kaus Media Services                              Tongham GU10 1BB
Sophienstrasse 6                                 UNITED KINGDOM
30159 Hannover
GERMANY                                          Kerstin Dittmann
                                                 Friedrichsorter Str. 21
Kay Ahrendt                                      24159 Keil
Dortstrasse 66                                   GERMANY
Beggerow 17111
GERMANY                                          Kethro Ltd
                                                 Cloven Rocks
Keeley Lawson                                    Simonsbath
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Mt Wellington                                    UNITED KINGDOM
Auckland 1060
NEW ZEALAND                                      Kevin Hume
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Keep Snaps                                       Edinburgh EH166RJ
Kathryn Thompson                                 UNITED KINGDOM
4/59 Station Street
Fairfield 3121 VIC
AUSTRALIA




                                          - 54 -
            Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 56 of 268



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Bell Block                                    Munchen 80333
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NEW ZEALAND
                                              Klosterkammerforstbetrieb
Kevin James                                   HindenburgstraBe 34
12 Normandy 6672                              Sehnde 31319
Knight Street                                 GERMANY
Vancouver
CANADA                                        Knauthe
                                              Leipziger Platz 10
Kevin Post                                    D-10117 Berlin
108-8 Norivay Road                            GERMANY
Flesherton N0C 1E0 ON
CANADA                                        Knight Dive and Marine Services Pty Ltd
                                              Oliver Fink
Khaled ElSawaf                                13 Coorumbong Close
18 Strowan Road                               Mooloolaba 4557 QLD
Christchurch                                  AUSTRALIA
NEW ZEALAND
                                              Knightguard Protection Services Pty Ltd
Kiah Retreat                                  PO Box 672
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Kulnura 2250 NSW                              AUSTRALIA
AUSTRALIA
                                              Knightsbridge Recruitment
Kiln Ltd                                      136 Sloane Street
Sophie Ronald                                 London SWIX 9AY
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London EC3M 5NR
UNITED KINGDOM                                Knipton Village Hall
                                              Church Lane, Knipton
Kim J McGuire                                 Grantham
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North Shore 0630                              UNITED KINGDOM
NEW ZEALAND
                                              Konrad Farkowski
Kim-Maree Morwood                             Okrag 21/5
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New Plymouth 4310                             POLAND
NEW ZEALAND
                                              Kosteneinziehungsstelle der Justiz
Kirsten Holst                                 Alstader Ring 7
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Blackheath, London SE13 7DW                   GERMANY
UNITED KINGDOM
                                              KPI360 Inc
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                                              Ber Ing Partg MBB
Klaus Oestergaard                             Lothringer Str 37
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UNITED KINGDOM



                                       - 55 -
            Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 57 of 268



Kreis Euskirchen                              Lachlan Hayes
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                                              NEW ZEALAND
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RR #6                                         Lake Dewar Lodge YMCA
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CANADA                                        582 Heidelberg Road
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Kristoffer D Allen                            AUSTRALIA
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                                              Southampton
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Kurstrabe 2
63667 Nidda                                   Landells Signs Pty Ltd
Bad Salzhausen                                25 Adams Court
GERMANY                                       Sunshine West VIC 3020 VIC
                                              AUSTRALIA
L & L Importing Services Ltd
102 Radisson Executive Centre                 Landesamt fur Geoinformation und Landesv
1780 Wellington Avenue                        MuhlenstraBe 4
Winnipeg R3H 1B3                              Celle 29221
CANADA                                        GERMANY

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Footscray 3011                                48147 Munster
AUSTRALIA                                     GERMANY

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                                              Landkreis Osnabruck
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                                              GERMANY



                                       - 56 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 58 of 268



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                                                 Leighmans.com
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                                                 GERMANY
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                                                 UNITED KINGDOM
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                                                 AUSTRALIA




                                           - 57 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 59 of 268



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18 Bartley Wood Business Park                     1/329 Worcester Street
London W3 0RB                                     Christchurch 8011
Bartley Way, Hook RB27 9XA                        NEW ZEALAND
UNITED KINGDOM
                                                  Lincoln Ross
Letthemknow Promotions Ltd                        33 Madison Terrace
The Old Picturehouse                              Silverdale
Flat 7                                            Auckland 0932
London E17 3HB                                    NEW ZEALAND
UNITED KINGDOM
                                                  Linda Webster
Lewis Silkin LLP                                  74 Norwegian Road
5 Chancery Lane                                   RD3 Cambridge
Clifford's Inn                                    NEW ZEALAND
London EC4A 1BL
UNITED KINGDOM                                    Lindsey Webster
                                                  1703 Forks of the Credit Road
Liam Atchison                                     Caledon L7K 2J6 ON
42 George Street                                  CANADA
Newtown 3220 VIC
AUSTRALIA                                         Lion Trackhire Ltd
                                                  Claylands Avenue, Worksop
Liam P Roche                                      Nottinghamshire S81 7BQ
Flat 5, Lulworth Court                            UNITED KINGDOM
2 Joshua Close
Poole BH15 4QW                                    Liquid CMS Inc.
UNITED KINGDOM                                    104 Gladeview Private
                                                  Ottawa K1T 4C5 ON
Lichtzelt Fotografie                              CANADA
Agricolastr. 2
09112 Chemnitz                                    Liquiline Ltd.
GERMANY                                           Ashtree House, Tarrant Hinton
                                                  Blandford
Lidcombe Ice Pty Ltd                              Dorset DT11 8JA
1 Yamma Street                                    UNITED KINGDOM
Sefton NSW 2162
AUSTRALIA                                         Lisa Auras
                                                  Bocklerstr. 18
Lieno Pty Ltd T/A Fruits of Noosa                 38102 Braunschweig
777 Eumundi-Noosa Road                            GERMANY
Doonan 4562 QLD
AUSTRALIA                                         Lisa Pitt
                                                  70 Westminster Road
Life Saving Victoria                              Urmston, Manchester M41 0RP
200 The Boulevard                                 UNITED KINGDOM
Port Melbourne VIC 3207 PO Box 353
South Melbourne DC VIC 3205                       Liteman Australia Pty Ltd
AUSTRALIA                                         PO Box 524
                                                  Penrith BC, NSW 2753
Lifetime Health t/a LTH Consulting                AUSTRALIA
Rest Harrow
Wonham Way GU5 9NZ                                Literacy for Life Foundation LTD
UNITED KINGDOM                                    PO Box 298
                                                  Flinders Lane
                                                  Melbourne, VIC 8009 8009
                                                  AUSTRALIA




                                           - 58 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 60 of 268



Little Monster Produce                           Loomis UK Ltd
51 Pierce Ave                                    1 Alder Court
Little Mountain, QLD 4551                        Hogg Road
AUSTRALIA                                        Nottingham NG2 1RX
                                                 UNITED KINGDOM
Live a division of Ashtead Plant Hire Co
100 Cheapside                                    Loopia
London EC2V6DT                                   Kopparbergsvagen 8
UNITED KINGDOM                                   SE-722 13
                                                 Vasteras
Live Alive Fitness                               SWEDEN
86 Hargrave Drive
Stanwell Park 2508 NSW                           Loos For Do's Ltd
AUSTRALIA                                        FSC 5 Farringdon Business Park
                                                 Lower Farringdon
Live Element Pty Ltd                             Alton, Hampshire GU34 3DZ
1B Byrne Street                                  UNITED KINGDOM
Glenalta
South Australia 5052                             Lopeti Tuitupou
AUSTRALIA                                        33 Waipani Road
                                                 Te Atatu Peninsula
Liz Bebbington                                   Auckland 0610
Flat 201, Washington Building                    NEW ZEALAND
Deals Gateway SE13 7SE
UNITED KINGDOM                                   Loughcrew Facilities Management Ltd
                                                 Oldcastle
LogiPack GeRo GmbH                               Co Meath
Postfach 1332                                    IRELAND
Ebersbach 73057
GERMANY                                          Louis Cottey
                                                 226 Staines Road
Logistics Distribution, Inc.                     Twickenham TW2 5AP
550 Industrial Drive                             UNITED KINGDOM
Milton L9T 5A6 ON
CANADA                                           Louise Thompson
                                                 3/39 Belgrave Street
London Borough of Hackney                        Bronte 2024
Debt Management Team                             AUSTRALIA
1 Hillman Street, 4th Floor
London E8 1DY                                    Lou-Tec Industriel Inc.
UNITED KINGDOM                                   1, Rue des Carrieres
                                                 Bromont J2L 1S1 QC
London Borough of Lambeth                        CANADA
Business Rates
PO Box 751                                       Lovework UK Ltd
Winchester SO23 5DS                              2 Hofmann Mews
UNITED KINGDOM                                   Henley-on-Thames RG9 1DF
                                                 UNITED KINGDOM
London Legacy Development Corp.
1 Stratford Place                                Lowfield House
Leve; 10                                         42 Keighley Road
Montfichet                                       Skipton
UNITED KINGDOM                                   North Yorkshire BD23 2NB
                                                 UNITED KINGDOM




                                           - 59 -
            Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 61 of 268



Lowleft Golf Experience                        Lulu's Marquees
120 3 Ave West                                 Unit 6 Dairy Lane Workshop
Drumheller T0J 0Y0                             Hambleden
CANADA                                         Henley-on-Thames RG9 3AS
                                               UNITED KINGDOM
Luardos
30 Glading Terrace                             Lynch Bus Lines Ltd.
London N16 7NR                                 4687 Byrne Road
UNITED KINGDOM                                 Burnaby V5J3H6
                                               CANADA
Lucija Janko
Ljubija 106                                    Lynsey Gibson
3330 Mozirje, Slovenia                         123 Butts Green
SLOVENIA                                       Westbrook, Warrington
                                               Cheshire
Lucy Thomas                                    UNITED KINGDOM
71/21 Hunters Park Drive
Three Kings                                    Lyreco UK Limited
Aukland 1024                                   Deer Park Court, Donnington Wood
NEW ZEALAND                                    Telford, Shropshire TF2 7NB
                                               UNITED KINGDOM
Ludwig-Maximilians-Universitat Munchen
Postanschrift                                  M.T.T. Repair Services Inc.
Ludwigstrabe 27, G106                          Truck and Trailer Repair & Painting Spec
Munchen 80539                                  1868 Drew Road
GERMANY                                        Mississauga L5S 1J6 ON
                                               CANADA
Luis & Hezelhof Hotel
Segringer Strasse 7                            M5 Networks Australia Pty Ltd
91550 Dinkelsbuehl                             ABN 49 153 818 618
GERMANY                                        Suite 2 151 Barkly Avenue
                                               Burnley, VIC 3121
Lukas Abrhan                                   AUSTRALIA
T. Vansovej 20
Nove Zamky 94059                               Macdonald Hill Valley Hotel
SLOVAKIA                                       Tarporley Road
                                               Whitchurch
Luke Copping                                   Shropshire SY13 4JH
5a Cambridge Road                              UNITED KINGDOM
Southend-on-Sea
Essex SS1 3EB                                  Madman Printing Pty Ltd
UNITED KINGDOM                                 661 Waterdale Road
                                               Heidelberg West 3081 VIC
Luke Copping and Yvonne Muller                 AUSTRALIA
5a Cambridge Rd
Southend-on-Sea                                Magasiva Co Ltd
Essex SS11ET                                   508A East Coast Road
UNITED KINGDOM                                 Windsor Park, Auckland 0630
                                               NEW ZEALAND
Luke De Benedictis
Flat 14, 3 Banks Road                          Magdalena Dorota Dabek
Poole Dorset BH13 7PW                          Jalan PJU 1A/46, Puncak Seri Kelana Cond
UNITED KINGDOM                                 47301 Petaling Jaya
                                               Delangor
Luke Rainford                                  MALASIA
25 Brunswick House
London W6 9LH
UNITED KINGDOM



                                         - 60 -
            Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 62 of 268



Mahesh Ramduth                                Marandoo Estate Ltd
19 Kestev Drive                               PO Box 719
Flat Bush                                     South Australia 5061
Auckland 2016                                 AUSTRALIA
NEW ZEALAND
                                              Marco Andre Bedard
Mailboxes Etc. (Clerkenwell)                  1052 Echiquier
101 Clerkenwell Road                          Quebec G3K 0C1
London EC1R 5BX                               CANADA
UNITED KINGDOM
                                              Marco Ludwig
Mainland Nominees Limited                     RupprechtstraBe 24
8 Hill Street                                 95444 Bayreuth
St Helier JE4 9XB                             GERMANY
UNITED KINGDOM
                                              Margaret C. George
Malcolmson Associates Ltd                     142 Borden Street
Blue Lias House                               Apt. Main
11 Nalder Close                               Toronto M5S 2N3 ON
Shepton Mallet BA4 4HG                        CANADA
UNITED KINGDOM
                                              Margaret Marshall
Mamamia                                       Brenachoile Lodge
L3, 68 Wentworth Avenue                       Loch Katrine
Surry Hills 2010                              Scotland FK178JA
AUSTRALIA                                     UNITED KINGDOM

Mandarin Management Limited                   Maria Beck
Alan Hon                                      45 Pendrith Street
41 Lothbury                                   Unit A
London EC2R 7HG                               Toronto M6G 1R6 ON
UNITED KINGDOM                                CANADA

Manu Erwin                                    Maria Bentley
32 Woburn Road                                5/12 Bridgewater Road
Northland                                     Parnell
Wellington 6012                               Aucklan
NEW ZEALAND                                   NEW ZEALAND

Manuel Lemke                                  Maria Clarke Lawyers
Sindlinger Strasse 25                         PO Box 32487
Gaufelden 71126                               Devonport
GERMANY                                       AUSTRALIA

Manuel Pagan                                  Maria Rusch
Westender Weg 136                             Stolbergstr 10A
Herdecke 58313                                12103 Berlin
GERMANY                                       GERMANY

Manuel Unterrainer                            Marie-Luise Klietz
St Helena Str 8                               Andreestrasse 18
Nussdorf- Debant 9990                         80634 Munchen
AUSTRIA                                       GERMANY

Marama Cribb
12 Brooks Road
RD2, WAIPU 582
NEW ZEALAND



                                       - 61 -
            Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 63 of 268



Marina Nola                                   Markus Ertelt
16 Lomond Street                              Neckarstr, 35
Takapuna                                      Wendlingen 73240
Auckland 0622                                 GERMANY
NEW ZEALAND
                                              Markus Schnetzer
Maritime Electrical Ltd                       Grabmannstr 7
11 Fir Tree Grove                             Munchen 81476
Lordswood, Chatham                            GERMANY
Kent ME5 8XD
UNITED KINGDOM                                Marlena Walmsley
                                              220 Balmoral Road
Marius Zimmermann                             Balmoral
Salierstr. 17                                 Auckland 1024
55218                                         NEW ZEALAND
Ingelheim
GERMANY                                       Martin Kallmeyer
                                              Rotdornstr 23a
Mark Halloway                                 85764 OberschleiBheim
1 Mere Avenue                                 GERMANY
Burscough
Lancashire L40 0RH                            Martin Magestro
UNITED KINGDOM                                Sonnhalde 90
                                              D-79 194
Mark Houston                                  Gundelfingen
PO Box 846                                    GERMANY
Pemberton V0N 2L0
CANADA                                        Martin Paffenholz
                                              Falkenstr. 55
Mark Liddle                                   Niederkassel 53859
1 Muriel Street                               GERMANY
Northcote 3070 VIC
AUSTRALIA                                     Marty Brown
                                              167 Beach Road
Mark Murphy                                   Castor Bay
1 Bankhead Way                                Auckland
Edinburgh EH11 4FB                            NEW ZEALAND
UNITED KINGDOM
                                              Martyn Wagner
Mark Paterson                                 Torridon, Low Street
71A Brunner Road                              Bardwell
Glen Eden                                     Bury St. Edmunds, Suffolk IP31 1AR
Auckland 0602                                 UNITED KINGDOM
NEW ZEALAND
                                              Mash Staffing Ltd
Mark Singelis                                 7 Leathermarket Street
1277 Barberry Green                           London SE1 3HN
Oakville L6M 2A8 ON                           UNITED KINGDOM
CANADA
                                              Mason Hayes & Curran
Markus Docke                                  South Bank House
Hepkestr 42                                   Barrow Street
01309 Dresden                                 Dublin
GERMANY                                       GERMANY




                                       - 62 -
            Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 64 of 268



MaternDienst Deutschland GmbH                 Mayhew Bros. (Ember) Ltd
Gewerbepark 6                                 Makerversity, Somerset House
Oberraden 56587                               Victoria Embankment, West Goods Entrance
GERMANY                                       London WC2R 1LA
                                              UNITED KINGDOM
Matt Barnett
17 Essex Close                                Mazda Australia Pty Limited
Bordon GU35 0HS                               PO Box 757
UNITED KINGDOM                                Mount Waverly 3149
                                              AUSTRALIA
Matt Gotel
Flat 2 Beverly Court                          McClures Office Supplies
17 Second Avenue                              283-285 Arthur Street
Brighton, East Sussex BN3 2LL                 Fairfield, VIC 3078
UNITED KINGDOM                                AUSTRALIA

Matthew Barnett                               MCDERMOTT WILL & EMERY
PEd Flt, RAF Northolt                         HERON TOWER
West End Rd, Ruislip                          110 BISHOPSGATE
London HA4 6NG                                LONDON EC2N 4AY
UNITED KINGDOM                                UNITED KINGDOM

Matthew Bell                                  MCF Corporate Finance Gmbh
Unit 4/49-59 Stanley Street                   Valentinskamp 70
West Melbourne, Victoria                      20355 Hamburg
AUSTRALIA                                     GERMANY

Matthew Carpenter                             Mckenzie Group
5 Irene Avenue                                ABN: 49093211977
Durham Street                                 level 2, 99 William Street
Hull HU8 8RX                                  St. Melbourne VIC 3000
UNITED KINGDOM                                AUSTRALIA

Matthias Graute                               McLachlan Thorpe Partners
Koldenbuschweg 19                             Level 21
45259 Essen                                   1 Castlereagh Street
GERMANY                                       Sydney, NSW 2000 NSW
                                              AUSTRALIA
Maurer Werner und Ruth GbR
Dinkelsbuhler StraBe 27                       McLean Sound
91717 Wassertrudingen                         1A Derby Pde
GERMANY                                       Nth Caulfiend 3161
                                              AUSTRALIA
Max Strzelecki
42B LINDEN GARDENS                            Mean Broadcast Ltd
LONDON W2 4ER                                 179 Tottenham Court Road
UNITED KINGDOM                                5th Floor
                                              London W1T 7NZ
Maximilian Winkelmann                         UNITED KINGDOM
Korbergberg 3
37589 Kalefeld                                Med Kitchen
GERMANY                                       Med Kitchen Events
                                              Pixies Farm Stuckton Road
Maya Pillay                                   Fordingbridge 5P6 1AR
4 Langham Court                               UNITED KINGDOM
London TW1 2PS
UNITED KINGDOM




                                       - 63 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 65 of 268



Media Motion and KeepSnaps                        Michael Bergeron
Kathryn Thompson                                  38 Wayne Ave
4/59 Station Street                               Toronto M1R 1Y3 ON
Fairfield 3121 VIC                                CANADA
AUSTRALIA
                                                  Michael Blair Engineer
Mediguards                                        273 Jasper Road
01665 Ketzerbachtal                               McKinnon 3204 VIC
Leippen 8                                         AUSTRALIA
GERMANY
                                                  Michael Burger
Medituv GmbH & Co. KG                             RosenheimerLandstr 105A
Am TUV 1- 30519                                   85521 Riemerling
Hannover, Germany                                 GERMANY
GERMANY
                                                  Michael Gabelgaard Schjott
Megaflatables Ltd                                 Ceresbyen 18, 6, 1
Unit 4B                                           Aarhus 8000
Lordship Road                                     DENMARK
Writtle, Essex CM1 3WT
UNITED KINGDOM                                    Michael Keays
                                                  706-433 Jarves Street
Meika Campbell                                    Toronto M4Y 2GP
35/S Garnet Road                                  CANADA
Westmere
NEW ZEALAND                                       Michael Kellenberger
                                                  Schellenbergstr. 63
Melbourne Altitude Training Pty Ltd               87435
78 Moray Street                                   Kempten
Southbank 3006 VIC                                GERMANY
AUSTRALIA
                                                  Michael Tall
Melrose Access Hire Pty Ltd                       13 Mortlake Terrace
PO Box 6691                                       Kew
Baulkham Hills BC 2153 NSW                        Surrey TW9 3DT
AUSTRALIA                                         UNITED KINGDOM

Mendelsons Lawyers Pty Ltd                        Michelle Ford
8 Station Street                                  20-41450 Government Road
Mitcham 3132 VIC                                  PO Box 74
AUSTRALIA                                         Brackendale V0N 1H0
                                                  CANADA
Metro Cash&Carry Deutschland GmbH
Bremer Weg 203                                    Michelle Hancock
Celle 29223                                       44 Pinedale Place
GERMANY                                           Henderson, Auckland 0610
                                                  NEW ZEALAND
Metropolitain Caloundra SLSC
1 Spender Lane                                    Michelle Kehoe
Caloundra 4551 QLD                                295 Kingsway
AUSTRALIA                                         Stockport SK8 1LP
                                                  UNITED KINGDOM
Michael Bell
16a Eastcliffe Road                               Michelle Spiteri
Castor Bay                                        Troups Road South
Auckland 0620                                     Mount Cottrell
NEW ZEALAND                                       AUSTRALIA




                                           - 64 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 66 of 268



Mickael Campion                                   Minister of Revenue of Quebec
1A Saint Eugene                                   C.P. 8025, succursale Desjardins
Saint Clotilde de Chateauguay J0L 1W0 QC          Montreal (Quebec) H5B OA8
CANADA                                            CANADA,
                                                  CANADA
Microhire Pty Ltd
Unit 1                                            Mint Staffing Solutions
6-8 George Place                                  Technology House
Artarmon, NSW 2064                                Lissadel Street
AUSTRALIA                                         Salford M6 6AP
                                                  UNITED KINGDOM
mika: timing GmbH
Kurtener Str. 11B                                 Miranda Ellis
51465 Bergisch Gladbach                           BSL Interpereter MRSLI
GERMANY                                           47 Freshfield Road
                                                  Brighton BN2 0BJ
Mike Bell                                         UNITED KINGDOM
Box 1101
Drumheller T0J 0Y0                                Missler, Eva
CANADA                                            57 Cavendish Road
                                                  London NW6 7XS
Miles Per Hour                                    UNITED KINGDOM
8/43 Milton St
Elwood 3184 VIC                                   Mitchell James Eason
AUSTRALIA                                         226 Collins Road
                                                  Hamilton
Miles Plastics Pty Ltd                            NEW ZEALAND
Unit 1
28 Deefa Street                                   Mitchell King, Become Melbourne
Caloundra Q 4551 QLD                              8 Ross Street
AUSTRALIA                                         South Melbourne 3205 VIC
                                                  AUSTRALIA
Milton Home Hardware
385 Steeles Avenue East                           MJ & LJ Peters Ltd
Milton L9T 3G6 ON                                 49 Vineyard Road
CANADA                                            RD2 TE Kauwhata
                                                  NEW ZEALAND
Mimista
13 Thames Side                                    M-MEC Solutions Ltd.
Henley on Thames                                  107 Covey Hall Road
Berkshire RG9 1BH                                 Snodland, Kent ME6 5NA
UNITED KINGDOM                                    UNITED KINGDOM

Mind Tattoos                                      MMK - Good Relations Group GmbH
The Studio, 45 Lanercost Crescent                 An der Alster 47
Monkston                                          3rd Floor
Milton Keynes MK10 9EA                            Hamburg 20099
UNITED KINGDOM                                    GERMANY

Minister of Finance                               MMK-Good Relations Group GmbH
Payment Processing Centre                         An der Alster 47
33 King Street West PO Box 647                    Hamburg 20099
Oshawa L1H 8X3 ON                                 GERMANY
CANADA
                                                  Mobile Business Communications Ltd
                                                  24 Mallard Road
                                                  Toronto M3B 1S1 ON
                                                  CANADA



                                           - 65 -
            Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 67 of 268



Moduloc Fence Rental                          Motorola Solutions Australia Pty Ltd
124 Belfield Rd #8                            7 Terrace Place
Etobicoke M9W 1G1 ON                          Murarrie 4172 QLD
CANADA                                        AUSTRALIA

Monaco Solicitors                             Mount Martha Kitchens
32 London Bridge Street                       30 Inga Parade
24th Floor The Shard                          Mount Martha 3934 VIC
London SE1 9SG                                AUSTRALIA
UNITED KINGDOM
                                              Mount St. Louis Moonstone Ski Resort Ltd
Mongey Communications                         24 Mount St. Louis Road West, RR4
Unit Y, M& Business Park                      Coldwater L0K 1E0 ON
Newhall Naas                                  CANADA
Co Kildare
IRELAND                                       MPI Estimation
                                              1212 Rue Jean Talon Est
Monomax Limited                               Montreal H2R 1W2 QC
Quadrant House                                CANADA
250 Kennington Lane
London SE11 5RD                               Mr. & Mrs. Horton
UNITED KINGDOM                                41 Peverell Park Road
                                              Plymouth PL3 4LS
Montegos Bar & Restaurant                     UNITED KINGDOM
2/5 Grand Parade
Parrearra 4575                                Mr. J. Blundell
AUSTRALIA                                     Toyes
                                              Port Hill
Monty Epiha                                   Nettlebed RG9 5RL
94 Te Puea Ave                                UNITED KINGDOM
Meremere 2474
Waikato 2474                                  Mrs. V Konsoumis
NEW ZEALAND                                   44 Strafford Road
                                              Weston Super Mare
Moorfield Motors Ltd.                         N. Somerset BS2 33BW
5 Mahi Road                                   UNITED KINGDOM
Te Kauwhata 3710
NEW ZEALAND                                   MTD Deutschland Gmbh
                                              Sabrina Zier
Moreton Hire                                  Thuringer Allee 12
31 Paringa Rd                                 14052 Berlin
Murarrie, QLD 4170                            GERMANY
AUSTRALIA
                                              MTE Consultants Inc
Morgan McKay                                  520 Bingemans Centre Drive
755 Cobble Hill Drive                         Kitchener N2B 3X9 ON
Nepean K2J 3T3 ON                             CANADA
CANADA
                                              Muddy Race LTD
Morning Glory Cafe and Bakery                 6 Fletton Dell
230-659 King Street East                      Woburn Sands MK17 8EZ
Kitchener N2G 2M4 ON                          UNITED KINGDOM
CANADA
                                              Mueller Brandschutz
Mosaic Vision                                 WeiBe Erde 3
Kleiststrasse 75                              30629 Hannover
04157 Leipzig                                 GERMANY
GERMANY



                                       - 66 -
               Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 68 of 268



Mullane Planning Consultants Pty Ltd             Names & Faces
John Mullane                                     16 The Mall
Kerry Lodge 12 Mount Street                      Surbiton KT6 4EQ
Glenbrook 2773                                   UNITED KINGDOM
AUSTRALIA
                                                 Narellan Motor Inn
Muller's Party Service GmbH                      Cnr Camden Valley Way & The Old Northern
Spandauer Weg 14                                 Narellan 2567 NSW
22045 Hamburg                                    AUSTRALIA
GERMANY
                                                 Nashcom Electrical
Multi Channel Network                            PO Box 1522
Level 6 / 60 Union Street                        Caloundra 4551 QLD
Pyrmont 2009 NSW                                 AUSTRALIA
AUSTRALIA
                                                 Natalie Curtis
Multisport Magazine                              1/12 Lyon Ave
PO Box 6020                                      Mt Albert
Logan Central 4114 QLD                           Auckland 1025
AUSTRALIA                                        NEW ZEALAND

Muskoka Brewery                                  Natalie Onions
PO Box 1222                                      28 Castricum Place
Bracebridge P1L 1V4 ON                           Ferntree Gully 3156 VIC
CANADA                                           AUSTRALIA

Myrniong Fire Brigade                            Natasha Charlton
PO Box 493                                       32/6 Thirlestane Road
Ballan 3342 VIC                                  Edinburgh EH9 1AW
AUSTRALIA                                        UNITED KINGDOM

MYUNiDAYS Ltd.                                   Natasha Constantine
2 Castle Blvd                                    72 Whitwams Buildings
Nottingham NG7 1FB                               Slaithwaite
UNITED KINGDOM                                   Huddersfield HD7 5BR
                                                 UNITED KINGDOM
N.W. Adams
19 Liddel Way                                    Natasha Mansell
Chandler's Ford, Eastleigh                       6 Wild Herons
Hampshire SO53 4QF                               Hook, Hampshire RG27 9SF
UNITED KINGDOM                                   UNITED KINGDOM

Nadine Wendt                                     Nathan Bassett
Woerthstr. 7                                     56 Coates Road
24116 Kiel                                       Lakes Entrance
GERMANY                                          Victoria 3909
                                                 AUSTRALIA
Nadja Wojack
Rotcushenstr. 48                                 Nathan Hill
Munchen 81547                                    2/56 Hewish Road
GERMANY                                          Croydon 3136 VIC
                                                 AUSTRALIA
Naked Wines Australia Pty Ltd
1 Queens Parade                                  Nathan Hopkins
Newport 2106 NSW                                 S105A/28 Torrens Terrace
AUSTRALIA                                        Mount Cook
                                                 Wellington
                                                 NEW ZEALAND



                                          - 67 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 69 of 268



Nathan Peter Marshall                            Nettle Engineering
7 Gum Nut Drive                                  Ground Floor
Langwarrin 3910 VIC                              1206 Toorak Rd
AUSTRALIA                                        Camberwell, VIC 3124
                                                 AUSTRALIA
Nathan Robinson
142 Birmingham Road                              Neue Dornit GmbH
Allesley, Coventry CV5 9HA                       Zu den Drei Banken
UNITED KINGDOM                                   Arnsberg-Neheim 59757
                                                 GERMANY
Nathan Schumacher
11/731 Port Road                                 NEW BEACH MEDIA
Woodville 5011                                   UNIT 8/21 21-23 TASMAN WAY
AUSTRALIA                                        BYRON BAY NSW 2481
                                                 AUSTRALIA
National Processing Unit Diane Engelhard
Unit 2 Treglown Court                            NF Cheshire Ltd, New Farm Bed & Breakfas
Dowlais Road                                     Long Lane
Cardiff CF24 5LQ                                 Nr Winsford
UNITED KINGDOM                                   Cheshire CW7 4DW
                                                 UNITED KINGDOM
National Protective Services
Suite 5                                          NGL Navigator Global Logistics GmbH
186-202 York Street                              Lohstr. 33/Tecnopark
South Melbourne 3205 VIC                         Oberding-Schwaig 85445
AUSTRALIA                                        GERMANY

National Storage                                 Niall Fraiser
60 Dawson Street                                 48 Thorndyke
Brunswick, VIC 3056                              East Kilbride
AUSTRALIA                                        Glasgow G743QX
                                                 UNITED KINGDOM
NCT
30 Euston Square                                 Nicholas Cogger
London NW1 2FB                                   409-200 Dufferin Street
UNITED KINGDOM                                   Toronto M6K 1Y9 ON
                                                 CANADA
Neil Calvert
45 Kinloch Place                                 Nicholas Gatland
Papakowhai                                       10 Hillslope Rd
Porirua 5024                                     Newport NSW 2106 Australia
NEW ZEALAND                                      AUSTRALIA

Nephi Pukepuke                                   Nicholas Stokes
7 Salisbury Pl                                   19 Burgh Street
Hamilton East                                    Islington N1 8HF
Hamilton                                         UNITED KINGDOM
NEW ZEALAND
                                                 Nicholson Event Management Ltd
Nespresso UK Limited                             6 Coopersale Common
1 City Place                                     Coopersale
Gatwick RH60PA                                   Essex CM16 7QR
UNITED KINGDOM                                   UNITED KINGDOM




                                           - 68 -
            Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 70 of 268



Nick Crowley                                   Nina Schuttforth
56 Granite Apartments                          WesterstraBe 76
39 Windmill Lane                               28199 Bremen
Stratford, London E15 1PY                      GERMANY
UNITED KINGDOM
                                               Nissen Leisure Ltd
Nick Hitchman                                  14 Burnham Business Park
43 Ainsdale Drive                              Springfield Road, Burnham On Crouch
Priorslee                                      Essex CM0 8TE
Telford TF2 9QJ                                UNITED KINGDOM
UNITED KINGDOM
                                               NLA Media Access Ltd
Nick Kumarich                                  Mount Pleasant House
17 Gorrie Ave                                  Lonsdale Gardens
Epson 1023                                     Turnbridge Wells, Kent TN1 1HJ
NEW ZEALAND                                    UNITED KINGDOM

Nicola Johnson                                 NM Cabling Limited
65 Little Marlow Road                          PO Box 605
Marlow                                         Rickmansworth
Buckinghamshire SL7 1HJ                        Hertfordshire WD3 0AN
UNITED KINGDOM                                 UNITED KINGDOM

Nicole Price                                   Nobel Beverages
11 Dellwood Avenue                             28 Anne Street
Henderson                                      St. Mary's, NSW 2760
NEW ZEALAND                                    AUSTRALIA

Nicolina Lenhardt                              North American Produce Sales
Osterbronnstr 63                               645 Malkin Avenue
70565 Stuttgart                                Vancouver V6A 3V7
GERMANY                                        CANADA

Niedersachsische Landesbehorde                 North Downs Cleaning and Maintenance Ltd
Geschaftsbereich Wolfenbuttel                  Suite A, Paper Mews Place
Wolfenbuttel 1642                              290 High Street
GERMANY                                        Dorking, Surrey RH4 1QT
                                               UNITED KINGDOM
Niedersachsische Landesforsten
AM Forsterkamp 3                               Northam Towing Service
Burgwedel-Fuhrberg 30938                       PO Box 144
GERMANY                                        16 Dempster St
                                               Northam 6401 WA
Nifty Business Movers                          AUSTRALIA
35B Marsh Way
Fairview Industrial Park                       Northampton RFC Ltd
Rainham, Essex RM13 8UH                        Franklins Gardens
UNITED KINGDOM                                 Weedon Road
                                               Northampton NN5 5BG
Nigel Maitland                                 UNITED KINGDOM
381 Oliver
Montreal H3Z2C8 QC                             Northern Flags Ltd
CANADA                                         Units 4 and 5
                                               Millshaw, Leeds LS11 0LX
Niklas Schmid                                  UNITED KINGDOM
Sachsenring 67
Koln 50677
GERMANY



                                        - 69 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 71 of 268



Northern Pontoon                                 NTP Forklifts Australia Pty Ltd
Stoneleigh Park                                  1 Woodville Road
Station Road                                     Granville NSW 2142
Holme, Canforth LA6 1HR                          AUSTRALIA
UNITED KINGDOM
                                                 Nu-Fit
Norwest Productions Pty Limited                  Unit 6C, Topland Country Business Park
Unit B, 19-21 Loyalty Road                       Cragg Road, Hebden Bridge
North Rocks 2151 NSW                             West Yorkshire HX7 5RW
AUSTRALIA                                        UNITED KINGDOM

Not Just A Plumber Ltd                           Obi E-Commerce GmbH
8 Kerrfield Estate, Main Road                    Postfach 5714
Duston                                           D-33357 Rheda-Wiedenbruck
Northampton NN5 6JX                              GERMANY
UNITED KINGDOM
                                                 Ocean Global
NotLost                                          Klausdorfer Weg 167
Carlton House                                    24148 Kiel
19 West Street                                   GERMANY
Epsom, Surrey KT18 7RL
UNITED KINGDOM                                   Ocean Trailer
                                                 9076 River Road
Nova 100 Pty Ltd                                 Delta V4G 1B5
Level 5, 33 Saunders Street                      CANADA
Pyrmont 2009 NSW
AUSTRALIA                                        Odyssey Medical
                                                 13-4 Alliance Blvd
Nova 106.9 Pty Ltd                               Suite 206
Level 5, 33 Saunders Street                      Barrrie L4M 7G3 ON
Pyrmont 2009 NSW                                 CANADA
AUSTRALIA
                                                 Office Discount
Nova 96.9 Pty Ltd                                Ludwig-Erhard-Str 12
Level 5, 33 Saunders Street                      85374 Neufahrn-Muchen
Pyrmont 2009 NSW                                 GERMANY
AUSTRALIA
                                                 Office of the Revenue Commissioners
Novatech Creative Event Technology Pty L         Collector General's Division
153 Holbrooks Road                               Sarsfield House Francis Street
Underdale 5032                                   Limerick
SOUTH AFRICA                                     IRELAND

NPower Business                                  Officeworks
PO Box 583                                       GPO Box 1816
Hull HU5 1YU                                     Melbourne VIC 3001
UNITED KINGDOM                                   AUSTRALIA

NSW Police Force                                 OGV Alex Scheller
Level 5                                          Orchedeenweg 102
Charles Street                                   12357 Berlin
Parramatta 2150 NSW                              GERMANY
AUSTRALIA
                                                 Old Rectory Barn
NSW Rural Fire Service - Cumberland Zone         Maesygwartha,Gilwern, Albergavenny
8-12 Jeanette Street                             Monmouth NP7 QEY
Regentville NSW 2745                             UNITED KINGDOM
AUSTRALIA



                                           - 70 -
            Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 72 of 268



Oliver Blankenburg                              Opus Energy
Freiberger StraBe 4                             Reading International Business Park
01067 Dresden                                   Reading, Berks RG2 6AA
GERMANY                                         UNITED KINGDOM

Oliver Burns                                    Orion Heritage Limited
2 Clarendon Avenue                              95 Ditchling Road
Apt. 206                                        Brighton BN1 4ST
Toronto, Ontario M4V 1H9                        UNITED KINGDOM
CANADA
                                                Oro Agricultural Society
Oliver Henlich                                  84 15/16 Sideroad
4/6 Eldon Road                                  Oro-Medonte L0L 2X0 ON
Mt Eden                                         CANADA
Auckland 1021
NEW ZEALAND                                     Our Parks Ltd.
                                                10 London Mews
Oliver Sterne                                   London W2 1HY
35 Highfield Road                               UNITED KINGDOM
Cheadle Hulme, Cheshire SK8 6EN
UNITED KINGDOM                                  Overlay Events Ltd
                                                54 Oxford Road
Ollie Rickman                                   Uxbridge, Middlesex UB9 4DN
104a St.Johns Hills                             UNITED KINGDOM
Clapham Junction SW11 1SH
UNITED KINGDOM                                  P & D Pharmaceuticals Ltd
                                                38 Woolmer Way
Olymbec Development Inc                         Bordon
333 Decaire, 5th Floor                          Hampshire GU35 9QF
Ville Saint-Laurent H4N 3M9 QC                  UNITED KINGDOM
CANADA
                                                P J Whiteley
Olympia Park Munchen                            3 Brewery Lane
Spiridon Loius Rind 21                          Ampthill, Bedfordshire MK45 2NE
80809 Muchen                                    UNITED KINGDOM
GERMANY
                                                P.M. Davis
On and Over Limited                             7 Stanbrook Road
52 Rectory Road                                 Belmont, Hereford HR2 7ZA
Farnborough GU14 7HZ                            UNITED KINGDOM
UNITED KINGDOM
                                                PAC Wristbands
Onsite Rental Group Operations Pty Ltd          Lawrence House
33 Vallance Street                              Magdelen Street
St Marys, NSW 2760                              Eye, Suffolk IP23 7AJ
AUSTRALIA                                       UNITED KINGDOM

ONTARIO PROVINCIAL POLICE                       Paint Supply GmbH
PAYMENT PROCESSING CENTER                       Bornholmer StraBe 6
P O BOX 647/CP 647                              D-10439
OSHAWA ON L1H 8X3                               Berlin
CANADA                                          GERMANY

oOh!media Social Sports Pty Limited             Pakton Group Pty Ltd
PO Box 461                                      PO Box 408
North Sydney 2059 NSW                           1 Helium Street
AUSTRALIA                                       Narangba QLD 4504
                                                AUSTRALIA



                                         - 71 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 73 of 268



Pallet Furniture UK                              Patrick Kruger
Selena Smith                                     HartmannstraBe 54
Unit 2, Lyons Industrial Est Hetton Le H         Oberhausen
Tyne and Wear DH50RH                             GERMANY
UNITED KINGDOM
                                                 Patrick Vellner
Paragon Service Point                            211 Pineway Blvd
Central Accounts                                 North York M2H 1B4 ON
1-2 Domingo Street                               CANADA
London EC1Y 0TA
UNITED KINGDOM                                   Pattison Outdoor Central Region
                                                 2700 Matheson Blvd. East
Parcel Hero                                      Suite 500, West Tower
PO Box 658                                       Mississauga L4W 4V9 ON
Brentford TW8 1BS                                CANADA
UNITED KINGDOM
                                                 Paul Belter
PARCO MAITRE                                     Fairmont Chateau Whistler
99 AVE ALEPIN                                    4599 Chateau Blvd
LA SALLE, QUEBEC H8P 2C9                         Whistler V0N 1B4
CANADA                                           CANADA

Pareto Law LTD                                   Paul Davies Pty Ltd
Pareto House                                     ABN 65 074 633 015
49 Church Street                                 180 Darling Street
Wilmslow, Cheshire SK9 1AX                       Balmain, NSW 2041
UNITED KINGDOM                                   AUSTRALIA

Parkland Party & Equiptment Rentals              Paul Kavanagh
5929 48th Avenue                                 23 Hillmorton Close
Red Deer T4N 3V4                                 Redditch B98 9LX
CANADA                                           UNITED KINGDOM

Party-Service E. Garzem                          Paul McGuinness
Gebr. Grimm StraBe 43                            46 Goukscroft Park
53881 Euskirchen-Wuschheim                       Ayr KA7 4DS
GERMANY                                          UNITED KINGDOM

Pascher + Heinz GmbH                             Paul Ryan
Sigmund-Riefler-Bogen 2                          41 Nicholas Road
Munchen 81829                                    Howick
GERMANY                                          Auckland 2014
                                                 NEW ZEALAND
Patons Event Hire
60 Males Road                                    PAUL SIMCOX
Moorooduc 3933 VIC                               3 RODNEY COTTAGES
AUSTRALIA                                        CLIFTON DOWN ROAD
                                                 BRISTOL BS8 4AJ
Patrick Ahipene                                  UNITED KINGDOM
779 East Coast Road
Browns Bay                                       Paul Thompson
Auckland                                         149 Mountain Road
NEW ZEALAND                                      Epsom
                                                 Auckland 1023
Patrick Chadwick                                 NEW ZEALAND
12 South Acres
Craster, Northumberland NE66 3TN
UNITED KINGDOM



                                           - 72 -
            Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 74 of 268



Paula Connoly                                  Penningtons Manches LLP
38 Monalea Wood                                Abacus House
Firhouse                                       33 Gutter Lane
Dublin 24                                      London EC2V 8AR
IRELAND                                        UNITED KINGDOM

Paula Kramer                                   Perfection Foods Ltd
Birkenweg 16a                                  Bath House Untis 14 & 16
34281 Gudensberg                               Regal Drive
GERMANY                                        Walsall Enterprise Park, Walsa
                                               UNITED KINGDOM
Pauline Mill
WaldschloBstr 17                               Perry's Event Hire
97833 Frammersbach                             13a Industrial Avenue
GERMANY                                        Caloundra, QLD 4551
                                               AUSTRALIA
Payescape
Phase 2 Unit B                                 Perth Ice Works
2 Riada Avenue                                 PO Box 3211
Ballymoney, Co Antrim BT53 7LH                 Success 6964 WA
UNITED KINGDOM                                 AUSTRALIA

Paypac                                         Peter Lund
3/1 Station Street                             Algade 54, 3tr
Subiaco, WA 6008                               Aulberg
AUSTRALIA                                      Denmark 9000
                                               GERMANY
Paysagement Bessette
58 Rue de Sherbrooke                           Peter Schulte
Bromont, QC J2L2J4                             Freizeit and FeriePark GMBH
CANADA                                         Pommernstrasse 12 49584 Furstenau
                                               GERMANY
Pead PR Ltd
Private Bag 99911                              Peter Velocci
Newmarket                                      68 Shangarry Drive
Auckland 1023                                  Toronto ON
AUSTRALIA                                      Toronto, ON M1R 1A6
                                               CANADA
Pearlfinders LTD
1 Harwick Street                               Peveril Bruce
2nd Floor                                      Hampage House, Ovington Down
London EC1R 4RB                                Alresford
UNITED KINGDOM                                 Hampshire,   SO24 0HY
                                               UK
Pemat Pty Ltd
176-178 Cherry Lane                            Phasels Wood Activity Centre
Laverton North VIC                             Hertfordshire County Scout Concil
AUSTRALIA                                      Phasels Wood Activity Centre
                                               Rucklers Lane
Penar Musaraj                                  Kings Langley,   WD4 9NA
4559 Rue Pontiac                               UK
Montreal H2J 2T2 QC
CANADA                                         Phillip Island Printers Pty Ltd
                                               100 Dunsmore Road
                                               Cowes, VIC 3922
                                               AUSTRALIA




                                        - 73 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 75 of 268



Phillip Island Temporary Fencing                  Pit Stop Portables - Vancouver
RMB 9011                                          32 Fawcett Road
Cowes, VIC 3922                                   Coquitlam V3K 6X9
AUSTRALIA                                         CANADA

Photoboothy Ltd                                   Pitchers Hospitality Supplies
Flat 1                                            10 Tectonic Cres. Kunda Park 4556
2 Metropolitan Crescent                           P.O. Box 5087
Clapham,   SW4 9BF                                Maroochydore 4558
UK                                                CANADA

Pi Captial                                        PK Event Services Inc
16 St. James Street                               Bay 133
London,   SW1A 1ER                                2634 45th Ave SE
UK                                                Calgary T2B 3M1
                                                  CANADA
Pia Wisskirchen
ProblstraBe 26                                    Plakat-verkauft.de
81545 Munich                                      August Horsch StraBe 10a
GERMANY                                           Koblenz 56070
                                                  GERMANY
Pickard Production
Alastair Pickard                                  Planungsb ro B hner
The Watershed, Milndavie Road                     Rontgenstr 10A
Glasgow,   G63 9EN                                59757 Arnsberg
UL                                                GERMANY

Pigou Benjamin Peter                              Planungsgruppe Landschaft
594 Highcliff Road                                Averdiekstrabe 9
Ocean Grove                                       49078 Osnabruck
Dunedin 9013                                      GERMANY
NEW ZEALAND
                                                  Platinum Electricians Morningside
Pillerhaus                                        PO Box 9163
Wallbergstr 3                                     Wynnum Plaza
Taufkirchen                                       Wynnum West 4178 QLD
,   82024                                         AUSTRALIA
GERMANY
                                                  Platinum Pro-Claim Restoration
Pilot                                             13880 Mayfield Place
InvalidenstraBe 74                                Richmond V6V 2E4
10557 Berlin                                      CANADA
GERMANY
                                                  Plauti
Pink Cactus Mexican Food St. Food                 Neuwe Oeverstraat 31-9
24 St. Francis Close                              6811 JB ARNHEM
Potters Bar EN6 2RH                               NETHERLANDS
UNITED KINGDOM
                                                  Play Matta Pty Ltd
Pioneer Offroad Rentals                           PO Box 4092
8835-53 Avenue                                    Footscray West 3012 VIC
Edmonton T6E 5E9                                  AUSTRALIA
CANADA
                                                  PNHR Dr. Pelka und Sozien GmbH
Pirotta Services Pty Ltd                          Kaiser-Wilhelm-Ring 3-5
24 Ovata Drive                                    50672 Koln
Tullamarine, VIC 3043                             GERMANY
AUSTRALIA



                                           - 74 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 76 of 268



Polizei Munchen K 74                             PPL
Kommissariat 74, z. Hd. KOK Lechler              1 Upper James Street
Tegerneseer Landstrasse 220                      London W1F 9DE
Munchen 81549                                    UNITED KINGDOM
GERMANY
                                                 PPL PRS Ltd
Polymax                                          Mercury Place
Unit 75, Whitehill & Bordon                      St. George Street
Enterprise Park, Budds Lane                      Leicester LE1 1QG
Bordon, Hampshire GU35 0FJ                       UNITED KINGDOM
UNITED KINGDOM
                                                 PPS Productions
Pool Group GmbH                                  PO Box 713
Sudring 26                                       Coolum Beach
D-48282 Emsdetten                                Queensland 4573
GERMANY                                          AUSTRALIA

Porsche AG                                       PremiAir Services Pty LTD
Porscheplatz 1                                   PO Box 343
Stuttgart 70435                                  Horsley Park NSW 2175
GERMANY                                          AUSTRALIA

Posh Wash Showers Ltd.                           Premier Equipment Rentals
Crimson Orchard                                  275 Church Street West
Curry Mallet                                     PO Box 188
Taunton, Somerset TA3 6AW                        Elmira N3B 2Z6 ON
UNITED KINGDOM                                   CANADA

Potam Corporation Limited T/A Hamilton P         Premier Inn - Broadlands
17 Maui Street                                   1 Trinity Court
PO Box 10601 Te Rapa                             Broadlands
Hamilton 3241                                    Wolverhampton WV10 6UH
NEW ZEALAND                                      UNITED KINGDOM

Potts Contracting                                Premier Inn - Chippenham
PO Box 842                                       Cepen Park
Langhorne Creek 5255                             West Cepen Way
SOUTH AFRICA                                     Chippenham, Wiltshire SN14 6UZ
                                                 UNITED KINGDOM
Powder Mountain Snowmobile Club
77 Garibaldi Drive                               Premier Inn - Crewe/Nantwich
Whistler VON 1B1                                 221 Crewe Road
CANADA                                           Nantwich
                                                 Cheshire CW5 6NE
Power Pastoral Pty Ltd                           UNITED KINGDOM
123 Cosgrove Road
Belfield, NSW 2191                               Premier Inn - Dumfries
AUSTRALIA                                        Annan Road
                                                 Colin
PP Munich - KFD 7                                Dumfries DG1 3JX
Kommissariat 74, z. Hd. KOK Lechler              UNITED KINGDOM
Tegernseer LandstraBe 220
Munich 81549                                     Premier Inn - Edinburg City Centre (Roya
GERMANY                                          33 East Market Street
                                                 Edinburgh EH8 8FR
                                                 UNITED KINGDOM




                                           - 75 -
            Case 20-10036-CSS    Doc 42-1    Filed 02/12/20   Page 77 of 268



Premier Inn - Grantham                          ProAv Solutions
A1/607 Junction                                 526 Robert Road
Harlaxton Road                                  Peterborough K9J 5T1 ON
Grantham NH31 7JT                               CANADA
UNITED KINGDOM
                                                Proco Services Limited
Premier Inn - Haymarket                         Brocas North Farm
Bristol BS1 3LR                                 Hever
UNITED KINGDOM                                  Kend TN8 7LE
                                                UNITED KINGDOM
Premier Inn - Manchester (Heaton Park)
Middleton Road                                  Prodinger Verpackung
Crumpsall                                       Zweigniederlssung
Manchester M8 4NB                               Fichtenweg 48
UNITED KINGDOM                                  99098 Erfurt
                                                GERMANY
Premier Inn - Skipton North
Helliefield Road                                Production Resource Group
Gargrave Skipton BD23 3NB                       137 Horner Ave
UNITED KINGDOM                                  Unit 4
                                                Toronto M8Z 4Y1 ON
Premier Inn - Wandsworth                        CANADA
Whitbread Court
Houghton Hall Business Park Porz Avenue         Production Walkies
Dunstable, Bedfordshire LU5 5XE                 2192 Queen St east
UNITED KINGDOM                                  Suite 57
                                                Toronto M4E 1E6 ON
Prestige Interiors                              CANADA
Terminal House
Station Approach                                Productions Pro AM Synchro, Inc.
Shepperton, Middlesex TW17 8AS                  774 Rue St-Paul Ouest
UNITED KINGDOM                                  Montreal, Quebec, H3C 1M4
                                                CANADA
Pretty Green
48-50 St. John Street                           Progressive Waste Solutions Canada Inc
Farringdon, London EC1M 4DG                     320 Saunders Road
UNITED KINGDOM                                  Barrie L4N 9Y2 ON
                                                CANADA
Pringle Engineering
Mavishall                                       Project 111 Ltd
Humbie                                          100 Lower Thames Street
East Lothian EH36 5PL                           2nd Floor Centennium House
UNITED KINGDOM                                  London EC3R 6DL
                                                UNITED KINGDOM
Print Media Pty Ltd
13/30 Swan Street                               Projektron GmbH
Wollongong 2500 NSW                             CharlottenstraBe 68
AUSTRALIA                                       10117 Berlin
                                                GERMANY
Printcess Pty Ltd
PO Box 72                                       ProKilo Metall und Kunststoffmarkt
Kew, Victoria 3101                              Ronsdorfer Str. 74
AUSTRALIA                                       40233 Dusseldorf
                                                GERMANY
Printec Satz Druck
Michael Hubner u Ronald Partsc
Berlin,   12165
GERMANY



                                          - 76 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 78 of 268



Promosa Management Inc                            Quality Print
1132 Union Street                                 556 Bryne Drive
Vancouver V6A 2C6                                 Unit 1
CANADA                                            L4N 9P6 ON
                                                  CANADA
Pro-Net Internet Services Ltd
PO Box 57673                                      Quebec Street Food Association
London NW7 OEQ                                    Guy Vincent Melo
UNITED KINGDOM                                    6418 Saint-Laurent
                                                  Montreal H25 3C$ QC
Proteck Industries Ltd                            CANADA
1337 Alpha Lake Road
Whistler V0N 1B1                                  Queensland Ambulance Service
CANADA                                            Department of Community Safety
                                                  GPO Box 1425
PRP Consulting                                    Brisbane 4001 QLD
PRP Leicester                                     AUSTRALIA
Park Hose 22 Warren Park Way
Enderby Leicester LE19 4SA                        Queensland Fire and Rescue Service
UNITED KINGDOM                                    South Old Unit
                                                  GPO Box 1425
Psychi                                            AUSTRALIA
Units 2 & 3
Pennine View Estate, Shepley Lane                 Queensland Folk Federation Incorporated
Marple SK6 7JW                                    PMB 2
UNITED KINGDOM                                    Woodford 4514 QLD
                                                  AUSTRALIA
PT Events
88 Sheen Court                                    Quentin Bedwell
North Sheeh TW10 5DF                              77b Devon Street East
UNITED KINGDOM                                    New Plymouth 4310
                                                  NEW ZEALAND
Puddlez
3-5 Chiltern Trading Estate                       Quicktow Towing Service
Earl Howe Road                                    82 Bolinda Road
Holmer Green,High Wycome,Bucks HP15 6QT           Campbellfield 3047 VIC
UNITED KINGDOM                                    AUSTRALIA

Punchestown Enterprises Company Limited           Quipsmart Trading Pty LTD
Naas, Co Kildare                                  70 Governor Road
IRELAND                                           Mordialloc VIC 3195
                                                  AUSTRALIA
Pure Bean Cafe
14 Lynwood Drive                                  Quiz Management Systems Ltd
Myctchett, Camberley                              54 Claremont Road
Surrey GU16 6BY                                   Teddington, Middlesex TW11 8DG
UNITED KINGDOM                                    UNITED KINGDOM

Pyrojunkies Limited                               R&J Flowers
Pinden End Farm                                   40-3rd Ave E
Canada Farm Road                                  Drumheller T0J 0Y0
Dartford DA2 8EA                                  CANADA
UNITED KINGDOM
                                                  R&PA Godwin & Son
                                                  Wick Farm, Luckington
                                                  Near Chippenham
                                                  Wiltshire SN14 6PW
                                                  UNITED KINGDOM



                                           - 77 -
            Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 79 of 268



R.A.R.C.E.                                      Ramada Hotel Schwarzheide
101 Du Ciel                                     Sandy Schultz
Bromont J2L 2X4 QC                              Ruhlander Str. 75
CANADA                                          01987 Schwarzheide
                                                GERMANY
R.H. Nuttall Limited
Great Brook Street                              Ratchet Limited
Nechells Green, Birmingham                      Claire Hugues Studio 111 - The Print Roo
West Midlands B7 4EN                            164-180 Union Street
UNITED KINGDOM                                  London SE1 0LH
                                                UNITED KINGDOM
R.J. Burnside & Associates Limited
292 Speedvale Avenue West                       Raydon Rentals LTD
Unit 20                                         The Cat Rental Store
Guelph N1H 1C4 ON                               901 West 3rd St. - Unit #1
CANADA                                          North Vancouver V7P 3P9
                                                CANADA
Raab Karcher
Saint-Gobain Building Distribution              Raymond Mendoza
Hanauer LandstraBe 150                          40 David Dunlap Circle
Frankfurt 60314                                 North York M3C 4C1 ON
GERMANY                                         CANADA

Race Ahead                                      Read, Mark
Sue Jupp                                        64 Broad Street
1 Palace Yard Mews                              Wood Street Village
Bath BA1 2NH                                    Guildford GU3 3BE
UNITED KINGDOM                                  UNITED KINGDOM

Raceahead Event Services Ltd                    Ready Industries Pty Ltd t/a 1300 Temp F
Unit 2                                          PO Box 35 Baulkham Hills
Ingoldmells Court                               NSW 2153
Leafield Ind Estate, Corsham SN13 9XN           AUSTRALIA
UNITED KINGDOM
                                                Real Enterprising People Pty Ltd
Rach Oldham                                     Level 10
PO Box 331113                                   82 Flinders Street
Takapuna                                        Melbourne 3000
Auckland 0740                                   AUSTRALIA
NEW ZEALAND
                                                Rebecca Heaman
Rachel Berry                                    139 Auburn Sound View SE
35A Apirana Avenue                              Calgary T3M 0E1
Glen Innes                                      CANADA
Auckland 1072
NEW ZEALAND                                     Rebecca Madge
                                                2/44A Division Street
Radio Links Communications Ltd.                 Christchurch Riccarton 8041
Eaton House, Great North Road                   NEW ZEALAND
Eaton Socon, St. Neots
Cambridgeshire PE19 8EG                         Rebecca Rendell
UNITED KINGDOM                                  95 Parkstone Road
                                                Poole, Dorset BH15 2NZ
Radler Hotel                                    UNITED KINGDOM
Familie Niedner
Marktstrasse 11
91717 Wassertr dingen
GERMANY



                                         - 78 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 80 of 268



Rebecca Wilkinson                                 Reece's Structure & Gilkison Events Hire
131 Cranford Road                                 ABN 41 720 595 357
Aberdeen                                          506 Gukldford Road
Scotland AB107NJ                                  Gayswater 6053 WA
UNITED KINGDOM                                    AUSTRALIA

Receiver General of Canada                        Regiocast GmbH & Co. KG
39 Service Battalion                              Radiozentrum Leipzig
5500 No.4 Road                                    Thomasgasse 2
Richmond V6X 3L5                                  04109 Leipzig
CANADA                                            GERMANY

Rechtsanwaltskanzlei Huber                        Region of Waterloo
Ilweg 1                                           150 Frederick Street
im Glaspalast                                     Kitchner N2G 4J3 ON
82140 Olching                                     CANADA
GERMANY
                                                  Regus Australia Management Pty Ltd.
Reco (UK) Trading Ltd                             Level 23 Tower 1
Unit 2, Hammond Ave                               520 Oxford Street
Whitehaill Ind Est                                Sydney NSW 2022
Stockport SK4 1PQ                                 AUSTRALIA
UNITED KINGDOM
                                                  Reiter-und Ferienhof Severloh
Red Apple Creative                                29320 Hermannsburg
114-115 Tottenham Court Road                      Hof Severloh
London W1T 5AH                                    GERMANY
UNITED KINGDOM
                                                  Renate Muhina
Red Badge Group Ltd                               12 Crocus Fields
PO Box 11736                                      Saffron
Ellerslie                                         Walden, Essex CB10 2GA
Auckland 1542                                     UNITED KINGDOM
AUSTRALIA
                                                  Renate Schn rch
Red Kite Management Services Ltd.                 Donnersbergerstra e 22a
Unit S, Edison Courtyard                          80634 M nchen
Brunel Rd, Earlstress Ind Est                     GERMANY
Corby, Northants NN17 4LS
UNITED KINGDOM                                    Renco Nets
                                                  Pelham Industrial Estate
Red Monkey Talent Ltd                             Manby Road
Heworth House                                     Immingham DN40 2SE
Melrosegate, York YO310RP                         UNITED KINGDOM
UNITED KINGDOM
                                                  Rene Kuhnel
Red Truck Brewing Company Ltd                     Dahlemer Weg 205
295 E. 1st Avenue                                 14167 Berlin
Vancouver V5T 1A7                                 GERMANY
CANADA
                                                  Rennbahn Hoppegarten GmbH & Co. KG
Redland Graphics                                  Goetheallee 1
Unit 9, 55 Shore Street                           15366 Hoppegarten
Cleveland 4163 QC                                 GERMANY
AUSTRALIA




                                           - 79 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 81 of 268



Rent A Booth                                     Richard Burvill
83 Angelina Avenue                               2 Nursery Cottages
Woodbridge L4L 8N9 ON                            South Street, Avebury Trusloe
CANADA                                           Wiltshire SN8 1QX
                                                 UNITED KINGDOM
Res Publica Pty Ltd
Level 6                                          Richard Christensen
7 Macquarie Place                                8167 Barnett Street
Sydney, NSW 2000                                 Mission V2V 7C7
AUSTRALIA                                        CANADA

Resort Municipality of Whistler                  Richard Iwan Astley
4325 Blackcomb Way                               998C Colombo Street
Whistler, BC Von 1B1                             St Albans, Christchurch
CANADA                                           Canterbury 8014
                                                 NEW ZEALAND
Restore Plc
Redhill Distribution Centre                      Richard Judge
Unit 5, Saddlebrook Road                         Bramley Vale
Redhill, Surrey RH1 5DY                          Chesterfield S44 SGA
UNITED KINGDOM                                   UNITED KINGDOM

Restore Scan Limited                             Richard Porter
Bowman House                                     47 Queens Avenue
49 Mabgate                                       Frankton
Leeds LS9 7DR                                    Hamilton 3204
UNITED KINGDOM                                   NEW ZEALAND

Restored Document Management                     Richard Tarbitt
Unit 5, Redhill Distribution Centre              11a Sandspit Road
Salbrook Road                                    Howick
Redhill, Surrey RH1 5DY                          Auckland 2014
UNITED KINGDOM                                   NEW ZEALAND

Revolution Powersports Reair Inc                 Riedel Communications GmbH & Co
1212 Alpha Lake Road #10                         Uellendahler Str 353
Whistler                                         42109 Wuppertal
CANADA                                           GERMANY

Revolution Three Sixty Pty Ltd                   Right To Play UK Limited
Suite 41 (Upper Level)                           The Foundry
26-32 Pirrama Road                               17-19 Oval Way
Pyrmont 2009 NSW                                 London SE11 5RR
AUSTRALIA                                        UNITED KINGDOM

Rhys Williams                                    Right Turn Events
6 Hopes Close                                    PO Box 2343
Lydney, Glos GL15 SEP                            Squamish V8B 0B6
UNITED KINGDOM                                   CANADA

Ricardo dos Santos Miquelino                     Riverside House
Badensche-Str. 29                                Watermoor, Cirencester
10715 Berlin                                     Gloucestershire GL7 1LF
GERMANY                                          UNITED KINGDOM




                                          - 80 -
            Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 82 of 268



Rob Daniel Photography                        Rockpool Licensing
11 Magnolia Street                            49A Basement
Mordialloc 3195 VIC                           Uxbridge Road
AUSTRALIA                                     Sheperd's Bush W12 8LA
                                              UNITED KINGDOM
Rob Lingham
39 Burghley Road                              Rockstar Productions
Bristol BS6 5BL                               John Yost
UNITED KINGDOM                                7/8 Gateway Court
                                              Coomera 4209 QLD
Rob Owens                                     AUSTRALIA
15b Mcilroy Ave
Hillsborough                                  Rockton World's Fairground
Auckland                                      812 Old Highway 8
NEW ZEALAND                                   Rockton L0R 1X0 ON
                                              CANADA
Robert Bosch Systems GmbH
Jana Tamke                                    Rod Patton Contracting
Kruppstrasse 20                               R.M.B. 1227
Stuttgart 70469                               Back Beach Road
GERMANY                                       Ventnor 3922
                                              AUSTRALIA
Robert Nicholson
4900 Line 4 North                             Roger Ward
Hillsdale L0L 1V0 ON                          51 Lavery Place
CANADA                                        Sunnynook
                                              Auckland 0632
Robert Ruschel                                NEW ZEALAND
Friedrich-Engels-StraBe 19
15517 Furstenwalde/Spree                      Rogers
GERMANY                                       PO Box 9100
                                              Don Mills M3C 3P9 ON
Robert Smolinski                              CANADA
Lange Str. 32
26122 Oldenburg                               Rogers, Vicky
GERMANY                                       88 Sheen Court
                                              London TW10 5DF
Robin Clyfan                                  UNITED KINGDOM
93 Banbury House
London E97ED                                  Ron Kraan Pty Ltd
UNITED KINGDOM                                PO Box 1010
                                              Pakenham Upper 3810
ROBIN WOLZ                                    AUSTRALIA
HANS-MUCH-WEG 7
20249 HAMBURG                                 Roots (Matthew Talbot)
GERMANY                                       Windrush Scalford Back Lane
                                              Scalford
Rockdoc Consulting Inc.                       Melton Mowbray LE14 4DZ
110-916 West Broadway                         UNITED KINGDOM
Vancouver V5Z 1K7
CANADA                                        Roseland Produce
                                              1827 Ironstone Drive
Rocket Fireworks Inc.                         Burlington L7L 5T8 ON
14 Advance Road                               CANADA
Etobicoke ON M8Z 2T4
CANADA




                                       - 81 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 83 of 268



Rosterfy Pty Ltd                                 Run Ireland Ltd
Bennett Merriman                                 Unit 3, Liosban Bus Park
PO Box 243                                       Tuan Road
Hawthorn 3122 VIC                                Galway
AUSTRALIA                                        IRELAND

Rotary Club of Drumheller                        Runlastman Ltd
PO Box 1331                                      Unit 3
Drumheller T0J 0Y0                               Sandyford Office Park
CANADA                                           Sandyford
                                                 IRELAND
Rotary Club of Phillip Island & San Remo
PO Box 544                                       Running Imp Ltd
Cowes 3922 VIC                                   Jubilee House
AUSTRALIA                                        11-13 Whisby Way
                                                 Lincoln LN6 3LQ
ROTARY CLUB OF PHILLIP ISLAND AND SEN RE         UNITED KINGDOM
SECRETARY
PO BOX 544                                       Runswell Machinery Sales
COWES 3922                                       1109 Peats Ridge Road
AUSTRALIA                                        Peats Ridge NSW 2250
                                                 AUSTRALIA
Rowena Hutson
5/373 Wattletree Road                            Russell Barton
East Malvern 3145                                55/5 Orchard Brae Gardens
AUSTRALIA                                        Edinburgh EHH2UQ
                                                 UNITED KINGDOM
Royal Agricultural University Enterprise
Stroud Road                                      Ryan Downey
Cirencester                                      48-8863 216 Street
Gloucestershire GL7 6JS                          Langley V1M 2G9
UNITED KINGDOM                                   CANADA

Royal Wolf                                       Ryan Joseph Atkins
39 Heathcote Rd                                  1703 Forks of the Credit Road
PO Box 524, Moorebank 1875                       Caledon L7K 2J6 ON
Moorebank, NSW 2170                              CANADA
AUSTRALIA
                                                 Ryan Scott
RPS Australia East pty Ltd                       49/6 Babarra Street
PO Box 1559                                      Stafford QLD
Fortitude Valley 4006 QLD                        AUSTRALIA
AUSTRALIA
                                                 Ryans Mulching Qld Pty Ltd
RS Build                                         38 Centenary Pl
40 Leys Avenue, Deshorough                       Logan Village 4207 QLD
Kettering, Northan NN 14 2PY                     AUSTRALIA
UNITED KINGDOM
                                                 Ryscot Ltd
RS Marquee Hire                                  35 Salvesen Gardens
6/26 pilrig heights                              Edinburgh EH4 5JW
Edinburgh EH6 5BF                                UNITED KINGDOM
UNITED KINGDOM
                                                 S A SECURE LMITED
RSA Pty Ltd                                      OAK HOUSE
Unit 6, 9 Playle Street                          LANDSTONE BUSINESS VILLAGE
Myaree WA 6154                                   LANGSTONE PARK, NEWPORT NP18 2LH
AUSTRALIA                                        UNITED KINGDOM



                                           - 82 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 84 of 268



S&M McMullen                                      Sam Loevendie
16 Rainham Gardens                                511 Remuera Road
Ruddington NG11 6HX                               Auckland
UNITED KINGDOM                                    NEW ZEALAND

S. Mohammad Houssaini                             Samantha Jones
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CANADA                                            CANADA

S.A. Associates Management Training Co.           Samtgemeinde Furstenau
Unit 1-3 Ullet Nest Business Park                 Herr Thomas Wagener
Elterwater                                        Schlossplatz 1
Ambleside, Cumbria LA22 9HY                       49584 Furstenau
UNITED KINGDOM                                    GERMANY

S.L.I Transport Company Pty Ltd                   Samuel Head
PO Box 188                                        53 Brambleside
Coburg, VIC 3058                                  Kettering
AUSTRALIA                                         Northants NN16 9BP
                                                  UNITED KINGDOM
Sabco Sports LLC
(UAE Oman Bahrain Pakistan Qatar)                 Samuel Moore
Nic Cartwright PC 112 Ruwi                        2F1/101 Brunswick Street
PO Box 3779 Muscat                                Edinburgh EH7 5HR
SULTANATE OF OMAN                                 UNITED KINGDOM

Sabco Sports LLC (UAE Oman Bahrain Pakis          Samuel Wood
Nic Cartwright                                    1b-128 Customs Street West
PC 112 Ruwi PO Box 3779                           Auckland Central
Muscat                                            Auckland
SULTANATE OF OMAN                                 NEW ZEALAND

SafeGuard Compliance Solutions                    Samx Holdings Pty Ltd t/a Samx Films
23 Fennell Street                                 PO Box 1
North Parramatta NSW 2151                         Mirrabooka 6941 WA
AUSTRALIA                                         AUSTRALIA

Sahara Steam Ltd O/A The Steam Machine            Sandra Mostowfi
PO Box 1101                                       Mythenquai 26
Drumheller T0J 0Y0                                Schweiz
CANADA                                            Zurich 8002
                                                  GERMANY
Sam Groombridge
24 Heathridge Place                               Sandy Udin
Halswell, Lincoln 7608                            82a Owairaka Ave
NEW ZEALAND                                       Mt Albert
                                                  Auckland
Sam Jones                                         NEW ZEALAND
1/224 Highett Road
Highett 3190 VIC                                  Saoirse O'Toole
AUSTRALIA                                         2 Fulcher House
                                                  Colville Estate
Sam Knight                                        London N1 5NP
147c St Heliers Bay Road                          UNITED KINGDOM
Auckland
NEW ZEALAND




                                           - 83 -
            Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 85 of 268



Sarah C. Duchesne-Fisette                     Schroders Hotel
403-3525 West Broadway                        CompestraBe 6
Vancouver V6R 2B5                             Schwarzenbek 21493
CANADA                                        GERMANY

Sarah de Jong                                 Schwendiman Taufa
8/27-29 Smith Street                          10 Skeates Ave
Summer Hill 2130                              Mt Roskill
NEW ZEALAND                                   Auckland
                                              NEW ZEALAND
Sarl Circuit Des Ecuyers
Ferme de Fary                                 Scott Daniel Thornton
02130 Beuvardes                               3/244 Great South Road
FRANCE                                        Greenlane, Auckland 1051
                                              NEW ZEALAND
Sarosh Saklatwala
64 Hutchinsons Road                           Scott David Brown
Bucklands Beach                               5 Merkland Park
Auckland 2014                                 Dundonald
NEW ZEALAND                                   Kilmarnock KA29JN
                                              UNITED KINGDOM
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Burgstr. 26                                   Screen Solutions Ltd.
Osnabruck 49086                               Beauloft House
GERMANY                                       Greenwich Way Peacehaven
                                              East Sussex BN10 JQ
Sascha William                                UNITED KINGDOM
Helgolandstrasse 12
Schulzendorf 15732                            Screeprint Concepts
GERMANY                                       2 Montefiore Street
                                              Fairfield, VIC 3078
Satcom (NZ) Limited                           AUSTRALIA
PO Box 252
Pukekohe                                      SDM Media
South Auckland                                4 Swanston Green
NEW ZEALAND                                   Edinburgh EH10 7EW
                                              UNITED KINGDOM
SC Commercial Pty Ltd
Shop 3, 10 Albert Street                      Securitas Canada Limited
Bacchus Marsh 3340 VIC                        NCO
AUSTRALIA                                     400 Bayfield Street
                                              Barrie L4M 5A1 ON
SCARLETT LEE                                  CANADA
DROPKEWEG 15 APT 388
BERLIN , GERMANY 12353                        Securite Sirois Evenements Speciaux
GERMANY                                       415 Rue Fichet
                                              Quebec GIC 6Y2 QC
Schloss Wachendorf                            CANADA
53894 Mechernich
GERMANY                                       Securtrust Protection
                                              287 Bering Avenue
Schoder & Wohlfart UG                         Toronto M8Z 3A5 ON
Sven-Hedin-Weg 6                              CANADA
68219 Mannheim
Deutschland                                   Secutor Securities Pty Ltd
GERMANY                                       PO Box 864
                                              Hamilton 4007 QLD
                                              AUSTRALIA



                                       - 84 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 86 of 268



Seebaur-Hotel GmbH                                Shaun Bucknole
Dinkelsbuhler StraBe 1                            43 Mottisfont Road
Wassertrudingen 91717                             Boyatt Wood, Eastleigh
GERMANY                                           Hampshire SO504PN
                                                  UNITED KINGDOM
Seek Limited
GPO Box 2335                                      Shaun Hall
Sydney NSW 2001                                   14 Belmont Avenue
AUSTRALIA                                         Dandenong
                                                  North Victoria 3175
Seltec GmbH                                       AUSTRALIA
HochstraBe 23a
A-2540 Bad Voslau                                 Shaun Stephens-Whale
GERMANY                                           3401 Beach Ave
                                                  Roberts Creek V0N2W2
Seltronik Nachrichtentechnik GmbH                 CANADA
Werner-von-Siemens Str 7-9
03052 Cottbus                                     Shauna Murphy
GERMANY                                           Killowen Newmarket, Co.
                                                  Cork, Ireland P51 FN35
Serverino Stohler                                 IRELAND
Allmendstrasse 153
Zurich 8041                                       Shaw Event Hire
SWITZERLAND                                       PO Box 129
                                                  Cammeray 2062 NSW
SERVISYS, INC                                     AUSTRALIA
12 RUE DE PACIFIQUE EST
BROMONT QUEBEC J2L 1J5 J2L 1J5                    SHB Vehicle Hire & Management Ltd
CANADA                                            18 Premier Way
                                                  Abbey Park Ind. Estate
Servo Personal & Treuhand GmbH                    Romsey, Hants SO51 9DQ
Langenhagstrasse 1                                UNITED KINGDOM
CH-4147 Aesch
GERMANY                                           Shenzhen Kaihongyu Stationary Co, Ltd
                                                  F5, Building E, Chiwan Industrial Park
Shadforths Civil Engineering Contractors          No. 1 Shaodi Rd, Shekou Nanshan District
99 Sandalwood Lane                                Shenzhen, Guangdong
Forrest Glen, QLD 4556                            CHINA
AUSTRALIA
                                                  Shenzhen Likeda Sports Gift Factory
Shahzad Sahukar                                   5F, No. 8B Building
34 Doulton Drive                                  Anhua Industrial Park
Cherrybrook                                       ShenZhen
AUSTRALIA                                         CHINA

Shamrock Scaffold Services                        Shenzhen Zhenhan Inflatable Co., LTD
8 Walsh Ave                                       8/F., CNT Commercial Building
St Marys 5042                                     302 Queen's Road Central
SOUTH AFRICA                                      HONG KONG

Shane Risley                                      Shire of Northam
3025 Alpine Cres                                  395 Fitzgerald Street
Whistler V0N 1B3                                  Northam 6401 WA
CANADA                                            AUSTRALIA




                                           - 85 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 87 of 268



ShoreTel Australia Pty Ltd                       Simon Mallory
Level 1                                          75 Smith Street
441 St Kilda Road                                Kensington, VIC 3031
Melbourne 3004 VIC                               AUSTRALIA
AUSTRALIA
                                                 Simone Rose
Show Devant                                      205 Queen Street
33, rue Azarie-Cote                              Auckland
Granby J2J 2Y9 QC                                NEW ZEALAND
CANADA
                                                 Sirromet Wines Pty Ltd
Showlight & Power Ltd T/A Generator Rent         Winery and Visitors Center
40-42 The Concourse                              850 Mt Cotton Road
Henderson                                        Mt Cotton 4165 QLD
Auckland                                         AUSTRALIA
NEW ZEALAND
                                                 Site-Equip Ltd
SHS Sicherheit & Service GmbH                    The Avenue
Magirus-Deutz Stra e 18                          Lasham
89077 Ulm                                        Hampshire GU34 5SU
GERMANY                                          UNITED KINGDOM

Sidan Traffic Control Services Ltd               Sixt GmbH
551 Piercy Road                                  FLIZZR Rent-A-Car
Bolton L7E 5B5 ON                                Grubenstrasse 27
CANADA                                           18055 Rostock
                                                 GERMANY
Signwave Parramatta
Shop 3                                           skulap Sanit tsdienste
426 Church Street                                Klausstr. 10
Parramatta NSW 2150                              65366 Geisenheim
AUSTRALIA                                        GERMANY

Silko Kreuzer                                    skyDSL Deutschland GmbH
Gartenweg 22                                     Waldstr 86-90
15326 Alt Zeschdorf                              13403 Berlin
GERMANY                                          GERMANY

Silver Birch Events                              Skyreach
41 Coalville Lane                                PO Box 1847
Ravenstone                                       Caboolture 4510 QLD
Leicestershire LE67 2LR                          AUSTRALIA
UNITED KINGDOM
                                                 Slater & Gordon UK LLP
Silverline Chemicals                             Dominic Smith
Panipat- 132103                                  1st Floor, St James House 7 Charlotte St
Haryana                                          Manchester M1 4DZ
INDIA                                            UNITED KINGDOM

Simon Donato                                     Slyetica
23-1119 Railway Ave                              35 Walnut Street
Canmore T1W1R4                                   Cremorne 3121
CANADA                                           Australia
                                                 AUSTRALIA
Simon Jones
12 Healy Court
Ormeau 4208
AUSTRALIA



                                           - 86 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 88 of 268



Smart Buying Global Ltd                          Solid Event Management And Consulting
15 Temple Mead Close                             Uferstrasse 92/10
Stanmore                                         Innsbruck 6020
Middlesex HA7 3RG                                GERMANY
UNITED KINGDOM
                                                 Somersby Rural Fire Services
Smarter Results Ltd                              1 Debenham Road
Attn: Accounts Dept.                             Somersby 2250 NSW
42 Cranmore Road                                 AUSTRALIA
Camberley, Surrey GU16 6EW
UNITED KINGDOM                                   Sonja Berveling RN
                                                 16 Old Belgrave Road
Smartest Energy                                  Upper Ferntree Gully 3156 VIC
Dashwood House                                   AUSTRALIA
69 Old Broad Street
London EC2M 1QS                                  Sophie Hinton
UNITED KINGDOM                                   64 Vintage Drive
                                                 Henderson
SmartForks Pty Ltd t/as Suncoast Forklif         Auckland 0612
PO Box 5299                                      NEW ZEALAND
Maroochydore 4558 QLD
AUSTRALIA                                        Soren Klose
                                                 Deubenerstr 35
Smithcoaching                                    Dresden 01159
5839 Avenue de Chateaubriand                     GERMANY
Montreal H2S 2N3 QC
CANADA                                           Sorrel Alexis Lewis
                                                 52A Calle San Sebastian
Smokes Poutinerie                                EL Faro, Mijas Costa
24A Dunlop Street West                           Malaga 29649
Barrie L4N 1A2 ON                                SPAIN
CANADA
                                                 South Australia Ambulance Service
SMSC Catering Solutions                          AR-Team 24, Shared Services SA
21 Davidson Street                               GPO Box 11028
Broadford 3658 VIC                               Adelaide 5001
AUSTRALIA                                        SOUTH AFRICA

Snappatronik                                     Southampton Archeology Unit
8/84a Darley Road                                93 French Street
Manley 2095 NSW                                  Southhampton SO142DY
AUSTRALIA                                        UNITED KINGDOM

SOCAN                                            Southampton City Council
SOCIETY OF COMPOSERS, AUTHORS                    The Cash Office
TORI MYLES 41 VALLEYBROOK DRIVE                  One Guildhall Square
TORANTO, ON M38 2S6                              Southampton SO14 7FP
CANADA                                           UNITED KINGDOM

Soldier On                                       Southern Cross Austereo
Building 1, Gungahlin House                      PO Box 8984
44 Bellenden Street                              GCMC 9726 QLD
Crace ACT 2911                                   AUSTRALIA
AUSTRALIA
                                                 Southern Cross Grandstand Hire Pty Ltd
                                                 PO Box 653
                                                 Robina 4226 QLD
                                                 AUSTRALIA



                                           - 87 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 89 of 268



Southern Cross Produce                           Splashdown Event Services Pty Ltd
PO Box 156                                       1 Frost Road
Sydeny Markets                                   Campbelltown, NSW 2560 2560
NSW 2129                                         AUSTRALIA
AUSTRALIA
                                                 Sponsorship News Pty Ltd
Southern Generators & Electrical Pty Ltd         PO Box Q519
10 Garden Boulevard                              QVB Post Office NSW 1230
Dingley 3172 VIC                                 AUSTRALIA
AUSTRALIA
                                                 Sport 3 Tours Pty Ltd
Southern Tarps P/L                               Donna Noble
3B/ 62 O'Riordan Street                          2145 The Vistas Drive
Alexandria 1460 NSW                              Carrara 4211 QLD
AUSTRALIA                                        AUSTRALIA

Sowdes                                           Sportall Pty Ltd.
PO Box 619                                       6 Colac way
Goulburn 2580 NSW                                Duncraig 6023
AUSTRALIA                                        WA, Australia WA
                                                 AUSTRALIA
SP Services (UK) Ltd
Bastion House                                    Sporting Hamburg
Hortonwood 30, Telford                           c/o steuermann sport GmbH
Shropshire TF1 7XT                               Paul Dessau-Str. 3e
UNITED KINGDOM                                   Hamburg 22761
                                                 GERMANY
Spark Catering
ABN 99 126 222 099                               Sports Environment Alliance
Level 3, Members' Stand, Locked Bag 1999         Suite 607
Sydney Olympic Park, NSW 2127                    530 Little Collins Street
AUSTRALIA                                        Melbourne 3000 VIC
                                                 AUSTRALIA
Spartan Fire Safety
3 Farthing Lane                                  Sports Medics Ltd
Portsmouth, Hampshire PO1 2NP                    44 Edith Road
UNITED KINGDOM                                   Flat 2, West Kensington
                                                 London W14 9BB
Special Event Merchandising (AUST) P/L           UNITED KINGDOM
302-306 Waverley Road
Malvern East 3145                                Sports Technology and Timing System Ltd
AUSTRALIA                                        155 Colonnade Road
                                                 Unit 18
Specialized Signs                                Ottawa K2E 7K1 ON
60 St. Johns Road                                CANADA
Edinburgh EH12 8AT
UNITED KINGDOM                                   Sportstiks UK
                                                 Unit A2 Hubert Road
Spiel & Sport Team GmbH                          Brentwood
TalangerstraBe 7                                 Essex CM14 4JE
82152 Krailing-Munchen                           UNITED KINGDOM
GERMANY
                                                 Spreemobil Transport UG (hb) i.Gr.
Spilt Milk                                       Windscheidstr. 16
8 Batman Street                                  Berlin 10627
Footscray 3011                                   GERMANY
AUSTRALIA




                                           - 88 -
            Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 90 of 268



Spring Waterman                                Stadt Wassertrudingen
PO Box 3354                                    MarktstraBe 9
Nerang B.C., QLD 4211                          Wassertrudingen 91717
AUSTRALIA                                      GERMANY

Sproat Enterprises LTD                         Stantec Consulting Ltd
PO Box 239                                     10160-112 Street
Whistler V0N 1B0                               Edmonton T5K 2L6
CANADA                                         CANADA

SSDL Solutions                                 Staples of Mississauga
Level 3/ 2 Brandon Park Dr                     C/O T04446C
Wheelers Hill                                  PO Box 4446, STN A
VIC 3150                                       Toronto MSW 4A2 ON
AUSTRALIA                                      CANADA

SSK Security Gmbh                              Starfish Development & Coaching
Ruhlander StraBe 23                            11 Rockleigh Drive
01987 Schwarzheide                             Ashurst Bridge, Southampton SO40 7JJ
GERMANY                                        UNITED KINGDOM

St John Central Region                         Stark Contracting and Management
Private Bag 14904, Panmure                     47-1275 Mount Fee Rd
Auckland 1741                                  Whistler BC VON 181
NEW ZEALAND                                    CANADA

St. John Ambulance                             Starlight Children's Foundation
209 Great Eastern Highway                      PO Box 101
PO Box 183                                     St Leonards 1590 NSW
Belmont 6104 WA                                AUSTRALIA
AUSTRALIA
                                               State Medical Assistance Pty Ltd
Stadium Signs Pty Ltd                          PO Box 133
1/31 Amay Crescent                             Mittagong 2575 NSW
Ferntree Gullly, VIC 3156                      AUSTRALIA
AUSTRALIA
                                               State Motorcycle Sports Complex
Stadt Arnsberg                                 Strath Creek Road Broadford
Postfach 2340                                  PO Box 3
Arnsberg 59753                                 Broadford 3658 VIC
GERMANY                                        AUSTRALIA

Stadt Mechernich Der Burgermeister             Stefan Ambos
Postfach 1265                                  Rudolf-Mauersberger-Str.20
53887 Mechernich                               09496 Marienberg
GERMANY                                        GERMANY

Stadt Ortenberg                                Stefan Follmer
Lauterbacher StraBe 2                          Am Venskyh uschen 27
Ortenberg 0604680000                           52074 Aachen
GERMANY                                        GERMANY

Stadt Soest                                    Stefan Freissegger
Stadtentwicklung u. Bauordnung                 Dolomitenstrasse 17/6
Postfach 22 52                                 Nussdorf- Debant 9990
59491 Soest                                    AUSTRIA
GERMANY




                                        - 89 -
            Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 91 of 268



Stein HGS GmbH                                Stockland Development
Hainholzwe 135a                               Level 25
Hamburg 21077                                 133 Castlereagh Street
GERMANY                                       Sydney, NSW 2000
                                              AUSTRALIA
Stephanie Hong
210 Victoria Street                           Stokes & Jolly
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Toronto M5B 2R3 ON                            London NW3 2SP
CANADA                                        UNITED KINGDOM

Stephanie Wagner                              Stolberger Hof
Stengeistr,21                                 Inh Helmut Stiebeling
80805 Muchen                                  63697 Hirzenhain
GERMANY                                       Nidderstrabe 14
                                              GERMANY
Stephen Bird
Jampankaari 17 B 7                            Storm Refrigeration
FI-04440 Jarvenpaa                            Unit 2A
FINLAND                                       124 Manor Road North
                                              Thames Ditton K17 OBH
Stephen Mevenkamp                             UNITED KINGDOM
SchloBstraBe 13
59821 Arnsberg                                Strath Motel Pty Ltd
GERMANY                                       PO Box 20
                                              Strathalbyn 5255
StepStone Deutschland GmbH                    SOUTH AFRICA
Hammer Stra e 19
40219 D sseldorf                              Strathalbyn CFS Group
GERMANY                                       Longhorne Creek Brigade
                                              PO Box 444
Steve Wilson                                  Strathalbyn 5255
428 Kingseat Road                             AUSTRALIA
Kingseat 2679
NEW ZEALAND                                   Streetvertise Limited
                                              52 Somerset Road
Steven & Bolton LLP                           Coventry CV14EE
Wey House                                     UNITED KINGDOM
Farnham Road
Guildford, Surrey GU1 4YD                     Stress-Less
UNITED KINGDOM                                Michael Adu
                                              65 Old Farm Road
Steven Cook Creative                          London N2 9RF
Unit 6 88 Avenue Road                         UNITED KINGDOM
Mosman 2088 NSW
AUSTRALIA                                     Stretch Tent Co.
                                              Broughton Barns
Steven Lindsay                                Unit 2
28 Kepler Road                                Broughton, Milton Keynes MK16 0YH
London SW4 7PG                                UNITED KINGDOM
UNITED KINGDOM
                                              Structural Stability Consulting Pty Ltd
Stieve, Neikes & coll.                        2 Greer Place
Freiheitsplatz 6                              Magill 5072
Erkelenz 41812                                SOUTH AFRICA
GERMANY




                                       - 90 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 92 of 268



STS GmbH                                         Sunshine Coach Ltd
WiesenstraBe 70 b5                               234-5149 Country Hills Blvd NW
D-40549                                          Suite 167
Dusseldorf                                       Calgary T3A 5K8
GERMANY                                          CANADA

Stuart Larochelle                                Sunshine Coast Council
836 #808 15th Avenue, SW                         Locked Bag 72
Calgary T2P OH8                                  Sunshine coast Mail Centre
CANADA                                           QLD 4560
                                                 AUSTRALIA
STUDITEMPS GMBH
FIESENSTRASSE 20                                 Super Save Group
50670 SOLOGNE                                    Jon Lundquist
GERMANY                                          19395 #10 Highway
                                                 Surrey V3S 6K1
Sudden Impact Signs                              CANADA
14a King Street
Bayswater 6053                                   Supertex S.A.
AUSTRALIA                                        NIT.800130149-8
                                                 Carrera 35 #10-707
Sugden Contractors LTD                           Yumbo - Valle
Dobfield Farm                                    COLOMBIA
Todley Hall Road
Laycock, Keighley BD22 0QB                       Sure Gro
UNITED KINGDOM                                   Unit 1/ 42-44 Garden Boulevard
                                                 Dingley VIC 3172
Sullys Muskoka Gourmand Inc.                     UNITED KINGDOM
1140 Baldwin Road
Bracebridge PIL 1W8 ON                           Surf & Turf Instant Shelters
CANADA                                           Unit 7 Tatton Court
                                                 Kingsland Grange
Summerhughes Pty Ltd t/a Sugarloaf Motel         Warrington, Cheshire WA1 4RR
3 Short Street                                   UNITED KINGDOM
Broadford 3658
AUSTRALIA                                        Surf Life Saving NZ
                                                 PO Box 39129
Sun Leisure Limited                              Te Puni Mail Centre
Units 1 & 2                                      Lower Hutt 5045
Windy Bank Farm                                  NEW ZEALAND
Hapsford, Cheshire WA6 0JY
UNITED KINGDOM                                   Surf Life Saving Services Pty Ltd
                                                 PO Box 307
Sun Media                                        Belrose, NSW 2085
PO Box 7400                                      AUSTRALIA
London N5Y 4X3 ON
CANADA                                           Surf Life Saving Western Australia Inc
                                                 7 Delawney Street
Sunbelt Rentals of Canada Inc.                   Balcatta 6914 WA
PO Box 99257                                     AUSTRALIA
Station Terminal
Vancouver V6B 0N5                                Susanne Kraus
CANADA                                           Schwenkgasse 4
                                                 72669 Unterensingen
                                                 GERMANY




                                           - 91 -
            Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 93 of 268



Susie Kazda                                    Sylvan Glen Country House
31 Stockmans Drive                             570 Kareela Road
Vermont South 3133 VIC                         Penrose 2579 NSW
AUSTRALIA                                      AUSTRALIA

Suzanne Shaw                                   Synergie Hunt International Inc
PO Box 23                                      302-65 Queen Street West
Bundoora 3083 VIC                              Toronto M5H 2M5 ON
AUSTRALIA                                      CANADA

Sven Elbeshausen                               Sysco Food Services of Central Ontario
Beim Rethpohl 9                                7055 Kennedy Road
Bremen 28307                                   Mississauga L5S 1Y7 ON
GERMANY                                        CANADA

Sven Falkenberg                                Sysco Vancouver
Ringelblumenwag 20                             1346 Kingsway Ave
50226 Frechen                                  Port Coquitlam V3C 6G4
GERMANY                                        CANADA

Sven Gobel                                     Sytech Andreas Winter GmbH
Corinthstr. 4a                                 Gewerbegebiet 7
Berlin 10245                                   Stetten 2100
GERMANY                                        GERMANY

Sven Klare                                     T/A Event medical Services
Hovischestr 68                                 Craven Hall, Sackville Street
Dortmund 44379                                 Skipton BD23 2 PB
GERMANY                                        UNITED KINGDOM

Svensk Galopp AB                               Talbot Biermans
Hastsportens Hus                               2-15 Frances Street N
161 89                                         Barrie L4N 1Z1 ON
Stockholm                                      CANADA
SWEDEN
                                               Talk Action
Swangrove Estates Ltd                          The Grayston Centre
The Estates Office                             28 Charles Square
Badminton                                      London N1 6HT
South Gloucestershire GL9 1DD                  UNITED KINGDOM
UNITED KINGDOM
                                               Tangralina Ltd
Swim Safety Ltd.                               Matterley Farm
93 Greenway Business Centre                    Ovington Down
Essex CM19 SQE                                 Alresford, Hampshire SO24 OHY
UNITED KINGDOM                                 UNITED KINGDOM

Sygma Safety & Events Ltd                      Tanyelle Pty. Ltd. T/A All Area Traffic
Unit K Blois Meadow Business Centre            P.O. Box 93
Steeple Bumpstead                              Inverloch
Haverhill CB9 7BN                              VIC 3996
UNITED KINGDOM                                 AUSTRALIA

Sylvain Dion                                   Tarpaflex Ltd
1543 Rue de L'alouette                         The Granary
Quebec G3K 2L2 QC                              Rocky Lane, Northlew
CANADA                                         Okehampton, Devon EX20 3BR
                                               UNITED KINGDOM



                                        - 92 -
            Case 20-10036-CSS    Doc 42-1    Filed 02/12/20   Page 94 of 268



Tarsha Brown                                    Tempest Estates
3/8 Kitchener Road                              BACS
Croydon 3136 VIC                                Skipton North Yorkshire
AUSTRALIA                                       UNITED KINGDOM

Tax and Revenue Administration                  Temporary Fencing Systems Limited
Alberta Finance and Enterprice                  Brownstown, The Curragh
9811-109 Street                                 Co Kildare
Edmonton T5K 2L5                                IRELAND
CANADA
                                                TEMPTON PERSONALDIENSTEISTUNGEN GMBH
Taxi-Harbecke & Heyer Sicherheitsdienst         GROBE HAMKENSTRASSE 19
Ulrich Heyer                                    49074 OSNABRUCK
Robert-Bosch-Ring 9; 49584 Furstenau            GERMANY
GERMANY
                                                Tentickle Stretch Tents UK Ltd
TC Showtechnik GmbH                             Rye Farm, Wishaw
Johann Baur Str 44                              Sutton Coldfield
Weilheim 82362                                  West Midlands B76 9PY
GERMANY                                         UNITED KINGDOM

TCB (CIT) Pty Ltd                               TeRau Allen
PO Box 11280                                    3363 Horeke Road
Frankston 3199 VIC                              RD3 Kaikohe
AUSTRALIA                                       Northland 0473
                                                NEW ZEALAND
TCB Elite Security Monitoring
PO Box 3034                                     Terrace Hill Farm LLP
Frankston, VIC 3199                             Belvoir Castle
AUSTRALIA                                       Grantham, Lincs NG32 1PE
                                                UNITED KINGDOM
TCN Brixton Ltd
9 Brighton Terrace                              Terralee Murphy
Unit 5A                                         689 Otautau Drummond Road
London SW9 8DJ                                  Rd3
UNITED KINGDOM                                  Otautau 9683
                                                NEW ZEALAND
Technische Dienste Arnsberg
HuttenstraBe 19                                 Tesch Inkasso Forderungsmanagement GmbH
Arnsberg 59759                                  Bielsteiner StraBe 43
GERMANY                                         Wiehl 51674
                                                GERMANY
Technische Universitat Muchen
ZA4 Immobilienmanagement                        Tessa Stockdale
Referat 44 - SG 4452, Connollystr. 32           2/129 Grafton Road
Munchen 80809                                   Grafton
GERMANY                                         Auckland 1010
                                                NEW ZEALAND
Telekom Deutschland GmbH
Landgrabenweg 151                               Tessa Waters
Bonn 53227                                      58 Davies Street
GERMANY                                         Brunswick 3056 VIC
                                                AUSTRALIA
Telequip Systems Ltd
141 Welham Road Unit 5                          TFH Hire Services Pty. Ltd.
Barrie V6E 4G1 ON                               PO Box 1066
CANADA                                          Browns Plains, QLD 4118
                                                AUSTRALIA



                                          - 93 -
            Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 95 of 268



The Adventure Group                            The Event Medicine Company LTD.
211-4293 Mountain Square                       Unit D, Central Estate
Whistler V0N 1B4                               Albert Road, Aldershot
CANADA                                         Hampshire, GU11 1SZ
                                               UNITED KINGDOM
The Anne Lucas Catering Company
Unite 3, Inner Street Business Park            The Event Water Company
Inner Street                                   1 Southlands
Grantham, Lincolnshire NG31 6HN                High Heaton
UNITED KINGDOM                                 NewCastle Upon Tyne, London NE7 7YH
                                               UNITED KINGDOM
The Big Red Bus Company
Mr. J Letts                                    The Film Office Ltd
Bearley Farmhouse Bearley Lane                 Brady Arts & Community Centre
Tintinhull Yeovil Somerset BA22 8PE            192-196 Hanbury Street Room S11
UNITED KINGDOM                                 London E1 5HU
                                               UNITED KINGDOM
The BuggyMan Limited
Goffs Kill                                     The Football Company (Scotland) Ltd
Co Kildare                                     228 Eaglesham Road
IRELAND                                        Hairmyres East Kilbride
                                               Glasgow
The Chimuk Catering Company                    UNITED KINGDOM
184 Martinwood Way NE
Calgary T3J 3H8                                The Griffin Gastropub
CANADA                                         9 Chancery Lane
                                               Bracebridge P1L 2E3 ON
The Chocolate Cafe                             CANADA
13 Thames side
Henley on Thames                               The Hamilton Dream Center
Berkshire RG91BH                               c/o Rebekah Hill
UNITED KINGDOM                                 627 Main St. , Suite #100
                                               Hamilton L9B 2N3 ON
The Dower House                                CANADA
Forty Hill
Enfield, Middlesex EN9 9EJ                     The Herjavec Group Inc
UNITED KINGDOM                                 Accounts Recievable
                                               180 Duncan Mill Road
The Edge (Systmes) Ltd                         Toronto M3B 1Z6 ON
Windsor Place                                  CANADA
Penarth CF64 1JL
UNITED KINGDOM                                 The Hive Studio
                                               95 East Dulwich Grove
The Edinburgh Ice Co.                          London SE228PU
Studio 121                                     UNITED KINGDOM
1 Summerhall
Edinburgh EH9 1PL                              The James Wentworth-Stanley Memorial Fun
UNITED KINGDOM                                 Dor-Knap Houe
                                               Middle Hil, Nr. Broadway
The Environmental Printing Company             Worcestershire WR12 7LA
Unit 2, 20 Commerce Street                     UNITED KINGDOM
Malaga 6090 WA
AUSTRALIA                                      The Jolly Hog
                                               Unit, Riverside Business Park
                                               St Annes Road
                                               Bristol BS4 4ED
                                               UNITED KINGDOM




                                        - 94 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 96 of 268



The Keg Shed Limited                             The Somerset Trust
Unit 5-6 Silverlaw Industrial Estate             The Estate Office
Annan                                            Badminton
Dumfriesshire DG125EQ                            South Gloucestershire GL9 1DD
UNITED KINGDOM                                   UNITED KINGDOM

The Longhorn Pub Ltd                             The Stag and Huntsman
PO Box 1356                                      Hambleden Village
Whistler V0N 1B0                                 Henley on Thames
CANADA                                           Oxon RG9 6RP
                                                 UNITED KINGDOM
The Magic Bus Company/ Star Coach Servic
520 Lake Shore Boulevard East                    The StoryLab
Toronto M5A 1C3 ON                               Level 4/111 Cecil Street
CANADA                                           South Melbourne 3205 VIC
                                                 AUSTRALIA
The Master Cleaners
189 Haverstock Hill                              The Trustee for SDM Family Trust
Belsize Park NW3 4QG                             C/-IMG Finance
UNITED KINGDOM                                   Level 2, 179-292 New S. Head Road
                                                 Edgecliff, NSW
The Matterley Estate                             AUSTRALIA
Ovington Down
Alresford                                        The Waiting Game (Bristol) Ltd
Hampshire SO24 OHY                               Bar 135
UNITED KINGDOM                                   135 Whiteladies Road
                                                 Clifton, BT BS8 2PL
The Media Shop Pty Ltd                           UNITED KINGDOM
80A Spray Street
Elwood 3184 VIC                                  Thilo Batta
AUSTRALIA                                        Eichberg 25
                                                 Dohr 56812
The Multiple Sclerosis Society of SA/NT          GERMANY
11-15 Fourth Avenue
Mawson Lakes 5095                                Think Sponsorship
SOUTH AFRICA                                     Stafford Workshops
                                                 Burford Road, Unit 158
The People Network dba TNT International         London E15 2SP
PO Box 186                                       UNITED KINGDOM
Ramsbottom
Bury BL0 9GR                                     Thinking Space and Build Ltd
UNITED KINGDOM                                   Landmark House
                                                 17 Hanover Square
The Performing Right Society Ltd dbs PRS         London W1S 1HU
29-33 Berners Street                             UNITED KINGDOM
London W1T 3AB
UNITED KINGDOM                                   Thirsty Box
                                                 Singleton Court Business Park
The Plough                                       Wonastow Road
17 Main Street                                   Monmouth NP25 5JA
Myrniong 3341 VIC                                UNITED KINGDOM
AUSTRALIA
                                                 Thomas Linford
The Sapper Mike McTeague Wounded Warrior         2804 14th Street Southwest
310 Byron Street South                           Calgary T2T 3VA
Suite 4                                          CANADA
Whitby L1N 4P8 ON
CANADA



                                           - 95 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 97 of 268



Thomas Marquis                                    Threepipe Limited
Blue Bell Inn                                     8th Floor Import Building
Rhosesmor Road                                    2 Clove Crescent
Halkyn, Flintshire, Wales CH8 8DL                 London E14 2BE
UNITED KINGDOM                                    UNITED KINGDOM

Thomas Mitchell                                   THRINGS LLP
3/9 Eldon Court                                   PENNY LEE
Hampton East 3188 VIC                             6 DRAKES MEADOW
AUSTRALIA                                         SWINDON SN3 3LL
                                                  UNITED KINGDOM
Thomas Nannery t/a Nannery Bros Contract
Kilcogy                                           Tiki Tonga Coffee Ltd
Co Cavan                                          Unit 3
IRELAND                                           Little Mundells
                                                  Welwyn Garden City, Herts AL7 1EW
Thomas Seyfried                                   UNITED KINGDOM
Forststra e 31
D-75223 Niefern- schelbronn                       Tim Glove
GERMANY                                           72 Cameron Street
                                                  Onehunga
Thomas Telford                                    Auckland 1061
1 Great George Street                             NEW ZEALAND
London SW1P 3AA
UNITED KINGDOM                                    Tim Hickson
                                                  13 Garfield Road
Thomas Wittwer                                    Helensville 0800
Lennigstra E6                                     NEW ZEALAND
GERMANY
                                                  Tim Meinecke
Thomas, Daniel                                    Ringstra e 19
46 Glebelands                                     30826 Garbsen
Harlow CM20 2PA                                   GERMANY
UNITED KINGDOM
                                                  Timberview Developments Ltd
Thompson, Edward                                  710 Memorial Avenue
42 Percheron Drive                                PO Box 879
Woking                                            Qualicum Beach V9K 1T2
London GU21 2QY                                   CANADA
UNITED KINGDOM
                                                  Timothy Oliver
Thorben Buschmann                                 7 Liemore Close
Heidacker 33                                      Bossley Park N5W Z176 ON
28832 Achim                                       CANADA
Deutschland
GERMANY                                           Timothy Todhunter
                                                  16 Sutton Square
Thornhill Inn                                     London E9 6EG
103-106 Drumlanrig Street                         UNITED KINGDOM
Thornhill, Scotland DG3 5LU
UNITED KINGDOM                                    Tina Arendholz
                                                  BernhardystraBe 43
Thornton Grout Finnigan LLP                       06110 Halle Saale
Toronto Dominion Centre                           GERMANY
100 Wellington Street West, Suite 3200,
Toronto M5K 1K7 ON
CANADA




                                           - 96 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 98 of 268



Tiny Shop Bakery & Hanes Corn Maze               Tom Ryan
#1001 #5 Highway West                            The Ridge Pyolony
Dundas L9H 5E2 ON                                3521
CANADA                                           AUSTRALIA

Titanium Security Trust                          Tom Tom Events
14 Bayer Road                                    40 Roman Road
Elizabeth South 5112                             Salisbury SP2 9BL
SOUTH AFRICA                                     UNITED KINGDOM

TLS Productions PTY LTD                          Tom Tweddell
Unit 2, 1 President Street                       3 Ashleigh Avenue
Welshpool 6106 WA                                Egham TW20 8LB
AUSTRALIA                                        UNITED KINGDOM

TNT Express GmbH                                 Tom Willis
HaberstraBe 2                                    1 Jestyn Close
53842 Troisdorf                                  Cardiff CF5 4UR
GERMANY                                          UNITED KINGDOM

TNT Security Inc                                 Tony Thomson
366 Huron Road                                   31 Cactus Court
PO Box 179                                       Te Awamutu 3800
Sebringvilee N0K 1X0 ON                          NEW ZEALAND
CANADA
                                                 Tony's Five Star Cleaning
Toaster Productions                              Dalton Street
956 Alderside Road                               Sunhine West 3020 VIC
Port Moody V3H 3A6                               AUSTRALIA
CANADA
                                                 Toodyay Junior Basketball Association
Tobias Bahe                                      PO Box 159
Lise-Meitner-Platz 1                             Toodyay 6566 WA
95448 Bayreuth                                   AUSTRALIA
GERMANY
                                                 Top Fire Protection Pty Ltd
Tobias Lautwein                                  Unit 3
Steinweg 6                                       42 New Street
57482 Wenden                                     Ringwood 3134 VIC
GERMANY                                          AUSTRALIA

Toby Martin                                      Torsten Frank
8 Glenorchy Street                               Karlsbader Str 11a
Glen Eden                                        Stuttgart 70372
Auckland 0602                                    GERMANY
NEW ZEALAND
                                                 Total Event Rental
Tom Batts                                        Unit 2 & 3 Benchwood Buildings
20a Golf Road                                    Greenogue Business Park
Epsom                                            Rathcoole, Dublin
Auckland 1023                                    IRELAND
NEW ZEALAND
                                                 Total Negotiation Ltd
Tom Pimishofer dba POP-Decks Fingerboard         1 Fairview Estate
Foestereistr 46                                  Team house
01099 Dresden                                    Henley-on-Thames, Oxfordshire RG9 1HE
GERMANY                                          UNITED KINGDOM




                                           - 97 -
            Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 99 of 268



Total Rentals                                   Trans European Site Services Ltd
Buford/Brantford                                Castle Labe Ind. Estate
1240 Colborne Street West                       Castle Lane
Brantford N3T 0M6 ON                            Melbourne DE73 8JB
CANADA                                          UNITED KINGDOM

Total Site Setup                                Travis Jack
73 Caloundra Street                             1837 Jacana Avenue
Landsborough, QLD 4550                          Port Coquitlam V3C 5Y4
AUSTRALIA                                       CANADA

Tourism South East                              Trees And Hedging
40 Chamberlayne Road                            Norton Road, Snitterby
Eastleigh                                       Gainsborough
Hampshire SO505JH                               Lincolnshire DN21 4TZ
UNITED KINGDOM                                  UNITED KINGDOM

Town of Drumheller                              Trevor Cyr
224 Centre Street                               126 Sleeman Square
Drumheller T0J 0Y4                              Courtice L1E 3K5 ON
CANADA                                          CANADA

Township of Oro-Medonte                         Trish Eksteen
148 Line 78 South, Box 100                      10 Bradley Road
Oro L0L 2X0 ON                                  25 Glengeni Manor
CANADA                                          Umgeni Park, Durban
                                                SOUTH AFRICA
TR Hirecom Pty Ltd
6 Joseph Street                                 Trisha Whetstone
PO Box 1185                                     2313 Lake Shore Blvd West
Blackburn North 3130 VIC                        Apt 208
AUSTRALIA                                       Mississauga M8V 1A8 ON
                                                CANADA
Trade Marks Directory Service
1 Oliver's Yard                                 Tristan Steed
London ECIY 1DT                                 45 Samphire Close
UNITED KINGDOM                                  Witham, Essex CM8 2XP
                                                UNITED KINGDOM
Traffic Group Australia Pty Ltd
44 Abbotts Rd                                   Trivendo GbR
Dandenong South, VIC 3175                       Straubinger Str. 15
AUSTRALIA                                       Eggenfelden 84307
                                                GERMANY
Traffic-Zone
173 Christmas Street                            Trucking Crane Trucks
Alphington 3078 VIC                             173 Nicklin Way
AUSTRALIA                                       Waran 4575 QLD
                                                AUSTRALIA
Trailer Cash
16/117 Homer Street                             Tu Munchen-Weihenstephan
Earlwood 2206 NSW                               Lehrstuhl fur Aquatische
AUSTRALIA                                       Muhlenweg 22
                                                Freising-Weihenstephan 85350
Trailer Wizards Ltd                             GERMANY
1880 Britannia Road
Mississauga L4W 1J3 ON
CANADA




                                         - 98 -
            Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 100 of 268



Tugwell Contracting                           Unigraf LLC
Jarvis Quarry                                 PO Box 211909
Tetbury Road                                  DIP, Dubai
Cirencester GL76BN                            UNITED ARAB EMIRATES
UNITED KINGDOM
                                              Unilad
Tusker Direct Ltd                             Bently Harrington Ltd T/A
Building 4, Hatters Lane                      2 Tembernacle Street
Croxley Business Park                         London EC2A 4LU
Watford WD188YF                               UNITED KINGDOM
UNITED KINGDOM
                                              United Equipment Pty Ltd
TUV Rheinland Industrie Service GmbH          49 Pilbara Street
Am Grauen Stein                               Welshpool 6106 WA
D-51105 Koin                                  AUSTRALIA
AG Koin HRB 26876
GERMANY                                       United Facilities Support Service Ltd.
                                              152-160 City Road
Twin Peaks Engineering LTD                    Suite 1325 Kemp House
PO Box 542                                    London EC1V 2NX
Whistler V0N 1B0                              UNITED KINGDOM
CANADA
                                              UnityWater
TWS Tree Removal                              Ground Floor
155 Glenaroud Road                            33 King Street
Broadford 3658 VIC                            Caboolture 4510 QLD
AUSTRALIA                                     AUSTRALIA

Tyler Kruschenske                             Universal Logistics Inc
9B Cindy Court                                125 Commerce Valley Drive West
Brantford N3T 6C3 ON                          Suite 750
CANADA                                        Thornhill L3T 7W4 ON
                                              CANADA
Uline Canada Corporation
60 Hereford Street                            University of West London
Brampton L6Y 0N3 ON                           St. Mary's Road
CANADA                                        Ealing, London W5 5RF
                                              UNITED KINGDOM
Ulrikke Evensen
Knabstrupvej 49                               Upright Projects Pty Ltd
Bronshoj 2700                                 Upright Accounts
DENMARK                                       PO Box 6111
                                              Yatala 4207 QLD
Ultimate Tilt Logistics                       AUSTRALIA
42 Kestrel Way
Yarramundi, NSW 2753                          UPS Limited
AUSTRALIA                                     AR Dept.
                                              St. David's Way, Bermuda Park
Underground Events                            Nuneaton, Warwickshire CV10 7SD
2/1415 High Street                            UNITED KINGDOM
Glen Iris, VIC 3146
AUSTRALIA                                     Urban Hotel Grantham
                                              Swingbridge Road
Unicorn                                       Granthan
Postfach 11 04 64                             Lincolnshire NG31 7XT
30100 Hannover                                UNITED KINGDOM
GERMANY




                                       - 99 -
            Case 20-10036-CSS   Doc 42-1      Filed 02/12/20   Page 101 of 268



Utopia                                           VERIFACT PTY LTD ATL VERIFACT INVESTIGAT
Broughton Hall                                   5 TEXTILE AVE
Broughton, Skipton                               KAWANA QUEELAND 4575
North Yorkshire BD23 3AE                         AUSTRALIA
UNITED KINGDOM
                                                 Vermillion Films Ltd
Van Der Meer (NSW) Pty Ltd                       24 Waterfront Walk
Level 3                                          Birmingham West Midlands B1 1SN
39 Chandos Street                                UNITED KINGDOM
St Leonards 2065 NSW
AUSTRALIA                                        Vezina Assurances Inc
                                                 4374 Avenue Pierre- DeCoubertin
Vancouver International Marathon Society         Montreal H1V 1A6 QC
1288 Vernon Drive                                CANADA
Vancouver V6A 4C9
CANADA                                           Vibrant Partnerships
                                                 Myddelton House
Vancouver Island Brewing                         Bulls Cross
2330 Government Street                           Enfield, Middlesex EN2 9HG
Victoria V8T 5G5                                 UNITED KINGDOM
CANADA
                                                 Victor Mangan
Vanessa Gebhardt                                 3 Ngaio Road
c/o Helfferich                                   Wellington 6012
Schlotthaurstrasse 17                            NEW ZEALAND
81541 Munich
GERMANY                                          Victoria Ice Pty Ltd
                                                 PO Box 1961
VanPrint Broadway                                Bakery Hill 3354
438 East Broadway                                AUSTRALIA
Vancouver V5T 1X2
CANADA                                           Victory Press Printing Co. Pty. Ltd
                                                 PO Box 2096
VB Tech                                          Bribie Island
Christian Schlenz                                Woorim, QLD 4507
Am Sommerfeld 6                                  AUSTRALIA
Ebenhausen 82067
GERMANY                                          Vidcom
                                                 PO Box 13
Veggies Plus                                     Waikato Mail Centre
Shop 5, 93 High Street                           Hamilton
Broadford 3658                                   NEW ZEALAND
AUSTRALIA
                                                 Viking Rentals
Velotrans                                        56 Murdoch Circuit
Building 2                                       Acacia Ridge 4110 QLD
404 Nudge Road                                   AUSTRALIA
Hendra 4011 QLD
AUSTRALIA                                        Village Management Corporation Pty Ltd t
                                                 10 Leeding Terrace
Verena Martinschledde                            Caloundra 4551 QLD
Im Ruenbrink 18                                  AUSTRALIA
Im R enbrink 18 33397
GERMANY                                          Ville de Bromont
                                                 88 Boul De Bromont
                                                 Bromont J2L 1A1 QC
                                                 CANADA




                                           - 100 -
            Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 102 of 268



Vipex Media Services GmbH                       Wagner Arbitration
Brusseler Str. 21                               Partnerschaft Von Rechtsanwalten MBB
50674 K ln                                      Hegelplatz 1
GERMANY                                         10117 Berlin
                                                GERMANY
Vision Security Group Ltd T/A VSG
Parklands Court, 24 Parklands                   Waind Gohil & Potter Architects
Birmingham Great Park, Rubery                   27 Bulwer Street
Birmingham B459PZ                               London W12 8AR
UNITED KINGDOM                                  UNITED KINGDOM

Vivid Images Ltd                                Waldorf Frommer Rechtsanw lte
PO Box 5490                                     BeethovenstraBe 12
Frankton                                        80336 Muchen
Hamilton, 3242                                  GERMANY
NEW ZEALAND
                                                Warren Zelman
VogelPercy                                      642 de Courcelle
1730 Westernport Road                           #411
Heath Hill                                      Montreal H4C 3C5 QC
Victoria 3981                                   CANADA
AUSTRALIA
                                                Warth & Klein Grant Thorton
VOICELINX                                       Wirtschaftsprufungsgesellschaft
10-14 INTERLINK HOUSE                           UlmenstraBe 22
73A MAYGROVE RD, WEST HAMPSTEAD                 Frankfurt am Main 60325
LONDON, NW6 2EG                                 GERMANY
UNITED KINGDOM
                                                Waste Management of Canada Corp.
VOK DAMS Events GmbH                            219 Labador Drive
Katernberger Strasse 54                         Waterloo N2K 4M8 ON
Wuppertal 42115                                 CANADA
GERMANY
                                                Water Hygiene Solutions Ltd
Volunteer Marine Rescue Victoria Point          Unit 1 Low Mill Lane Ind Est
PO Boc 3276                                     Ravensthorpe
Victoria Point 4165 QLD                         West Yorkshire WF13 3LN
AUSTRALIA                                       UNITED KINGDOM

Von Lode Advokat AB                             Water Monster Pty Ltd
Box 47229                                       Unit 4/17-19 Corrimal Street
SE-100 74                                       Wollongong, NSW 2500
Stockholm                                       AUSTRALIA
SWEDEN
                                                Waterman Excavations
WACS Security                                   700 George Downs Drive
19 Hod Way                                      Kulnura 2250 NSW
Malaga 6090 WA                                  AUSTRALIA
AUSTRALIA
                                                Watermonsters
Wacy's on Wheels                                The Event Water Company Ltd.
102 Plaza Drive                                 1 Southlands, High Heaton
PO Box 63111                                    Newcastle Upon Tyne NE7 7YH
Dundas L9H 6Y3 ON                               UNITED KINGDOM
CANADA




                                         - 101 -
            Case 20-10036-CSS   Doc 42-1     Filed 02/12/20   Page 103 of 268



Waters Crane Service                            Western Sydney International Dragway Pty
Lot 22 Dell Road                                PO Box 6306
PO Box 460                                      Wetherill Park DC, NSW 1851
West Gosford 2250 NSW                           AUSTRALIA
AUSTRALIA
                                                Whiski Jack
Waterview Gosford Motor Inn                     107-2011 Innsbruck Drive
23 Central Coast Highway                        Whistler V8E 0N3
Gosford 2250 NSW                                CANADA
AUSTRALIA
                                                Whistler 2010 Sport Legacies Society
WattWerx Electrical Pty Ltd                     1080 Legacy Way
15 Suffolk Street                               Whistler V0N 1B1
Blackburn, VIC 3130                             CANADA
AUSTRALIA
                                                Whistler Blackcomb Mountain Resorts Ltd
We Connect You Pty Ltd                          4545 Blackcomb Way
PO Box 172                                      Whistler V0N 1B4
Buddina 4575 QLD                                CANADA
AUSTRALIA
                                                Whistler Connection Tour & Travel Servic
Weitnauer                                       8312 Mountainview Dr.
Franzosische Str. 13                            Whistler V0N 1B8
Berlin 10117                                    CANADA
GERMANY
                                                Whistler Cook Catering Company
Welcome to Yorkshire                            4-135 Alpha Lake Rd
Dry Sand Foundry                                Whistler BC VON 1B1
Holbeck                                         CANADA
Leeds LS11 5DL
UNITED KINGDOM                                  Whistler Personnel Solution Inc.
                                                PO Box 536
Wellocks                                        Whistler, BC V0N 1B0
Sally Wellock                                   CANADA
4 Pendleside Lomeshaye Business Village
Lancashire BB9 6SH                              Whistler Sport Legacies
UNITED KINGDOM                                  1080 Legacy Way
                                                Whistler V0N 1B1
WerbeWeischer GmbH & Co. KG                     CANADA
Elbberg 7
Hamburg 22767                                   White Falcon Productions
GERMANY                                         PO Box 30
                                                Ingelwood 5133
Wernick Event Hire Ltd                          SOUTH AFRICA
Molineux House
Russell Gardens, Wickford                       Whitewater Graphics & Design Ltd
Essex SS11 8BL                                  15 Station Road
UNITED KINGDOM                                  St Ives
                                                Cambridgeshire PE27 5BH
West Sussex Gun Company                         UNITED KINGDOM
6 The Courtyard
Holmbush Farm, Faygate                          Who Dares No.2 P/L
North Horsham, West Sussex RH12 4SE             Shed 8, 1 Canal Road
UNITED KINGDOM                                  Leichhardt
                                                NSW 2040
                                                AUSTRALIA




                                          - 102 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 104 of 268



Whose Catering                                   Wolf Armouries
180 Yorkland Boulevard                           203 Royal College Street
North York M2J 1R5 ON                            Greater London NW1 0SG
CANADA                                           UNITED KINGDOM

Wild Recruitment Limited                         Woodbridge State High School
Porters House                                    PO Box 417
4 Porters Wood, St Albans                        Woodbridge 4114 QLD
Hertfordshire AL3 6PQ                            AUSTRALIA
UNITED KINGDOM
                                                 Woodland House Hotel
Willowside Farm                                  Newbridge
Withington                                       Dumfries DG2 0HZ
Cheltenham GL54 4DA                              UNITED KINGDOM
UNITED KINGDOM
                                                 Worker's Compensation Board of British C
Willpower Hire Ltd t/a UKLoos.com                PO Box 9600 Stn Terminal
Hilton Business Park                             Vancouver V6B5J5
Hilton                                           CANADA
Derbyshire DE65 5FJ
UNITED KINGDOM                                   Workforce Recruitment & Labour Services
                                                 Level 1
Wilsons Fruit & Vegetables                       601 Botany Road
P.O. Box 2447                                    Rosebery, NSW 2018
Bakery Hill 3350 VIC                             AUSTRALIA
AUSTRALIA
                                                 WorkSafeBC
Winchester Premier Inn                           PO Box 9600 Stn Terminal
Winnall Manor Road                               Vancouver V6B 5J5
Winchester                                       CANADA
UNITED KINGDOM
                                                 Workzone Traffic Control Pty Ltd
Wind River Consulting Ltd.                       PO Box 258
Box 1623                                         Port Adelaide Business Center
D'Arcy V0N 1L0                                   Port Adelaide 5015
CANADA                                           SOUTH AFRICA

Wingello Rural Fire Brigade                      Worldview
Railway Parade                                   57 Beacon Vista
Wingello 2579 NSW                                Port Melbourne 3207 VIC
AUSTRALIA                                        AUSTRALIA

Wingify Software Private Limited                 Wotton + Kearny
E-170, Antriksh Apartments                       Level 23
Sector-14                                        111 Eagle Street
Rohini NDL                                       Brisbance, Queensland 4000
INDIA                                            AUSTRALIA

Wisconsin Scotland Trust                         Wycombe District Council
Midlothian, EH22 2NA                             Queen Victoria Road
UNITED KINGDOM                                   High Wycombe
                                                 Buck HP11 1BB
Witali Lutscher                                  UNITED KINGDOM
Martinsburg 29
Osnabruck 49078
GERMANY




                                          - 103 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 105 of 268



Xiamen Amoy Industrial Co. Ltd                    ZAG Verwaltungs-Gesellschaft GmbH
19A Tower 2                                       Nikolaistrabe 11
Xiang Jiang Bldg #106 Jiahe Road                  30159 Hannover
Xiamen 361009                                     GERMANY
CHINA
                                                  Zahnarztpraxis Dr. Siuosh Rassaf
Xing AG                                           Blauenstra e 10
DammtorstraBe 30                                  60528 Frankfurt am Main
20354 Hamburg                                     GERMANY
GERMANY
                                                  ZAW VERWALTUNGS GESELISCHAFT GMBH
XL Insurance Company SE                           NIKOLAISTRASSE
Level 18, 1 Margaret Street                       11 30159 HANNOVER
Sydney 2000 NSW                                   GERMANY
AUSTRALIA
                                                  Zip Temporary Fencing
XMC Sponsorship & Experiential Marketing          1/1 Beaver St
49 Bathurst Street                                Aberfeldie, VIC 3040
Suite 101                                         AUSTRALIA
Toronto, ON M5V 2P2
CANADA                                            Zoll-Buchhaltung
                                                  HaberstraBe 2
xtra.co.nz, Kapua.togo                            53842 Troisdorf
119c Sunnyside Road                               GERMANY
Sunnyvale
Auckland,                                         Zoom Media
NEW ZEALAND                                       29-30 Windmill Street
                                                  London W1T 2JL
Xtreme Graphics Ltd                               UNITED KINGDOM
Unit 3, Network 43
Buckingham Court                                  Zouch Converters Ltd
Brackley, Northants,     NN13 7EU                 14 Regent Street
UNITED KINGDOM                                    Nottingham NG1 5BQ
                                                  UNITED KINGDOM
Yahire
Unit 13 Cranford Way                              ZZZZZZZZBEAUCHAMPS SOLICITORS
Crouch End                                        RIVERSIDE TWO
London N8 9DG,                                    SIR JOHN ROGERSON'S
UNITED KINGDOM                                    QUAY, DUBLIN 2,
                                                  IRELAND
Yes Events Ltd.
2 Church Farm Business Centre
Church Road, Eversley                             BY FIRST CLASS U.S. MAIL
Hampshire RG27 OPX,
UNITED KINGDOM                                    Active Network, LLC
                                                  717 N Harwood Street
Yohanna Marcella Cano Castano                     Dallas, TX 75201-0000
69 Lilford House
Lilford Road                                      Adam Slutsky
London SE5 9QD,                                   34 Linden Lane
UNITED KINGDOM                                    Bedford Corners, NY    10549-0000

You Pack Removals Pty Ltd                         Alana Casner
PO Box 459                                        142 West 72nd Street
Port Melbourne 3207 VIC                           Apt. 4A
AUSTRALIA                                         New York, NY 10023-0000




                                           - 104 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 106 of 268



Alexander Song dba Innovation Brands Cor         Bastrop County Sheriff's Office
270 Lafayette Street                             Eric Baskamp
Suite 1105                                       200 Jackson Street
New York, NY 10012-0000                          Bastrop, TX 78602-0000

Amazon Web Services                              Bastrop County Sheriff's Office
440 Terry Ave N                                  Dexter Carter
Seattle, WA 98109-0000                           220 Jackson Street
                                                 Bastrop, TX 78602-0000
Andrew Cho
20 Winston Drive                                 Bastrop County Sheriff's Office
Cliffside Park, NJ   07010-0000                  Derek Wayne Hodges
                                                 113 Arrowhead CT
Arizona Department of Revenue                    Bastrop, TX 78602-0000
PO Box 29085
Phoenix, AZ 85038-9085                           Bastrop County Sheriff's Office
                                                 David Repka
ATMedia Investor LLC                             200 Jackson Street
JongHyun Hong, Manager                           Bastrop, TX 78602-0000
400 Kelby Street
19th Floor                                       Bastrop County Sheriff's Office
Fort Lee, NJ 07024-0000                          David Ortiz
                                                 200 Jackson Street
Bastrop County Sheriff's Office                  Bastrop, TX 78602-0000
Vernon Langham
200 Jackson Street                               Bastrop County Sheriff's Office
Bastrop, TX 78602-0000                           Danny Wofford
                                                 200 Jackson Street
Bastrop County Sheriff's Office                  Bastrop, TX 78602-0000
Stephen Broderick
200 Jackson Street                               Bastrop County Sheriff's Office
Bastrop, TX 78602-0000                           Christopher Griffin
                                                 200 Jackson Street
Bastrop County Sheriff's Office                  Bastrop, TX 78602-0000
Shane Kasper
200 Jackson Street                               Bastrop County Sheriff's Office
Bastrop, TX 78602-0000                           Charles Wayne Anderlitch
                                                 1242 SH 71 West, Lot 207
Bastrop County Sheriff's Office                  Bastrop, TX 78602-0000
Robert Torres
200 Jackson Street                               Bastrop County Sheriff's Office
Bastrop, TX 78602-0000                           Alan Molinari
                                                 200 Jackson Street
Bastrop County Sheriff's Office                  Bastrop, TX 78602-0000
Molly Davis
200 Jackson Street                               Bastrop County Sheriff's Office
Bastrop, TX 78602-0000                           Aaron Crim
                                                 200 Jackson Street
Bastrop County Sheriff's Office                  Bastrop, TX 78602-0000
Jeffrey Goff
200 Jackson Street                               Bastrop County Sheriff's Office
Bastrop, TX 78602-0000                           200 Jackson Street
                                                 Bastrop, TX 78602-0000
Bastrop County Sheriff's Office
Frank Dzienowski                                 Bastrop County Sheriff's Office
200 Jackson Street                               Mark Garcia
Bastrop, TX 78602-0000                           200 Jackson Street
                                                 Bastrop, TX 78602-0000



                                           - 105 -
            Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 107 of 268



Bouckaert Farms                               Diffusion
Hugh Lochore                                  Liz Duggan
9445 Browns Lake Rd                           244 5th Avenue
Fairburn, GA 30213-0000                       New York, NY 10001

Brainlabs Digital, Inc.                       Dyehard Fan Supply
Galvanize, 119 Nueces St                      Scott Killian
Austin, TX 78701-0000                         1001 West Fourth Street
                                              Winstom-Salem, NC 27101-0000
BRAINLABS DIGITAL, INC.
119 Nueces Street                             Ernst & Young LLP
Austin, TX 78701-0000                         200 Plaza Drive
                                              Secaucus, NJ 07094-0000
Brian S. Mitchell
6592 Moro Drive                               EventHub
Eden Prairie, MN 55346-0000                   Michael Bleu
                                              6523 California Avenue
Brian S. Mitchell                             Suite 148
6592 Moro Drive                               Seattle, WA 98136-0000
Eden Prairie, MN 55345-0000
                                              EveryManJack
Bynder                                        Ritch Viola
321 Summer Street                             500 Tamal Plaza
1st Floor                                     Suite 505
Boston, MA 02210-0000                         Corte Madera, CA    94925-0000

Cho TM Korea (South Korea)                    Foristell Enterprises, LLC
Andrew Cho                                    dba Cedar Lake Cellars
200 Winston Drive                             2451 Schuetz Road
Clifside Park, NJ 07010-0000                  Maryland Heights, MO 63043-0000

City of Frederick Police Department           Georgia Department of Revenue
100 West Patrick Street                       Taxpayers Services Division
Frederick, MD 21702-0000                      PO Box 105499
                                              Atlanta, GA 30348-5499
Cloudingo
4004 Beltline Road                            Georgia Department of Revenue
Suite 120                                     PO Box 740319
Dallas, TX 75001-0000                         Atlanta, GA 30374-0000

CSW-Stuber-Stoeh Engineering Group            Github
Al Cornwell                                   88 Colin P Kelly Jr St
45 Leveroni Court                             San Francisco, CA 94107-0000
Novato, CA 94949-0000
                                              Greater Rockford Airport Authority
Daniel Wentzel                                60 Airport Drive
3900 Vallejo Street                           Rockford, IL 61109-0000
Denver, CO 80211-0000
                                              Greater Rockford Airport Authority
Daniel Wentzel                                Michael Dunn
329 14th Street                               2 Airport Cir
Brooklyn, NY 11215-0000                       Rockford, IL 61109-0000

Die Hard Fan Supply                           Huck's Property Management, Inc.
Michael Bray                                  PO Box 5453
1001 West 4th Street                          Snowmass Village, CO 81615-0000
Winston-Salem, NC 27101-0000




                                       - 106 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 108 of 268



IBM/Silverpop                                    Lake Las Vegas Association
Mark Hetterly                                    President
3 East 28th street                               2030 Lake Las Vegas Parkway
New York, NY 10016-0000                          Henderson, NV 89011-2817

Imperial Capital, LLC                            Linda Rhea Partlow dba Spunkys Saucy Dog
10100 Santa Monica Blvd                          323 Dudley Lane
Suite 2400                                       Lebanon, TN 37087-0000
Los Angeles, CA 90067-0000
                                                 Materialogic
Imperial Capital, LLC                            Carrie Steempin
Brian Wood, Managing Director                    3100 Corporate Exchange Ct
10100 Santa Monica Boulevard                     Bridgeton, MO 63044-0000
Suite 2400
Los Angeles, CA 90067-0000                       Materialogic
                                                 A. Milton Cornwell
Indiana Department of Revenue                    3100 Corporate Exchange Ct
PO Box 1028                                      Bridgeton, MO 63044-0000
Indianapolis, IN 46206-1028
                                                 Miranda Villalobos
Indiana Department of Revenue                    3986 Mesa Circle
PO Box 6117                                      Unit 210
Indianapolis, IN 46206-0000                      Lompoc, CA 93436-0000

International Business Machines Corporat         Missouri Department of Revenue
North Castle Drive                               PO Box 475
Armonk, NY 10504-0000                            Jefferson City, MO 65105-0475

International Business Machines Corporat         Missouri Department of Revenue
IBM Income Tax Department                        P O BOX 371
North Castle Drive                               JEFFERSON CITY, MO 65105-3390
Armonk, NY 10504-0000
                                                 National Capital Area Council BSA
ISM Raceway                                      Mario Perez
Gale Powers                                      9190 Rockville Pike
7602 S Avondale Blvd                             Bethesda, MD 20814-0000
Avondale, AZ 85323-0000
                                                 Navy Federal Credit Union
Jerome Hepp                                      Patty Valezuela Stover
1601 E. Anastasia Street                         820 Follin Lane
San Tan Valley, AZ 85140-0000                    Vienna, VA 22180-0000

Joseph Darrell Zerwas III                        Nestor Rodriguez
25566 Forest Blvd Circle                         882 Chinquapin Avenue
Wyoming, MN 55092-0000                           Carlsbad, CA 92008-0000

Joseph Darrell Zerwas III                        NYC Department of Finance
15015 62nd Street N                              PO Box 5070
Stillwater, MN 55082-0000                        Kingston, NY 12402-5070

Lake Elsinore                                    NYC Department of Finance
Mark Beskid                                      59 Maiden Lane
500 Diamond Dr                                   28th Fl
Lake Elsinore, CA   92530-0000                   New York, NY 10038-4502




                                           - 107 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 109 of 268



Old Bridge Township Raceway Inc.                 Sun Devil Triathalon
Michael Napoliello                               Alexander Petri
230 Pension Rd                                   133 West 6th Street
Englishtown, NJ 07726-0000                       Apt. 1537
                                                 Tempe, AZ 85281-0000
One Trust
Steve Rubenstein                                 Sysco
1200 Abernathy Rd NE                             One Liebich Land
Building 600                                     Halfmoon, NY 12065-0000
Atlanta, GA 30328-0000
                                                 Tooele County Sheriff's Department - Jef
Oregon Department of Revenue                     848 E. Arrow Street
955 Center St NE                                 Tooele, UT 84074-0000
Salem, OR 97301-2555
                                                 Tooele County Sheriff's Department - Jef
Oregon Department of Revenue                     977 W. 700 S
PO Box 14260                                     Tooele, UT 84074-0000
Salem, OR 97309-0905
                                                 Tough Mudder Bootcamp
Palmer Coking Coal Company                       Britt Canady / John Cross
William Kombol                                   2000 Renaissance Plaza
31407 WA-169                                     230 North Elm Street
Black Diamond, WA 98010-0000                     Greensboro, NC 27401-0000

Pantheon                                         TriFactory (egypt)
Job Gregory                                      Ayman Hakky
717 California Street                            17 Mansour Mohamed Street
San Francisco, CA 94108-0000                     Zamalek Cairo 11211
                                                 EGYPT,
Patrick Carroll
6105 Spirit Lake Road                            Virginia Department of Taxation
Winter Haven, FL 33880-0000                      PO Box 1777
                                                 Richmond, VA 23218-1777
Peyman, Priya
350 Warren Street                                Virginia Department of Taxation
Apartment 809                                    c/o Robin Norvell
Jersey City, NJ 07302-0000                       PO Box 1478
                                                 Richmond, VA 23218-0000
Rosterfy
Shannon Gove                                     Visual Ramsoedh
2420 17th St                                     11001 Branson Road
Denver, CO 80202-0000                            Clemont, FL 34711-0000

Ryder Leasing                                    Water Monster
Ryder Shared Services Center                     172 Trademark Drive
Customer Care                                    Buda, TX 78610-0000
6000 Windward Pkwy
Alpharetta, GA 30005-0000                        West Sadsbury Township
                                                 6400 N Moscow Road
State of Nevada                                  Parkesburg, PA 19365-0000
204 North Carson Street, Suite 4
Carson City, NV 89701-0000                       West Sadsbury Township
                                                 6400 N. Moscow Road
State of Nevada                                  Parkesburg, PA 19365-0000
Department of Taxation
1550 College Parkway
Suite 115
Carson City, NV 89706-7937



                                          - 108 -
              Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 110 of 268



Wild Wings of Oneka                               3 Amigos LLV dba Sonrisa Grill
Jeff Hughes                                       30 Via Brianza #100
9491 152nd St. N                                  Henderson, NV 89011-0000
Hugo, MN 55038-0000
                                                  3 Way Events LLC
Willie's Joint, LLC                               PO Box 8266
824 Main Street                                   Round Rock, TX 78683-0000
Buda, TX 78610-0000
                                                  34 IS Squadron Booster Club
Willie's Joint, LLC                               9804 Love Road
824 Main Street                                   Fort Meade, MD 20755-0000
Buda, TX 78610-0000
                                                  360 Protection Inc.
Wondersauce                                       3165 Nostrand Ave. Suite 1C
Megan Blake                                       Brooklyn, NY 11229-0000
45 West 25th Street
6th Floor                                         3RCS, LLC DBA Quiznos Subs #3607
New York, NY 10010-0000                           917 North Thunderbird Avenue
                                                  Gilbert, AZ 85234-0000
Wondersauce
Megan Blake                                       3rd Light LLC
45 West 25th Street                               800 S Margaret Street
6th Floor                                         #1
New York, NY 10010-0000                           Pahrump, NV 89048-0000

101 Montelago Blvd Holdings LLC                   45 Main Associates LLC
dba The Westin Lake Las Vega                      Two Trees Management Co., LLC
c/o CWCapial 7501 Wisconsin Avenue                45 Main Street Suite 601
500 West                                          Brooklyn, NY 11201-0000
Bethesda, MD 20814-0000
                                                  4Imprint, Inc
101domain.com                                     101 Commerce Street
5858 Edison Place                                 Oshkosh, WI 54901-0000
Carlsbad, CA 92008-0000
                                                  508 Base, LLC
110   E 11 Associates LLC                         219 Brookfield Road
dba   Amsterdam Billiards and Bar                 Charlton, MA 01507-1705
110   E 11th Street
New   York, NY 10003-0000                         5280 Produce, Inc.
                                                  1890 E. 58th Ave
138-140 LLC                                       Denver, CO 80216-0000
143 East 30th Street, Suite B-1
apt 17                                            529 Apartments LLC
New York, NY 10016-0000                           143 East 30th Street
                                                  New York, NY 10016-0000
1800Rolloff.com Inc
1560 S. Elba                                      55 Washington Street LLC
Lapeer, MI 48446-0000                             Two Trees Management Co, LLC
                                                  45 Main Street, Suite 601
2210 Cottman Inc dba Nick's Roast Beef            Brooklyn, NY 11201-0000
2210 Cottman Avenue
Philadelphia, PA 19149-0000                       8 x 8 Inc
                                                  2125 O'Nel Drive
24 Seven Inc                                      San Jose, CA 95131-0000
120 Wooster Street
4th Floor
New York, NY 10012-0000




                                           - 109 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 111 of 268



81 Eighty Promotions, LP                         Aaron Nadeau
2500 Regent Blvd                                 1328 Oak Patch Rd, Apt 60
Suite 100                                        Eugene, OR 97402-0000
Dallas, TX 75261-0000
                                                 Aaron Richard Mendez
A Clear Alternative, Inc.                        11820 Larrylyn Drive
9230 Collins Ave                                 Whittier, CA 90604-0000
Pennsauken, NJ 08110-0000
                                                 Aaron Roberts dba Dust Patrol
A Company Inc                                    2704 Co. Road 247
PO BOX 5702                                      Kingdom City, MO 65262-0000
Boise, ID 83705-0000
                                                 Aaron Steinmann
A Form Architecture PC                           603 Courageous Lane
99 Bank Street                                   Foristell, MO 63348-0000
New York, NY 10014-0000
                                                 Aaron Thomas Rankin
A Locksmith & Key Company, Inc.                  1417 Wildwood Drive
4010 59th Street                                 Kannapolis, NC 28081-0000
Woodside, NY 11377-0000
                                                 ABC Hardware & Rental Inc.
A Sani-Can Service, Inc.                         3336 Bailey Avenue
8151 Webbs Road                                  Buffalo, NY 14215-0000
Denver, NC 28037-0000
                                                 ABF Freight System, Inc.
A&B Const of MN Inc                              414 Maspeth Ave
13452 Goodview Ave N                             Brooklyn, NY 11211-1704
Hugo, MN 55038-0000
                                                 Abraham Ashton
A.L.L., LLC dba TLC Rents                        1501 NE Miami Gardens Drive
1570 Southland Circle NW                         Apt #243
Atlanta, GA 30318-0000                           Miami, FL 33179-0000

A-1 Traffic Control & Barricade, Inc             Abraham Genauer dba FightMetric LLC
32597 Hwy 6                                      1900 L Street NW
Silt, CO 81652-0000                              Suite 515
                                                 Washington, DC 20036-0000
Aable Rental Company Inc.
1365 Chardon Road                                Academic Travel Advisors
Euclid, OH 44117-0000                            2920 North Green Valley Parkway
                                                 Henderson, NV 89014-0000
Aaron Cline DBA Aaron Cline's Tent Renta
5518 State Route 19 North                        Acanela, LLC
Belmont, NY 14813-0000                           4106 N. Fremont Drive
                                                 Lehi, UT 84043-0000
Aaron Evan Yeager
590 Parry Avenue                                 Access America Transport, Inc.
Mansfield, OH 44905-0000                         Warehouse Row 1110 Market St
                                                 #315
Aaron Katter                                     Chattanooga, TN 37402-0000
21-11 35th Street
Queens, NY 11105-0000                            Access Audio, Inc.
                                                 160 Novner Drive
AARON M. DAUCHY                                  Cincinnati, OH 45215-0000
1995 SW 27TH DR
GRESHAM, OR 97080-0000                           Accountemps
                                                 12400 Collections Center Drive
                                                 Chicago, IL 60693-0000



                                           - 110 -
            Case 20-10036-CSS    Doc 42-1    Filed 02/12/20   Page 112 of 268



Accurate Event Group dba Accurate Event         Adam Tanaka DBA Life and Limb Printing C
2419 Hollywood Boulevard                        1257 McGavock Pike
Hollywood, FL 33020-0000                        Nashville, TN 37216-0000

Accurate Fire Equipment Corp.                   Adaptly, Inc
251 Franklin Ave                                22 W 19th Street
Franklin Square, NY 11010-0000                  3rd Floor
                                                New York, NY 10011-0000
ACE Lawnmower Service, Inc.
6620 SW 8th Street                              Addison P. Dolido
Miami, FL 33144-0000                            80 Wolver Hollow Road
                                                Upper Brookville, NY 11545-0000
Acquia Inc
53 State Street                                 Addison Search, LLC
Boston, MA 02109-0000                           125 S Waker Dr
                                                27th Floor
Action Care Ambulance, Inc                      Chicago, IL 60606-0000
14854 E. Hinsdale Ave
Unit H                                          Admiral Consulting Group
Centennial, CO 80112-0000                       Brier Hill Court, Building C
                                                East Brunswick, NJ 08816-0000
Actium LLP
Mike Gatto                                      Admiral Staffing, Inc.
5419 Hollywood Blvd                             18 West 30th Street
Suite C-356                                     Second Floor
Los Angeles, CA 90027-0000                      New york, NY 10001-0000

Active 20-30 Club Benevolent                    ADP, LLC
Fund of Greater Sacramento                      One ADP Drive MS-100
PO Box 214933                                   Augusta, GA 30909-0000
Sacramento, CA 95821-0000
                                                Adrian Tecumseh Fence Co.
Active Network, LLC,                            5606 S. Occidental Highway, Suite C
717 North Harwood                               Tecumseh, MI 49286-0000
Suite 2500
Dallas, TX 75201-0000                           Adriane Alvord
                                                36867 Mountville Road
Acumen E8 St, LLC dba Haagen Dazs               Middleburg, VA 20117-0000
55 East 8th Street
New York, NY 10003-0000                         ADS Alliance Data Systems, Inc.
                                                dba Commission Junction LLC
Adam Christopher Anderson                       30699 Russell Ranch Road
4909 W. Trapnell Road                           Suite 250
Plant City, FL 33566-0000                       Westlake Village, CA 91362-0000

Adam Cole Hurley                                ADSPACE INK
8900 Freedon Center Blvd                        263 W38 STREET
Manassas, VA 20110-0000                         3RD FL
                                                NEW YORK, NY 10018-0000
Adam Pavic
1203 Elmwood Road                               Advance Magazine Publishers Inc dba Cond
Rocky River, OH 44116-0000                      One World Trade Center
                                                New York, NY 10007-0000
Adam Robert Baylor
4013 Tanglewood Drive                           Advanced Security Inc
Floyds Knobs, IN 47119-0000                     1255 Cross Street SE
                                                Salem, OR 97302-0000




                                          - 111 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 113 of 268



Advanced Visual Production, Inc.                 Airgas, Inc.
8592 Sanford Dr.                                 259 N. Radnor-Chester Road
Richmond, VA 23228-0000                          Radnor, PA 19087-0000

Advantage Group Engineers Inc.                   Airups, LLC
660 Lincoln Avenue Suite 305                     3600 Tyndale Lane
Cincinnati, OH 45206-0000                        Amarillo, TX 79118-0000

Adventure Center Inc. dba Doylestown Roc         AirView dba SelectAir, LLC
3853 Old Easton Road                             61 Redner Road
Doylestown, PA 18902-0000                        Morristown, NJ 07960-0000

Adventure Out LLC                                Aislinn Smith
PO Box 7040                                      2374 29th Street
Santa Cruz, CA 95061-0000                        19
                                                 Astoria, NY 11105-0000
AEG Merchandise Inc
800 W Olympic Blvd                               AJ Squared Security Inc
Suite 728                                        1961 Morris Avenue
Los Angeles, CA 90015-0000                       Suite C-2
                                                 Union, NJ 07083-0000
AeroCine Ventures Inc. dba Aerobo
1 Galleria Blvd                                  Ajay Pal Singh
Suite 1900                                       5036 Davis Ford Road
Metairie, LA 70001-0000                          Woodbridge, VA 22192-0000

AFP, New York City Chapter                       Alan Kaiser
355 Lexiongon Avenue                             8794 Stewarts Ferry Pike
15th Floor                                       Mt. Juliet, TN 37122-0000
New York, NY 10017-0000
                                                 Alanic International Corporation
AGGREKO                                          19 W 34th Street
4607 W. Admiral Doyle Drive                      Suite 1018
New Iberia, LA 70560-0000                        New York, NY 10001-0000

AGTM Engineering, LLC                            Albert R. Lao
401 S. Clay Street                               ARL Holdings Group, Inc
Ennis, TX 75119-0000                             16 South Palafox Place
                                                 2nd Floor
A-Head for Profits, LLC                          Pensacola, FL 32502-0000
240 Great Circle Road
Ste 344                                          Alberta Tax & Revenue Administration
Nashville, TN 37228-0000                         9811 109 Street NW
                                                 Edmonton T5K 2L5
Ahern Rentals                                    CANADA
PO Box 271390
Las Vegas, NV   89127-1390                       Aldo A. Barahona
                                                 2-03 27th Avenue
Aiken Refuse Inc.                                Apt. 4L
615 Kate Houk Road                               Astoria, NY 11102-0000
New Castle, PA 16101-0000
                                                 Alec West Brassington
AirFresh Industries, Inc.                        325 Diamond Oaks Road
PO Box 24                                        Roseville, CA 95678-0000
Stillwater, MN 55082-0000
                                                 Alejandro Lopez Jr
                                                 1606 Little Dipper Way
                                                 San Ysidro, CA 92173-0000



                                           - 112 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 114 of 268



Alex Hadrych                                      Alexandria Fisk dba Bird Brain LLC
11174 Maple Lane                                  354 Baltic Street
Cleveland, TX 77328-0000                          2R
                                                  Brooklyn, NY 11201-0000
Alex McDonald
dba That's Entertainment International            Alfred University
4617 12th Avenue                                  One Saxon Drive
Sacramento, CA 95680-0000                         Alfred, NY 14802-0000

Alex Valenzuela                                   Alfredo Aguirre
15963 W. Tasha Drive                              1610 Summer Rain Drive
Surprise, AZ 85374-0000                           Kingwood, TX 77339-0000

Alex William Stephens                             Alia Avidan
2526 Sharondale Drive                             254 Elizabeth Street
Apt. A8                                           PH B
Nashville, TN 37215-0000                          New York, NY 10012-0000

Alexander Cameron                                 Alicia Norton
97 Guinea Ridge Road                              1292 Surfwood Ln
Gilmanton, NH 03237-0000                          San Diego, CA 92154-0000

Alexander Party Rentals                           All Access Tags
dba Alexander's U-RENT, Inc.                      1435 Rochester Road
1127 Andover Park West                            Troy, MI 48083-0000
Seattle, WA 98188-0000
                                                  All American Fence Services, Inc.
Alexander Patterson                               24 Valkyrie Circle
45 Pineapple Street, PH1                          Columbia, SC 29229-3389
Brooklyn, NY 11201-0000
                                                  All American Settlement Services, LLC
Alexander Vazquez                                 4400 Walbert Avenue At Ridgeview Drive
105 Westside Drive                                Allentown, PA 18104-0000
New Loudon, NH 03257-5472
                                                  All Colors, LLC
Alexander Wood                                    176 Woodbridge Avenue
1531 Grand Tenton Court                           Highland Park, NJ 08904-0000
Chula Vista, CA 91911-0000
                                                  All Data Service
Alexandra Redelico                                Medrite Urgent Care
10-19 47th Road                                   200 Broadway
Apt. 2R                                           Brooklyn, NY 11211-0000
Long Island City, NY   11101-0000
                                                  All Mobile Video Inc
Alexandra Smith                                   221 West 26th Street
6 Shenandoah                                      New York, NY 10001-0000
Irvine, CA 92620-0000
                                                  All Points Public Relations
Alexandra Walker                                  707 Lake Cook Road
20659 Stone Oal Parkway                           Suite 340
Unit #1622                                        Deerfield, IL 60015-0000
San Antonio, TX 78258-0000
                                                  All Season Tent Rentals Inc.
Alexandrea Love                                   5050 Kansas Ave
6662 Dell Place                                   Kansas City, KS 66106-0000
Loomis, CA 95650-0000




                                           - 113 -
            Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 115 of 268



Allegahy County Nitros                        Ally Love Inc
2848 ODonnell Road                            1330 5th Ave
Wellsville, NY 14895-0000                     3E
                                              New York, NY 10026-0000
Allegany County Agricultural Society
15 North Street                               ALLY Rental
PO Box 96                                     10700 Frankstown Road
Angelica, NY 14709-0000                       Suite 106
                                              Pittsburg, PA 15235-3052
Allegany County Chapter NYS ARC Inc.
240 O'Connor Street                           Alma Desnuda LLC
Wellsville, NY 14895-0000                     177 Brookside Pl.
                                              Danville, CA 94526-0000
Allen W Lindsay, Jr
7813 Petersen Point Road                      Almavi, LLC dba The Big Cheese
Milton, FL 32583-0000                         921 E. Shalimar Drive
                                              Columbia, MO 65202-0000
Allen's Oil and Propane, Inc.
427 North Main Street                         Alona Burns dba AM Holdings Group. LLC
Vincetown, NJ 08088-0000                      8138 Yucca Springs Drive
                                              Las Vegas, NV 89129-0000
Alliance Training and Consulting, Inc
8900 Indian Creek Parkway                     Alpha Phi Omega-Kappa Sigma
Suite 270                                     Gabrielle Salcido
Overland Park, KS 66210-0000                  2353 Northrop Avenue #F217
                                              Sacramento, CA 95825-0000
Allied Portable Toilets
PO Box 939                                    Alphagraphics US283
Crozet, VA 22932-0000                         ISMS Communications
                                              248 Weldin Ridge Road
Allied Services LLC                           Wilmington, DE 19803-0000
dba Republic Services of Charlotte
5105-A Morehead Road                          ALPINE ELECTRIC INC
Concord, NC 28027-0000                        57 EAST SIXTH STREET
                                              MANSFIELD, OH 44902-0000
Allied Traffic & Equipment
41806 Ivy Street                              Alpine Meadows Ski Resort
Murrieta, CA 92562-0000                       PO Box 2138 ATTN: Accounting
                                              Olympic Valley, CA 96146-0000
Allied Waste Transportation, Inc.
18500 N. Allied Way                           Alpine Security, LLC
Phoenix, AZ 85054-0000                        Lone Star Security&Safety Serv
                                              331 Metcalf Rd #2AW7
All-Pro Fence Co. INC                         PO Box 515
1055 S. Center Street                         Avon, CO 81620-0000
Mesa, AZ 85210-0000
                                              Altima North America Inc
Allpro Parking Ohio, LLC                      155 Water Street
170 Marconi Blvd                              4th Floor, Suite 35
Columbus, OH 43215-0000                       Brooklyn, NY 11201-0000

All-Star Catering                             Alvin Cheng
301 West South Temple                         1374 Randol Ave
Salt Lake City, UT 84101-0000                 San Jose, CA 95126-0000




                                        - 114 -
            Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 116 of 268



Always Green Recycling, Inc.                  Amber C Hoheisel
1939 Wentzcille Pkwy                          15015 62nd Street N
Suite 180                                     Stillwater, MN 55082-0000
Wentzville, MO 63385-0000
                                              Amber Nicole White
Alyssa Ringler                                450 N. Broadway Avenue
400 E 55th Street                             Bartow, FL 33830-0000
Apt 3E
New York, NY 10022-0000                       Ambient DJ Service
                                              6 Teal Court
AMA Consulting Engineers PC                   East Windsor, NJ 08520-0000
250 West 39th St
New York, NY 10018-0000                       Amelia Boone
                                              150 Saratoga Ave
Amanda Amarasinghe                            368
18419 Roslin Avenue                           Santa Clara, CA 95051-0000
Torrance, CA 90504-0000
                                              America Maldonado
Amanda C. Rossano                             62 Pleasant Valley Avenue
9326 Spotswood Drive                          Staten Island, NY 10304-0000
Gordonsville, VA 22942-0000
                                              American Arbitration Association, Inc.
Amanda Hirsch                                 120 Broadway
4230 Perry Hall Road                          Floor 21
Perry Hall, MD 21128-0000                     New York, NY 10271-0000

Amanda Hurn                                   American Cancer Society
877 Sawkill Road                              250 Williams Street
Kingston, NY 12401-0000                       NW Suite 400
                                              Atlanta, GA 30303-0000
Amanda Leigh Anne Williams
11402 Ashcake Road                            American Event Group, Inc. DBA Amerevent
Ashland, VA 23005-0000                        2011 Dubloon Ct., Ste 200
                                              Edwardsville, IL 62025-0000
Amanda Linhart
13500 Vischer Road                            American Fence Company, Inc.
Brooklyn, MI 49230-0000                       3310 S. West Temple
                                              Salt Lake City, UT 84115-0000
Amanda Malzberg
2220 S Beverly Glen Blvd                      American Movie Company, LLC
Apt 110                                       808 Broadway
Los Angeles, CA 90064-0000                    Apt. 5P
                                              New York, NY 10003-0000
Amanda Mendes
7319 W. Silver Sand Drive                     American Power Security Services, Inc.
Tucson, AZ 85743-0000                         1451 S. Rimpau Ave
                                              Suite 207
Amanda Molnar                                 Corona, CA 92879-0000
112 E. 116th Street
Apt #8                                        American Recycling and Disposal, Inc.
New York, NY 10029-0000                       2100 W. Madison St.
                                              Suite A
Amanda Willis                                 Maywood, IL 60153-0000
12603 Brandi Lane
Willis, TX 77378-0000                         American Red Cross of Richland County
                                              39 North Park Street
                                              Mansfield, OH 44902-0000




                                       - 115 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 117 of 268



American Security Force, Inc.                     Anderson Security Agency, Ltd.
5400 E. Olympic Blvd                              PO Box 42690
Suite 225                                         Phoenix, AZ 85080-0000
Commerce, CA 90022-0000
                                                  Andover Fire Department
American Society of Composers, Authors a          60 South Main
Jennifer McDowell                                 Andover, NY 14895-0000
2 Music Square West
Nashville, TN 37203-0000                          Andover Haunted House Foundation
                                                  5 WEST GREENWOOD STREET
America's Best Security Services, Inc             P O BOX 415
2201 Paradise Road                                ANDOVER, NY 14806-0000
Las Vegas, NV 89104-0000
                                                  Andover Rod & Gun Association Inc.
Americover                                        PO Box 548
2067 Wineridge Pl                                 Andover, NY 14806-0000
Escondido, CA 92029-0000
                                                  Andover Rod and Gun Club Association, In
Americrown                                        PO Box 548
PO Box 2801                                       Andover, NY 14806-0000
Daytona Beach, FL   32120-2801
                                                  Andre Cochran
AMI Graphics LLC                                  478 East Cook Road
PO Box 157                                        Apt# 104
Center Strafford, NH   03815-0000                 Mansfeld, OH 44903-0000

Amphibious Medics                                 Andrea Frischholz
2633 E. 28th St.                                  Korbinianstra e 20
#622                                              Munchen, NY 80807-0000
Signal Hill, CA 92807-0000
                                                  Andrea Mooney
AMS Event Rentals, LLC                            312 Hadli Court
7231 Boulder Ave                                  Stevensville, MT    59870-0000
546
Highland, CA 92346-0000                           Andreas D Cotter
                                                  5335 Silverthorne Road
Amy Hood                                          Westerville, OH 43081-0000
15817 Key Lime Blvd.
Loxahatchee, FL 33470-0000                        Andrew Canavero Friesen
                                                  3780 Piccadilly Court
Amy L. Pajcic                                     Reno, NV 89509-0000
9403 Sherwood Trail
Brecksville, OH 44141-0000                        Andrew Collin Cunningham
                                                  8465 Split Creek Circle
Analysis Group, Inc.                              Lakeland, FL 33809-0000
111 Huntington Ave
10th Floor                                        Andrew D. Knee
Boston, MA 02199-0000                             574 Sunset Boulevard
                                                  Mansfield, OH 44907-0000
Anastasia Kravitz
162 Cherry Street                                 Andrew Kasperbaur dba Raygun Printing
Katonah, NY 10536-0000                            1013 Grand Street
                                                  Floor 3, Suite 18
Anderson Printing & Mailing                       Brooklyn, NY 11211-0000
139 South Mechanic Street
Jackson, MI 49201-0000                            Andrew Klotz
                                                  45740 Roscoe
                                                  St. Clairsville, OH    43950-0000



                                           - 116 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 118 of 268



Andrew L Greene                                  Anthony L Ramirez
PO Box 403                                       351 Madison Street
Angelica, NY 14709-0000                          PO Box 1535
                                                 Giddings, TX 78942-0000
Andrew Lee Morgan
24806 Butterwick Drive                           Anthony L. Grimwood
Spring, TX 77389-0000                            460 Willwood Drive East
                                                 Mansfield, OH 44906-0000
ANDREW POSADA
P O BOX 740                                      Anthony M Dillon
KINGS BEACH, CA   96143-0000                     15 North Ford Road
                                                 Mansfield, OH 44905-0000
Andrew Thom
5341 Stenton Drive                               Anthony M. Miller
Bethlehem, PA 18017-0000                         8901 Bauman Road Street
                                                 Houston, TX 77022-0000
Andrew W. Pidgeon
6134 Serene Place                                Anthony Paul Davis Jr.
West Melbourne, FL   32904-0000                  671 Fairway Drive NW
                                                 Grand Rapids, MI 49534-0000
Ann R. Ledford
450 N. Broadway Ave                              Anthony Produce, Inc.
Bartow, FL 33830-0000                            701 Jungermann Road
                                                 St. Peters, MO 63376-0000
Anne Armistead Rundle dba Asteya Yoga
9 School Street                                  Anthony Robert Beller
Merrimac, MA 01860-0000                          119 Booraem Avenue
                                                 Jersey City, NJ 07307-0000
Annie Elizabeth Leko
2027 E. University Drive                         Antoinette E. Schrum
Unit 109                                         130 Malabar Road
Tempe, AZ 85281-0000                             Palm Bay, FL 32907-0000

Annie J. Steele                                  Antonelli's PTS
941 Clayton Drive                                16 W. 4th Street
Worthington, OH 43085-0000                       Mansfield, OH 44902-0000

Anschutz Southern California Sports Comp         Antonia Clark
Finance                                          154 West 70th Street
18400 Avalon Blvd                                Apt 4B
Suite 100                                        New York, NY 10023-0000
Carson, CA 90746-0000
                                                 Antonia Villa
Anthony David Tadajewski                         3136 Portage Bay Place E
18314 W Georgia Avenue                           Unit C
Litchfield Park, AZ 85340-0000                   Seattle, WA 98102-0000

Anthony Edward Fontana IV                        Antonio N Rodriguez
7704 Twin Oaks Way                               10826 Vista Bonita Drive
Laurel, MD 20723-0000                            Bakersfield, CA 93311-0000

Anthony Francis Lunders                          Any Occasions Tents & Events, LLC
6146 Andrus Dr                                   5714 Bissonnet
Woodbridge, VA 22193-0000                        Houston, TX 77081-0000

Anthony Koens                                    APEL, INC
2122 Temple Court                                18 Sherman Avenue
St. Paul, MN 55104-0000                          White Plains, NY 10605-0000



                                           - 117 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 119 of 268



Apex Consulting, LLC                             Arete LLC
5535 NW Innisbrook Place                         15 Metrotech Center
Portland, OR 97229-0000                          Floor 7
                                                 Brooklyn, NY 11201-0000
Apex Security Group Inc.
17101 Superior Street                            Ari David Szporn
Northridge, CA 91325-0000                        225 Parkside Avenue
                                                 Apt #5S
API Advertising, Premiums & Incentives           Brooklyn, NY 11226-0000
4471 Nicole Drive
Lanham, MD 20706-0000                            Arkansas Tech Wesley Foundation
                                                 1111 N El Paso Ave
AppExtremes, LLC dba Conga                       Russeelville, AR 72801-0000
PO Box 7839
Broomfield, CO 80021-0000                        Arlen Kantarian
                                                 7 Hunter Lane
Apple Industrial Development Corp                Rye, NY 10580-0000
110 William Street
New York, NY 10038-0000                          Armed Forces Communications, Inc
                                                 dba Refuel Agency
APPLE MOBILE LEASING, INC                        10 Abeel Road
2781 WEST 130TH STREET                           Cranbury, NJ 08512-0000
HINCKLEY, OH 44233-9547
                                                 Arrigo Enterprises Inc
Applied Technical Services, Inc.                 dba Arrigo Dodge Chrystler Jeep Inc
1049 Triad Court                                 6500 Okeechobee Blvd
Marietta, GA 30062-0000                          West Palm Beach, FL 33411-0000

Apres Inc dba Apres Party and Tent Renta         Arrow Security
7625 Cahill Road                                 520 E. Yeagua
Edina, MN 55439-0000                             Groesbeck, TX 75642-0000

April Dee Hartwig dba April OCR                  Artemax Inc dba Wristband Resources
12447 Mt Belford Way                             16000 W Rogers Drive
Peyton, CO 80831-0000                            Suite 100
                                                 New Berlin, WI 53151-0000
April Hartwig
12447 Mount Belford Way                          Arthurene Smith dba The Lunch Bag
Peyton, CO 80831-0000                            7276 Regency Square Court
                                                 Houston, TX 77036-0000
Aprio LLP
5 Concourse Parkway                              Artisan New York LLC
Suite 1000                                       37 West 20th Street
Atlanta, GA 30328-0000                           Suite 610
                                                 New York, NY 10011-0000
Aramark dba Aramark at MCU Park
1904 Surf Avenue                                 Artplace America LLC
Brooklyn, NY 11224-0000                          195 Montague Street
                                                 14th Floor
Arctic Glacier Inc.                              Brooklyn, NY 11201-0000
1654 Marthaler Lane
West St. Paul, MN 55118-0000                     Art's Rental Equipment and Supply
                                                 210 East Sixth Street
Arena Event Services, Inc. dba Arena Ame         Newport, KY 41071-0000
7000 S. 10th Street
Oak Creek, WI 53154-0000




                                           - 118 -
            Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 120 of 268



Ashely Kelley                                   Associated Students UCLA dba ASUCLA Stud
6305 Kennedy Blvd East                          308 Westwood Plaza
Apt C4                                          KH- 118
West New York, NJ 07093-0000                    Los Angeles, CA 90024-0000

Ashland County Sheriff's Office                 AT Media Investor LLC
1205 E Main Street                              400 Kelby Street
Ashland, OH 44805-0000                          19th Floor
                                                Fort Lee, NJ 07024-0000
Ashland Plumbing Corp
708 3rd Avenue                                  Atlanta Beverage Company
New York, NY 10017-0000                         5000 Fulton Industrial Blvd SW
                                                Atlanta, GA 30336-0000
Ashlee Mickelberry
1609 Tramway Court                              Atlantic Services Group, Inc
Council, ID 83612-0000                          4200 Wisconsin Avenue, NW
                                                Suite 550
Ashley Lewis Mesquite High School               Washington, DC 20016-0000
500 S. McQueen Road
Gilbert, AZ 85233-0000                          Atlantic Welding Supply
                                                94 marine Street
Ashley Pinakiewicz                              Farmingdale, NY 11735-0000
444 7th Ave #3F
Brooklyn, NY 11215-0000                         Atlas Distributing, Inc.
                                                44 Southbridge Street
Ashley Rhea Haley                               Auburn, MA 01501-0000
202 Slash Drive
Ashland, VA 23005-0000                          Atlas Ladder & Scaffolding Co, Inc
                                                P.O.Box 380
Ashley Samples                                  Orange, NJ 07052-0000
1604 Majestic Oak Drive
Apopka, FL 32712-0000                           Atlas Security Group
                                                2201 Paradise Road
ASi Music Group                                 Las Vegas, NV 89104-0000
Box 120
Middleville, NJ   07855-0000                    ATM Atlanta Inc.
                                                2204 Vinings North Lane SE
Aspen Grove Property Services                   Smyra, GA 30080-0000
PO Box 1983
Basalt, CO 81621-0000                           ATM Champions dba Open Sky Concepts, LLC
                                                405 Harrison Street
Aspen School District 1 RE                      Springfield, OH 45505-0000
235 High School Road
Aspen, CO 81611-0000                            Atom Banana, Inc
                                                2404 South Wolcott Ave
Aspen Skiing Company LLC                        Unit 10-12
PO Box 1248                                     Chicago, IL 60608-0000
Aspen, CO 81612-1248
                                                Atrium Staffing LLC
AspireIQ                                        625 Liberty Ave
550 Montgomery Street                           Suite 200
Suite 800                                       Pittsburgh, PA 15222-0000
San Francisco, CA 94111-0000
                                                Atwell, LLC
Associated Production Music LLC dba APM         Two Towne Square
6255 Sunset Blvd                                Suite 700
Suite 900                                       Southfield, MA 48076-0000
Hollywood, CA 90028-0000



                                          - 119 -
               Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 121 of 268



Aubril Fulst                                     B&S Beverage LLC
123 Washington Street                            1544 Winchester Avenue
Barnesville, OH 43713-0000                       Martinsburg, WV 25405-0000

Audio Visual One Ltd.                            Bacher Electric
9611 West Foster Avenue                          16520 Grand Ave
Schiller Park, IL 60176-0000                     Lake Elsinore, CA    92530-0000

Audrey Perozzi                                   Back Creek Valley Fire Dept
112 Carey Avenue                                 1922 Back Creek Valley Rd
Butler, NJ 07405-0000                            Hedgesville, WV 25427-0000

Audrey Rosalle Krum                              Backbone Group LLC dba Backbone Media
24-64 28th Street                                65 North 4th Street
Apt #1A                                          Suite 1
Astoria, NY 11102-0000                           Carbondale, CO 81623-0000

Austin A Team Disposal & Commercial Serv         Badlands Off Road
10212 Manchaca Road                              3968 N. Xavier Rd
Austin, TX 78748-0000                            Attica, IN 47918-0000

Austin Wicker                                    Badmoon Enterprises LLC dba 3di Sign + D
1000 E. Woodlawn Road                            1133 West Main Street
Unit #213                                        Arlington, TX 76013-0000
Charlotte, NC 28209-0000
                                                 Bag Tags, Inc
AV for You LLC                                   1316 Sherman Ave
6215 Cambridge Street                            215
St, Louis Park, MN 55416-0000                    Evanston, IL 60201-0000

Ava Wellness                                     Baha Industries Corp dba Open Systems Te
1425 Arch Street                                 462 Seventh Avenue
Philadelphia, PA    19102-0000                   15th Floor
                                                 New York, NY 10018-0000
A-Verdi
14150 Rte 31                                     Bahou Miller PLLC dba Miller Legal Parnt
Savannah, NY    13146-0000                       750 Old Hickory Boulevard
                                                 Building 2 - Suite 150
Avondale Fire Company EMS Division, Inc          Brentwood, TN 37027-0000
23 Firehouse Way
Avondale, PA 19311-0000                          Bailey McCoy
                                                 8165 Gold Ray Road
Axa Equitable                                    Central Point, OR 97502-0000
P.O. Box 1047
Charlotte, NC    28201-0000                      Bailey's Well Service, LLC
                                                 108113 N 3710 Road
Axis Enterprises Inc dba Axis Promotions         Okemah, OK 74859-0000
8 W 38th Street
3rd Floor                                        Baillargeon Properties LLC
New York, NY 10018-0000                          588 155th Avenue
                                                 Somerset, WI 54025-0000
AZ ATV Rentals
15883 W Woodlands Avenue                         Baird Xtreme Entertainment, LLC dba Xtre
Goodyear, AZ 85338-0000                          31705 Long Acres Drive
                                                 Sorrento, FL 32776-0000
Aztec Events and Tents, Inc dba Peerless
3301 East Randol Mill Road
Arlington, TX 76011-0000



                                           - 120 -
            Case 20-10036-CSS   Doc 42-1      Filed 02/12/20   Page 122 of 268



Baker, Donelson, Bearman, Caldwell, and          Bastrop County Cheriff's Office
165 Madison Ave, Suite 2000                      Melvin Tucker
Memphis, TN 38103-0000                           200 Jackson Street
                                                 Bastrop, TX 78602-0000
BankDirect Capital Finance
Two Conway Park                                  Bauer's Intelligent Transportation, Inc
150 N Field Drive, Suite 190                     Pier 50
Lake Forest, IL 60045-0000                       San Francisco, CA 94158-0000

Banko Beverage                                   Bayerisches Landesamt f r
2124 Hanover Avenue                              Statistik und Datenverarbeitung
Allentown, PA 18109-0000                         St.-Martin-Stra e 47
                                                 M nchen, NY 81541-0000
Bar One LLC
904 Silver Spur Road #250                        BAYLESS CONCESSIONS
Rolling Hills, CA 90274-0000                     33175 TEMECULA PKWY
                                                 A343
Barbur Blvd Rentals, Inc                         TEMECULA, CA 92592-0000
8205 SW Barbur Blvd
Portland, OR 97219-0000                          Bayport Printing House, Inc.
                                                 102 CENTRAL AVENUE
Barker/DZP, Inc.                                 BAYPORT, MN 55003-0000
30 Broad Street, 47th Floor
New York, NY 10004-0000                          Be The Change, Inc. dba Got Your 6
                                                 200 Clarendon Street
Barrington Hills Consulting, LLC dba Ran         44th Floor
349 Broome Street                                Boston, MA 02116-0000
New York, NY 10013-0000
                                                 Beacon Hill Staffing Group, LLC
Barry C Dobil Jr                                 152 Bowdoin Street
5821 Ridge Tr                                    Boston, MA 02108-0000
Orefield, PA 18069-0000
                                                 Bea's Tavern Inc dba Botanica Bar
Barry Whitley Trucking, Inc.                     47 East Houston Street
24015 Bear Creek Ch. Rd.                         New York, NY 10012-0000
New London, NC 28127-0000
                                                 Beatty Volunteer Fire Department
Bartlett & West, Inc.                            PO Box 113
1200 SW Executive Drive                          Beatty, NY 89003-0000
Topeka, KS 66615-3853
                                                 Beau Chevassus
Base Beverage Inc.                               2254 Scandia Avenue
47 Jennings Road                                 Enumclaw, WA 98022-0000
Charlton, MA 01507-0000
                                                 Beaver Creek Resort Company
Basno Inc.                                       PO Box 5390
221 Canal Street                                 Avon, CO 81620-0000
Suite #301
New York, NY 10013-0000                          Becker Rodman & Associates Inc
                                                 1468 East Lebanon Road
Bass, Berry & Sims PLC                           Dover, DE 19901-0000
150 Third Avenue South
Suite 2800                                       Beetz Plumbing Co., Inc.
Nashville, TN 37201-0000                         9511 Watson Industrial Park
                                                 St. Louis, MO 63126-0000
Bastrop Copier
1002 Main Street
Bastrop, TX 78602-0000



                                           - 121 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 123 of 268



Belknap County Sheriff's Department              Benjamin Schloegel
42 County Drive                                  7401 Terrace Street
Laconia, NH 03246-0000                           Kansas City, MO 64114-0000

Bella Four Bakery, Inc.                          Benny Allen Johnson
5150 Convair Drive                               2132 Henry Hill Rd
Carson City, NV 89706-0000                       Tignall, GA 30668-0000

Bella Produce Distributors, Inc.                 Bent Bow, Inc
160 R. Lauman Lane                               DBA Chinese Hawaiian Kenpo Academy
Hicksville, NY 11801-0000                        122 Second Avenue
                                                 New York, NY 10003-0000
Belmont County Sherrif's Office
68137 Hammond Road                               Bergmann Assoc., Architects,
St. Clairsville, OH 43950-0000                   Engineers, Landscape Architects
                                                 280 E. Broad Street
BELMONT POLICE DEPARTMENT                        Suite 200
16 Fuller Street                                 Rochester, NY 14604-0000
PO Box 320
Belmont, NH 03220-0320                           Berkeley County Deputy Reserves
                                                 802 Emmett Rousch Drive Suite C
Belviana Todmann                                 Martinsburg, WV 25401-0000
129 West 147th Street
Apt #22k                                         Berkeley County Development Authority
New York, NY 10039-0000                          300 Foxcroft Ave
                                                 Suite 201
Ben Andron                                       Martinsburg, WV 25401-0000
5309 Goodland Ave
Valley Village, CA   91607-0000                  Berkeley County Health Department
                                                 400 W Stephen Street
Benack Sound Productions Inc.                    Suite 204
97 Terence Drive                                 Martinsburg, WV 25401-0000
Pittsburgh, PA 15236-0000
                                                 Berkeley County Sheriff's Department
Benjamin Abruzzo                                 510 South Raleigh Street
9115 Mabry Ave                                   Martinsburg, WV 25401-0000
Albuquerque, NM 87109-0000
                                                 Berkeley Plantation LP LLP
Benjamin Boylan                                  12602 Harrison Landing Road
98 Meserole Street                               Charles City, VA 23030-0000
3R
Brooklyn, NY 11206-0000                          BERKHEIMER TAX ADMINISTRATOR/ HAB-AMT
                                                 325-A N. POTTSTOWN PIKE
Benjamin Ficke                                   EXTON, PA 19341-0000
3 Lindquist
San Antonio, TX   78248-0000                     Berk's Landscaping LLC
                                                 13680 Dixie Hwy
Benjamin Keck                                    Walton, KY 41094-0000
PO Box 1648
Avon, CO 81620-0000                              Berry Francis A dba Berrygood
                                                 4421 Co Road 2250
Benjamin Michael Frazier                         Huntsville, MO 65259-0000
617 Samantha Court
Annapolis, MD 21409-0000                         Best Companies Group
                                                 1500 Paxton St.
Benjamin Philip Wolf                             Harrisburg, PA 17104-0000
4730 16th Street
Boulder, CO 80304-0000



                                          - 122 -
               Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 124 of 268



Best Line Equipment                              Bigg Food LLC dba Wheely Grilly
140 Hawbaker Industrial Drive                    2715 Peachtree Square
State College, PA 16803-0000                     Atlanta, GA 30360-0000

Best, Jenna                                      BigRentz Inc
147 Amity St                                     1063 McGaw Ave
Apt 1                                            Suite 200
Brooklyn, NY    11201-0000                       Irvine, CA 92614-0000

Beth Miller                                      Billie Salyers
69631 Lee Road                                   365 West Road
St Clairsville, OH    43950-0000                 Harrisville, RI    02830-0000

Beverly F Lyell                                  Bingham McCutchen LLP
9312 Forrister Road                              One Federal Stret
Adrian, MI 49221-0000                            Boston, MA 02110-0000

Beyond.com                                       Birmingham Township
1060 First Avenue                                1040 W Street Road
Suite 100                                        West Chester, PA 19382-0000
King of Prussia, PA   19406-0000
                                                 Bishop Services, Inc.
BFI Canada                                       221 W. Main
538 Johnson Ave                                  PO Box 11
Brooklyn, NY 11237-0000                          Goldendale, WA 96620-0000

Bic USA, Inc.                                    Bjorn Robin Erickson
One Bic Way                                      1975 62nd Street
Suite 1                                          Somerset, WI 54025-0000
Shelton, CT 06484-0000
                                                 Black Bear Ventures LLC dba Colostream D
Big Fogg Inc.                                    417 Spence Lane
42095 Zevo Drive                                 Nashville, TN 37210-0000
Unit A2
Temecula, CA 92590-0000                          Black Diamond Hospitality Inc
                                                 dba Black Diamond Bakery & Del
Big Orange Productions                           32805 Railroad Ave
32 Linton Street                                 PO Box 817
Pawtucket, RI 02861-0000                         Black Diamond, WA 98010-0000

Big Red Production Group LLC                     Black Hawk Security Services, Inc
Sound EFX Production                             2600 Southwest Freeway
3251 Smithville Rd                               Ste 810
Eaton Rapids, MI 48827-0000                      Houston, TX 77098-0000

Big Rock OHV Park Inc.                           Blanchard Machinery Company
PO Box 577                                       3151 Charlestown Hwy
Maysville, KY 41056-0000                         Weat Columbia, SC 29172-0000

Big Stone Publishing Ltd                         Blazing Adventures LLC
dba Rock and Inc/Trail Runner                    PO Box 5552
2567 Dolores Way                                 Snowmass Village, CO 81615-0000
Carbondale, CO 81623-0000
                                                 Blender LLC dba Blender, Photoboxx, Soci
Big T RnR Inc dba Big T Tents                    152 S. Jefferson Street
5545 E 53rd                                      Suite 100
Kansas City, MO 64130-0000                       Spokane, WA 99201-0000




                                          - 123 -
            Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 125 of 268



Blinker-Lite Safety, Inc                        Bohn's Printing, Inc.
327 54th Ave North                              308 Union St.
Nashville, TN 37209-0000                        P.O.Box 772
                                                The Dalles, OR 97058-0000
Blonde Entertainment
4824 N Illinois Street                          Boiling Pot Ranch
Indianapolis, IN 46208-0000                     PO Box 278
                                                Beatty, NV 89003-0000
Blood, Sweat & Cheers
12 Desbrosses Street                            Bonnie Ann Lee
New York, NY 10012-0000                         1521 Sutter Street Apt 305
                                                San Franscisco, CA 94109-0000
Blue Juice Films, Inc.
730 Campina Ave                                 Bonsall Shafferman Architects
Palm Bay, FL 32909-0000                         1640 Valley Center Parkway, Suite 100
                                                Bethlehem, PA 18017-0000
Blue Marble Payroll LLC
9855 Woods Drive                                Boothell Parts & Equipment Rental
Skokie, IL 60077-0000                           PO Box 278
                                                Poplar Bluff, MO 63902-0000
Blue Peak Tents, Inc
1151 Atlantic Drive #3                          Boreal Ridge Corporation
West Chicago, IL 60185-0000                     19479 Boreal Ridge Road
                                                Soda Springs, CA 95728-0000
Blue Shield of California
Cash Receiving                                  Borough of Eatontown
3021 Reynolds Ranch Pkwy                        47 Broad Street
Lodi, CA 95240-0000                             Eatontown, NJ 07724-0000

Bluff City Ice                                  Borough of Englishtown
718 Adam Street                                 15 Main Street
Poplar Bluff, MO   63901-0000                   Englishtown, NJ 07726-0000

Blumencranz Klepper Wilkins &                   Borough Of Englishtown Police Department
Dubofsky Ltd dba BWD Group LLC                  15 Main Street
45 Executive Drive                              Englishtown, NJ 07726-1544
Plainview, NY 11803-0000
                                                Borough of Oceanport
BML Productions, Inc. dba Generico, Inc         4 Crawfords Corner Road
1 Aquarium Drive                                Holmdel, NJ 07733-0000
Secaucus, NJ 07094-0000
                                                Boston Party Rental
Bo Phillips Co.                                 367 Neponset Avenue
3440 Lawrence Hwy                               Boston, MA 02122-0000
Tucker, GA 30084-0000
                                                Bounce Exchange Inc
Board of County commissioners                   304 Hudson Street
9300 N.W. 41 Street                             Suite 505
Doral, FL 33178-0000                            New York, NY 10013-0000

Board of Fire Commissioners,                    Boy Scout Troop 4309
Bureau of Fire Prevention, Fire                 St. John the Evangelist Church
913 Englistown Road                             711 N Francis Street
Old Bridge, NJ 08857-0000                       Jackson, MI 49201-0000

Bobcat Plus, Inc                                Boyz Toyz and Sonz Inc
PO Box 22                                       PO Box 950
Oconomowoc, WI 53066-0000                       Gypsum, CO 81637-0000



                                          - 124 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 126 of 268



Brad Casper                                      Brandon Aaron Boyd
5134 E. Desert Park Lame                         2010 Narrow Glen Parkway
Paradise Valley, AZ 85253-0000                   Austin, TX 78744-0000

Bradford J Smith dba IV. Creative Inc            Brandon C Burnett
1025 Pleasantview Ave                            107087 Hwy 48
Apt A                                            Okemah, OK 74859-0000
Venice, CA 90291-0000
                                                 Brandon D. Wells
Bradley Dietz                                    7202 E. Kael St.
136 East 64th Street                             Mesa, AZ 85207-0000
Apt #8C
New York, NY 10065-0000                          Brandon Eddards
                                                 23443 Springhill Drive
Bradley G. Gillaspie Jr. dba Lazy Man Ba         Denham Springs, LA 70726-0000
6406 West W Ave
Schoolcraft Ave, MI 49087-0000                   Brandon Norbryhn
                                                 PO Box 1573
Bradley James Overcash                           31141 All View Drive
125 Fritzvon Drive                               Running Springs, CA 92382-0000
Mt. Pleasant, NC 28124-0000
                                                 Brandon Owusu
Bradley Roger Marquardt                          2249 Barn Owl Avenue
15015 62nd Street N                              Bartow, FL 33830-0000
Stillwater, MN 55082-0000
                                                 Brandon Richard Hunt
Bradley Schirmer dba White Horse Rercord         173 Donald Drive
697 Grand Street                                 Front Royal, VA 22630-0000
Suite 108
Brooklyn, NY 11211-0000                          Brandon Schneider
                                                 30 W Gaylord Ave
Brady Archer                                     Shelby, OH 44875-0000
13682 Dexter Street
Thornton, CO 80602-0000                          Brandy Williams
                                                 1727 Mary Drive
Brain Gross                                      Slidell, LA 70458-0000
74 Sterling Circle
Apt. 111                                         Brant's Electrical
Wheaton, IL 60189-0000                           336 Boyd Ave
                                                 Martinsburg, WV 25401-0000
Brainerd Marketing LLC dba the Sunflower
PO Box 31001-1766                                Bratt Productions DBA Dallas Party Tent
Pasadena, CA 91110-1766                          3301 E. Randol Mill Road
                                                 Arlington, TX 76011-0000
Brand Maestro
1221 Avenue of the Americas,                     Brazos County
Suite 4200                                       200 South Texas Ave
New York, NY 10020-0000                          Suite 240
                                                 Bryan, TX 77803-0000
Brand Networks, LLC
40 Broad Street, 6th FL                          Brenner, Jayson
Boston, MA 02109-0000                            327 E 34th St
                                                 5B
BrandIT Signs & Graphics, LLC                    New York, NY 10016-0000
PO Box 157
Unionville, PA 19375-0000                        Brett Daniel Steward
                                                 251 Stewart Rd
                                                 Mansfield, OH 44905-0000



                                           - 125 -
            Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 127 of 268



Brett Diamond                                   Brian Perl dba Perl Rentals LLC
4121 Agency Loop                                463 Cedar Street
Triangle, VA 22172-0000                         Fond du Lac, WI 54935-0000

Brett Tatum                                     Brian S. Brown
13515 Fox Creek Drive                           222 Lexington Avenue
Oklahoma City, OK 73131-0000                    Washington, GA 30673-0000

Brian A. Casal                                  Brian Thomas
1627 Westlake Court                             251 Mesa Drive
Lawrenceville, GA 30043-0000                    Unit G
                                                Costa Mesa, CA    92627-0000
Brian Carswell
1705 Kirtley Dr.                                Brian Von Acken
Brandon, FL 33511-0000                          7 East 14th Street
                                                New York, NY 10003-0000
Brian D Yake
1839 Co Road 61                                 Brian Von Ancken
Edison, OH 43320-0000                           7 East 14th Street
                                                Apt# 19S
Brian D. Joyner                                 New York, NY 10003-0000
4365 Flowes Store Road
Concord, NC 28025-0000                          Brick and Patel LLP
                                                1290 Avenue of the Americas
Brian Gowiski                                   34th Floor
16309 Delaney Drive                             New York, NY 10104-0000
Concord, NC 28027-0000
                                                Brick's Off Road Park
Brian J Newsome                                 1802 Northwood Drive
1654 Twp Road 220                               Poplar Bluff, MO 63901-0000
Marengo, OH 43334-0000
                                                Bright Event Rentals, LLC
Brian Krook                                     1640 W. 190th Street
1586 89th Street                                Los Angeles, CA 90501-0000
New Richmond, WI   54017-0000
                                                Brightedge Technologies Inc
Brian L. Danals                                 989 East Hillside Blvd
2740 Marion Hoe Road                            Suite 300
Mansfield, OH 44903-0000                        Foster City, CA 94404-0000

Brian Lamar Allen Jr                            brightroom, Inc.
1294 Leforge Road                               3333 Quorum Drive, Suite 200
Apt C1                                          Ft. Worth, TX 76137-0000
Ypsilanti, MI 48198-0000
                                                Brinks, Incorporated
Brian Lonergan                                  P.O.Box 619031
365 West 25th St                                Dallas, TX 75261-9031
Apt. 5J
New York, NY 10001-0000                         Britnee Tonille
                                                330 Klondike Road
Brian Offidani Photography                      Buffalo, NY 82834-0000
5-38 46th Avenue
Long Island City, NY 11101-0000                 Brittaney Brown
                                                489 Preciado St
BRIAN PAUL HULKE                                Pomona, CA 91768-0000
P O BOX 213
GRASS VALLEY, OR   97029-0000




                                         - 126 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 128 of 268



Brittany Ann Wrght                               Brown County Rental
1891 Jim Keene Blvd                              8108 US 52 West
Winter Haven, FL 33880-0000                      Aberdeen, OH 45101-0000

Brittany Hammond                                 Brown Enterprises, Inc
3024 Hidden Forest Court                         50 Smith Haven Lane
Apt 5112                                         South Londonberry, VT 05155-0000
Marietta, GA 30066-0000
                                                 Bruce Fougere
Brittany Heninger                                621 S. Elmwood Ave
77 Buff Road                                     Oak Park, IL 60304-0000
Bristol, CT 06010-0000
                                                 BRUCE GRAY
Britvic North America LLC                        33479 HWY 19-207
One Alhambra Plaza                               SPRAY, OR 97874-0000
Suite 1150
Coral Gables, FL 33134-0000                      Bruce Howard Contracting Inc.
                                                 PO Box 492
BRK Brands, Inc. dba First Alert, Inc.           Providence Forge, VA 23140-0000
3901 Liberty Street
Aurora, IL 60504-0000                            Bruno Musso
                                                 30 East 9th Street
Broadbandspot Com, LLC                           Apt. 4B
1045 Grape Street                                New York, NY 10003-0000
Whitehall, PA 18052-0000
                                                 Brunswick Insurance Agency, Inc
Broadcast Music Inc                              dba Brunswick Companies
10 Music Square E                                2857 Riviera Drive
Nashville, TN 37203-0000                         Fairlawn, OH 44333-0000

Brooke Lynn's Own Sticks and Cones LLC           BRWTM, LLC
1924 Johnson Ferry Road                          1335 Trafalgar Street
Atlanta, GA 30319-0000                           Teaneck, NJ 07661-0000

Brooke Lynns Own, LLC                            Bryan Jennewein
dba Brooke Lynns Own Sticks & Cones              65855 Mt. Olivett Road
3554 Ashford Dunwoody Road                       Barnesville, OH 43713-0000
Brookhaven, GA 30319-0000
                                                 Bryan Kauffer
Brooklyn Academy of Music                        1253 N. Vulcan
30 Lafyette Avenue                               Apt #6
Brooklyn, NY 11217-0000                          Encinitas, CA 92024-0000

Brooklyn Baseball Company, LLC                   Bryan Kerr
1904 Surf Avenue                                 456 Narragansett Street
Brooklyn, NY 11224-0000                          Palm Bay, FL 32907-0000

Brooklyn Heights Physical Therapy                Bryce M Montpetit
142 Joralemon Street, Suite 11A                  1868 County Road 1
Brooklyn, NY 11201-0000                          PO Box 12
                                                 Somerset, WI 54025-0000
Brooklyn Mobile Notary & Signing Service
William B. Ponsot                                B-Token
Brooklyn, NY                                     1111 Lincoln Road
                                                 Suite 400
Brookside Storage                                Miami Beach, FL 33139-0000
15980 32 Mile
Ray, MI 48096-0000



                                           - 127 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 129 of 268



Buena Vista Constructions Group LLC              Butler County Toruism & Convention Burea
2 Kiel Ave                                       310 E. Grandview Ave
Suite 194                                        Zelienople, PA 16063-0000
Kinnelon, NJ 07403-0000
                                                 BVCG LLC
Bureau of Fire Prevention                        2 Kiel Avenue
Fire District 3, TWP of Old Bridge               Suite 194
913 Englishtown Road                             Kinnelon, NJ 07405-0000
Old Bridge, NJ 08857-0000
                                                 Bynder LLC
Bureau Veritas North America, Inc.               24 Fransworth Street
1601 Sawgrass Corporate Parkway                  Suite 400
#400                                             Boston, MA 02210-0000
Sunrise, FL 33323-0000
                                                 C & L CONSTRUCTION, INC
Burr Group, Inc. DBA Jack's Disposal Ser         736 QUAKER PLAIN ROAD
9890 Cherry Avenue                               BANGOR, PA 18013-0000
Fontana, CA 92335-0000
                                                 C& L Sanitation, Inc.
BurrellesLuce                                    PO Box 691
75 East Northfield Road                          Perryburg, OH 43552-0000
Livingston, NJ 07039-0000
                                                 C&L Sanitation, Inc
Burris Equipment Co                              PO Box 691
2216 N Greenbay Road                             Perrysburg, OH 43552-0691
Waukegan, IL 60087-0000
                                                 C. Allen Ates
Bushkill Emergency Corps                         6098 Jeff Ates Road
PO Box 174                                       Milton, FL 32583-0000
BUshkill, PA 18324-0000
                                                 C.H. Robinson Company, Inc.
Bushkill Fire Co.                                14701 Charlson Road
124 Evergreen Drive                              Suite 1400
Bushkill, PA 18324-0000                          Eden Prairie, MN 55347-0000

Business Alliance Inc.                           C.S.E.M. LLC
dba American Business Alliance Inc.              14211 E 4th Ave
1145 Broadway                                    Suite 220
Suite 1380                                       Aurora, CO 80011-0000
Tacoma, WA 98402-0000
                                                 C2 Imaging LLC
Business Wire, Inc.                              274 Fillmore Ave E
44 Montgomery Street                             St. Paul, MN 55107-0000
39th Floor
San Francisco, CA 94104-0000                     Cache Networks LLC dba Cachefly
                                                 111 West Jackson Blvd
Buster's Marine Service                          Suite 1600
1911 Cross Bay BLVD                              Chicago, IL 60604-0000
Broad Channel, NY 11693-0000
                                                 Cahall Bros, Inc.
Butler Basketball Boosters                       50 Cahall Bros. Ln
PO Box 491                                       Georgetown, OH 45121-0000
Butler, PA 16003-0000
                                                 Caine and Weiner Company, Inc.
Butler County Sheriff's Office                   5805 Sepilveda Blvd
200 phillip Kearbey Drive                        Floor 4
Poplar Bluff, MO 63901-0000                      Sherman Oaks, CA 91411-0000




                                           - 128 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 130 of 268



Caitlin Eggers                                   Cambridge Township
1231 N. Downing St.                              9990 W M-50
Apt. 303                                         Onsted, MI 49265-0000
Denver, CO 80218-0000
                                                 Cambridge Township Fire Department
Caleb W. Benavides                               135 N. Main St. N
479 Kentucky Ave                                 Onstead, MI 49265-0000
Mansfield, OH 44905-0000
                                                 Cameron Norsworthy
California Custom Power Sports, Inc.             25-71 Steinway Street
10391 E. Stockton Blvd                           Apt. 3
Elk Grove, CA 95624-0000                         Astoria, NY 11103-0000

California Department of Transporation           Cameron Zonfrilli dba The Jersey City Gr
703 B Street                                     292 Barrow Street
Maryville, CA 95901-0000                         Jersey City, NJ 07302-0000

California Highway Patrol                        Cameroon Peek
PO Box 942901                                    33 Cedar Road
Sacramento, CA 94298-2901                        Westbury, NY 11590-0000

California Secretary of State                    Camion LLC
Business Entities                                8302 6th Ave
PO Box 944228                                    B14
Sacramento, CA 94244-2280                        Brooklyn, NY    11209-0000

California Youth Soccer Association, Inc         CamoFX by GameFace Inc.
1040 Sepentine Lane                              Stacy Smallwood
Suite 206                                        1555 W Oak St. Suite 100
Pleasanton, CA 94566-0000                        Zionsville, IN 46077-0000

Callaway County Treasurer                        Camp William B. Snyder
10 E. 5th Street                                 (Boy Scouts of America)
Fulton, MO 65251-0000                            Mario Perez
                                                 6100 Antioch Rd
Callaway Transportation Inc.                     Haymarket, VA 20169-0000
7564 Main Street
2nd Floor                                        Camp William B. Snyder (Boy Scouts of Am
Sykesville, MD 21784-0000                        Mario Perez
                                                 6100 Antioch Rd
Calloway Custom Security Corporation             Haymarket, VA 20169-0000
6843 Belt Road
Concord, NC 28027-0000                           Campus Customs
                                                 PO Box 207034
Calvin E Setar                                   New Haven, CT 06520-0000
215 Martense Street
Apt 2f                                           Candence Sports, Inc.
Brooklyn, NY 11226-0000                          3019 Alvin Devane Blvd., Building 1
                                                 Suite 160
Caly Anderson                                    Austin, TX 78741-0000
PO Box 959
Berthoud, CO 80513-0000                          Candice Wagner
                                                 3401 Moss Creek Knolls Circle
Cambridge Security Services Corp                 Grapevine, TX 76051-0000
90 Mulberry Street
Newark, NJ 07102-0000                            Candipots Inc. DBA Rhoda's Rentals
                                                 1206 Valencia Lane
                                                 Auburndale, FL 33823-2364



                                           - 129 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 131 of 268



Can't Stomach Cancer                              Carla Miranda
Donations                                         307 Scholes Street
6919 W. Broward Blvd                              Apt #103
#309                                              Brooklyn, NY 11206-0000
Plantation, FL 33317-0000
                                                  Carlos Alazraqui
Canterbury Baseball, LLC                          710 Bair Island Road #304
7950 Freedom Way                                  Redwood, CA 94063-0000
Florence, KY 41042-0000
                                                  Carol A Koepke
Canterbury Baseball, LLC DBA Florence Fr          W 1416 County Road F
7950 Freedom Way                                  Campbellsport, WI 53010-0000
Florence, KY 41042-0000
                                                  Carol Knight dba Knights Tent & Party Re
Cara F. Hyson                                     1888 Harwood Drive
P.O. Box 6057                                     Oxford, MI 48371-0000
2500 Main Street
Lawrenceville, NJ   08648-0000                    Carol Livoti, MD
                                                  121 E. 60th Street
Cardboard Cutouts - Tywalten Standups             Suite 2C
2400 East Main Street                             New York, NY 10022-0000
Suite 103-246
St. Charles, IL 60174-0000                        Carolina Raptor Center, Inc.
                                                  PO Box 16443
Careccia, Christopher J.                          Charlotte, NC 28297-0000
29 Madison Ave
New Providence, NJ 07974-0000                     Caroline County Sheriffs Office
                                                  PO Box 447
Carey P. Kells dba High Gain Communicati          Bowling Green, VA 22427-0000
201 Susquehanna Street
Toms River, NJ 08755-0000                         Caroline Giovannetti
                                                  4436 Chickasaw Road
Cargo Equipment Corp.                             Memphis, TN 38117-0000
13700 George bush Court
Huntley, IL 60142-0000                            Caroline High School
                                                  19155 Rogers Clark Blvd
Carl Bolm                                         Linford, VA 22514-0000
2451 Schuetz Road
Maryland Heights, MO   63043-0000                 Carpet World of Springville, Inc.
                                                  67 East Main Street
Carl Carter Jr.                                   Springville, NY 14141-0000
11550 Oakhurst Lane
Woodbridge, VA 22192-0000                         Carretta USA Inc
                                                  400 Valley Road
Carl Falish                                       Suite 104
5412 Middleton Road                               Mt Arlington, NJ    07856-0000
Durham, NC 27713-0000
                                                  Carrie Lynn Collins
Carl Smith                                        3507 Ocean Beach Road
450 N. Broadway Avenue                            Clark Lake, MI 49234-0000
Bartow, FL 33830-0000
                                                  Cartee-Berry & Associates, LLC
Carl William Rice                                 291 - A West Cheves Street
472 Fourth Street S                               Florence, SC 02951-0000
Bayport, MN 55003-0000




                                           - 130 -
            Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 132 of 268



Cartera Commerce, Inc.                        Cassidy Lance
One Cranberry Hill                            546 Blue Cypress Drive
Suite 203                                     Groveland, FL 34736-0000
Leington, MA 02421-0000
                                              Cassidy Watton dba Cassidy Watton Inc.
Caruso Turley Scott, Inc.                     6000 Collins Ave
1215 W. Rio Salado Parkway                    Apt #134
Suite 200                                     Miami Beach, FL 33140-0000
Tempe, AZ 85281-0000
                                              Catalpa Special Inspections Inc.
Casa Di Amore LLC                             1270 Broadway
2850 Dickens Drive                            Suiite 808
Las Vegas, NV 89121-0000                      New York, NY 10001-0000

Cascade Fire Department                       Catchlight
501 Milwaukee Avenue                          55 Washington St #655
Cascade, WI 53011-0000                        Brooklyn, NY 11201-0000

Cascade Ventures United LLC                   Catherine Lee
dba ABC Cleanup Services                      26 East Wheeling Street
PO Box 50551                                  Baltimore, MD 21230-0000
Bellevue, WA 98015-0000
                                              Catherine Marsha Sykes
Casella Waste                                 406 Paddle Creek Drive
Management of Massachusettes, Inc             Midlothian, VA 23113-0000
49 Sword Street
Auburn, MA 01501-0000                         Catrice Cook dba CND's Chicken on a Stic
                                              6409 SE 55th
CASELLA WASTE SERVICES, INC                   Oklahoma City, OK 73135-0000
25 GREEN HILL LANE
RUTHLAND, VT 05701-0000                       Cause Marketing Forum Inc
                                              63 Overlook Place
CaseStack Inc                                 Rye, NY 10580-0000
3000 Ocean Park Blvd
Suite 1000                                    CBK Lodge LP dba Camelback Lodge and Ind
Santa Monica, CA 90405-0000                   193 Resort Drive
                                              Tannersville, PA 18372-0000
Casey A. Bly
2860 Mabee Rd                                 CBS Networks Inc. dba CBS Sports Network
Ontario, OH 44906-0000                        555 West 57th Street
                                              Eighteenth Floor
Casey Johnson                                 New York, NY 10019-0000
615 N. Ward Road
Midlothian, TX 76065-0000                     CBS Radio Inc
                                              1271 Avenue of the Americas
Cassandra J. Woronka                          New York, NY 10020-0000
715 Bayview Ave NE
Palm Bay, FL 32905-0000                       CCAA Management Series,LLC
                                              dba BVR Waste & Recycling dba BCS
Cassandra Page                                8825 Stewarts Meadow
617A Westview Drive                           College Station, TX 77845-0000
Lebanon, TN 37087-0000
                                              CCAV
Cassandra Seland                              1885-A Porter Lake Dr.
356 N. Fox Chase Point                        Sarasota, FL 34240-0000
Longwood, FL 32779-0000




                                       - 131 -
            Case 20-10036-CSS   Doc 42-1      Filed 02/12/20   Page 133 of 268



CDW LLC dba CDW Direct LLC, CDW Direct           Chandler Clarke dba TID, LLC
300 N Milwaukee Avenue                           273 16th Street
Venon Hills, IL 60061-0000                       Apt. 505
                                                 Jersey City, NJ 07310-0000
CEC Corporation
4555 West Memorial Road                          Chanin Joseph Klontz
Oklahoma City, OK 73142-0000                     28466 Century Court NW
                                                 Isanti, MN 55040-0000
Cecil Roland Coit
904 Sheffield                                    Chapter 2 Development Inc.
Auburn Hills, MI 48326-0000                      4424 Peytonsville Road
                                                 Franklin, TN 37064-0000
Central Coast Industries Inc
2122 Hutton Road                                 Charles A. Cosby
Nipomo, CA 93444-0000                            510 Cosby Rd.
                                                 Washington, GA 30673-0000
Central Texas Valet, LLC
PO Box 2644                                      Charles Adam Gill
Austin, TX 78768-0000                            2236 Weston Way
                                                 Maysville, KY 41056-0000
Century Construction Inc
34 Kenton Lands Rd                               Charles Allen Ates
Erlanger, KY 41018-0000                          6098 Jeff Ates Road
                                                 Milton, FL 32583-0000
CERA Sports Corporation
3989 South 525 East                              Charles City County Department of Develo
Columbus, IN 47203-0000                          10900 S. Courthouse Road
                                                 Charles City, VA 23030-0000
Cerami Associates Inc.
404 Fifth Avenue                                 Charles City County Office of the Sherif
New York, NY 10018-0000                          10780 Courthouse Road
                                                 PO Box 87
Cervino, Maria E.                                Charles City, VA 23030-0000
830 Monroe Street
Apt 4H                                           Charles E. McCall Jr.
Hoboken, NJ 07030-0000                           8157 Stonelick
                                                 Maysville, KY 41056-0000
CFS Steel Company
650 E. 132nd Street                              Charles G. Miller
Bronx, NY 10454-0000                             6936 Middleway Pike
                                                 Kearneysville, WV 24430-0000
Chadwick Trammell
8601 Summitview                                  Charles Haley Harper III
Yakima, WA 98908-0000                            452 Maplewood Lane
                                                 Acworth, GA 30101-0000
Chairs for Affairs Party Rentals, Inc
357 N Babcock Street                             Charles J. Nolet
Melbourne, FL 32935-0000                         512 W. 134th St. Apt. 51
                                                 New York, NY 10031-0000
Chamber of Commerce of Greater West Ches
119 North High Street                            Charles Joseph Aldean
West Chester, PA 19380-0000                      3475 Cherry Lane
                                                 Unit F
Champion Rentals, Inc.                           Woodbury, MN 55129-0000
PO Box 2352
Cypress, TX 77410-0000                           Charles Mothershed
                                                 935 Beasleys Bend Road
                                                 Lebanon, TN 37087-0000



                                           - 132 -
            Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 134 of 268



Charles Purnell                               Cheng Cohen LLC
141 Meridian Blvd                             311 N. Aberdeen Street
Arverne, NY 11692-0000                        Suite 400
                                              Chicago, IL 60607-0000
Charles W Anderlitch
260 Lange Creek Drive                         Cherish Patterson dba C&J Mobile Service
Spring Branch, TX 78070-0000                  300 North 4th Street
                                              St. Louis, MO 63112-0000
Charles Wright
2108 Harry Byrd Hwy                           Chicago Area Interpreter Referrel Servic
Darlington, SC 29532-0000                     4801 Southwick Drive
                                              Ste 610
Charlie Struve dba Struve Automotive          Matteson, IL 60443-0000
927 Eloise Avenue
South Lake Tahoe, CA 96150-0000               Chicago Title Land Trust Company: Trust
                                              1 East Union Street
Charlie Wirene                                Seneca, IL 61360-0000
382 Pacific St #2
Brooklyn, NY 11217-0000                       Chicagoland Speedway Corporation
                                              500 Speedway Boulevard
Charlie's Buns n Stuff                        Joliet, IL 60433-0000
PO Box 46171
Seattle, WA 98146-0000                        Chicagoland Transportation Solutions, In
                                              PO Box 3278
Charlotte Bender                              Barrington, IL 60011-3278
1705 19th Street
Boulder, CO 80302-0000                        Chick Of All Trades, LLC dba COAT Flaggi
                                              2711 SE Milwaukie Ave
Charter Communications Holdings, LLC          Portland, OR 97202-0000
12405 Powerscourt Drive
St. Louis, MO 63131-3674                      Children Hospital Los Angeles
                                              4650 Sunset Blvd
Charter Township of Oxford                    MS 29
300 Dunlap Road                               Los Angeles, CA 90027-0000
Oxford, MI 48371-0000
                                              Chloe Reisen
Chase A Watts                                 21741 Entrado Drive
424 Market Street                             Topanga, CA 20290-0000
Apt4
Yorkville, OH 43971-0000                      Choose Franklin
                                              PO Box 304
Chattahoochee Hills Eventing                  Franklin, NH 03235-0000
GAIA, LLC
PO BOx 4449                                   Chris Barton Harris
Dalton, GA 30719-0000                         14883 Tangerine Blvd
                                              Loxahatchee, FL 33470-0000
Chavers Machine Shop, Inc
5901 Pamela Drive                             Chris LaBarre dba The Panni People LLC
Milton, FL 32570-0000                         7830 South 64th Lane
                                              Laveen, AZ 85339-0000
Chelsea L Burrell
808 Columbus Ave                              Chris Wachowiak dba Kryptonite Ltd
23D                                           308 W State Street
New York, NY 10025-0000                       Suite 110
                                              Rockford, IL 61101-0000




                                       - 133 -
            Case 20-10036-CSS   Doc 42-1     Filed 02/12/20   Page 135 of 268



Chrisa Dustman                                  Christopher Carravallah
63 South Central Ave                            5430 Ardmore Drive
Sicklerville, NJ 08081-0000                     Winter Park, FL 32792-0000

Christian Brown-Johnson                         Christopher D. Majeski
3005 Woodlands Court                            14664 197th Court N
Madera, CA 93637-0000                           Marine, MN 55047-0000

Christian Clark dba AWOL Fitness LLC            Christopher Floyd
2459 Fruitvale Ave                              6740 Hayvenshurst Ave
Apt #4                                          27
Bakersfield, CA 93308-0000                      Van Nuys, CA 91406-0000

Christian Delivery & Chair Service, Inc         Christopher John Orendach Hurtado
dba Christian Party                             130 Malabar Road SE
18 Clinton Drive                                Palm Bay, FL 32909-0000
Hollis, NH 03049-0000
                                                Christopher Johnson
Christian Hardy                                 1011 N Laurel Ave
11400 Skipwith Lane                             Apt 5
Potomac, MD 20854-0000                          West Hollywood, CA 90046-0000

Christian Offord                                Christopher L. Anderson
10274 Briar Forest Drive                        2596 B. Ragsdale Road
Houston, TX 77042-0000                          Columbia, TN 38401-0000

Christiana Kris Rugloski                        Christopher Lee
1277 Plantation Drive W                         36-28 209th Street
APT 106                                         Bayside, NY 11361-0000
Lake Jackson, TX 77566-0000
                                                Christopher M Richards
Christie Sayer                                  PO Box 110486
36 Kenouse Road                                 Palm Bay, FL 32911-0000
Newfoundland, NJ   07435-0000
                                                Christopher M Tekirian
Christina West                                  dba CMT Sound Systems LLC
130 Malabar Road                                310 Colfax
Palm Bay, FL 32907-0000                         Building E
                                                Clinton, NJ 07013-0000
Christine M. Neal
817 Madian Lane Drive                           Christopher Michael Mann
Lebanon, TN 37087-0000                          4225 Pace Lane
                                                Pace, FL 32571-0000
Christine Marie Bolotte
217 Louisa Street                               Christopher Morgan White
Plattenville, LA 70393-0000                     548 First Street
                                                Inwood, WV 25428-0000
Christine Robinson
102 Quarry View Drive                           Christopher Panlilio
Morgantown, PA 19543-0000                       255 First Street
                                                Jersey City, NJ 07302-0000
Christoper Ryan Carter
8011 Eagle Street                               Christopher Parnell
Mt. Pleasant, NC 28124-0000                     7 Winnetou Road
                                                White Plains, NY 10603-0000
Christopher Alan Hyler
5755 East Milton Road
Milton, FL 32583-0000



                                          - 134 -
            Case 20-10036-CSS   Doc 42-1      Filed 02/12/20   Page 136 of 268



Christopher Paul Snedeker                        Cision US Inc
130 Malabar Road                                 130 East Randolph Street
Palm Bay, FL 32907-0000                          7th FL
                                                 Chicago, IL 60601-0000
Christopher Richard Measimer
2782 Alish Trail                                 City Hunt LLC
Mt. Pleasant, NC 28124-0000                      10975 Hutchenson Ferry
                                                 Palmetto, GA 30268-0000
Christopher Stanziano - South Amherst PD
103 West Main Street                             City of Arlington, Texas
South Amherst, OH 44001-0000                     101 S. Mesquite Street
                                                 Arlington, TX 76010-0000
Christopher Valente
172 Marlton Road                                 City of Bastrop, TX
Pilesgrove, NJ 08098-0000                        PO Box 427
                                                 Bastrop, TX 78602-0000
Christopher Wheeler
18 Snow Woods Court                              City of Black Diamond
The Woodlands, TX 77385-0000                     24301 Roberts Drive
                                                 PO Box 599
Christopher William Jones                        Black Diamond, WA 98010-0000
2415 Grant Road
Grant, FL 32949-0000                             City of Chattahoochee Hills
                                                 6505 Rico Road
Christopher Worley                               Chattahoochee Hills, GA 30268-0000
1097 County Road 428
Rockdale, TX 76567-0000                          City of Frederick Police Department - An
                                                 100 West Patrick Street
CID Entertainment LLC                            Frederick, MD 21702-0000
1 South Broad Street
Suite 1710                                       City of Frederick Police Department - Gr
Philadelphia, PA 19107-0000                      100 West Patrick Street
                                                 Frederick, MD 21702-0000
Cigna Healthcare
PO Box 644546                                    City of Frederick Police Department - Ju
Pittsburg, PA 15264-0000                         100 West Patrick Street
                                                 Frederick, MD 21702-0000
Cimpress USA Inc. dba National Pen Co.,
12121 Scripps Summit Drive                       City of Frederick Police Department - Ke
Suite 200                                        100 West Patrick Street
San Diego, CA 92131-0000                         Frederick, MD 21702-0000

Cindy J Wright                                   City of Frederick Police Department - Ma
19700 Bridgewater Road                           100 West Patrick Street
Salesville, OH 43778-0000                        Frederick, MD 21702-0000

Cintas Corporation No. 2                         City of Frederick Police Department - Mi
dba Cintas Corporation No. 2                     100 West Patrick Street
FIRE                                             Frederick, MD 21702-0000
2929 W. Clarendon Ave
Phoenix, AZ 85017-0000                           City of Frederick Police Department - Pa
                                                 100 West Patrick Street
Circle Graphics, Inc.                            Frederick, MD 21702-0000
120 9th Avenue
Longmont, CO 80501-0000                          City of Frederick Police Department - Se
                                                 100 West Patrick Street
                                                 Frederick, MD 21702-0000




                                           - 135 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 137 of 268



City of Henderson Development Services C         City of Palm Bay
240 S. Water Street                              120 Malabar Road SE
PO Box 95050                                     Palm Bay, FL 32907-0000
Henderson, NV 89009-5050
                                                 City of Palm Desert
City of Hialeah                                  73-510 Fred Waring
501 Palm Avenue                                  Palm Desert, CA 92260-0000
Hialeah, FL 33010-0000
                                                 City of Santa Clarita
City of Hugo                                     23290 Valencia Blvd
14669 Fitzgerald Ave North                       Suite 300
Hugo, MN 55038-0000                              Santa Clarita, CA 91355-2196

City of Joliet                                   City of Sedalia
Joliet Police Department                         200 South Osage
150 West Jefferson St                            Sedalia, MO 65301-0000
Joliet, IL 60432-0000
                                                 City of Smithville
City of Laconia                                  106 Royston
45 Beacon Street East                            Smithville, TX 78957-0000
Laconia, NH 03246-0000
                                                 City of Washington GA
City of Lake Elsinore                            212 Court Street
130 S Main Street                                Washington, GA 30673-0000
Lake Elsinore, CA 92530-0000
                                                 City of Westbrook
City of Los Angeles - Department of Recr         2 York Street
1800 Ocean Front Walk                            Westbrook, ME 04092-0000
Venice, CA 90291-0000
                                                 CJ Sullivan Construction Co Inc
City of Mansfield                                28 Station Street
30 North Diamond Street                          Manalapan, NJ 07726-0000
Mansfield, OH 44902-0000
                                                 CL Atlanta
City of Mesa                                     115 Martin Luther King Jr Dr
Revenue Collections Operations                   Suite 301
PO Box 16350                                     Atlanta, GA 30303-0000
Mesa, AZ 85211-0000
                                                 Clarence J. Venne, LLC
City of Mesa-Licensing Office                    7900 N. Radcliffe St. BLDG 101A
55 North Center Street                           Bristol, PA 19007-0000
PO Box 1466
Mesa, AZ 85211-0000                              Clarity Media Group
                                                 166 5th Avenue
City of Midlothian dba Midlothian DFW's          6th Floor
104 West Avenue E                                New York, NY 10010-0000
Midlothian, TX 76065-0000
                                                 Clark County School District
City of Ontario                                  dba Foothill High School Varsit
555 Stumbo Rd                                    2832 East Flamingo Road
Ontario, OH 44862-0000                           Las Vegas, NV 89121-0000

City Of Oshkosh                                  Clark County, Nevada
215 Church Avenue                                dba Clark County Dept. of Air Quality
Oshkosh, WI 54901-0000                           500 Grand Central Pkwy
                                                 Las Vegas, NV 89155-0000




                                           - 136 -
            Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 138 of 268



Class Produce Group LLC                         Clement M. Gray III
8477 Dorsey Run Road                            7834 Birch Court
Box 2003                                        Warrenton, VA 20187-0000
Jessup, MD 20794-2003
                                                Clients First Incorporated
Classic Bulk Transport                          84 Elm Street
8545 Lincoln Green Drive                        Westfield, NJ 07090-0000
Kunkletown, PA 18058-0000
                                                Cliff Hall
Claudia Prieto                                  100 North Governors Cove
29388 Hartford Drive                            Hendersonville, TN 37075-0000
Menifee, CA 92584-0000
                                                Clifford Alejandro
Claudia Ruiz                                    50 Wayne Street
2619 Pico Meadow Court                          Unit 2
Spring, TX 77386-0000                           Jersey City, NJ 07302-0000

Claudio D Rietti                                Clifford L. Stottzfus
65 Ocean Ave                                    201 Friends Meetinghouse Road
#5D                                             Cochranville, PA 19330-0000
Brooklyn, NY 11225-0000
                                                Clifford Stoltzfus dba Green Valley Farm
Clayton Michael Gullat                          201 Friends Meetinghouse Road
107 Elm Street                                  Cochranville, PA 19330-0000
Pensacola, FL 32506-0000
                                                Clifton Graves
Clayton Michael Smith                           130 Malabar Road
5200 Spring Street                              Palm Bay, FL 32907-0000
Pace, FL 32571-0000
                                                Clinton Coley
CLD Consulting Engineers                        531 N. Louise Street
540 Commercial Steet                            Suite 301
Manchester, NH 03101-0000                       Glendale, CA 91206-0000

Clean Vibes LLC                                 Clinton Thomas Adams
PO Box 1268                                     16424 Tres Beau Lane
Marion, NC 28752-0000                           East Lansing, MI 48823-0000

Clear Channel Broadcasting Inc.                 Close Contact, LLC
PO BOX 406372                                   DBA Close Contact Security Services
Atlanta, GA 30384-0000                          2833 S Colorado Blvd
                                                Denver, CO 80222-0000
Clear Choice Photos & Video Booths LLC
29299 Clemens Road                              Closerware LLC
C1                                              30 B Vreeland Road
Westlake, OH 44145-0000                         PO Box 674
                                                Florham Park, NJ 07932-0000
Clear Freight Inc.
880 Apollo Street                               Cloud Sherpas
Suite 101                                       3525 Piedmont Road NE
El Segundo, CA 90245-0000                       Building 8 Suite 710
                                                Atlanta, GA 30305-0000
Clear Springs Land Company, LLC
PO Box 1070                                     CLP Resources Inc.
Bartow, FL 33831-0000                           P.O. Box 2910
                                                Tacoma, WA 98401-0000




                                         - 137 -
              Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 139 of 268



Club Texting, Inc.                              Coffman Truck Sales, Inc.
100 Hudson Street                               1149 W. Lake Street
Hoboken, NJ 07030-0000                          PO Box 151
                                                Aurora, IL 60507-0000
Cludo Inc.
100 S. Washington Ave                           Cogency Global Inc.
Suite 510                                       10E 40th Street
Minneapolis, MN 55401-0000                      10th Floor
                                                New York, NY 10016-0000
CMS Innovative Consultants
8 Fletcher Place                                Cogency Global Inc. as Registered
Melville, NY 11747-0000                         Agent for ATMedia Investor LLC
                                                850 New Burton Road
CMTLA inc                                       Suite 201
7419 Bothwell Road                              Dover, DE 19904-0000
Reseda, CA 91355-0000
                                                Cogency Global Inc. as Registered Agent
CNW Property, LLC                               for ATMedia Investor LLC
PO Box 973                                      850 New Burton Road
Unionville, PA 19375-0000                       Suite 201
                                                Dover, DE 19904-0000
Coach USA
160 S Route                                     Cogent Communications, Inc.
17 North                                        PO Box 791087
Paramus, NJ   07652-0000                        Baltimore, MD 21279-1087

Coast to Coast Models & Events LLC              CohnReznick, LLP
1843 Wisconsin Ave.                             1301 Avenue of Americas
Palm Harbor, FL 34683-0000                      New York, NY 10019-0000

Coburn Morgan                                   Cole Engineering Solutions PSC
8560 Watkins Road                               356 Dry Creek Road
Ostrander, OH 43061-0000                        Cold Spring, KY 41076-0000

Coda Search LLC                                 Cole Schotz PC
260 Madison Avenue                              25 Main Street
8th Floor                                       Court Plaza North
New York, NY 10016-0000                         Hackensack, NJ 07602-0000

Code Complete Software, Inc                     Colin L. Duffus dba Drop Tine Production
dba Jetbrains Americas                          694 Mullock Road
1900 South Norfolk St                           Port Jervis, NY 12771-0000
Suite 350
San Mateo, CA 94403-0000                        Colin Michael Martin
                                                1514 Deerfield Drive
Cody Hudson                                     Snowmass Village, CO    81615-0000
1938 E Paso Fino Drive
Queen Creek, AZ 85140-0000                      Colin Parker dba Tech Works
                                                243 Blanton Avenue
Cody Lee Cheatham                               Nashville, TN 37210-0000
9500 FM 621
Staples, TX 78670-0000                          Colin Shadwell
                                                206 Nicole Way
Cody Stine                                      Bastrop, TX 78602-0000
138 Glenwood Drive
Shelby, OH 44875-0000                           Colliers Int'l Holdings (USA), Inc.
                                                666 Fifth Avenue
                                                New York, NY 10103-0000



                                         - 138 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 140 of 268



Collin Jeffrey Helm                              Commonwealth Events Company
826 W Michigan Avenue                            Commonwealth Tent Rentals, Inc
Adrian, MI 49221-0000                            5611 -C Greendale Road
                                                 Richmond, VA 23228-0000
Collins Asset Management Corp.
dba Signs N Frames                               Commonwealth Fairs and Events, Inc.
302 West Bridge Street                           13191 Dawn Blvd.
Elkodes, IA 52043-0000                           Doswell, VA 23047-0000

Collins Building Services Inc.                   Commonwealth of Pennsylvania
24-01 44th Road, 15th Floor                      Dept. of SBC & Charitable Org.
Long Island City, NY 11101-0000                  Po Box 8722
                                                 Harrisburg, PA 17105-8722
Colorado Department of Revenue
1375 Sherman St                                  Commonwealth of Virginia
Denver, CO 80261-0008                            dba Department of State Police
                                                 PO Box 27472
Colorado State Treasurer                         Richmond, VA 23261-0000
Unemployment Insurance Employer Services
PO Box 46541                                     Community Disposal Service, Inc
Denver, CO 80201-6541                            2672 Reynolds Circle
                                                 Columbiaville, MI 48421-0000
Colorado Tent and Events, Inc
817 Little Beaver Trail                          Community Fire Co. #1 of North Whitehall
PO Box 2150                                      4550 Old Packhouse Road
Silverthorne, CO 80498-0000                      PO Box 14
                                                 Schnecksville, PA 18078-0000
coloredge, Inc. (f/k/a Merisel, Inc.)
132 West 31st Street                             Companion Life Insurance Company
8th Floor                                        888 Veterans Memorial Highway
New York City, NY 00010-0001                     Suite 515
                                                 Hauppauge, NY 11788-2934
Columbia University Center for Career Ed
Center for Career Education                      Competitor Group, INC
2960 Broadway - MC 5727 East Campus LL           9477 Waples Street Suite 150
New York, NY 10027-0000                          San Diego, CA 92121-0000

Columbus Regional Hospital                       Complere Engineering Group, Inc.
2400 E. 17th Street                              4230 Kiernan Ave Ste. 210
PO Box 2129                                      Modesto, CA 95356-0000
Columbus, IN 47201-0000
                                                 Complete & Absolute Construction Company
Comcast Business                                 Ben Gaudiosi
PO Box 70219                                     47 Springbrook Road East
Philadelphia, PA   19176-0219                    Montville, NJ 07045-0000

Commissioner of Revenue                          Compliance Signs, Inc.
PO Box 531                                       56 Main Street
Bowling Green, VA 22427-0000                     Chadwick, IL 61014-0000

Commissioner of Taxation and Finance             Computero Inc
MCTMT Processing Center                          101-14 67 Drive, Suite LL
PO Box 4134                                      Forest Hills, NY 11375-0000
Binghamton, NY 13902-4134
                                                 Con Edison
                                                 JAF Station, PO Box 1702
                                                 New York, NY 10116-0000




                                           - 139 -
            Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 141 of 268



Condensed LLC                                   Cooper Lake Farms, Inc
1109 Prospect Ave #3A                           205 Currie Road
Brooklyn, NY 11218-0000                         Slippery Rock, PA 16057-0000

Conductor, Inc.                                 Cooper Media, Inc.
2 Park Avenue                                   6 Morgan Lane
15 Floor                                        Warwick, NY 10990-0000
New York, NY 10016-0000
                                                Copper Todd LLC dba Hometown Poke
Conley Associates, Inc.                         206 Rochambeau Ave
40 Warren Street                                Unit 1
#346, 3rd Floor                                 Providence, RI 02906-0000
Boston, MA 02129-0000
                                                COPY CENTER
Conn Warehouse & Logistics LLC                  11429 DONNER PASS ROAD
PO Box 16641                                    TRUCKEE, CA 96161-0000
West Haven, CT 06516-0000
                                                Cordell Mansfield
Connections to Success                          566 Dew Point Ave
3000 Little Hills Expressway                    Carlsbad, CA 92011-0000
Suite 102
St Charles, MO 63301-0000                       Cordon, Adolfo
                                                529 E 81st Street
Conner Ventures LLC                             Apt 4A
dba Handy Can Sanitation Services               New York, NY 10028-0000
PO Box 18283
Tampa, FL 33679-0000                            Core Medical Systems LLC
                                                11 Riverside Drive, 5U East
Construction Rent A Fence                       New York, NY 10023-0000
P.O. Box 65
Thrall, TX 76578-0000                           Corentin Soibinet dba Soibinet Productio
                                                3912 Gosman Ave
Contemporary Services Corporation               Sunnyside, NY 11104-0000
17101 Superior Street
Northridge, CA 91325-0000                       Corey LaPlante
                                                867 2nd Street SE
Continental Lift Truck                          Forest Lak, MN 55025-0000
127-18 Foch Blvd.
South Ozone Park, NY 11420-0000                 Corey R. Crane dba Texas Protection Serv
                                                2100 S. Great Southwest Pkwy #104
Contract Sweeping Services                      Grand Prairie, TX 75051-0000
PO Box 28010
San Jose, CA 95159-0000                         Corinna Coffin
                                                765 E. 400 South
Control Waste Services LLC                      Apt #14-23
15912 Hollister Street                          Salt Lake City, UT    84102-0000
Houston, TX 77066-0000
                                                Corinne Kohlen
Con-Way Multimodal Inc.                         1442 Prefumo Canyon Road
2211 Old Earhart Rd. Suite 100                  San Lius Obispo, CA 93405-0000
Ann Arbor, MI 48105-0000
                                                Cornerstone Apostolic Church UPCI
Cooking By the Book                             6829 Sears Road
13 Worth Street                                 Horton, MI 49246-0000
New York, NY 10013-0000




                                         - 140 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 142 of 268



Cornerstone Parking Group, Inc                   County of Sheboygan
1960 Cliff Lake Road                             Finance Department
Suite 129-402                                    508 New York Ave
St. Paul, MN 55122-0000                          Room 208
                                                 Sheboygan, WI 53081-0000
Corporate Essentials, LLC
2 Cranberry Road                                 County of Sonoma
Suite A2                                         585 Fiscal Drive
Parsippany, NJ 07054-0000                        Suite 100
                                                 Santa Rosa, CA 95403-0000
Corporation Division OR
255 Capitol St. NE, Suite 151                    Courtney Elizabeth Laderer
Salem, OR 97310-0000                             6904 Townline Road
                                                 North Tonawanda, NY 14120-0000
Corry Rebecca Mirante
H65 1/2 N. Orange Grove                          Covenant House
Los Angeles, CA 90046-0000                       5 Penn Plaza
                                                 New York, NY 10001-1810
Corsearch, Inc.
220 West 42nd Street                             Cowboy Meister
11th Floor                                       8921 Oakhill Ave. N.
New York, NY 10036-0000                          Stillwater, MN 55082-0000

Cory R Ellis                                     Cox Enterprises, Inc
259 South Linden Road                            dba Atlanta Journal Constitution
Mansfield, OH 44906-0000                         6205 Peachtree Dunwoody Road
                                                 Atlanta, GA 30328-0000
Cotapaxi Custom Design and Manufacturing
338 Hackensack Street                            Coyle & Company Graphics, Inc.
Carlstadt, NJ 07072-0000                         60 Plant Avenue
                                                 Suite 5
Country Club Services INC                        Hauppauge, NY 11788-0000
Tom Bryer
454 Morris Avenue                                Coyne Public Relations
Springfield, NJ 07081-0000                       5 Wood Hollow Road
                                                 Parsippany, NJ 07054-0000
Country Market Inc
dba Country Time Party Rentals                   Coyote Logistics LLC
747 Willis Road                                  960 North Point Parkway
Dallas, NC 28034-0000                            Suite 150
                                                 Alpharetta, GA 30005-0000
Country Thunder East LLC
730 Gallatin Pike N                              CP Holding LLC dba Classic Party Rentals
Madison, TN 37115-0000                           dba Brighter Events Rentals
                                                 901 W Hillcrest Blvd
County of Caroline, Virginia                     Inglewood, CA 90301-0000
233 W Broaddus Avenue
Bowling Green, VA 22427-0000                     CP Holding LLC dba Cp OpCo LLC
                                                 dba Ducky Bobs Event Special
County of Lenawee                                901 West Hillcrest Blvd
301 N Main Street                                Inglewood, CA 90301-0000
Adrian, MI 49221-0000
                                                 CR&R Incorporated
County of Nassau                                 11292 Western Avenue
1550 Franklin Avenue                             Stanton, CA 90680-0000
Mineola, NY 11501-0000




                                           - 141 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 143 of 268



Craftmen Trailer, LLC                            Cristina's, LLC dba Cristina's Cafe
3755 Mueller Road                                219 West King Street
St Charles, MO 63301-0000                        Strasburg, VA 22657-0000

Craftsmen Industries                             Criteo Corp.
3101 Elm Point Industrial Drive                  387 Park Avenue
St. Charles, MO 63301-0000                       12th Floor
                                                 New York, NY 10016-0000
Craig F Sorensen Construction Inc dba Wa
918 South 2000 West                              CRM Passport LLC
Syracuse, UT 84075-0000                          222 Broadway
                                                 Suite 2504
Craig h Hedley                                   New York, NY 10038-0000
10106 Hearthrock Ct
Henrico, VA 23237-0000                           CRM Science, Inc.
                                                 PO Box 345
Craig S Stevenson dba Northeast Security         Devault, PA 19432-0000
PO Box 907
19 Old Wolfeboro Road                            Cross Check Services
Alton, NH 03809-0000                             1264 Lanny Lane
                                                 PO Box 3713
Crazy Egg Inc                                    Olymoic Valley, CA 96146-0000
16220 Ridgeview Lane
La Mirada, CA 90638-0000                         Crowe, Hannah
                                                 16 Saxton Brook Drive
Creative Artists Agency                          Simsbury, CT 06070-0000
2000 Avenue of the Stars
Los Angeles, CA 90067-0000                       Crystal Anderson
                                                 172-14 133rd Avenue
Creative Circle, LLC                             #2E
5900 Wilshire Blvd.                              Jamaica, NY 11434-0000
11th Floor
Los Angeles, CA 90036-0000                       Crystal Caves Family Ent. LLC
                                                 389 West Main Street
Creekside Offroad Ranch Inc                      Millbury, MA 01527-0000
13580 Hwy 59
Splemdora, TX 77372-0000                         Crystal N. McKenzie
                                                 11033 Lost Lake Drive
Crimson Security Service, Inc.                   Apt #103
660 Fitzhugh Blvs                                Naples, FL 34105-0000
Suite 100
Smyra, TN 37167-0000                             Crystal Rodriguez
                                                 10826 Vista Bonita Drive
Cristian Umali dba Good As Gold                  Bakersfield, CA 93311-0000
30524 157th Place SE
Kent, WA 98042-0000                              Crystal Springs
                                                 PO BOX 660579
Cristina Espaillat dba Sculpere Studio L         Dallas, TX 75266-0000
253 N 2nd Street
Apt 1A                                           CSAA Waste Hauling Inc. DBA Bin There Du
Philadelphia, PA 19106-0000                      14 Chapel Hill Lane
                                                 Rockwall, TX 75032-0000
Cristina Fekula
323 7th Street                                   CT Corporation
Apt. 2                                           PO Box 4349
Brooklyn, NY 11215-0000                          Carol Stream, IL    60197-0000




                                           - 142 -
            Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 144 of 268



CTProComply                                     Cyber Coders, Inc.
8040 Excelsior Dr. Ste. 200                     File #54318
Madison, WI 53717-0000                          Los Angeles, CA 90074-4318

Culture Amp Inc                                 Cybercoders
13949 Ventura Boulevard                         Attn: Sheryl Dunlap
Suite 215                                       1000 Cummings Center
Sherman Oaks, CA 91423-0000                     Suite 206L
                                                Bevery, MA 01915-0000
Cumberland Stadium, Inc.
One Titans Way                                  D&M Vending Services, Inc.
Nashville, TN 37213-0000                        9634 Waltham Court
                                                Charlotte, NC 28269-0000
Cumberland Trail Fire District #4
142 South Marietta Street                       D.L. Porter, INC
St. Clairsville, OH 43950-0000                  5 Summit Lane
                                                Newnan, GA 30263-0000
Curb Intermediate Holdings, LLC
dba Curb Media, LLC                             D+D Events, Inc.
11-11 34th Avenue                               PO Box 100295
Long Island City, NY 11106-0000                 Nashville, TN 37224-0000

Curebit Inc. dba Talkable                       D24K Sound, LLC
475 Valencia Street                             1824 Germantown Avenue
Second Floor                                    Philadelphia, PA 19122-0000
San Francisco, CA 94103-0000
                                                DADCO, Inc dba RPP Containers
CURTIS LAMARR BROWN                             7365 East Kemper Road
P O BOX 871874                                  Cincinnati, OH 45259-0000
VANCOUVER, WA 98687-0000
                                                Daily Muse Inc.
Custom Sweat LLC                                1375 Broadway
2303 Whitestone Dr.                             20th Floor
Austin, TX 78745-0000                           New York, NY 10018-0000

Cutler Holland                                  Dakota Lindsay Hunt
19 Walker Street                                3012 1/2 N. Moorland Circle
Westborough, MA 01581-0000                      Grand Junction, CO 81504-0000

Cuyler H Walker                                 Dakota Rager
745 Wollaston Road                              351 Elm Street
PO Box 745                                      Gnadenhutten, OH    44629-0000
Unionville, PA 19375-0000
                                                Dale Penco
CVB, Inc. dba Malouf                            128 Fort Washington Ave
1525 West 2960 South                            Apt 9E
Nibley, UT 84321-0000                           New York, NY 10032-0000

CWH Ventures LLC DBA Exubrancy                  Dale Smith dba Family A Fair Inc
131 Varick Street #1008                         27281 Big Springs Ranch Road
New York, NY 10013-0000                         Hemet, CA 92544-0000

Cybba, Inc.                                     Dallas Basketball LTD dba Dallas Maveric
580 Harrison Avenue                             1333 North Stemmons
Suite 401                                       Suite 105
Boston, MA 02118-0000                           Dallas, TX 75207-0000




                                         - 143 -
            Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 145 of 268



Damco USA Inc                                  Daniel BoJames Tyler
180 Park Avenue                                337 Herkimer Street
Florham Park, NY   07932-0000                  Apt 3R
                                               Brooklyn, NY 11216-0000
Damian Jones dba DSec Security Inc
219 Buena Vista Avenue                         Daniel C. Arena
1st Floor                                      277 Halsey Street
Yonkers, NY 10701-0000                         Apt. 2R
                                               Brooklyn, NY 11216-0000
Damion Trombley dba Mudrunfun, LLC
1180 Savannah Street SE                        Daniel Costan
Palm Bay, FL 32909-0000                        901 Anderson Wood Way
                                               Rio Linda, CA 95673-0000
Damron Production Services
dba American Hi Tech Rentals                   Daniel Felitte
373 Canterbury Road South                      81 Joy Street - Apt #1
Shakopee, MN 55379-0000                        Boston, MA 02114-0000

Dan Janssen dba Lincoln Designs Co             Daniel Flores
2131 Donahue Drive                             2301 Dogwood Drive
El Cajon, CA 92019-0000                        Apt. 304
                                               Fredericksburg, VA    22401-0000
Dan Klores Communications, LLC
261 Fifth Avenue, 2nd floor                    Daniel Harris
New York, NY 10016-0000                        438 Westgate Road
                                               Cookeville, TN 38501-0000
Dan L. Paster
1705 19th Street                               Daniel Henry
Boulder, CO 80302-0000                         29 Hurlcroft Ave
                                               Medford, MA 02155-0000
Dan Ratner
50 Stonehedge Drive                            Daniel Hunter
East Windsor, NJ 08520-0000                    115 East 9th street
                                               Apt 9A
Dan Weinberg                                   New York, NY 10003-0000
22 River Terrace
Apt 8Q                                         Daniel J. Rannebarger
New York, NY 10282-0000                        324 Josaphat Way
                                               Columbus, OH 43213-0000
Dana A. Shields
130 Malabar Road SE                            Daniel Joseph Ellis
Palm Bay, FL 32907-0000                        3250 Lowry Blvd SE
                                               Palm Bay, FL 32909-0000
Dana Baardsen
10 Valley View Drive                           Daniel L. Barnhill
Chester, NJ 07930-0000                         8787 Denman Road
                                               Lexington, OH 44904-0000
Dana L Allen
3131 Connecticut Ave NW                        DANIEL L. PEHLKE
2402                                           P O BOX 821 / 203 WALLACE
Washington, DC 20008-0000                      RUFUS, OH 97050-0000

Danette Pollitt                                Daniel La Placa
2900 Katy Trail Ave                            PO Box 12225
Sedalia, MO 65301-0000                         Brooksville, FL    34603-0000




                                        - 144 -
            Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 146 of 268



Daniel M Beck                                 Danny Dietz Foundation
1460 East Fairview Street                     8081 S. Broadway
Chandler, AZ 85225-0000                       Suite C
                                              Littleton, CO 80122-0000
Daniel Mather
31 Pillsbury Way                              Danny's Recycling & Hauling, Inc
Huntington, VT 05462-0000                     2225 Avocado Ave
                                              Melbourne, FL 32935-0000
Daniel Matuszczak
dba Red Pointer Productions                   Daphne Matalene
1106 N. Garfield Ave                          160 East 97th Street
DeLand, FL 32724-0000                         Apt #4B
                                              New York, NY 10029-0000
Daniel Meybin
14411 Newgate Road                            Darla Elizabeth O-Connor
Midlothian, VA 23113-0000                     2603 Alpine Drive
                                              Woodbury, MN 55125-0000
Daniel Oh
3276 West 6th Street                          Darla L. Besley
Los Angeles, CA 90020-0000                    525 Sunnyhill Drive
                                              Jonesboro, GA 30238-0000
Daniel Robert Kelly
446 E. 78th st                                Darling and Daughters
apt #12                                       10718-A Liberty Road
New York, NY 10075-0000                       Frederick, MD 21701-0000

Daniel Silva                                  Darren L. Hull
Daniel Silva                                  6078 Clift Pike
2220 E. Ward Terrace                          Mayslick, KY 41055-0000
Anaheim, CA 92806-0000
                                              Darrick Dunn
Daniella Sloane                               17011 Harpers Way
530 S 2nd Street                              Unit #812
Apt 736                                       Conroe, TX 77385-0000
Philadelphia, PA   19147-0000
                                              Darun Barazanchy
Danielle Kissel                               108 Chinaberry Lane
7001 Interbay Blvd                            Cayce, SC 29033-0000
Unit 229
Tampa, FL 33616-0000                          Daryl Fling dba Fling Towing Inc.
                                              180 Hurley Road
Daniels Burger dba Lopez Burgers LLC          Coatesville, PA 19320-0000
161-199 Texas 95 Frontage
Elgin, TX 78621-0000                          Data Access, Inc.
                                              999 McBride Avenue, Suite C205
Daniels Electric Corporation                  Woodland Park, NJ 07424-0000
PO Box 7412
Gilford, NH 03247-0000                        Data Cubed LLC dba Datacubed Health
                                              15 Metrotech Centre
Dank Eats LLC                                 Suite 7
13964 Pagehurst Ter                           Brooklyn, NY 11201-0000
Midlothian, VA 23113-0000
                                              Data Cubed, LLC
Danny Allen                                   d/b/a Datacubed Health
680 Burnt House Road                          15 Metrotech Center
Lebanon, TN 37090-0000                        7th Floor
                                              Brooklyn, NY 11201-0000




                                       - 145 -
            Case 20-10036-CSS   Doc 42-1    Filed 02/12/20   Page 147 of 268



Daversa Partners                               David Nevins
215 Park Avenue South                          129 Menahan Street
Suite 1713                                     Apt 2L
New York, NY 10013-0000                        Brooklyn, NY 11221-0000

Dave's Septic Service Inc                      David Nicholas Photography
PO Box 5193                                    David Nicholas
Manchester, NH 03108-0000                      380 Larch Avenue
                                               Bogota, NJ 07603-0000
David A. Vaughn Jr.
1660 Mt. Major Hwy                             David Pearlman
Alton, NH 03810-0000                           David Pearlman
                                               3 Mile Point
David Alan Crist                               Meredith, NH 03253-0000
N5556 950th Street
Ellsworth, WI 54011-0000                       David Post
                                               14 Bank Street
David Cho                                      Bennington, VT    05201-0000
4208 Stepney Drive
Gainesville, VA 20115-0000                     David R Harris
                                               130-19 145th Street
David Christopher Ochs Jr.                     Jamaica, NY 11436-0000
33139 3rd Ct. SW
Federal Way, WA 98023-0000                     David Ransom Porter
                                               130 Malabar Road SE
David Costan                                   Palm Bay, FL 32907-0000
8945 Autumnwood Drive
Sacramento, CA 95826-0000                      David Rundle
                                               DBA David Rundle Pump and Water Systems
David Dobler                                   1140 Mutton Hollow Road
P.O. Box 3478                                  Stroudsburg, PA 18360-0000
Sunriver, OR 97707-0000
                                               David S Kestler dba Kess Audio
David Ehrhardt                                 3934 N Mt View Ave
10044 Orland Stone Drive                       San Bernardino, CA 92405-0000
Bristow, VA 20136-0000
                                               David Saleeby
David Godes                                    536 Funderburk Road
8218 Custer Rd.                                Society Hill, SC 29593-0000
Bethesda, MD 20817-0000
                                               David Tarlow & Co, CPA, PC
David Jonathan Kloke                           dba Tarlow & Co
2800 Valley Creek Road                         7 Penn Plaza
Culleoka, TN 38451-0000                        Suite 210
                                               New York, NY 10001-0000
David L Drake
4114 Flowes Store Road                         David Tyler Gibson
Concord, NC 28025-0000                         6011 Gilman Trace Lane
                                               Houston, TX 77092-0000
David Lynn Drake
4114 Flowes Store Road                         David W. Satterfield
Concord, NC 28025-0000                         235 Etler Drive
                                               Crestline, OH 44827-0000
David M. Peak dba Chacos Chinese Tacos
820 102nd Ave N                                David Watkins Homes Inc.
Naples, FL 34108-0000                          659 Wexford Drive
                                               Lafayette, IN 47905-0000




                                         - 146 -
            Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 148 of 268



Davin J Cartusciello                            Decorative Design Construction Corp
4686 E Lavender Lane                            465 Ocean Parkway #2C
Phoenix, AZ 85044-0000                          Brooklyn, NY 11218-0000

Davric Maine Corporation                        Dee Vargas
dba Scarborough Downs                           25 Ralph st, apt C
PO Box 468                                      Highlands, NJ 07732-0000
Scarborough, ME 04070-0000
                                                Deep Elm Digital LLC dba Deep Elm Record
Dawda Mann, Counselors at Law                   20 Alaeloa Place
39533 Woodward Ave                              Apt 37
Suite 200                                       Lahaina, HI 96761-0000
Bloomfield Hills, MI 48304-0000
                                                Deepak Gidwani - DG Structural Engineeri
Dawn Michelle Wilson                            707 Sherwood Court
709 Lily Flagg Road                             Naperville, IL 60565-0000
Huntersville, AL 35802-0000
                                                Deidra Wesley
Day Dream Drinks                                40 E Sidney Avenue
230 Pension Road                                5H
Englishtown, NJ 07726-0000                      Mount Vernon, NY 10550-0000

Dayna Larsen                                    Delaware Secretary of State
1926 Cold Spring Road                           1521 Concord Pike #301
Nederland, CO 80466-0000                        Wilmington, DE 19803-0000

DC Radio Assets, LLC                            DELETE - Fusion Promotions & Marketing L
4400 Jenifer Street NW                          3159 Royal Drive
4th Floor                                       Suite 300
Washington, DC 20015-0000                       Alpharetta, GA 30022-0000

De Lage Laden Financial Services, Inc.          Delta Sigma Theta Soroity, Inc
1111 Old Eagle School Road                      ETA Chi Chapter
Wayne, PA 19087-0000                            PO Box 72763
                                                Las Vegas, NV 89170-0000
Dean Enterprises, LLC
dba Pit Stop Event Services                     Delux Tents and Events LLC
PO Box 151                                      489 E Huron River Drive
Brownsville, WI 53006-0000                      Belleville, MI 48111-0000

Dean Jackson                                    Deluxe Business Checks and Solutions
106 Lake Tucci Circle                           PO Box 742572
Wright City, MO 63390-0000                      Cincinnati, OH 45274-0000

Dean L. Webb & Associates                       Delval Equipment Corporation
580 East 9400 South                             604 General Washington Avenue
Sandy, UT 84070-0000                            West Norriton, PA 19403-0000

Dean Myers                                      Demo Diva LLC
2690 Taylortown Road                            6246 Memphis Street
Shelby, OH 44875-0000                           New Orleans, LA 70124-0000

Deanovich & Associates, Inc.                    Denae Criazzo
5257 Buckeystown Pike #153                      4426 Piedmont Way
Frederick, MD 21704-0000                        Milton, FL 32583-0000




                                         - 147 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 149 of 268



Denise D. Stroffolino                            Department of Public Safety - Utah Highw
363 91st Street                                  4501 South 2700 West, Box 141100
#2                                               Salt Lake City, UT 84114-0000
Brooklyn, NY 11209-0000
                                                 Department of State Lands
Dennis Dwayne Gray                               1645 NE Forbes Road Suite 112
3213 Tyler Road                                  Bend, OR 97701-0000
Rockwell, NC 28138-0000
                                                 Derek Dow
Dennis Gutierrez                                 1712 Leighton Ave
PO Box 1164                                      Los Angeles, CA 90062-0000
San Marcos, TX 78667-0000
                                                 Derek Vincent Hannon
Dennis L Dumas Jr                                11 Woodward Heights Boulevard
3754 Reflections Drive                           Pleasant Ridge, MI 48069-0000
Pleasanton, CA 94566-0000
                                                 Deringer
Dennis Micic                                     75 Remittance Dr.,
114 East Cabot Lane                              Suite 1794
Westbury, NY 11590-0000                          Chicago, IL 60675-1794

Dennis Ray Doerge                                Derrick Colmenar
23723 Johnson Road                               1233 Bell Tower Arch
New Caney, TX 77357-0000                         Chesapeake, VA 23324-0000

Dennis Roady                                     Derrick Hamel
2455 Lilac Street                                377 Ridge Road
Maineville, OH 45039-0000                        Northwood, NH 03261-0000

Dennis Welch                                     Deschutes County
151 Happy Street                                 117 NW Lafayette Avenue
Virginia Beach, VA   23452-0000                  Bend, OR 97701-0000

Dentons US LLP                                   Desiree Davar
233 S. Wacker                                    118 Beacon Ave
Suite 5900                                       Jersey City, NJ    07306-0000
Chicago, IL 60606-0000
                                                 Devin J Murphy
Denver Westword LLC                              4924 Trousdale Drive
969 Broadway                                     Nashville, TN 37220-0000
Denver, CO 80203-0000
                                                 Devin Ray Hull
Department of Financial Institutions             6078 Clift Pike
345 W Washington Ave                             Mayslick, KY 41055-0000
Madison, WI 53703-0000
                                                 Deylen Machado
Department of Health and Human Services          6570 S. Goldenrod Road
Centers for Medicare &                           Unit B
7500 Security Boulevard                          Orlando, FL 32822-0000
Baltimore, MD 21244-0000
                                                 DFIT Subs LLC dba Jersey Mikes
Department of Public Safety - Charles Ci         PO Box 5117
Office of the Building Official                  Oceanside, CA 92052-0000
PO Box 128
Charles City, VA 23030-0000                      DGRA, LLC dba Devils Garden Mud Club
                                                 PO Box 640
                                                 Fort Meyers, FL 33901-0640




                                           - 148 -
            Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 150 of 268



Diamond Environmental Services LP             DKN-Tertainment LLC
807 E. Mission Road                           DANNY KASLER
San Marcos, CA 92069-0000                     2119 Corner School Dr
                                              Orlando, FL 32820-0000
Diamond Rental Inc
4518 South 500 West                           DLA Piper LLP (US)
Salt Lake City, UT 84123-0000                 6225 Smith Avenue
                                              Baltimore, MD 21209-0000
Diffusion Inc.
244 Fifth Avenue                              DMB Communities IV LLC
5th Floor                                     7600 E. Doubletree Ranch Rd., Suite 300
New York, NY 10001-0000                       Scottsdale, AZ 85258-0000

Digidocs                                      DMB Mesa Proving Grounds LLC
225 E. Main Street                            7600 E. Doubletree Ranch Rd.
Suite F                                       Suite 300
Grantsville, UT 84029-0000                    Scottsdale, AZ 85254-0000

Digital Automated Security                    Dmitry Gudkov Photography
PO Box 52                                     1933 Sweet Road
Atlantic Beach, NY 11509-0000                 East Aurora, NY 14052-0000

Digital Map Products, Inc                     DNA Controlled Inspections Ltd.
18831 Von Karman Avenue                       135 West 29th Street
Suite 200                                     Suite 1005
Irvine, CA 92612-0000                         New York, NY 10001-0000

Digital Promotions, LLC                       Doc's Deli Corporation
1333 Corporate Drive                          980 Kline Road
Suite 213                                     Galion, OH 44833-0000
Irving, TX 75038-0000
                                              DocuSign, Inc.
Dillon Companies, Inc                         221 Main Street
King Soopers Customer Charges                 Suite 1000
3485 Solutions Center                         San Francisco, CA    94105-0000
Chicago, IL 60677-3004
                                              DOMESTIC VIOLENCE SHELTER, INC
Dillon Wayne Couch                            P O BOX 1524
1891 Jim Keene Blvd                           MANSFIELD, OH 44901-0000
Winter Haven, FL 33880-0000
                                              Domingo Hernandez
Direct Scaffold Supply, LP                    5555 East 8th Avenue
6059 South Loop East                          Hialeah, FL 33013-0000
Houston, TX 77087-0000
                                              Dominic Nicora DBA Mangiata Catering
Discount Dumpster LLC                         Dominic Nicora
12500 West 58th Ave                           900 Farigrounds Drive
Suite 240                                     Vallejo, CA 94589-0000
Arvada, CO 80002-0000
                                              Dominic William Biaggio
Diversified Search LLC                        2007 Royalwood Drive
2005 Market Street                            Arlington, TX 76006-0000
33rd Floor
Philadelphia, PA 19103-0000                   Don Baxter
                                              365 Bridge Street
                                              Apt 70
                                              Brooklyn, NY 11201-0000




                                       - 149 -
            Case 20-10036-CSS   Doc 42-1      Filed 02/12/20   Page 151 of 268



Donald Michael dba DJM Fit Consulting            Douglas Kaplan dba Transition Sports LLC
513.5 Carnation Ave                              447 N Quincy St
Corona Del Mar, CA 92625-0000                    Hinsdale, IL 60521-0000

Donald Miralle                                   Douglas Morin
374 North Coast Hwy 101                          6 Forest Street
Suite F15                                        Middleton, MA 01949-0000
Encinitas, CA 92024-0000
                                                 Douglas Pellock
Donald R. Hoyte dba Don Hoyte, Ph.D              2606 231st PI SE
10704 Scotland Well Drive                        Sammamish, WA 98075-0000
Austin, TX 78750-0000
                                                 Downtown Mansfield, Inc
Donald S. Fitch                                  101 1/2 North Main Street
7068 N. Bearwallow Road                          Mansfield, OH 44902-0000
Maysville, KY 41056-0000
                                                 Draek Wertenberger
Donald W. Bundy DBA Bundy Audio and Elec         1708 Adrienne Dr
538 Herbert Road                                 Roseville, CA 95747-0000
Unit 8
Lakemoor, IL 60051-0000                          Drew Kelly
                                                 117 Eileen Circle
Donald W. Weber Jr.                              Jamesport, NY 11947-0000
548 First Street
Inwood, WV 25428-0000                            DS Services of America, Inc
                                                 dba Mount Olympus
Donna N. Goldsmith                               PO Box 660579
333 E. 79th Street #16S                          Dallas, TX 75266-0000
New York, NY 10075-0000
                                                 DS Waters
Donnie Anthony Glenn                             36 Country Club Lane
503 cross Cut Drive                              Belmont, MA 02478-0000
Arlington, TX 76018-0000
                                                 DS Waters of America, Inc.
Don's Johns Inc.                                 5660 New Northside Drive
42630 John Mosby Hway                            Suite 500
Chantily, VA 20152-0000                          Atlanta, GA 30328-0000

Doug Carlson Builder LLC dba Carlson Mob         Duane Wood
2611 Creek Bend Circle                           190 Fairbanks Avenue
Round Rock, TX 78681-0000                        Staten Island, NY 10306-0000

Douglas County                                   Dudley Youth Soccer League
Attn: Janet Peterson                             PO Box 74
100 Third Street                                 Dudley, ME 01571-0000
Castle Rock, CO 80104-0000
                                                 Dun & Bradstreet Credibility Corp
Douglas County Deputy Sheriff's Associat         22761 Pacific Coast Highway
4000 Justice Way                                 Malibu, CA 90265-0000
Castle Rock, CO 80109-0000
                                                 Dunbar Armored, Inc.
Douglas G. Jerum                                 P.O. Box 64115
64 Knollwood Drive                               Baltimore, MD 21264-4115
Rochester, NY 14618-0000
                                                 Durants LLC dba Durants Party Rental & T
Douglas G. Schwall                               680 Sergeant Palmateer Way
242 Mango Dr.                                    Suite 1
Palatka, FL 32177-0000                           Wappingers Falls, NY 12590-0000



                                           - 150 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 152 of 268



Durham School Services                           Eagal Lake Resort, LLC
File 749085                                      12 E Lorenzen Road
Los Angeles, CA 90074-0000                       Tracey, CA 95304-0000

Dustin Alexander Sneed                           Eagle County Treasurer
379 N. Main Street                               Karen L Sheaffer
Mt. Pleasant, NC 28214-0000                      PO Box 479
                                                 Eagle, CO 81631-0000
Dustin Weinmann
5951 University Ave NE                           Eagle Dumpster Rental LLC
Apt #208                                         650 Wharton Blvd
Fridley, MN 55432-0000                           Exton, PA 19341-0000

Dwayne Junior Paul                               Eagle Valley Ranch
93 Weatherby Lane                                2058 Country Road 462
Wright City, MO 63390-0000                       Poplar Bluff, MO 63901-0000

Dwight W Willingham                              Earlywine Welding & Fabrication
2227 Chickering Lane                             450 Pennington Flat Road
Nashville, TN 37215-0000                         Morehead, KY 40351-0000

Dwight Ward dba Richland Farms                   Earth Developments, Inc
3514 Pulaski Hwy                                 8107 Wilmot Road
Cornersville, TN 37047-0000                      Spring Grove, IL 60081-0000

Dyehard Fan Supply, LLC.                         East Marlborough Township
PO Box 21528                                     721 Unionville Road
Winston-Salem, NC 27120-0000                     Kennett Square, PA 19348-0000

Dylan Coffelt                                    Easterman Com, LLC
7322 Navarre Pkwy                                12333 Pretoria Drive
Apt 215                                          Silver Spring, MD 20904-0000
Navarre, FL 32566-0000
                                                 Eastern Regional Airport Authority
Dylan Miraglia                                   170 Aviation Way
4811 White Rock Ctr                              Room 105
Apt B                                            Martinsburg, WV 25405-0000
Boulder, CO 80301-0000
                                                 Eastville, LLC
Dynamax Inc.                                     189 Sullivan Street
1300 Smith Road                                  New York, NY 11012-0000
Austin, TX 78721-0000
                                                 Easy Learning Labs Inc.
Dynamic Event Group                              450 6th Avenue
dba Dynamic Productions USA                      Suite 5E
527 Route 303                                    New York, NY 10011-0000
Orangeburg, NY 10962-0000
                                                 Echo Technologies, LLC
E.S.E We Make Tracks Inc.                        1590 N. Roberts Road
15100 Interstate 45 South                        Suite 307
Conroe, TX 77384-0000                            Kennesaw, GA 30144-0000

E.S.P. Inc DBA Express Systems & Periphe         ECKL Parking Company, LLC
640 Herman Road                                  170 Marconi Blvd
Ste 5                                            Columbus, OH 43215-0000
Jackson, NJ 08527-3068




                                           - 151 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 153 of 268



Eclipp Inc.                                      EFM USA, Inc.
1605 Ford Court                                  DBA EFM Management, Inc.
Gross Pointe Woods, MI    48236-0000             20925 Bonita Street
                                                 Carson, CA 90746-3604
Economy Wiring Co, Inc.
633 S.W. 148th St.                               Egan Enterprises, Inc
Burien, WA 98166-0000                            dba High Point Catering
                                                 PO Box 178
ECOS Environmental & Disaster Restoratio         Clarksburg, MO 20871-0000
6690 Hwy 82
Glenwood Springs, CO 81601-0000                  El Diario, LLC
                                                 15 Metrotech Center
Edelman US                                       7th Floor
Daniel J. Edelman, Inc.                          Brooklyn, NY 11201-0000
21992 Network Place
Chicago, IL 60673-0000                           Elaine Young
                                                 20406 Devlin Ave
Eden MacKenzie                                   Lakewood, CA 90715-0000
38 Summer Street
Gloucester, MA 01930-0000                        Elbert County Dive Team
                                                 PO Box 6109 45 Forest Avenue
Edens Limited Partnership                        Elberton, GA 30635-0000
dba Burlington Crossroads, LLC
PO Box 528                                       Electric City
Columbia, SC 29202-0000                          PO Box 1920
                                                 Anderson, SC 29622-0000
Edgar Orlando del CID
dba End Trucking                                 Electric Mountain LLC
968 W. 7th Street                                1925 Dolores Way
Upland, CA 91786-0000                            Carbondale, CO 81623-0000

Edgar Perreault dba E&T Transport                Elia Figueroa
1075 W. Oakwood                                  6038 N. Torrey Pine Ave
Oxford, MI 48371-0000                            Fresno, CA 93723-0000

Edward E Welsh                                   Eliseo Guerrero
220 North Pearl Street                           1041 E Hunt Street
Crestline, OH 44827-0000                         Adrian, MI 49221-0000

Edward E. Zubrowski                              Elizabeth C. Wolff
9 Sherold Road                                   5775 Parkwood Blvd
Colonia, NJ 07067-0000                           Apt #934
                                                 Frisco, TX 75034-0000
Edward Robert Henry IV
509 Sunset Drive                                 Elizabeth Hinderer
Gulf Shores, AL 36542-0000                       20775 Sager Road
                                                 Chelsea, MI 48118-0000
Edward Taylor Morris
98 Riverside Ave                                 Elizabeth Ruth Barnet
Riverside, CT 06878-0000                         766 Jenny Trail
                                                 Franklin Lakes, NJ 07417-0000
eflexgroup, Inc.
2740 Ski Lane                                    Elkhart Lake's Road America
Madison, WI 53713-0000                           PO Box 338
                                                 Elkhart Lake, WI 53020-0338




                                           - 152 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 154 of 268



Ella Pollins                                     Emma Duch
119 Pinto Drive                                  4207 Broadway
Waxahachie, TX 75165-0000                        Apt 2
                                                 Astoria, NY 11103-0000
Ellis County, Texas
101 Main Street                                  Emma L. Harrison-Chapman
Waxahachie, TX 48139-0000                        1041 Merrick Drive
                                                 Apt. B
Ellouise McGonagle                               Richmond, KY 40475-0000
391 Turner Way
Laconia, NH 03246-0000                           Empire Ice Company
                                                 444 Vine Street South
ELS Assocaites, INC                              Riverside, CA 92507-0000
201 E 25 St, 2nd Floor
New York, NY 10010-0000                          Engineers without Borders
                                                 3601 Arkwright Falls Ave
Emerald City Statewide LLC                       North Las Vegas, NV 89302-0000
13728 Beacon Coal Mine Road S
Seattle, WA 98178-0000                           Engler & Sons Trucking LLC
                                                 45 West Factoryville Road
Emergency Ice Inc.                               Bangor, PA 18013-0000
8700 Diplomacy Row
Dallas, TX 75247-0000                            ENP Enviornmental, Inc.
                                                 507A W. Broadway
EmergyCare Inc.                                  Long Beach, NY 11561-0000
1926 Peach Street
Erie, PA 16052-0000                              Entercom Communications Corp.
                                                 dba WFAN-FM, WCBS-FM
Emerick Construction Company                     401 City Ave
8850 SE Otty Road                                Suite 809
Portland, OR 97086-0000                          Bala Cynwyd, PA 19004-0000

Emge, Inc dba Picturesque Graphics               Enterprise Rent A Car
3130 Chouteau Avenue                             PO Box 842264
Saint Louis, MO 63103-0000                       Dallas, TX 75284-0000

EMI Audio                                        EOA/Elmslie Osler Architect PC
4719 42nd Ave N                                  526 West 26th Street
Robbinsdale, MN   55422-0000                     Suite 514
                                                 New York, NY 10001-0000
Emily Bunin
880 St. John's Place                             EOT
4th Floor                                        PO Box 52276
Brooklyn, NY 11216-0000                          Newark, NJ 07101-0000

Emily Escovar dba Otter Labs LLC                 Equity Sports Partners LLC
PO Box 502                                       9 Quaker Lane
New york, NY 10185-0000                          West Harrison, NY 10604-0000

Emily Heffelfinger                               Erb's Landscaping, INC
1033 North Mozart                                PO Box 131
Apt. 1                                           Cresco, PA 18326-0000
Chicago, IL 60622-0000
                                                 Erfan Ahmadi dba Pollo Inferno
Emily Kirley                                     10152 Frank Greg Way
17331 Meadow View Drive                          Elk grove, CA 95757-0000
Yorba Linda, CA 92886-0000




                                          - 153 -
            Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 155 of 268



Eric Emerson Botsford                          Erin Sondej
3847 12th Street                               226 Cambria Hill Drive
Sacramento, CA 95822-0000                      Tarentum, PA 15084-0000

Eric Lamb                                      ERISA Pros LLC
6838 S. Pinehurst Drive                        1455 Lincoln Parkaway
Gilbert, AZ 85298-0000                         Suite 315
                                               Atlanta, GA 30346-0000
Eric Lawes
1891 Jim Keene Blvd                            Ernesto Gutierrez
Winter Haven, FL 33880-0000                    5555 East 8th Avenue
                                               Hialeah, FL 33013-0000
Eric Schneider
33 Gold Street                                 ESI Security Services
Apt #403                                       PO Box 13047
New York, NY 10038-0000                        Reno, NV 89507-0000

Eric Tostrud                                   Essence and Herbs dba One5 LakeSide
1143 Sommers Street North                      15 Via Bel Canto
Hudson, WI 54016-0000                          Henderson, NV 89011-0000

Eric Weis                                      Essex Equipment
5736 Starr Ave                                 26 Kellogg Road
Oregon, OH 43616-0000                          Essex Junction, VT    05452-0000

Eric Wolterman                                 Essex Television group, Inc
15 W 4th Street                                dba Xplore Productions
404                                            7 Vista Drive
Cincinnati, OH 45202-0000                      PO Box 454
                                               Old Lyme, CT 06371-0000
Erick Vasquez
1409 West Victorson                            Essy & Jo Creative Studio LLC
Houston, TX 77015-0000                         750 Putnam Avenue
                                               Apt. 2
Erika Rasmusson Janes                          Brooklyn, NY 11221-0000
34-36 83rd St
Apt. 2                                         Estate of Frank E. Brown
Jackson Heights, NY 11372-0000                 650 W. Southport Road
                                               Kissimmee, FL 34746-0000
Eriksen Translations Inc.
32 Court Street                                ETONIEN LLC
20th Floor                                     222 N.Sepulveda Blvd. Suite 1507
Brooklyn, NY 11201-0000                        El Segundo, CA 90245-0000

Erin Cafaro MacKenzie                          Evan Kotecki
69455 Green Ridge Loop                         12901 James Street
PO Box 608                                     Holland, MI 49424-0000
Sisters, OR 97759-0000
                                               Evan Perperis
Erin Cappiccie                                 13285 N. Cooper Ridge Drive
32-35 30th Street                              Platte City, MO 64079-0000
Apt D35
Astoria, NY 11106-0000                         Evan Seely
                                               2121 North Westmooreland Street
Erin Rost                                      APT 106
136 Thondike Street                            Arlington, VA 22213-0000
Arlington, MA 02474-0000




                                        - 154 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 156 of 268



Evan Walsh                                       Exeter Events and Tents
195 Kingston Avenue                              38 Portsmouth Ave
B1                                               Exeter, NH 03833-0000
Brooklyn, NY 11213-0000
                                                 Experimental Aircraft Association, Inc.
Evenson Best LLC                                 3000 Poberezny Road
641 Avenue of the Americas                       PO BOX 3086
6th Floor                                        Oshkosh, WI 54902-0000
New York, NY 10011-0000
                                                 Express Services Inc.
Event Guard Services, Inc.                       dba Express Employment Professionals
1823 Business Center Drive                       9701 Boardwalk
Duarte, CA 91010-0000                            Oklahoma City, OK 73162-6029

Event Medical Staffing Solutions                 EXPRESS TENTS AND EVENTS
4 Hook Road                                      121 W. North Shore Drive
Sharon Hill, PA 19079-0000                       New Richmomnd, WI 54017-0000

Event Next, Inc.                                 Extole Inc
3340 S. Lapeer Road                              274 Brannan Street
Lake Orion, MI 48359-0000                        Suite 602
                                                 San Fransisco, CA 94107-0000
Event Space Booker Inc. DBA Event Hub
7760 Delridge Way SW                             Exton Square Mall
Seattle, WA 98106-0000                           260 Exton square Parkway
                                                 Management Office
Eventbrite, Inc                                  Exton, PA 19341-0000
155 5th St
San Francisco, CA   94103-0000                   Extreme Clean USA Inc
                                                 dba Extreme Clean Staffing
Everest National Insurance Company               PO Box 772160
477 Martinsville Road                            Orlando, FL 32877-0000
Liberty Corner, NJ 07938-0000
                                                 Extreme Reach, Inc.
EverGreen Events, LLC                            75 Second Ave
520 S Third Street                               Suite 720
Room 2                                           Needham, MA 02494-0000
Carbondale, CO 81623-0000
                                                 EZ Net Communications, Inc.
Evolution Management Group, LLC                  PO Box 460
66 Bradley Lane                                  Sharon Center, OH 44274-0000
Suite 107
Bridgewater, NJ 08807-0000                       F & F Electric, Inc
                                                 13 McNinch Lane
Exceptional Risk Advisors, LLC                   Belmont, NY 14813-0000
One International Blvd, #625
Mahwah, NJ 07945-0000                            Fabian Lindner
                                                 330 N. Mathilda Ave
Executive Event Services, LLC                    Apt. 810
22600 Savi Ranch Parkway                         Sunnyvale, CA 94085-0000
Yorba Linda, CA 92887-0000
                                                 Facebook Advertising
Executive Print Solutions                        15161 Collections Center Drive
dba Minuteman Press of Stroudsburg               Chicago, IL 60693-0000
1250 North Ninth Street
Stroudsburg, PA 18360-0000                       Famularo Catering Inc.
                                                 PO Box 834
                                                 Mt. Pocono, PA 18344-0000



                                          - 155 -
            Case 20-10036-CSS   Doc 42-1      Filed 02/12/20   Page 157 of 268



Fan Interactive Marketing, LLC                   Ferrara Jerum Int'l, LLC
46 Peninsula Center                              339 East Avenue
Suite E, #537                                    Suite 4320
Rolling Hills Estates, CA 90274-0000             Rochester, NY 14604-2615

Fancisco E Acosta                                Ferrellgas LP
6105 E Sahara Avenue                             One Liberty Plaza
53                                               Liberty, MO 64068-0000
Las Vegas, NV 89142-0000
                                                 Fidelity Security Services LLC
Fathom and Hatch LLC                             618 East South Street
176 Mulberry Street                              Suite 500
Suite 2                                          Orlando, FL 32801-0000
New York, NY 10013-0000
                                                 Fields Sports Complex, The
Faye Ariel Morgan                                8 Cornwall Court
45023 Silver Rose Street                         East Brunswick, NJ 08816-0000
Temecula, CA 92592-0000
                                                 Fiesta Enterprises
Federal Rent A Fence                             801 Avenue H East
P.O.Box 266                                      Ste 117
West Berlin, NJ 08091-0000                       Arlington, TX 76011-0000

Fedex Custom Critical Inc.                       Fifty One Promotions LLC
dba Fedex Custom Critical                        74 Leni Lane
1475 Boettler Road                               Cheektowaga, NY 14225-0000
Uniontown, OH 44685-9584
                                                 Fild, Inc
FedEx Office Print and Ship Center               999 N Sepulveda Blvd
212 New Jersey 18                                Suite 150
East Brunswick, NJ 08816-0000                    El Segundo, CA 90245-0000

FedEx Trade Networks Transport & Brokera         Findley Franchise Development
128 Dearbon Street                               1216 Winstone Drive
Buffalo, NY 14207-0000                           Waco, TX 76712-0000

Feedonomics, LLC                                 Finnerty LLC
21011 Warner Center Lane                         510 E. Barnard Street
Suite A                                          Unit 17
Woodland Hills, CA 91367-0000                    West Chester, PA 19382-0000

Fehr Graham & Associates LLC                     First Canada LLC
221 E. Main Street                               600 Vine Street
Suite 200                                        Suite 1400
Freeport, IL 61032-0000                          Cininnati, OH 45202-0000

Felicia Guest                                    First Star Safety, LLC
3076 Voorheis Lake Court                         4 Kovach Drive
Lake Orion, MI 48360-0000                        Suite 430
                                                 Cincinnati, OH 45215-0000
Felicia Surber
1514 Modoc Avenue                                First Student
Modesto, CA 95358-0000                           14800 S Avalon Blvd
                                                 Gardena, CA 90248-0000
Felix Cantu Jr.
27600 Kings Manor Drive                          Fitzpatrick Structural Engineering, P.C.
Apt #1761                                        P.O.Box 1506
Kingwood, TX 77339-0000                          Ann Arbor, MI 48106-0000



                                           - 156 -
            Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 158 of 268



Five J's Inc                                   Foley & Lardner, LLP
6400 Jeff Ates Rd.                             90 Park Avenue
Milton, FL 32583-0000                          37th Floor
                                               New York, NY 10016-0000
Fizz-O Inc dba Fizz-O Water Co
809 N Lewis Ave                                Font Bureau
Tulsa, OK 74110-0000                           179 South Street
                                               7th Floor
Flagship USA, Inc.                             Boston, MA 02111-0000
PO Box 25125
Woodbury, MN 55125-0000                        Food Art
                                               9825 Bethel Church Road
FlagsImporter.com                              Manchester, MI 48158-0000
1830 S Milliken Ave
Ontario, CA 91764-0000                         For Site Group, LLC
                                               7649 Hadley Street
Flatbush Pictures LLC                          Overland Park, KS 66204-0000
365 Bridge Street
5PRO                                           Forest City Myrtle Associates, LLC
Brooklyn, NY 11201-0000                        One Metro Tech Center
                                               23rd Floor
Fleye, Inc.                                    Brooklyn, NY 11201-0000
18 Fellows Road
Brentwood, NH 03833-0000                       Forms Distribution Corp
                                               D/B/A Materialogic
Florence DiGiorgio                             1160 Research Blvd
9 Laurel Lane                                  St. Louis, MO 63132-0000
Wilton, CT 06897-0000
                                               Forrest Bouge
Florida Department of Revenue                  316 28th Ave NW
5050 W Tennessee Street                        Great Falls, MT    59404-0000
Tallahassee, FL 32399-0000
                                               Forrest Solutions, Inc.
Florida Distributing Company, LLC              19 West 44th Street
3964 Shader Road                               9th Floor
Orlando, FL 32808-0000                         New York, NY 10036-0000

Florida Fence Rental                           ForwardPMX LLC
8491 N.W. 64th Street                          One World Trade Centre
Miami, FL 33166-0000                           Sixty Third Floor
                                               New York, NY 10007-0000
FLUSHING VOLUNTEER FIRE DEPARTMENT
104 E. HIGH ST                                 Foster & Foley LLP
FLUSHING, OH 43977-0000                        255 Executive Drive Suite 307
                                               Plainview, NY 11803-0000
Flying Bear Productions, Inc.
133 Prospector Road                            Foundation for Youth of Bartholomew Coun
Unit 4305                                      405 Hope Ave
Aspe, CO 81611-0000                            Columbsus, IN 47201-0000

Foam Factory, Inc                              Fowler, Aaliyah
17500 23 Mile Road                             64 Wadsworth Terrace
Macomb, MI 48044-0000                          Apt 1A
                                               New York, NY 10040-0000
Foil Farms
10000 Foil Road
Mt. Pleasant, NC   28124-0000




                                        - 157 -
            Case 20-10036-CSS   Doc 42-1     Filed 02/12/20   Page 159 of 268



Fox Sports Net Inc.                             Frank Hook dba Meet and Eat Cafe
dba Impression Sports & Entertainment           931 Forest Avenue
PO Box 900                                      Maysville, KY 41056-0000
Beverly Hills, CA 90213-0900
                                                Frank L. Teasley DBA Teasley Services Gr
Fractal Film Company                            4711 Trousdale Drive
10030 Church St                                 Suite 215
Truckee, CA 96161-0000                          Nashville, TN 37220-0000

Fragomen, Del Rey, Bernsen & Loewy, LLP         Frankfurt Kurnit Klein & Selz
90 Matawan Road, PO Box 2001                    488 Madison Ave
Matawan, NJ 07747-0000                          10th Floor
                                                New York, NY 10022-0000
Frame It & Company, Inc.
767 Third Avenue                                Franklin P Wallace dba Ohio Valley Print
Brooklyn, NY 11232-0000                         801 Spring Haven Drive
                                                Martins Ferry, OH 43935-0000
Francesca Villa
334 2nd St                                      Frayah Louise Bartuska
Jersey City, NJ   07302-0000                    4218 Sprecher Road
                                                Madison, WI 53718-0000
Franchise Direct USA, Inc,
750 Hammond Drive                               Fred Ogden
Building 16, Suite 350                          2205 Knox Lillard Road
Atlanta, GA 30328-0000                          Sanders, KY 41083-0000

Franchise Tax Board - WITHOLDING                Fred R. Umstott
Withholding Services and Compliance             37 West Main Street
PO Box 942867                                   Quaker City, OH 43773-0000
Sacramento, CA 94267-0651
                                                Frederick M. Reiter
FranChoice, Inc.                                1514 Pear Place
7500 Flying Cloud Drive                         Mansfield, OH 44905-0000
Suite 600
Eden Prairie, MN 55344-0000                     Freeland's Transport, LLC
                                                14893 State Route 136
Francie Sue Gottsegen                           Winchester, OH 45697-0000
4942 Charlton Lane
Charlotte, NC 28210-0000                        Fremling, Nathaniel
                                                5100 Wayzata Boulevard
Francis Warner                                  #518
1397 East 53 Street                             Golden Valley, MN 55416-0000
Brooklyn, NY 11234-0000
                                                Fresh Can LLC dba Texas Waste Company
Francois Nicolas                                2800 East Broadway
1391 Bay 28th Street                            Suite C409
Far Rockaway, NY 11691-0000                     Pearland, TX 77581-0000

FrancoTYP-Postalia, Inc. DBA FP Mailing         Freshpark Industries, LLC dba Freshpark
140 N. Mitchell Ct., Suite 200                  7412 Count Circle
Addison, IL 60101-5629                          Hungtington Beach, CA 92647-0000

Frank Cordes                                    Friends of Liberty State Park
N2597 County Road A                             PO Box 3407
Cascade, WI 53011-0000                          Jersey City, NJ 07303-0000




                                          - 158 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 160 of 268



Front Office Events LLC                          Galia Goya Ostos
48 Church Street Unit A                          1409 Stoneoak Drive
Rochester, NH 03839-0000                         McKinney, TX 75072-0000

Frontier US - Frontier Computer Corp             Game Breeders of Oneka dba Wild Wings of
1275 Business Park Drive                         9491 152nd Street N
Traverse City, MI 49686-0000                     Hugo, MN 55038-0000

Fugazy Sports & Entertainment                    Game Day Communications
1270 AVENUE OF THE AMERICAS                      700 West Pete Rose Way
NEW YORK, NY 10020-0000                          Cincinnati, OH 45203-0000

Full Espresso Repair                             Game Unlimited Hunting Club Inc.
2344 White Oak Court                             871 County Road E
East Elmhurst, NY 11370-0000                     Hudson, WI 54016-0000

Fullscreen, Inc.                                 Gameface Media, Inc.
9336 Washington Blvd.                            109 Kingston Street
Building K                                       4th Floor
Culver City, CA 90232-0000                       Boston, MA 02111-0000

Fulton County, Georgia dba Fulton County         Garda Cash Logistics
141 Pryor Street                                 4200 Governor Printz Blvd
Suite 7001                                       Wilmington, DE 19802-0000
Atlanta, GA 30303-0000
                                                 GardenSK8 LLC
Furnished Quarters, LLC                          321 Changebridge Road
501 Kings Hwy East.                              Pine Brook, NJ 07058-0000
Suite 303
Fairfield, CT 06825-0000                         Garrett Casey DeFauw
                                                 1573 Raymond Drive
Fusion Promotions & Marketing, LLC               202
3159 Royal Drive, Suite 300                      Naperville, IL 60563-0000
Alpharetta, GA 30022-0000
                                                 Garth Wilson
Futures Without Violence                         641 North Ave NE
100 Montgomery Street                            Apt 3124
The Presido                                      Atlanta, GA 30308-0000
San Francisco, CA 94129-1718
                                                 Gartner, Inc
Gabriel Lee Cybriwsky                            56 Top Gallant Road
3417 Birkenhead Circle                           Stamford, CT 06902-0000
Lexington, KY 40503-0000
                                                 Garvin Industries Inc
Gabriela Martinez                                3700 Sandra Street
26501 Treviso                                    Franklin Park, IL 60131-0000
Mission Viejo, CA   92692-0000
                                                 Gary Davis Group Design & Engineering
Gabriele Dunkley                                 P.O. Box 7409
6624 Forest Ave                                  Tahoe City, CA 96145-0000
Apt. 2L
Ridgewood, NY 11385-0000                         Gary Paul Kochis dba Whitetail Excavatin
                                                 1850 Cobblestone Ln
Gabrielle K. Wolinsky                            Oxford, MI 48371-0000
The Regency
245 East 63rd St, Apt# 306                       Gary W. Reynolds dba 10465 Hartville Pk
New York, NY 10065-0000                          10465 Hartsville Pk
                                                 Lebanon, TN 37087-0000



                                           - 159 -
            Case 20-10036-CSS   Doc 42-1      Filed 02/12/20   Page 161 of 268



Gavin O'Brien                                    GEPP LLC dba Go East Promotions
PO Box 2661                                      83 Vermont Ave
Chinle, AZ 86503-0000                            Unit 3
                                                 Warwick, RI 02888-0000
GDM Foods LLC dba Smokin Vittles BBQ
3353 Ross Road                                   Gerald DeMarco, Associates
Tobyhanna, PA 18466-0000                         8925 S.W. 148th Street
                                                 Miami, FL 33176-0000
GENERAL ASSEMBLY SPACE, INC
902 BROADWAY, 4TH FLOOR                          Gerald Williams
NEW YORK, NY 10010-0000                          9613 Callis Court
                                                 Harrisburg, NC 28075-0000
General Labor Staffing Services, Inc. db
1709 Banks Road                                  Geraldine Willis Dill
Building A, Unit 5                               P. O. Box 742
Margate, FL 33063-0000                           320 Favor Ave
                                                 Washington, GA 30673-0000
General Wholesale Company
1595 Marietta Blvd NW                            Germansville Fire Company
Atlanta, GA 30318-0000                           Jay Scheffler
                                                 6011 Memorial Road
Gengo                                            Germansville, PA 18053-0000
1730 S. El Camino Real
Suite 500                                        Germantown Fair Company
San Mateo, CA 94402-0000                         PO Box 150
                                                 Germantown, KY 41044-0000
Gentile and Associates, Inc dba Centuria
3645 Brodhead Road                               Ghent Media Inc
Monaca, PA 15061-0000                            5226 Powhatan Avenue
                                                 Norfolk, VA 23508-0000
GEO Services LLC
2561 Willow Point Way                            Gibson Rental
Knoxville, TN 37931-0000                         PO Box 1249
                                                 220 Byrd Street
Geoffrey Trevor Goodman DBA Projectsauru         Orange, VA 22960-0000
309 E. Garrett Run
Austin, TX 78753-0000                            Gilbert B Le
                                                 1507 E Elma Privado Street
George A. Von Edwins                             Ontario, CA 91764-0000
371 Pepper Street
Palm Bay, FL 32907-0000                          Gilbert M. Castro
                                                 P.O. Box 362
George Cordray                                   Seguin, TX 78156-0000
8003 Knoweshaw Rd
Maysville, KY 41056-0000                         Gilberto's Cantina
                                                 1015 W. Commerce
George H. McMahan                                Fairfield, TX 75840-0000
7703 LaSalle Avenue
Lubbock, TX 79424-0000                           GILFORD FIRE RESCUE
                                                 39 CHERRY VALLEY ROAD
George J. Fahlgren                               GILFORD, NH 03246-0000
1891 Jim Keene Blvd
Winter Haven, FL 33880-0000                      Gillet Productions, LLC
                                                 37 East 22nd Street
Georgia Motorplex                                Hungtington Station, NY    11746-0000
Perry Gunter
153 Garland Rd
Washington, GA 30673-0000



                                           - 160 -
            Case 20-10036-CSS   Doc 42-1      Filed 02/12/20   Page 162 of 268



Gina M. Hayes dba Hillbilly Shack Deligh         Goodway Graphics of Massachusetts, Inc.
218 Murphy Lane                                  16 A Street
Lebanon, TN 37090-0000                           Burlington, MA 01803-0000

Give Kids the World, Inc                         Google Inc.
210 South Bass Road                              PO Box 39000
Kissimmee, FL 34746-0000                         San Francisco, CA    94139-0000

Glassdoor Inc.                                   Google LLC
1 harbor Drive                                   1600 Amphitheatre Pkwy
Suite 300                                        Mountain View, CA 94043-0000
Sausalito, CA 94965-0000
                                                 Google, Inc.
Glazier Foods Company                            Dept. 33654
11303 Antoine Drive                              PO Box 39000
Houston, TX 77066-0000                           San Francisco, CA    94139-0000

Glen Helen Raceway Inc.                          Gothamist LLC
PO Box 10669                                     200 Riverside Blvd
San Bernadino, CA 92407-0000                     19D
                                                 New York, NY 10069-0000
Glenn Racz
31720 Calle Cataldo                              Gotta Go Potties Inc.
Temecula, CA 92592-0000                          205 Route 196
                                                 Tobyhanna, PA 18466-0000
Global Display Group. LLC dba Dagmar Bra
11234 E. Caley Ave                               Gourmet First, Inc dba Portabello Market
Suite C                                          400 S Jefferson Street
Centennial, CO 80111-0000                        Pensacola, FL 32502-0000

Global Equipment Company Inc.                    Govx Inc.
29833 Network Place                              9191 Towne Centre Drive
Chicago, IL 60673-1298                           Suite 210
                                                 San Diego, CA 92122-0000
Global Event Medicine
5307 West 139th Ter                              Gowanus Canal
Overland Park, KS 66224-0000                     543 Union Street
                                                 Apt #1E
Glocap Temp, LLC                                 Brooklyn, NY 11215-0000
156 W 56th St, 4th Fl
New York, NY 10019-0000                          GPS Realty NYC
                                                 143 East 30th Street
GMPCS Personal Communications                    New York, NY 10016-0000
PO Box 864356
Orlando, FL 32886-0000                           Grace Hauling, Inc. dba On the Go Haulin
                                                 1200 Grant Industrial Drive
GoCoach, Inc.                                    O'Fallon, MO 63366-0000
293 Central Park West
PHS                                              Grady Memorial Hospital Corp dba Event E
New York, NY 10024-0000                          745 Memorial Drive SE
                                                 Atlanta, GA 30316-0000
Goldstar Transit
1081 Lovers Lane                                 Graffiti Indoor Advertising Inc.
Bastrop, TX 78602-0000                           48 Lindsley Avenue
                                                 Nahsville, TN 37210-0000
Golf Car Company LLC
8899 Memorial Drive
Plain City, OH 43064-0000



                                           - 161 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 163 of 268



Graham Holdings Company DBA Social Code           Great American Ventures, Inc. dba Seiver
1300 North 17th Street                            141 Amsterdam Road
Suite 1700                                        Grove City, PA 16127-0000
Arlington, VA 22209-0000
                                                  Great Performances
Graham Holdings Company dba The Slate Gr          304 Hudson Street
1300 North 17th Street                            New York, NY 10013-0000
Suite 1700
Arlington, VA 22209-0000                          Great Southwest Events Inc dba Houston P
                                                  3800 W 11th Street
Graham Stunts Inc 401k                            Houston, TX 77055-0000
30603 El Sueno Drive
Malibu, CA 90265-0000                             Greatist
                                                  Meg Costello
Grainger                                          60 W 22nd St
Dept. 881221865                                   4th Floor
Palatine, IL 60038-0001                           New York, NY    10010-0000

Granco Security Services LLC                      Green Bay Packers Inc
24801 5 Mile Road                                 1265 Lombardi Avenue
Suite 11                                          Green Bay, WI 54304-0000
Redford, MI 48239-0000
                                                  Green Beret Bootcamps, LLC
Granlibakken Management Company Ltd               69 Nimord Drive
PO Box 6329                                       Concord, MA 01742-0000
Tahoe City, CA 96145-0000
                                                  Green Mtn Concert Services, Inc. DBA GMC
Grant Barnes                                      25 Wentworth Drive
1312 Villa Campo NE                               Williston, VT 05495-0000
Albuquerque, NM 87113-0000
                                                  Green Savoree Mid-Ohio LLC dba Mid-Ohio
Grant Hollis                                      7721 Steam Corners Road
3349 Clairemont Drive                             Lexington, OH 44904-0000
Apt 2
San Diego, CA 92117-0000                          Green Valley Security
                                                  PO Box 531606
Grant Stoddard                                    Henderson, NV 89053-0000
25 Thompson St. #1
New York, NY 10013-0000                           Greenwood Printing
                                                  950 W Valley Forge Road
Grant Thornton LLP                                King of Prussia, PA 19406-0000
1901 S Meyers Road
Suite 455                                         Greenwood, Victoria
Oakbrook Terrace, IL   60181-0000                 566 Baltic Street
                                                  Apt 4L
Grant's Pressure Washing, LLC                     Brooklyn, NY 11217-0000
8414 Tyler Ln
Richmond, VA 23231-0000                           Greg Goreck
                                                  PO Box 1017
Graphic Print Stop                                Babson Park, FL    33827-0000
46 South Del Puerto Avenue Suite B
Patterson, CA 95363-0000                          Greg Henry and Associates, LLC
                                                  1120 Clark Brothers Drive
Gray Gold Contracting Inc.                        Buda, TX 78610-0000
59-09 Grand Avenue
Maspeth, NY 11378-0000                            Greg Markle
                                                  127-11 Cronston Avenue
                                                  Rockaway, NY 11694-0000



                                           - 162 -
            Case 20-10036-CSS   Doc 42-1      Filed 02/12/20   Page 164 of 268



Greg Whittier - Economiza Land Clearing          Gregory S James
8323 Lightfoot Dr.                               326 E74th Street
Nokomis, FL 34275-0000                           Apt 19
                                                 New York, NY 10021-0000
Gregor J. Titian
159 West 80 Street                               Gregory Saunders dba The Alternative Foo
Apt. 4C                                          1966 Medford Ave
New York, NY 10024-0000                          Youngstown, OH 44514-0000

GREGORY ALAN YOAKAM                              Gregory W. Reiter
14677 W HWY 26                                   14097 Pylmouth Ave
MITHCELL, OR 97750-0000                          Burnsville, MN 55337-0000

Gregory Edward Laffey                            Gregory Walor
656 Classon Ave                                  2691 Union Street
Apt 2                                            San Francisco, CA    94123-0000
Brooklyn, NY 11238-0000
                                                 Gregory York
Gregory Horvath                                  4082 Barbourville Road
533 22nd St.                                     London, KY 40744-0000
Apt. A
Boulder, CO 80302-0000                           Ground Control Systems Inc.
                                                 3100 El Camino Real
Gregory J. Cohan                                 Atascadero, CA 93422-0000
504 Myrtle Ave
Apt #3N                                          Ground Tech
Brooklyn, NY 11205-0000                          PO Box 9280
                                                 North Saint Paul, MN    55109-0000
Gregory J. McBride
1030 Stroud Ct                                   Groundlink
Charlevoix, MI 49720-0000                        134 W. 37th Street 2nd Floor
                                                 New York, NY 10018-0000
Gregory M Latulippe
912 Castille Road SE                             Group for Horion Ent. Inc dba Ranger Gua
Palm Bay, FL 32909-0000                          2912 Shaver St
                                                 Pasadena, TX 77502-0000
Gregory M. Rogers
301 Poplar Dr                                    Group SJR, LLC
Washington, GA 30673-0000                        466 Lexington Avenue
                                                 4th Floor
Gregory Markle                                   New York, NY 10017-0000
127-11 Cronston Avenue
Rockaway, NY 11694-0000                          Groupon, Inc
                                                 600 West Chicago Ave
Gregory Moore                                    Suite 400
481 Teal Drive                                   Chicago, IL 60654-0000
Melbourne, FL 32935-0000
                                                 Grovo Learning, Inc
Gregory R. Golden dba Mustache Pretzels,         3 Park Avenue
9393 N. 90th Street                              Floor 30
Suite 102-601                                    New York, NY 10016-0000
Scottsdale, AZ 85258-0000
                                                 GRP 2011, LLC
Gregory R. Stolfer                               8556 Gibson Ranch Road
3011 Lake Road West                              Elverta, CA 95626-0000
Ashtabula, OH 44004-0000




                                           - 163 -
            Case 20-10036-CSS   Doc 42-1      Filed 02/12/20   Page 165 of 268



Grundy County                                    Gutkowski, Lucas
111 E. Wasington Street                          95 Madison Street
Room 33                                          #3A
Morris, IL 60450-0000                            New York, NY 10002-0000

Grundy County Agricultural District Fair         Guy Flowers
PO Box 379                                       1116 Kathryn Road
Mazon, IL 60444-0000                             Mt. Juliet, TN 37122-0000

Grundy County Treasurer                          GWG Holdings Inc.
1320 Union Street                                220 South 6th Street
Morris, IL 60450-0000                            Suite 1200
                                                 Minneapolis, MN 55402-0000
G-Suite
Subscription Service                             H&B Inc dba Fast Track Concessions
1600 Amphitheatre Parkway                        Steven Rubin
Mountain View, CA 94043-0000                     301 Huntington Ave
                                                 Boston, MA 02115-0000
Guardian Security & Protection LLC
50 Strawberry Lane                               H&J Meats Inc. DBA Rent My Tent
Canton, MA 02021-0000                            6629 Engle Road #102
                                                 Middleburg Heights, OH 44130-0000
Guardsman Security and Investigation Inc
121 East Broadway                                H. L. Turner Group Inc., The
Sedalia, MO 65301-0000                           27 Locke Road
                                                 Concord, NH 03301-0000
Gulf Coast Tent Rentals, LLC
608 Timesaver Ave                                Hailstone Ice
Harahan, LA 70123-0000                           527 St Marks Ave
                                                 Brooklyn, NY 11238-0000
Gumball Foundation
c/o Ezequiel Olvera                              Halcrow, Inc.
4060 S. Figueroa Street                          22 Cortland Street
Los Angeles, CA 90037-0000                       New York, NY 10007-0000

Guns & Hoses Project, Inc.                       Halm Electrical Contracting Inc.
340 W. Highland Drive                            1301 North LaSalle Street
Lakeland, FL 33813-0000                          Ottawa, IL 61350-0000

Gunstock Area Commission dba Gunstock Mo         Halterman Reynolds, LLC
719 Cherry Valley Road                           4105 Progress Drive
Gilford, NH 03249-0000                           Ottawa, IL 61350-0000

Gunstock Mountain Resort                         Hammett Asphalt Paving Inc
P O BOX 1037                                     425 Oak Street
LACONIA, NH 03247-0000                           Mansfield, OH 44907-0000

Gunstock Nordic Association                      Hanif Champion
PO Box 7493                                      45 Wall Street
Gilford, NH 03247-0000                           Apt 1913
                                                 New York, NY 10005-0000
Gustavo Llerenas dba Affordable Dumpster
1626 Storington Avenue                           Hank M. Miller
Brandon, FL 33511-0000                           3895 Greenvale Road
                                                 Watertown, TN 37189-0000




                                           - 164 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 166 of 268



Hanna Copper                                     Health Special Risk, Inc
1706 SE 35th Pl                                  4100 Medical Parkway
Portland, OR 97214-0000                          Suite 200
                                                 Carrollton, TX 75007-0000
Hardware Sales Inc dba Hardware Sales In
2034 James Street                                Health Transport Inc dba Trans Care Medi
Bellingham, WA 98225-0000                        PO Box 14274
                                                 Ft. Worth, TX 76117-0000
Harmony Emergency Medical Service, Inc.
102 Mennonite Lane                               Heartland Park Raceway LLC
Harmony, PA 16037-0000                           7530 Southwest Topeka Boulevard
                                                 Topeka, KS 66619-0000
Harold Bryan McDonald
6180 Sparta Place                                Heath Brannagan
Watertown, TN 37184-0000                         8174 Little Florida Road
                                                 Mechanicsville, VA 23111-0000
Harold Kabler
401 W. 2nd Street                                Heather Gollnick
Maysville, KY 41056-0000                         PO Box 773177
                                                 Steambort Springs, CO    80477-0000
Harris, Richard M.
205 East 77th Street                             Heavy Duty Foods Inc. dba Dekalb Wholesa
APT 7B                                           325 Edward Street
New York, NY 10075-0000                          Suite D
                                                 Sycamore, IL 60178-0000
Harry Neuhaus dba Neuhaus Consulting
371A Union Street                                Hees & Associates , Inc
Brooklyn, NY 11231-0000                          1381 Fifth Street
                                                 Sarasota, FL 34236-0000
Harvey I Wolff dba Nosh LLC
7850 Ledgestone Loop NEq                         Heidelberg Township
Bainbridge Island, WA 98110-0000                 6272 Route 309 Suite A
                                                 New Tripoli, PA 18066-0000
Haulaway Storage Containers
PO Box 186                                       Heiferman Inc dba AAA Rental System, Chi
Stanton, CA 90680-0000                           3020 W. 167th Street
                                                 Markham, IL 60428-0000
Hayden Stanton Perdue
829 Kingston Drive                               Hempy Water of Tiffin, LLC dba Hempy Wat
Mansfield, TX 76063-0000                         227 S Washington Street
                                                 Tiffin, OH 44833-0000
Hays County Sheriff
1307 Uhland Road                                 Henderson Police Department
San Marcos, TX 78666-0000                        Event Coordinator, MSC #211
                                                 PO Box 95050
HBC Event Travel Services                        Henderson, NV 89009-5050
215 Central Avenue Suite 3A NW
Albuquerque, NM 97102-0000                       Hendry County Planning and Zoning
                                                 P.O. Box 2340
Headcount Management Inc.                        165 S. Lee Street
P.O. Box 202056                                  LaBelle, FL 33975-2340
Dallas, TX 75320-0000
                                                 Henry Clay Elementary School PTA
Headliner, LLC dba Charlotte Stage and S         310 S. James Street
735 Concord Pkwy. North                          Ashland, VA 23005-0000
Suite A
Concord, NC 28027-0000




                                           - 165 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 167 of 268



Henry Dominguez                                  Hilton Concret LLC
400 S. Burnside Ave                              163 palmer Ave.
#11 J                                            Belford, NJ 07708-0000
Los Angeles, CA 90036-5435
                                                 Hilton Displays, LLC
Hensley & Company dba Hensley Beverage C         125 Hillside Drive
4201 N 45th Avenue                               Greenville, SC 29607-0000
Phoenix, AZ 85031-0000
                                                 Hilton San Bernardino
Herald Hotel Associates, LP dba Radisson         285 East Hospitality Lane
49 West 32nd Street                              San Bernardino, CA 92408-0000
New York, NY 10001-0000
                                                 Hinshaw & Culbertson LLP
Herc Rentals Inc fka Hertz Equipment Ren         222 N. LASALLE STREET #300
27500 Riverview Center                           CHICAGO, IL 60601-0000
Bonita Springs, FL 34134-0000
                                                 Hire Quest LLC dba Trojan Labor
Heritage Farms LLC                               111 Springhall Drive
5500 Salem Run Rd                                Goose Creek, SC 29445-0000
Charles City, VA 23030-0000
                                                 Hodge Engineering, Inc.
HEROES Care                                      2615 Jahn Ave NW Ste. E5
1306R West Lark Industrial Park                  Gig Harbor, WA 98355-0000
Fenton, MO 63026-0000
                                                 Hoelzer, Katherine A.
Hi Hat Ranch, LLLP                               2112 Newtown Ave
11708 Fruitville Road                            APT 4RL
Sarasota, FL 34240-0000                          Astoria, NY 11102-0000

Hicks Brothers LLC                               Holbrook Simmons Call
140 East Doe Run Road                            189 Heidelberg Place
Kenneth Square, PA 19348-0000                    Stansbury Park, UT 84074-8121

Higgins Electric Inc                             Holmdel Township Police Department
PO Box 218                                       4 Crawfords Corner Road
806 South Sturgeon                               Holmdel, NJ 07733-0000
Montgomery City, MO 63361-0000
                                                 Homeland Contracting Corp.
High Hope Foundation of NH, Inc.                 625 Innovation Drive
12 Murphy Drive                                  Suite 104
Suite 106                                        Chesapeake, VA 23320-0000
Nashua, NH 03062-0000
                                                 Homestead-Miami Speedway
High Speed Communications dba hscusa.tv          Accounting
36-11 20th Avenue                                PO Box 2801
Astoria, NY 11105-0000                           Daytona Beach, FL 32120-2801

High Summit LLC dba Special Events               Honest Abe's Locksmith Inc.
Special Events                                   133 Concord Street Suite 3C
295 S. Vasco Road                                Brooklyn, NY 11201-0000
Livermore, CA 94551-0000
                                                 Honey Bucket
Hilco Valuation Services                         PO Box 12923
5 Revere Drive                                   Salem, OR 97309-0000
Suite 300
Northbrook, IL 60062-0000




                                           - 166 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 168 of 268



Hoover Hull LLP                                  Huview Productions, LLC
111 Monument Circle Suite 4400                   4421 Commerce Circle
PO Box 44989                                     Atlanta, GA 30336-0000
Indianapolis, IN 46244-0000
                                                 HWStae Holdings Corp. dba Advance Dispos
Horse Powered with Love                          90 Ft. Wade Road
39100 River Drive                                Ponte Vedra, FL 32081-0000
Lebnon, OR 97355-0000
                                                 I&A Outdoor Services & Rubbish Removal I
HOUSTON - American Medical Response              103 Kean Street
PO Box 31001-1584                                West Babylon, NY 11704-0000
Pasadena, CA 91110-1584
                                                 Ian Andrew Robertson
Houston Raceway Park Inc.                        608 Latshmere Drive
2525 South FM 565                                Harrisburg, PA 17109-0000
Baytown, TX 77523-0000
                                                 Ian Hosek dba Hosek Performance Engineer
Houston Tent & Party Rentals LLC dba Ale         3245 SW 124th Avenue
2502 Farrell Road                                Beaverton, OR 97005-0000
Houston, TX 77073-0000
                                                 Ian Nicklen
Howard Hanna WNY, Inc. dba Hanna Commerc         7259 Zest Street
910 Maple Road                                   San Diego, CA 92139-0000
Williamsville, NY 14221-0000
                                                 ICB
Human Association of Wilson Co, Inc. dba         1738 Tennessee Avenue
507 Jim Daper Blvd                               Cincinnati, OH 45238-0000
Lebanon, TN 37087-0000
                                                 Ice Now NV LLC
Hunter College                                   2440 W. Lincoln Street
Office of the Bursar                             Suite 140
695 Park Avenue                                  Phoenix, AZ 85009-0000
New York, NY 10065-0000
                                                 Ice Works LP
Hunter Garrahan McIntyre                         9224 B Research Blvd
3418 Latigo Canyon Road                          Austin, TX 78758-0000
Malibu, CA 90265-0000
                                                 iCIMS.com
Hunter Manchak                                   90 Matawan Road, Parkway 120 5th floor
5246 Dunleigh Drive                              Matawan, NJ 07747-0000
Burke, VA 22015-0000
                                                 Icreon Tech
Hunter McIntyre                                  597 5th Avenue
3814 Latigo Canyon Road                          Floor 12
Malibu, CA 90265-0000                            New York, NY 10017-0000

HunterPoint LLC                                  ID.me, Inc.
641 Lexington Avenue                             7927 Jones Branch Drive
15th Floor                                       Suite 3350
New York, NY 10022-0000                          McLean, VA 22102-0000

Hurricane Sandy New Jersey Relief Fund I         Ikon3 LLC
P.O. Box 95                                      PO Box 126
Mendham, NJ 07945-0000                           Clementon, NJ    08021-0000

Husky Portable Containment Co.                   Illinois Department of Revenue
7202 SE International Court                      P.O. Box 19006
Bartlesville, OK 74006-0000                      Springfield, IL 62794-9045



                                           - 167 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 169 of 268



Illinois State Police                            Innovation Catering Inc dba Queen City C
800 South Sixth Street                           601 Calvert Street
Suite 700-S                                      Charlotte, NC 28208-0000
Springfield, IL 62703-0000
                                                 Innovation Catering, Inc dba Queen City
Image Graphic Premier Applicators, Inc.          601 Calvert Street
PO Box 382                                       Charlotte, NC 28208-0000
Waconia, MN 55387-0000
                                                 Insight Consulting LLC
Impact Air Bags LLC                              327 101 Street
748 N. McKeever Ave                              1A
Azusa, CA 91702-0000                             Brooklyn, NY 11209-0000

Impasto                                          In-Tents Rentals
885 Penniman Ave                                 1 Passaic Avenue
Unit #6280                                       Bldg # 56
Plymouth, MI 48170-0000                          Wood-Ridge, NJ 07075-0000

Impeccable Impressions                           Interinsurance Exchange of the Automobil
879 Lenox Road, Unit C6                          3333 Fairview Road
Brooklyn, NY 11203-0000                          A120
                                                 Costa Mesa, CA 92626-0000
Indeed
PO Box 122652                                    Intermountain
Dallas, TX 75312-0000                            7 South Main Street
                                                 #203
Independent School Dist. 12 dba Centenni         Tooele, UT 84074-0000
4707 North Road
Circle Pines, MN 55014-0000                      Intermountain Golf Cars, Inc
                                                 9115 South 700 East
INDIGO PRODUCTIONS                               Sandy, UT 84070-0000
dba KATHLEEN A. CROSS
313 KENSINGTON AVE                               International Association of Lions Hugo
BUFFALO, NY 14214-0000                           PO Box 321
                                                 Hugo, MN 55038-0000
Infinite
PO Box 836                                       International Association of Lions-Elkha
Short Hills, NJ   07078-0000                     PO Box 404
                                                 Elkhart Lake, WI 53020-0000
Inflatable 2000 Inc
207 North Aspan Avenue                           International Mountain Bicycling Associa
Suite 6                                          4888 Pearl East Circle
Azusa, CA 91702-0000                             Suite 200E
                                                 Boulder, CO 80301-0000
InfoStore Online, LLC
34 42nd Street                                   International Speedway Corp. dba ISM Rac
Whitehouse Station, NJ   08889-0000              One Daytona Boulevard
                                                 Daytona Beach, FL 32114-1243
Inn at Sarasota
5778 Clark Road                                  Internet Creations 2000 LLC
Sarasota, FL 34233-0000                          2000 Water View Drive
                                                 Suite 100
InnerWorkings Inc.                               Hamilton, NJ 08691-0000
600 W. Chicago Avenue
Suite 850                                        Internet Escrow Services Inc
Chicago, IL 60654-0000                           30318 Esperanza
                                                 Rancho Santa Margarita, CA 92688-0000




                                           - 168 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 170 of 268



Intersection Media Holdings, Inc dba Int         ITAV Solutions, Inc.
100 Park Ave                                     9570 Ridgehaven Court
Suite 610                                        Suite A
New York, NY 10017-0000                          San Diego, CA 92123-0000

INTERSTATE PLASTICS                              J A Cattle Company RV Campground, Inc.
P O BOX 130027                                   3791 Ward Basin Road
SACRAMENTO, CA 95853-0000                        Milton, FL 35283-0000

Invictus Productions                             J C ATM
730 West Fir Court                               1640 Powers Ferry Rd.
Louisville, CO 80027-0000                        Bldg-2-125
                                                 Marietta, GA 30067-0000
Invision Services
1642 54th Street                                 J&M Distributing Co. Inc dba Certo Broth
Somerset, WI 54025, WI   54025-0000              2500 North America Drive
                                                 West Seneca, NY 14224-0000
Ion Radarworks
501 Seventh Ave                                  J.A. Fortier Ice Co. dba J&S Vending Inc
Suite 1610                                       40 Haynes Hill Road
New York, NY 10018-0000                          PO Box 251
                                                 Wales, MA 01080-0000
IPFS Nexo Insurance Services
24722 Network Place                              J.T. Magen and Company Inc.
Chicago, IL 60673-1247, IL 60673-0000            44 West 28th Street
                                                 New York, NY 10001-0000
Iron Paper
555 Eigth Avenue                                 JAB Media, Inc.
New York, NY 10018-0000                          Audio Professionals NW
                                                 750 SE Visa Avenue
Irvin Lepp                                       Gresham, OR 97080-0000
8338 County Road D
Random Lake, WI 53075-0000                       Jaba Foods Company, LLC dba Pinoque
                                                 497 Aberdeen Way
Isaiah Vidal dba Projectvial LLC                 Vacaville, CA 95687-0000
3351 Killingsworth Lane
Unit 503                                         Jack Curran
Pflugerville, TX 78660-0000                      18 Town Way
                                                 Winchester, MA    01890-0000
Ismael Qureshi dba ISH Events LLC
84-64 169 Street                                 Jack Goras dba Jack Goras Photography LL
Jamaica, NY 11432-0000                           4046 N. Goldenrod Road PMB237
                                                 Winter Park, FL 32792-0000
ISP Supplies, LLC
10770 State Highway 30                           Jackie Dunlap
Suite 200                                        58 Spencer Ave
College Station, TX 77845-0000                   Clifton, NJ 07013-0000

IT Xchange Financial Services (2013) Inc         Jackie F.Graves
9241 Globe Center                                153 Indian hill Rd.
Suite 100                                        Washington, GA 30673-0000
Morrisville, NC 27560-0000
                                                 Jackie Gordon Feggans
IT Xchange Financial Services,Inc dba Ve         336 Florida Street
9241 Globe Center Drive                          Buffalo, NY 14208-0000
Unit 100
Morrisville, NC 27560-0000




                                           - 169 -
            Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 171 of 268



Jacklyn Soriano                                 Jake DiGregorio
200 Laird Avenue                                345 N Lasalle Drive
Unit 101                                        Unit 1705
Cliffside Park, NJ   07010-0000                 Chicago, IL 60654-0000

Jackson Alexander Sneed                         Jake Phillips
379 North Main Street                           6901 East Fish Lake Road
Mt. Pleasant, NC 28124-0000                     Suite 188
                                                Maple Grove, MN 55369-0000
Jackson Community Ambulance
PO Box 2351                                     Jalbert Productions Inc
Dept 300                                        230 New York Ave.
Indianapolis, IN 46206-0000                     Huntington, NY 11743-0000

Jackson County Office of the Sheriff            Jam   Consultants, Inc.
212 West Wesley Street                          104   West 29th Street
Jackson, MI 49201-0000                          9th   Floor
                                                New   York, NY 10001-0000
Jacob Bersie
4838 W. Flethcher                               James & Company, LLC
Apt. 2                                          230 Park Aveune
Chicago, IL 60641-0000                          Suite 920
                                                New York, NY 10169-0000
Jacob Heppner
22144 179th Street                              James A Furuya DBA EventFuel LLC
Tonganoxie, KS 66086-0000                       5246 Norwaldo Ave
                                                Indianapolis, IN 46220-0000
Jacob Houp
1533 Pheasant Trail                             James A. Dixon
Inverness, IL 60067-0000                        PO Box 305
                                                Cheraw, SC 29520-0000
Jacob Ramsby
14815 Rowley Road                               James Abey dba Puff Productions
Durand, IL 61024-0000                           12140 Siegel Avenue
                                                Cole Camp, MO 65325-0000
Jacob's Excavating Inc.
P.O. Box 1086                                   James Brian Carpenter
Mansfield, OH 44901-0000                        238 Fair Street
                                                PO Box 22
Jacqueline Colavolpe                            Quaker City, OH 43773-0000
152 Martin Drive
Novato, CA 94949-0000                           James Cole dba Cinematic Digital Media
                                                PO Box 1501
Jade Rebecca Belzberg                           Kings Beach, CA 96143-0000
218 North Garden terrace
Bellingham, WA 98225-0000                       James D Ross
                                                46361 Atkinson Road
Jagdschloss Herdringen                          St Clairsville, OH 43950-0000
Zum Herdringer Schloss 7
Arnsberg, NY 59757-0000                         James E. Young
                                                56 South Gamble Street
Jaimie Byerly                                   Shelby, OH 44875-0000
210 Longmeadow Drive
Wilmington, DE 19810-0000                       James F Hamlin Jr dba DOP Media LLC
                                                203 Bay Laurel Circle
Jaindl Land Company                             Warner Robins, GA 31088-0000
3150 Coffee Town Road
Orefield, PA 18069-0000



                                         - 170 -
            Case 20-10036-CSS   Doc 42-1     Filed 02/12/20   Page 172 of 268



James Farrell                                   James Purifoy dba 15th and Chris
59 Jewel Street                                 201 15th Ave
Apt. 2L                                         Rockford, IL 61104-0000
Brooklyn, NY 11222-0000
                                                James Quigley
James Hatton                                    9308 South First Street
38 Irving Street                                Apt. #1115
Boston, MA 02114-0000                           Austin, TX 78748-0000

James Hendricks                                 James R. Applebee
522 Idlewood Court                              8245 West Norman Road
Mt. Juliet, TN 37122-0000                       Seneca, IL 61360-0000

James Kiley dba OVR Ride LLC                    James R. Wick
3 Maryland Drive                                23076 Creekview
Jackson, NJ 08527-0000                          Rogers, MN 55374-0000

James Komives                                   James Richard Miller I
528 Pinkney Rd.                                 1651 Makinson Road
Mansfield, OH 44903-0000                        West Point, TX 78963-0000

James L. Garfield dba JLG Management            James River Printing LLC
919 12th Street                                 2900 A Cedar Lane
Unit 1                                          Colonial Heights, VA 23834-0000
Santa Monica, CA 90403-0000
                                                James Robert Vaughn
James Lawler                                    2328 Bur Oak Drive
9204 Doe Ct.                                    Cantonment, FL 32533-0000
Charlotte, NC   28277-0000
                                                James S. Becker III dba Positive Trace E
James M Coulter                                 240 Quaker Farms Road
8 West Williams Street                          Oxford, CT 06478-0000
Marengo, OH 43334-0000
                                                JAMES SLIDER
James M. Stankiewicz dba Malarkey Photo         247 MCCORMICK STREET
276 N. Bay Street                               WILLIAMSTON, MI 48895-0000
Manchester, NH 03104-0000
                                                James Troy Teller
James Maravalli                                 1690 Lakeview Estates Drive
3320 Park Ave                                   Coldspring, TX 77331-0000
Apt 1
Weehawken, NJ 07086-0000                        James Wilde
                                                66 Village Lane
James McRobbie                                  Hauppauge, NY 11788-0000
4310 Running Brook Drive
Rowlett, TX 75088-0000                          James Zeuch
                                                3342 Shoal Creek Lane
James Newlin                                    Apt. #6
105 Fairground Ave                              Hillard, OH 43026-0000
Hayerstown, MD 21740-0000
                                                Jamie Lee
James P. Sweat                                  88 Second Avenue
2532 Stout Road                                 Apt. 2
Lucas, OH 44843-0000                            New York, NY 10003-0000

James Patts Jr.                                 Jamie Lynn Wilts
4 Church Hill Lane                              PO Box 294
Redding, CT 06896-0000                          Wilernie, MN 55090-0000



                                          - 171 -
            Case 20-10036-CSS   Doc 42-1      Filed 02/12/20   Page 173 of 268



Jamie Spadafora                                  Jason D. Helmstadter
27 Highview Ave                                  10396 Derby Drive
Nanuet, NY 10954-0000                            Sun Prairie, WI 53590-0000

Jammar MFG Co. Inc.                              Jason Daley
26 Industrial Park Road                          12805 Germane Ave
Niantic, CT 06357-0000                           Apple Valley, MN 55124-0000

Jan Von Horsten                                  Jason E Dillon
Trilluper Weg 16B                                8810 Erbach Lane
Hamburg, NY 22397-0000                           Mt Pleasant, NC 28124-0000

Jane S. Cook dba Cook's Crooked Pot              Jason G Stafne
PO Box 1605                                      1354 146th Ave
Bastrop, TX 78602-0000                           New Richmond, WI    54017-0000

Janesville Acquisition Inc dba Bobcat of         Jason Griffith
4000 N Newville Road                             450 N. Broadway Avenue
Janesville, WI 53545-0000                        Bartow, FL 33830-0000

Janet Rohde                                      Jason Kappus
R9252 County Road J                              2109 N. Sargent Road
Schofield, WI 54476-0000                         Spokane Valley, WA 99212-0000

Janet Vaughn                                     Jason McCord dba McCord Family Farms
1660 Mt. Major Hwy                               1188 Roy Sellers Road
Alton, NH 03810-0000                             Columbia, TN 38401-0000

Jared Fuller                                     Jason Michael Gilmore
3840 Stewarts Ferry Pike                         1892 Oberhaus Street
Mt. Juliet, TN 37122-0000                        Mt. Pleasant, NC 28124-0000

Jared John Rego                                  Jason Negron
16 Waterford Circle                              829 Greenwood Ave
Dighton, MA 02715-0000                           Apt 2S
                                                 New York, NY 11218-0000
Jared Stewart
5652 South Parkside Avenue                       Jason Peterson
Chicago, IL 60638-0000                           PO Box 10245
                                                 Zephyr Cove, NV    89448-0000
Jarred M. Sutton
PO Box 221                                       Jason Robert Schwack
Jersey City, NJ 07303-0000                       58957 Little Kate Rd.
                                                 Byesville, OH 43723-0000
Jason A. Harley
3925 Kensington Ave                              Jason Rulo
Detroit, MI 48224-0000                           127 7Trails Drive
                                                 Apt A
Jason Aaron Vizcarra                             Ballwin, MO 63011-0000
845 Central Ave
Elgin, TX 78621-0000                             Jason S. Schweizer
                                                 3454 E. Powell Way
Jason Alexander Walker                           Gilbert, AZ 85289-0000
8630 E. Franklin Street
Mt. Pleasant, NC 28124-0000                      Jason W Fleenor
                                                 1146 Benner Hwy
                                                 Clayton, MI 49235-0000




                                           - 172 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 174 of 268



Jason Webber                                     Jeff Ates, III
339 Terwillegers Run                             3791 Ward Basin Road
Maineville, OH 45039-0000                        Milton, FL 32583-0000

Jay Rosenweig dba Long Island Speed Dati         Jeff Beer
21050 41st Avenue                                1150 Country Road A
Apt 3B                                           Hudson, WI 54016-0000
Bayside, NY 11361-0000
                                                 Jeff Hughes
JayBird Portable Restrooms, LLC                  9491 152nd St. N
48 Tingle Trapp Road                             Hugo, MN 55038-0000
Lawrenceburg, TN 38464-0000
                                                 Jefferson Parish Sheriff's Office
Jayce John Jackson Yeager                        Sales Tax Division
198 Ocean Pack Drive                             200 Derbigny Street, Suite 1200
Anchorage, AL 99515-0000                         Grenta, LA 70054-0000

Jayme Minchew                                    Jefferson Rental Center
6120 Jeff Ates Road                              204 North 2nd Street
Milton, FL 32583-0000                            PO Box 110
                                                 Jefferson, OR 97352-0000
JCC Security Agency LLC
2359 NW 55th Street                              Jeffery Spears
Miami, FL 33142-0000                             130 Malabar Road
                                                 Palm Bay, FL 32907-0000
JCDecaux Airport, Inc
3 Park Avenue                                    Jeffrey D Sellers dba Custom Security Gu
Floor 3                                          8460 S. Eastern Avenue
New York, NY 10016-0000                          Suite A
                                                 Las Vegas, NV 89123-0000
JCJ Executive Protection LLC
10730 E. Bethany Drive                           Jeffrey Davis Shoaf
Suite 150                                        175 Warrenton Drive
Aurora, CO 80014-0000                            Houston, TX 77024-0000

Jcob T. Kane dba JK Landscape & Design L         Jeffrey Dowling
30007 Marlin Drive                               25 Ormond Ave
Wright City, MO 63390-0000                       Selden, NY 11784-0000

Jean Paul Dipietro                               Jeffrey E. Milstein
5555 East 8th Avenue                             679 Ithaca Place
Hialeah, FL 33013-0000                           East Windsor, NJ 08520-0000

Jeff Aguirre                                     Jeffrey G. Hord
PO Box 32                                        7257 Taylor Mill Road
Whitney, TX 76692-0000                           Maysville, KY 41056-0000

Jeff Arens dba My Office Plus                    Jeffrey M. Doerr
517 N Sturgeon                                   200 Freedom Lane
P.O. Box 156                                     Wright City, MO 63390-0000
Montgomery City, MO 63361-0000
                                                 Jeffrey Martinez
Jeff Ates IV                                     15 Church Towers #6M
6400 Jeff Ates Road                              Hoboken, NJ 07030-0000
Milton, FL 32583-0000
                                                 Jeffrey V. Leroy
                                                 105 E. Frances Lane
                                                 Gilbert, AZ 85295-0000



                                           - 173 -
             Case 20-10036-CSS   Doc 42-1    Filed 02/12/20   Page 175 of 268



Jeffrey Watts                                   Jeremy Smith
6220 Ray Linker Road                            12 Clifford Place
Concord, NC 28025-0000                          2R
                                                Brooklyn, NY 11222-0000
Jeff's Girls Relay for Life
PO Box 53                                       Jerlyn M. Skrocki
Lucas, OH 44843-0000                            3011 Centerpoint Rd
                                                San Marcos, TX 78666-0000
JEN   MIZONO
304   W 92 ND STREET                            Jerod McBrayer
APT   8L                                        484 Paragon Mills Road
NEW   YORK, NY 10025-0000                       Nashville, TN 37211-0000

Jenifer Munro                                   Jerry M. Hackney
2526 Capitol Avenue                             611 Billy Lindsey Rd.
Sacramento, CA 95816-0000                       Washington, GA 30673-0000

JENNA WHITELEY                                  Jesse Benedetti
15 EAST 30TH STREET                             620 West 42nd Street
NEW YORK, NY 10016-0000                         Apt. 56E
                                                New York, NY 10036-0000
Jennifer A. Dancer
222 North 16th Street                           Jesse Bull
Quincy, IL 62301-0000                           851 Hart Street
                                                Apt 3R
Jennifer Bleeker                                Brooklyn, NY 11237-0000
964 Rydal Road
Jenkintown, PA 19046-0000                       Jesse Holder
                                                1066 Clarkson Street
Jennifer Jones dba Accelerate Analytics         Apt 8
PO Box 131                                      Denver, CO 80218-0000
Rhinecliff, NY 12574-0000
                                                Jesse Ray Paradis
Jennifer Moffatt                                269 Conference Road
2208 Cricket Lane                               Watertown, TN 37184-0000
Apt #2208
East Walpole, MA 02032-0000                     Jesse Simon Barrington
                                                21-22 Broadway
Jennifer R. Starwalt                            Floor 1
832 DeKalb Avenue                               Astoria, NY 11106-0000
Apt. 2N
Brooklyn, NY 11221-0000                         Jesse Suelter
                                                126 Natalie Circle NE
Jennifer Rau                                    Palm Bay, FL 32907-0000
109 Jodhpur Drive
Cary, NC 27513-0000                             Jessica Alpert Goldman
                                                208 King Street
Jennifer Virginia Nelson                        Englewood, NJ 07631-0000
3752 Powder Horn Drive
Furlong, PA 18925-0000                          Jessica Griffith
                                                247 Cypress Hills Court
Jens Soto                                       Ozark, MO 65721-0000
21 Old Sugar Mill Lane
Orlando, FL 34769-0000                          Jessica L Kelly
                                                316 High Street
Jeremy Lee Bucalo                               Brilliant, OH 43952-0000
16 Ascot Drive
Shrewsbury, PA 17361-0000



                                          - 174 -
            Case 20-10036-CSS   Doc 42-1      Filed 02/12/20   Page 176 of 268



Jessica L. Graff dba Wing It Inc. aka Th         Jim Mendenhall
4050 Old Topanga Canyon Road                     5215 Mentmore Avenue
Calabasas, CA 91302-0000                         Spring Hill, FL 34606-0000

Jessica Lynn Garcia                              Jive Software
536 White Oak Trail                              915 SW Stark, Ste 400
Spring Hill, TN 37174-0000                       Portland, OR 97205-0000

Jessica M. Pak                                   JJ Taylor Distributing Florida, Inc
5302 Nathan Ave SE                               2040 Park 82 Drive
Auburn, WA 98092-0000                            Fort Myers, FL 39905-0000

Jessica Neale                                    JK Rentals Inc
213 Amesbury Lane                                PO Box 467
Newport News, VA 23606-0000                      Kewaskum, WI 53040-0000

Jessica Scheer                                   JLG Enterprise, Inc dba Premier Audio Vi
640 Prairie Street                               130 West Main Street
Marinette, WI 54143-0000                         Mesa, AZ 85201-0000

Jessica Shapiro                                  JoAnn Wanca
440 Front Street                                 17 David Court
Weymouth, MA 02188-0000                          Millstone Township, NJ    08535-0000

Jessie Erin Richardson Schwer                    Jobsity LLC
1913 Bel Aire Drive                              228 Park Avenue S
Tullahoma, TN 37388-0000                         Suite# 62771
                                                 New York, NY 10003-0000
Jessie Kirchman
35 Ft. Washington Ave                            Joby Peake
Apt #5G                                          37 Park Circle NE
New York, NY 10032-0000                          Atlanta, GA 30305-0000

Jessie Noid                                      Jodi Elizabeth Hoodless
13513 Zenith Lane                                6100 Jeff Ates Road
Eden Prairie, MN 55346-0000                      Milton, FL 32583-0000

Jesus Manuel Morales dba MM Trucking & S         Joe Davolio
PO Box 4295                                      2039 Chesapeake Road
Basalt, CO 81621-0000                            Annapolis, MD 21409-0000

Jesus Morales                                    Joe Gough
47 Cowing Place                                  110 Green Street, Apt A208
Stamford, CT 06906-0000                          Brooklyn, NY 11222-0000

Jeycob William Carlson                           Joe Robinson dba New Bite Mobile Food Tr
648 Hardell Lane                                 4801 Iasuna Blvd
Vista, CA 92084-0000                             Suite 105/329
                                                 Elle Grove, CA 95758-0000
JFE Transport LLC
The Dumpster Depot                               Joel Burrows
12 Scotch Pine Rd.                               636 9th Avenue
Canterbury, NH 03224-0000                        La Grange, IL 60525-0000

Jillian Schultz                                  Joel Garcia
1120 N. Lakeshore                                8294 Peak Avenue
Drive #18CD                                      Lakeland, FL 33810-0000
Chicago, IL 60611-0000



                                           - 175 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 177 of 268



Joel George                                      John H. Lyman and Sons
6722 S. Dahlia Court                             310 Hoyt Road
Centennial, CO 80122-0000                        Gilford, NH 03249-0000

Joel Howard Murphey                              John Hancock
5575 E Milton Road                               ATTN: Billing and Income, C-6
Milton, FL 32572-0000                            197 Clarendon Street
                                                 Boston, MA 02116-0000
Joe's Sanitation
PO Box 1268                                      John Ly
Pahrump, NV 89041-0000                           21-32 Crescent Street
                                                 Apt. C4
John Bartolucci                                  Astoria, NY 11105-0000
555 Stumbo Rd
Ontario, OH 44906-0000                           John Michael Day
                                                 72 Euclid Ave
John C Hefele dba Unlimited Truck & Auto         Brooklyn, NY 11208-0000
2001 N E Service Road
Warrenton, MO 63383-0000                         John Montpetit
                                                 Box 12 1868 Cty Road I
John C. Jordon                                   Smoerset, WI 54025-0000
249 1/2 East Main St.
St. Clairsville, OH 43950-0000                   John Morgan
                                                 827 Glenwick Court
John D. McCarn                                   Burelson, TX 76028-0000
7139 Hartsville Ruby Road
Patrick, SC 29584-0000                           John Nguyen
                                                 1243 Blue Lake Blvd
John Daniel Casey II                             Arlington, TX 76005-0000
6902 East 76th Street
Tulsa, OK 74133-0000                             John P Soto
                                                 3305 Wilshire Way Road
John Daniel Stinger                              Orlando, FL 32829-0000
15015 42nd Street N
Stillwater, MN 55082-0000                        John Partridge
                                                 1665 Liberty Hill Road
John Daniel Stringer                             Alexandria, TN 37012-0000
15015 62nd St N
Stillwater, MN 55082-0000                        John Patrick Deuhs
                                                 4046 Upper 69th Street East
John DeVenezia                                   Inver Grove, MN 55076-0000
1024 Kirkham Street
San Francisco, CA 94122-0000                     John Russell Carby
                                                 16204 Royal Crest Lane
John Fagan                                       Edmond, OK 73013-0000
5916 Grace Lee Ave
Sykesville, MD 21784-0000                        John Russell Neal Jr.
                                                 130 Malabar Road SE
John H. Burrows Inc dba Bonanza Produce          Palm Bay, FL 32909-0000
1925 Freeport Blvd
Sparks, NV 89431-0000                            John Sixt and Son, Inc
                                                 13990 East Schutt Road
John H. Dennis                                   Chaffee, NY 14030-0000
421 Hunt Lane
Crestline, CA 92325-0000                         John Sohigian
                                                 10 Patrick Drive
                                                 Fairfield, CT 06824-0000




                                           - 176 -
             Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 178 of 268



John Stephen Whitman                           Jon Butts dba Muscle Up Marketing LLC
324 East 94th Street                           11675 Rainwater Drive
New York, NY 10128-0000                        Ste 675
                                               Alpharetta, GA 30009-0000
John Tyler Dragon
42 East Gat Street                             Jon Paul Sigler
Apt. #3                                        562 Dirlam Lane
West Chester, PA 19380-0000                    Mansfield, OH 44904-0000

John W. Merchant                               Jonathan Blair
203 Sunfish Drive                              118 Seigel Street
Interlachen, FL 32148-0000                     Apt 1
                                               Brooklyn, NY 11206-0000
John Wallace dba B+B Oil Company, Inc
2906 N. Martin Street                          Jonathan Bogash
East Point, GA 30344-0000                      PO Box 320129
                                               San Francisco, CA    94132-0000
John Whiteley
290 Bilindsay Road                             Jonathan David Montalbano
Seagoville, TX 75159-0000                      15330 Brahma Rd
                                               Polk City, FL 33868-0000
Johnathan Crookham
3385 Elberton Hwy                              Jonathan Hernandez
Lincolnton, GA 30817-0000                      1214 E. Cowboy Cove Trail
                                               San Tran Valley, AZ 85143-0000
Johnathan V. Stanfill
901 Creekview Drive                            Jonathan L. Logan
Columbia, TN 38401-0000                        1532 Harvard Circle
                                               Apt #7
Johns Hopkins University                       Palm Bay, FL 32905-0000
1101 E. 33rd Street
Suite C020                                     Jonathan Nam Luu
Baltimore, MD 21218-0000                       1346 Hancock St. #1R
                                               Brooklyn, NY 11237-0000
Johnson Family LLC
107087 Highway 48                              Jonathan Rapoport dba Great Work Perks L
Okemah, OK 74859-0000                          1407 Flagler Lane
                                               Redondo Beach, CA 90278-0000
Johnson Kurlander Legal Group, LLC
245 N. Highland Avenue                         Jonathan Roman
Suite 230-305                                  434 Schoolhouse Rd
Atlanta, GA 30307-0000                         Monroe Twp, NJ 08831-0000

Johnson Oil Co.                                Jonathan Roy
1305 12th Avenue                               3131 29th St
RockFalls, IL 61071-0000                       Apt 2E
                                               Astoria, NY 11106-0000
Johsua E. Hearn
911 Phelan Drive                               Jonathan Southam
Lebanon, TN 37090-0000                         2560 Wilmbledon Street
                                               Napa, CA 94558-0000
Jon   Barker
440   West End Avenue                          JONATHAN TARSHIS NEIL
Apt   11E                                      19 GRACE COURT
New   York, NY 10024-0000                      APT #1D
                                               BROOKLYN, NY 11201-0000




                                        - 177 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 179 of 268



Jonathon E. Jarosch                              Joseph M Hayes
1649 Lamplight Drive                             1321 Washington Avenue
Woodbury, MN 55125-0000                          Suite 212
                                                 Portland, ME 04103-0000
Jordan Alan March
450 N. Broadway Ave                              Joseph M Huppert
Bartow, FL 33830-0000                            10498 Georgetown Drive
                                                 Rancho Cordova, CA 95670-0000
Jordan Beard
1 Blackstone Street                              Joseph Martin DiGiacomo
Unit 2                                           68 Park Ave
Cambridge, MA 02139-0000                         Apt #7
                                                 Hoboken, NJ 07030-0000
Jordan McDougal
1867 Khyber Pass Road                            Joseph Peake
Linden, VA 22462-0000                            37 Park Circle NE
                                                 Atlanta, GA 30305-0000
Jordan Troyan
939 Cholet Drive                                 Joseph Piehler
Collegeville, PA   19426-0000                    255 Linden Avenue
                                                 Buffalo, NY 14216-0000
Jordon Paul Tolliver
1039 Lighthouse Church Road                      Joseph Raymond Stoehr
Baker, FL 32531-0000                             30790 Reed Avenue
                                                 Shafer, MN 55074-0000
Jorge Cristobal Negron
130 Malabar Road                                 Joseph Ryan Piscitelli
Palm Bay, FL 32907-0000                          6683 Flintridge Drive
                                                 Colorado Springs, CO 80918-0000
Jose Israel Cortes dba Downtown Fancy Fr
641 Conningham Street                            Joseph Scott Howard
Rockford, IL 61102-0000                          1460 Chandlers Radford Road
                                                 Mt. Juliet, TN 37122-0000
Joseph and Beth Miller
69631 Lee Road                                   Joseph Vargo
St. Clairsville, OH 43950-0000                   536-180th Ave
                                                 Somerset, WI 54025-0000
Joseph Angelo Dipietro
5555 East 8th Avenue                             Joseph W Harrigan
Hialeah, FL 33013-0000                           118 Winter Street
                                                 #3
Joseph Conway                                    Portland, ME 04102-0000
11760 San Pablo Ave
Apt. 204                                         Joseph W Kent
El Cerrito, CA 94530-0000                        1558 Pigrey Hill Road
                                                 Andover, NY 14806-0000
Joseph Kadlecek
205 Old Lake Road                                Joseph Walsh dba The IT Recruit, LLC
Smithville, TX 78957-0000                        274 1st Ave
                                                 Apt #4C
Joseph Lynch                                     New York, NY 10009-0000
655 E 14th Street
#8E                                              Joseph William Hite Pearce
New York, NY 10009-0000                          835 8th Street
                                                 Whitefish, MT 59937-0000




                                           - 178 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 180 of 268



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955 Neil Circle South                            6624 Summerlin Place
Mansfield, OH 44903-0000                         Charlotte, NC 28226-0000

Josh Malin                                       Julia Scheessele
10 Woodland Drive                                4385 Kamploop Avenue
Warrenton, MO 63383-0000                         #71
                                                 San Diego, CA 92117-0000
Josh Stahl
203 East Main Street                             Julie Anne Tracy
Shelby, OH 44875-0000                            1495 Fulton Street
                                                 #3
Joshua D Jenson                                  Brooklyn, NY 11216-0000
35530 SE 41 Street
Fall City, WA 98024-0000                         JumpStart
                                                 P.O. Box 8156
Joshua James Hughes                              South Lake Tahoe, CA    96158-0000
147 NorthCrest Drive
Kannapolis, NC 28081-0000                        June Chin
                                                 127 E 2nd Street
Joshua Joseph Waskiewicz                         Brooklyn, NY 11218-0000
18621 Old Camp Lane SE
Yelm, WA 98597-0000                              June McCarty
                                                 711 CR 165
Joshua Riedinger                                 Dripping Springs, TX    78620-0000
85 Buckwheat Rd
Germantown, NY 12562-0000                        Juniper Hills, Inc
                                                 13500 US-12
Joshua S. Germann                                Brooklyn, MI 49230-0000
1712 Ash Street
Maysville, KY 41056-0000                         Junk Bee Gone of Minnesota Inc
                                                 13449 Apollo Street
Jovial World Corp.                               Lino Lakes, MN 55014-0000
128 Flushing Ave
Brooklyn, NY 11205-0000                          Junk Brands Company, LLC
                                                 1004 NW Eleventh Street
JS Enterprise & Event Rental LLC                 Bentonville, AR 72712-0000
412 Blomfield Drive
Berlin, NJ 08091-0000                            Junyong Pak
                                                 57 Winthrop Ave
JSS Ave LLC                                      Beverly, MA 01915-0000
143 E. 30th St. #B1
New York, NY 10016-0000                          Justin Batten
                                                 463 West Street
JUDITH DICKINSON                                 617C
102 HOLLAND AVENUE                               New York, NY 10014-0000
ARDMORE, PA 19003-0000
                                                 Justin Corey Buhler
Juli Lynn Allaire                                1516 Brian Street
8751 Bailey Drive NE                             Lebanon, TN 37087-0000
Ada, MI 49301-0000
                                                 Justin Hill
Julia Landt                                      130 Malabar Road
186 Wayne Street                                 Palm Beach, FL 32907-0000
111D
Jersey City, NJ 07302-0000                       Justin Meriwether
                                                 160 Sundance Way
                                                 White House, TN 37188-0000



                                          - 179 -
            Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 181 of 268



Justin R Fleenor                              Kaitlin Ahern
1146 Benner Hwy                               52 Court Street
Clayton, MI 49235-0000                        Freehold, NJ 07728-0000

Justin Ryan McDonough                         Kaitlyn Bykowicz
5357 Helena Road N                            21130 E. Memorial Road
Oakdale, MN 55128-0000                        Luther, OK 73054-0000

Justin S. Macklin                             Kaitlyn M Dychala
650 W. Nopal Ave                              4244 Shimerville Road
Mesa, AZ 85210-0000                           Emmaus, PA 18049-0000

Justin T Anzelc                               Kamal Sookroola
4369 Amador Road                              101-35 105th Street
Fremont, CA 94538-0000                        Ozone Park, NY 11416-0000

Justin Todd Saunders                          Kaminski Golf Const. Inc.
PO Box 1486                                   12337 W. Simmons Road
Mt. Pleasant, NC 25124-0000                   Crows Landing, CA 95313-0000

Justin Wayne Kaeding                          Kansas Nonresident Withholding Tax
15015 62nd Street N                           Kansas Department of Revenue
Stillwater, MN 55082-0000                     915 SW Harrison St.
                                              Topeka, KS 66625-0002
JW Security, LLC
74 Woodcleft Ave, Ste 2                       Kantarian, Kelley
Freeport, NY 11520-0000                       415 Red Hook Lane
                                              Apt 11B
JZ Media, LLC                                 New York, NY 11201-0000
161 Coolidge Ave.
Englewood, NJ 07631-0000                      Kaplan Productions - CJ
                                              710 Bair Island Road #304
K&C Concessions LLC                           Redwood, CA 94063-0000
1231 Third Street
Hudson, WI 54016-0000                         Kaplan Productions - RC
                                              1165 1/2 North Orange Grove
K&K West, Inc                                 Los Angeles, CA 90046-0000
PO Box 421
Victor, NY 14567-0000                         Kaplan Productions - SC
                                              10853 Wraysbury Way
Kadence International, Inc                    Rancho Cordova, CA 95670-0000
One Clarks Hill - 3rd Floor
Framingham, MA 01702-0000                     Kaplan Productions - SE
                                              PO Box 567
Kaely's Kindness Foundation                   Summerland, CA 93067-0000
PO Box 341
Orchard Park, NY 14127-0000                   Kaplan Productions-AZ
                                              710 Bair Island Road, Suite 304
Kailey Brodhacker                             Redwood City, CA 94063-0000
3400 Marsh Avenue
Hannibal, MO 63401-0000                       Kara Rosella
                                              457 West 57th Street
Kairi Solutions LLC                           Apt #217
128 Ft. Washington Ave                        New York, NY 10019-0000
Suite 9E
New York, NY 10032-0000                       Karankawa Plains Outfitting Co. LLC
                                              P.O. Box 538
                                              Pierce, TX 77467-0000



                                       - 180 -
            Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 182 of 268



Karen E. Coons                                  Katie Arlene Helmer
52 Silver Street                                120 West Park Street
Gilford, NH 03249-0000                          Marquette, MI 49855-0000

Karen Martinez                                  Katie Kendall
10029 Faulkner Road                             368 Baltic Street
Cleveland, TX 77328-0000                        Apt 4R
                                                Brooklyn, NY 11201-0000
Karla Rahimi
5645 Vista Del Mar                              Katie Peine
Yorba Linda, CA 92887-0000                      14317 Kipling Ave S
                                                Savage, MN 55378-0000
Karlson, Katherine M.
303 E 83rd St.                                  Katie Stoops Photography
Apt 7H                                          4203 Springhill Avenue
New York, NY 10028-0000                         Richmond, VA 23225-0000

Karlson, Katie                                  Katie Thwaits
303 East 83rd Street                            290 Donna Ave
Apt 7H                                          Los Alamos, NM    87547-0000
New York, NY 10028-0000
                                                Katlyn Banyas
Kasowitz, Benson, Torres & Friedman LLP         899 A Straits Road
1633 Broadway                                   New Hamptoon, NH 03256-0000
New York, NY 10019-0000
                                                Katsky Korins LLP
Kat WPH, Inc                                    605 Third Avenue
668 W South Street                              New York, NY 10158-0000
Woodstock, IL 60098-0000
                                                Kaufman Borgeest & Ryan LLP
Katelyn Dawson                                  120 Broadway
550 West Ralston Road                           14th Floor
Indianapolis, IN 46217-0000                     New York, NY 10271-0000

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Virginia Beach, VA   23462-0000                 Kaufman, TX 75142-0000

Katherine Consorte                              Kavo Kerr Group
2543 Montauk Hwy                                1241 E Dyer Rd
Brookhaven, NY 11719-0000                       250
                                                Santa Ana, CA 92705-0000
Katherine Marie Newton
606 Blair Ave                                   Kayla Janise Stein
Bastrop, TX 78602-0000                          625 Pitt St
                                                Apt #1405
Kathryn Caprini Northup                         Bastrop, TX 78602-0000
116 Oak View Place
Sanford, FL 32773-0000                          Kayla Kobelin
                                                3316 102 Ave NE
Kathryn Horton                                  Bellevue, WA 98004-0000
802 Oak Street
Sonoma, CA 95476-0000                           Kayla Riggs
                                                7901 Fir Green Way
Kathy Beringer DBA Head 2 Toe Bodyart           Louisville, KY 40291-0000
1497 Trailwood Drive
Crystal Lake, IL 60014-0000




                                          - 181 -
            Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 183 of 268



Kayla Smith                                    Kelsey Crimson
2130 Town and Country Lane                     17 Monroe Place
Santa Clara, CA 95050-0000                     Apt. 1A
                                               Brooklyn, NY 11201-0000
Keegan Daley
125 W Hopkins                                  Kelvin Peralta dba ACC Facility Services
Unit 7                                         3261 Lost Meadows Lane
Aspen, CO 81011-0000                           Buford, GA 30519-0000

Keith A. Kochis                                Ken Miller, Inc.
515 E. Mesquite St                             106 Shawnee Sq Drive Suite 208
Gilbert, AZ 85296-0000                         P.O. Box 85
                                               Shawnee On Delaware, PA 18356-0085
Keith Billiris
2446 Elm Crossing Trail                        Kendall Janicola
Spring, TX 77386-0000                          414 East 83rd Street
                                               Apt #4R
Keith Contracting, LLC                         New York, NY 11028-0000
1906 Old Highway 40
Columbia, MO 65202-0000                        Kendra Anderson
                                               1170 Neil Road
Keith McGuire Jones                            Watertown, TN 37184-0000
3050 Talledaga Lane
Concord, NC 28025-0000                         Kendra Seymour
                                               1600 S. Joyce Street
Kelli Kitchens                                 Apt. 1230
4929 Plantation Grove Ln                       Arlington, VA 22202-0000
Roonoke, VA 24012-0000
                                               Kenigsberg, Mitchell
Kelly B. Pryor dba Up In Smoke                 20 Boxwood Court
205 Cranston Crest                             Huntington Station, NY    11746-0000
Escondido, CA 92025-0000
                                               Kennedy Septic Tank Service, Inc.
Kelly Butler                                   3500 Dover Road
11245 SW County Road 2310                      Woodlawn, TN 37191-0000
Wortham, TX 76693-0000
                                               Kenneth Andre Roberts
Kelly Gallant                                  1080 Pacific Hill Street
96 Irish Setter Lane                           Chula Vista, CA 91913-0000
Gilford, NH 03249-0000
                                               Kenneth B. Polson
Kelly Sullivan                                 PO Box 365
8 Livermore Hill Road                          Bennettsville, SC    29512-0000
Westminster, MA 01473-0000
                                               Kenneth Joseph Halloran
Kelly Williams                                 906 Matthew Lane
114 Plank Road                                 Kaukauna, WI 54130-0000
PO Box 185
Cherry, IL 61317-0000                          Kenneth Kaszowski
                                               53 Sturbridge Road
Kelly Williamson dba Kraft Events              Charlton, MA 01507-0000
5 Fran Pier Drive
Unit #1003                                     Kenneth M. Carroll
Boston, MA 02210-0000                          4466 St. Rt. 95
                                               Perrysville, OH 44864-0000




                                        - 182 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 184 of 268



Kenneth McDuff Roesch IV                         Kevin Lasko
130 Darthmouth Ave E                             34-43 60th Street
Oldsmar, FL 34677-0000                           Apartment 6C
                                                 Woodside, NY 11377-0000
Kenneth P. Lubin Jr.
16 Lt Haynes Drive                               Kevin PK Kau dba KauBoy Productions LLC
Millbury, MA 01527-0000                          PO Box 60036
                                                 Seattle, WA 98160-0000
Kenny B. Harfield
260 May Street                                   Kevin Pleasants
PO 132                                           932 Carroll Street
Manhattan, IL 60442-0000                         Apt 5D
                                                 Brooklyn, NY 11225-0000
Kenosha County Sheriff's Department
1010-56th Street                                 Kevin Righi
Kenosha, WI 53140-0000                           2108 Green Watch Way
                                                 Apt. 200
Kent Farms, Inc.                                 Reston, VA 20191-0000
1764 Jones Road
Andover, NY 14806-0000                           Kevin T LaVanture
                                                 1325 Atz Road
Kentucky Office of Housing, Buildings &          Malabar, FL 32950-0000
101 Sea Hero Road
Suite 100                                        Kevin Thompson
Frankfort, KY 40601-0000                         3377 Miller Rd
                                                 Capac, MI 48014-0000
Kentucky Raceway, LLC dba Kentucky Speed
1 Speedway Drive                                 Keystone Propane Service, Inc.
Sparta, KY 41086-0000                            1201 Marshwood Road
                                                 Throop, PA 18512-1504
Kentucky State Treasurer
Kentucky Department of Revenue                   Kiely Equipment Co
Frankfort, KY 40602-0000                         700 McClellan Street
                                                 Long Branch, NJ 07740-0000
Kera Pezzuti
124 Magnolia Road                                Kiip Inc
Ramsey, NJ 07446-0000                            970 Folsom Street
                                                 San Fransisco, CA    94107-0000
Kettle Moraine Corvette Club Ltd.
Rick Waldbauer - Treasurer                       Kim Pendleton
998 Huron Trail                                  8392 Orchard Park Drive
Sheboygan Falls, WI 53085-0000                   Riverside, CA 92508-0000

Kevin A Lamb                                     Kim, Tony
339 E Maplehurst Avenue                          213-50 35th Avenue
Ferndale, MI 48220-0000                          2nd Floor
                                                 Bayside, NY 11361-0000
Kevin Ellis
209 Hassan Avenue                                Kimberlee DeKrey
New Castle, ME 04553-0000                        2413 Bayshore Blvd
                                                 1605
Kevin Gregory                                    Tampa, FL 33629-0000
28 Cedar Street
Oneonta, NY 13820-0000                           Kimberly Trefilek
                                                 4518 Mt. Thabor Road
                                                 Woodstock, IL 60098-0000




                                           - 183 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 185 of 268



Kimble Recycling & Disposal                      Kjelstrom & Associates Inc.
3596 State Routs 39 NW                           31593 Pleasant Drive, PO Box 2833
Dover, OH 44622-0000                             Running Springs, CA 92382-0000

Kimee White                                      Knoah Solutions Inc
585 Paula Street                                 325 E Warm Springs Road
Morro Bay, CA 93442-0000                         Suite 103
                                                 Las Vegas, NV 89119-0000
Kimmel Associates
25 Page Avenue                                   Knochel Bros Inc
Asheville, NC 28801-0000                         1441 E Alameda Road
                                                 Phoenix, AZ 85024-0000
Kind traveler, PBC
PO Box 1164                                      Korner Associates
Malibu, CA 90265-0000                            134 Market Street
                                                 Mount Clemens, MI    48043-0000
King Rentals, Inc
17655 Polish Town Road                           Kostiw, Kimberley
Barhamsville, VA 23011-0000                      55 E Santa Barbara Rd
                                                 Lindenhurst, NY 11757-0000
Kingdom Promotions Inc
407 Lane Street                                  Kounterattack LLC
Clay Center, KS 67432-0000                       636 Broadway
                                                 Suite 1119
Kintetsu World Express (USA) Inc                 New York, NY 10012-0000
One Jericho Plaza
Suite 100                                        Kowalko, Monika
Jericho, NY 11753-0000                           557 Morgan Ave
                                                 Apt 1
Kirberger PC                                     Brooklyn, NY 11222-0000
81 Washington St, Suite 5J
Brooklyn, NY 11201-0000                          KRE Security/Investigation Inc
                                                 129 Worth 3rd Street
Kirk Hensler                                     Hamburg, PA 19526-0000
1250 J Street
San Diego, CA   92101-0000                       Kreinik Associates
                                                 777 Third Avenue
Kirk Rogers dba Platinum Edge Entertainm         35th Floor
9131 East Fairfield Street                       New York, NY 10017-0000
Mesa, AZ 85207-0000
                                                 Kris Cataldo
Kissing Bridge Corp.                             2 Bridge Path Court
10296 Route 240                                  Putman Valley, NY 10579-0000
Glenwood, NY 14069-0000
                                                 Kristen E. Reed
Kitty Jo Paboucek                                3583 Pelican Bay Circle
336 E. South St.                                 Gulf Breeze, FL 32563-0000
Barnesville, OH 43713-0000
                                                 Kristen Jaekel
Kiwanis Club of Black Diamond- Maple Val         128 Danielle Drive
PO Box 154                                       Elizabeth City, NC    27909-0000
Black Diamond, WA 98010-0000
                                                 Kristen Sharpe
Kiwanis Int'l K00263 Mansfield dba Kiwan         615 Camino Campana
PO Box 7100                                      Santa Barbara, CA 93111-0000
Mansfield, OH 44905-0500




                                           - 184 -
            Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 186 of 268



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St Clairsville, OH 43950-0000                 Frankfort, KY 40619-0006

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Lutz, FL 33559-0000                           San Diego, CA 92129-0000

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Bethesda, OH 43719-0000                       Los Angeles, CA 91356-0000

Kristin Nichole Barrios                       Kyle Hanscom
507 S Madison Street                          19 Blackman Road
Adrian, MI 49221-0000                         Canton, MA 02021-0000

Kristina C. Billinigs                         Kyle Hause
1831 Jim Keene Blvd                           414 Kelley Belle Road
Winter Haven, FL 33880-0000                   Hartsville, SC 29550-0000

Kristopher Anthony Mendoza                    Kyle Michael Wilmes
18840 West 60th Place                         6 Walnut Street
Golden, CO 80403-0000                         High Hill, MO 63350-0000

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New York, NY 10036-0000                       Tahoe Vista, CA 96148-0000

Kristy Lynn McBride                           Kyle Russell
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Charlevoix, MI 49720-0000                     Blue Springs, MO 64015-0000

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Vail, CO 81659-0000                           Los Angeles, CA 90056-0000

Krystelle Leano                               Kyrychok, Alina
444 Townsend Street                           3255 Shore Parkway
San Francisco, CA 94107-0000                  CC
                                              Brooklyn, NY 11235-0000
Kurt Marcum
308 Alexander Ave                             L & A Tent Rentals, Inc.
Bronx, NY 10454-0000                          200 B Whitehead Road Suite 100
                                              Hamilton, NJ 08619-0000
Kurtis Sean Ishikawa
9359 Lincoln Blvd                             LA Film Locations dba Micon Properties,
Apt #1250                                     PO Box 801028
Los Angeles, CA 90045-0000                    Santa Clarita, CA 91380-1028

Kustomer, Inc.                                La Salle County - County of La Salle
530 Seventh Avenue                            707 E. Etna Road
Suite 2007                                    Ottawa, IL 61350-0000
New York, NY 10018-0000



                                       - 185 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 187 of 268



Labelium Corp                                    Lance Johnson
80 Broad Street                                  13670 Mims Road
Suite 1303                                       Chunchula, AL 36521-0000
New York, NY 10004-0000
                                                 Lance William Fisher
Labor Ready Northwest Inc.                       628 Cornelia Ave SE
Trueblue, Inc                                    Palm Bay, FL 32909-0000
1015 "A" St
Tacoma, WA 98402-0000                            Lance Wooldridge
                                                 1212 Kelly Ct.
Laborworks Industrial Staffing Inc.              Franklin, TN 37064-0000
PO Box 1755
Gig Harbor, WA 98335-0000                        Landhope Investors Ltd
                                                 101 East Street Road
Lacey Bourgois                                   Kenneth Square, PA 19348-0000
2804 Blaisdell Ave S
Apt. #108                                        Landmark Event Staffing Services Inc
Minneapolis, MN 55408-0000                       4131 Harbor Walk Drive
                                                 Fort Collins, CO 80525-0000
LACHLAN DE CRESPIGNY
337 WEST 214TH STREET                            Landon R. Faidley
APT 64                                           213 Forest Drive
NEW YORK, NY 10014-0000                          Ridgeley, WV 26753-0000

Ladyfingers Catering LLC                         Landow and Landow Architects LLP
627 E. Whitaker Mill Road                        203 Store Hill Road
Raleigh, NC 27608-0000                           Old Westbury, NY 11568-0000

LaFiura, Michelle                                Lane and Hatcher Engineers, LLC
45 Highview Ave                                  113 South Alcaniz Street
Huntington Station, NY   11746-0000              Pensacola, FL 32502-0000

Lagardere Sports, Inc dba Rooftop2 Produ         Lara Y. Becker DBA Locabrands LLC
488 Madison Avenue                               4122 Daniel Green Trail
16th Floor                                       Smyrna, GA 30080-0000
New York, NY 10003-0000
                                                 Larger Than Life, Inc
Lake County Fair Association                     1440 Jamike Ave
1060 East Peterson Road                          Suite 1
Grayslake, IL 60030-0000                         Erlanger, KY 41018-0000

Lake County Sheriff's Emergency Services         Las Vegas Parking, Inc
1303 N Milwaukee Ave                             7285 S Dean Martin Dr. #180
Libertyville, IL 60048-0000                      Las Vegas, NV 89118-0000

Lake Las Vegas Marina LLC                        Las Vegas Rescue Mission
PO Box 91990                                     480 W. Bonanza Road
Henderson, NV 89009-0000                         Las Vegas, NV 89106-0000

Lake Las Vegas Master Association                Las Vegas Tours & Rentals
2030 Lake Las Vegas Parkway                      661 W. Lake Mead Parkway
Henderson, NV 89011-0000                         Henderson, NV 89015-0000

Lance A Plough                                   Lasonia Terrence dba Triple Jay's Pizza
5901 County Road 100                             350 Revenna Trail
Mount Gilead, OH 43338-0000                      Fayetteville, GA 30214-0000




                                           - 186 -
            Case 20-10036-CSS   Doc 42-1    Filed 02/12/20   Page 188 of 268



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Lebanonq, TN 37090-0000
                                               Lawrence W. Stinson DBA Stinson's Lawn C
LAURA WEST                                     2072 Bridge St
167 WOODSIDE TRAIL                             Ellwood City, PA 16117-0000
ANNAPOLIS, MD 21401-0000
                                               Layher Scaffolding
Lauren Hope Meckley                            Bonnie Mouton
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Waynesboro, PA 17268-0000                      Houston, TX 77017-0000

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New York, NY 10031-0000
                                               Legendare Brands
Lauren Weeks                                   Accounts Receivable
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Las Vegas, NV 89178-0000                       San Diego, CA 92130-0000

Law Enforcement Specialists, Inc.              Lehigh County Conservation District
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                                               Allentown, PA 18104-0000
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Lawrence Jerrold Taylor                        Leila Ziari
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                                         - 187 -
            Case 20-10036-CSS   Doc 42-1      Filed 02/12/20   Page 189 of 268



Leon Tyriek Clarke                               Liberty Private Security Inc.
218 Enon Oaks Ln                                 19593 Newport Court
Chester, VA 23836-0000                           Hilmar, CA 95324-0000

Leonard A. Earnest dba O'Fallon Sewer Se         Liberty SMI OPCO LLC DBA Liberty Landing
PO Box 144                                       80 Audrey Zapp Drive
O'Fallon, MO 63366-0000                          Jersey City, NJ 07305-0000

Leonard R Whitten DBA B&L Portable Toile         Liberty State Park
PO Box 1371                                      200 Pesin Drive
Georgetown, TX 78627-0000                        Jersey City, NJ 07305-0000

Leonor Thompson                                  Liberty Tire Services of Ohio Recycling,
2361 Springer Road                               1251 Waterfront Place
Midlothian, TX 76065-0000                        Suite 400
                                                 Pittsburgh, PA 15222-4261
Leo's Landscaping
1973 Douglas Fir Drive                           LifeLabs Group, Inc.
Enumclaw, WA 98022-0000                          LifeLabs New York
                                                 84 Engert Avenue
Les Wilson and Sons Inc                          Suite #4A
PO Box 1028                                      Brooklyn, NY 11222-0000
Westbrook, ME 04098-0000
                                                 Lill,Z Inc
Leslie Purvis                                    AGS
200 McRee Lane                                   200 Park Ave South
Goodspring, TN   38460-0000                      Eighth Floor
                                                 New York, NY 10003-0000
Leslie St Louis
231 Red Rocks Vista Drive                        Lillian Basso
Morrison, CO 80465-0000                          139 Bruyn Avenue
                                                 Kingston, NY 12401-0000
Lewistown District Volunteer Fire Compan
11101 Hessong Bridge Road                        Lin Badman-Paton
Frederick, MD 21701-0000                         880 Lyons Circle NW
                                                 Palm Bay, FL 32907-0000
Lexalytics, Inc
48 North Pleasant Street                         LINCHPIN STRUCTURAL ENGINEERING, INC
Unit 301                                         P O BOX 2651
Amherst, MA 01002-0000                           TRUCKEE, CA 96160-0000

Lexis Nexis                                      Lincoln National Life Insurance Company
PO Box 7247-7090                                 100 North Greene Street
Philadelphia, PA   19170-7090                    Greensboro, NC 27401-0000

Lexlea Marketing, LLC                            Linda J. John
PO Box 1775                                      2591 Bloom Road
Frisco, TX 75034-0000                            White Bear Lake, MN    55110-0000

LHB Sports Entertainment & Media, Inc.           Lindsay Taryn Photography
258 Nelson Road                                  184 Kingsland Avenue #2
Scarsdale, NY 10583-0000                         Brooklyn, NY 11222-0000

Liberty Moving and Storage Co, Inc               Lindsey Heiserman
350 Moreland Road                                13513 Zenith Lane
Commack, NY 11725-0000                           Eden Prairie, MN 55346-0000




                                           - 188 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 190 of 268



Lindsey Nicole Rude                              Liveclicker, Inc.
123 Corkwood Street                              19925 Stevens Creek Blvd
Lake Jackson, TX 77566-0000                      Suite 100
                                                 Cupertino, CA 95014-0000
Linkedin
62228 Collections Center Drive                   Livengood Excavators, Inc.
Chicago, IL 60693-0000                           Ormrod Quarry
                                                 4661 Lehigh Drive
LIO Investments LLC dba Porkies Pig Roas         Walnutport, PA 18088-0000
119 Raffel Road
Woodstock, IL 60098-0000                         Livestream LLC
                                                 195 Morgan Avenue
Lior Blik                                        Brooklyn, NY 11237-0000
90 John street Suite 704
New York, NY 10038-0000                          Living Social, Inc.
                                                 1445 New York Ave NW
Liquid Bar and Grill                             Suite 200
Darren Brookman                                  Washington, DC 20005-0000
300 North Sturgeon
Montgomery City, MO 63361-0000                   Lloyd Ackerknecht
                                                 2105 Spruce Place
Lisa A. Rossuck-Howard                           White Bear Lake, MN    55110-0000
10 Damson Lane
Gilford, NH 03249-0000                           Loeb & Loeb LLP
                                                 10100 Santa Monica Blvd
Lisa DePasqua                                    Suite 2200
2617 Springhill Avenue                           Los Angeles, CA 90067-0000
Raleigh, NC 27603-0000
                                                 Logan Broadbent dba Logan Broadbent LLC
Lisa Goulding                                    4481 West 11th Street
1 LaGrange Street                                Cleveland, OH 44109-0000
Winchester, MA 01890-0000
                                                 Logic Systems
Lisa Heckman                                     255 Marshall Road
891 Double Log Cabin Road                        Suite 160
Lebanon, TN 37087-0000                           Valley Park, MO 63088-0000

Lisa White                                       Lone Star Events, Inc.
5239 Nancet Drive                                Kirk Grable
Houston, TX 77041-0000                           104 Fairway Drive
                                                 Willow Park, TX 76087-0000
List Partners, Inc. dba The List;Adverti
3098 Piedmont Road NE                            Long Island Ice and Fuel Corp.
Suite 200                                        656 West Main Street
Atlanta, GA 30305-0000                           Riverhead, NY 11901-0000

Live Nation Entertainment, Inc.                  Longhorn River Ranch Ltd
2000 West Loop                                   Stuart Hudson
Suite 1300                                       3144 Bee Caves Road
Houston, TX 77027-0000                           Austin, TX 78746-0000

Live On Site, LLC                                Longwood Fire Company
4016 B Rock Hall Road                            1001 E. Baltimore Pike
Point of Rocks, MD 21777-0000                    Kennett Square, PA 19348-0000




                                           - 189 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 191 of 268



Longwood Gardens, Inc.                           LTL Prints
1001 Consevatory Road                            680 Knox St
PO Box 501                                       Suite 150
Kennett Square, PA 19348-0000                    Terrance, CA    90502-0000

Lonnie Van Klei                                  Lucas Barclay
12015 Janero Ave N                               200 W 26th Street
Hugo, MN 55038-0000                              Apt 14E
                                                 New York, NY 10001-0000
Lori Wilson
PO Box 10669                                     Luis Amador
San Bernandino, CA   92423-0000                  2198 Cruger Ave
                                                 Apt K
Los Dos Inc dba Doublespace                      Bronx, NY 10462-0000
85 Fifth Avenue
7th Floor                                        Luke A Kozikowski
New York, NY 10003-0000                          51 Monitor Street
                                                 Apt 2
Loud and Clear, Inc                              Brooklyn, NY 11222-0000
2001 Dalton Ave
Suite 201                                        Luke Bosek
Cincinnati, OH 45214-0000                        1482 Old Ash Grove
                                                 Vienna, VA 22182-0000
Loudon Police Department
16 Fuller St.                                    Luke Robinson dba Audio Gods
PO Box 320                                       1448 Ford Road
Belmont, NH 03220-0000                           Unit C
                                                 Bensalem, PA 19020-0000
Loudoun Insurance Group LLC dba Schoolcr
5 Wirt Street SW                                 Lunas Construction Clean-up, Inc
Suite 300                                        4830 E Cartier Ave
Leesburg, VA 20175-0000                          Las Vegas, NV 89115-0000

Louis J. Weber & Associates, Inc.                Lutheran Church of the Holy Trinity
47 Woodport Road                                 PO Box 595
Sparta, NJ 07871-2417                            Mount Pleasant, NC 28124-0000

Louisiana Department of Revenue                  Lutz Automotive dba Vicent Lutz
PO Box 66362                                     15118 Irish Ave N.
Baton Rouge, LA 70896-6362                       Hugo, MN 55038-0000

Louisiana Dept. of Revenue                       Lykins Oil Company dba Lykins Energy Sol
PO Box 3138                                      5163 Wolfpen Pleasant Hill Road
Baton Rouge, LA 70821-3138                       Milford, OH 45150-0000

Louisiana Fresh Produce LLC                      Lynda.con, Inc.
1001 S. Dupre Street                             6410 Via Real
New Orleans, LA 70125-0000                       Carpinteria, CA    93013-0000

Lowe, Marica J.                                  Lyndsey Halik
740 Empire Boulevard                             2129 Wyndham Way
Apt 4F                                           Union, KY 41091-0000
Brooklyn, NY 11213-0000
                                                 Lynette Alcorn Pittman
Lowhill Township                                 732 Santa Elena
2175 Seipstown Road                              Kingsville, TX 78363-0000
Fogelsville, PA 18051-0000




                                           - 190 -
            Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 192 of 268



M & M Parking Services, LLC                    Madison Novelli
331 South Governer Printz, LLC                 2401 NE 114th Court
Lester, PA 19029-0000                          Vancouver, WA 98684-0000

M & M Printing and Graphics                    Magdalene Thorne
PO Box 131                                     4701 So. 43rd
Florence, SC 29503-0000                        Lincoln, NE 68516-0000

M Moser Associates, PLLC                       Magic Mountain, LLC
257 Park Ave South, suite 1101                 26101 Magic Mountain Parkway
New York, NY 10010-0000                        Valencia, CA 91355-0000

M&M Event Services, LLC                        Magnolia Dunes LLC
331 South Governor Blvd                        3816 Reid Street
Lester, PA 19029-0000                          Palatka, FL 32177-0000

M&M mRental Center, Inc.                       Magnolia Photo Booth
1510 Elm Hill Pike                             709 East Market Street
Suite 200                                      Louisville, KY 40202-0000
Nashville, TN 37210-0000
                                               Maine Revenue Services
MA Department of Revenue                       PO Box 9107
PO Box 7089                                    Augusta, ME 04332-0000
Boston, MA 02241-7089
                                               Majestic Tent and Event LLC
MacAllister Machinery Co. Inc.                 813 King Place
PO Box 660200                                  Shreveport, LA 71115-0000
Indianapolis, IN 46266-0000
                                               Major C Corporation dba Colorado Tents a
MacDonnell, Molly R.                           PO Box 2150
328 E 19th Street                              Silverthorne, CO 80498-0000
Apt 1C
New York, NY 10003-0000                        Major League Ultimate LLC
                                               509 Vine Street
Mackie L Fleenor                               Suite BCOMM 1
1146 Benner Hwy                                Philadelphia, PA 19106-0000
Clayton, MI 49235-0000
                                               Malboro Township
Mad Dog Presents, LLC                          1979 Township Drive
150 Bay Street                                 Marlboro, NJ 07746-0000
Suite 726
Jersey City, NJ 07302-0000                     Malcolm Wilson
                                               267 Pearl Harbor Street
Made Cheap - Matthew Bound                     Bridgeport, CT 06610-0000
222 Pawnee Road
Cranford, NJ 07016-0000                        Maldonado Tile and Stone
                                               164 Encinas Lane
Made in the Shade Tent Rentals                 Sonoma, CA 95476-0000
3930 Seaport Blvd
Suite A                                        Manalapan Township
West Sacramento, CA 95691-0000                 Police Department
                                               120 Route 522
Madison Flager                                 Manalapan, NJ 07726-0000
830 St. Johns Place
Apt #4B                                        Manhattan Studio Architecture & Design P
Brooklyn, NY 11216-0000                        41 West 25th Street
                                               7th Floor
                                               New York, NY 10010-0000



                                        - 191 -
            Case 20-10036-CSS    Doc 42-1    Filed 02/12/20   Page 193 of 268



Mani Osteria & Bar                              Marcus Mason
341 E. Liberty                                  440 County Road 502
Ann Arbor, MI 48104-0000                        Mexia, TX 76667-0000

Manpower                                        Margaret Anne Kaderli
21271 Network Place                             611 W. San Antonio Street
Chicago, IL 60673-0000                          Fredericksburg, TX 78624-0000

Mansfield Hardware & Supply Co                  Maria Henriques-DeMers
70 North Foster Street                          1279 Woodfern Court
Mansfield, OH 44902-0000                        Toms River, NJ 08755-0000

MAPCO                                           Mariah Media Network, LLC dba Outside Ma
801 Crescent Center Drive                       400 Market Street
Suite 300                                       Santa Fe, NM 87501-0000
Franklin, TN 37067-0000
                                                Mariana Tek Corporation
Maple City REACT                                1400 Eye Street NW
758 Caton Ave                                   Suite 250
Adrian, MI 49221-0000                           Washington, DC 20005-0000

Maraki Mills Corp dba Minuteman Press           Maricopa County
512B West Pearce Blvd                           301 W. Jefferson
Wentzville, MO 63385-0000                       Suite 960
                                                Phoenix, AZ 85003-0000
Marc Ackerman
101 Moorland Drive                              Marie St. Clair
Scarsdale, NY 10583-0000                        36883 Brewster Lane
                                                New Baltimore, MI 48047-0000
Marc E. Elliott P.C.
233 Broadway                                    Marielle Wohlberg
Suite 2707                                      15 Azalea Ln
New York, NY 10279-0000                         Wilton, CT 06897-0000

Marc S. Mousky                                  Marino Studios, Inc.
279 East 44th Street                            192 Java Street
Apt 10J                                         Apt. 2
New York, NY 10017-0000                         Brooklyn, NY 11222-0000

Marcel Leif Severino                            Mario Hernandez dba Mario's Taco Express
2516 Kingsland Avenue                           628 West 8th Street
Bronx, NY 10469-0000                            Belvidere, IL 61008-0000

Marci E. Mundo                                  Mario Perez
1754 W. North Avenue                            6100 Antioch Rd.
Chicago, IL 60622-0000                          Haymarket, VA 20169-0000

Marcia P Ellis                                  Mark A Morgan dba Sparky's BBQ
11 Merwin Street                                14523 Kings Hwy
Apt #514                                        King George, VA 22485-0000
Norwalk, CT 06850-0000
                                                Mark A. Garcia
Marco Garus dba La Paisita Mexican Food         410 Laurel Street
501 Jessup St                                   Bastrop, TX 78602-0000
Apt 4
Brighton, CO 80601-0000                         Mark A. Sieving
                                                4179 Possum Run Rd.
                                                Bellville, OH 44813-0000



                                          - 192 -
            Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 194 of 268



Mark Andrew Trammell                           Mark L Caroon
130 Malabar Road                               11997 Otchipwe Ave N
Palm Beach, FL 32907-0000                      Stillwater, MN 55082-0000

Mark Anthony Sexton                            Mark Silverstone
821 6th Avenue NE                              P.O. Box 5296
Waseca, MN 56093-0000                          Bear Valley, CA 95223-0000

Mark Barroso                                   Mark Simakovsky dba Phantom Frame Produc
PO Box 766                                     1143 Dekalb Avenue
Ridgefield, NJ   07657-0000                    Apt #3E
                                               Brooklyn, NY 11221-0000
Mark Beskid
500 Diamond Dr.                                Mark Song
Lake Elsinore, CA   92530-0000                 715 Battery Place - 203
                                               Chattanooga, TN 37403-0000
Mark Bungard
435 Berry Ridge Dr                             Mark T. Daugherty
Amherst, OH 44001-0000                         960 Mock Road
                                               Bellville, OH 44813-0000
Mark Bungard - Lorain County Sheriff
9896 Murray Ridge Rd                           Mark Undseth
Elyria, OH 44035-0000                          1435 Marne Drive
                                               Reno, NV 89503-0000
Mark Curtis Gaudet
5002 Donovan Drive                             Mark Willson
Alexandria, VA 22304-0000                      8151 Kearsley Street
                                               Goodrich, MI 48438-0000
Mark G. Batres Jr.
191 Royal Way                                  Market Vue Partners, LLC
Upland, CA 91786-0000                          33 Wood Avenue South, Suite 600
                                               Iselin, NJ 08830-0000
Mark G. Marion
4345 Rebecca Circle                            Marko Pavlinovic dba Mangia Mangia Mobil
Commerce TWP, MI 48390-0000                    8919 Laddie Lane
                                               San Diego, CA 92123-0000
Mark G. Marion Construction
4345 Rebaca Circle                             Marks & Clerk LLP
Commerce Twp, MI 48390-0000                    PO Box 635229
                                               Cincinnati, OH 45263-0000
Mark Hussa
12281 Wye Oak Commons Circle                   Markstein Beverage Co. of Sacramento
Burke, VA 22015-0000                           60 Main Avenue
                                               Sacramento, CA 95838-0000
Mark Jones
9 Jenna Lane                                   Marlene Alita Guthrie
Unit 210                                       5101 Sloane Drive
Milton, VT 05468-0000                          Mt. Juliet, TN 37122-0000

Mark Kneyse                                    Marlon Alvarez
4140 Mildred Ave                               374 Prospect Blvd
Los Angeles, CA 90066-0000                     Frederick, MD 21701-0000

Mark Kruszewski                                Marriot International
248 Route 100                                  Intermediary Partner Care
West Dover, VT 05356-0000                      1818 North 90th Street
                                               Omaha, NE 68114-0000




                                        - 193 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 195 of 268



Mars Printing Inc. dba Minute Man Press           Maryland Department of Assessments & Tax
305 Atlantic Avenue                               301 West Preston Street
Brooklyn, NY 11201-0000                           Room 801
                                                  Baltimore, MD 21201-2395
Marshall Riffe
1238 Beechwood Drive                              Maryland Department of the Environment
Kyle, TX 78640-0000                               Fiscal Services Division, Cash Receipts-
                                                  PO Box 2057
Marshall Taylor Kilburn                           Baltimore, MD 21203-2057
5755 E Milton Road
Milton, FL 32583-0000                             Mason County Board of Education
                                                  PO Box 130
Martin E. Higgenbotham                            Maysville, KY 41056-0000
3816 Industry Blvd.
Lakeland, FL 33811-0000                           Mason County Fiscal Court
                                                  31 West 3rd Street
Martin Salamanca                                  Maysville, KY 41056-0000
Fulton County Fire Rescue Dept
5440 Fulton Industrial Blvd.                      Mason Wells
Atlanta, GA 30336-0000                            44 Terrace Pkwy
                                                  Shelby, OH 44875-0000
Martins Sanitation Service
P.O. Box 5343                                     Massachusetts Secretary of the Commonwea
Paris, KY 40362-5343                              One Ashburton Place
                                                  Boston, MA 02108-0000
Martinsburg Farmers Elevator Company
PO Box 130                                        MassMutual
102 S Second Street                               PO Box 371368
Martinsburg, MO 65264-0000                        Pittsburgh, PA    15250-7368

Martinsburg Sunrise Rotary Foundation             Master Fence
PO Box 2331                                       12 East 34th Place
Martinsburg, WV 25402-0000                        Steger, IL 60475-0000

Marty Leslie                                      Matergia and Dunn
763 Park Place Apt 4L                             919 Main Street
Brooklyn, NY 11216-0000                           Stroudsburg, PA 18360-0000

Marvel Vision Industries                          Matt Ignatowski - South Amherst PD
434 Manhattan Avenue                              103 West Main Street
Apt #4A                                           South Amherst, OH 44001-0000
Brooklyn, NY 11222-0000
                                                  Matt Norman - South Amherst PD
Mary Anne Jernigan                                103 West Main Street
1301 Bliss                                        South Amherst, OH 44001-0000
Cisco, TX 76437-0000
                                                  Matthew Bryan Lister
Mary Anne Showerman                               11315 Old Cordova Road
130 Hall Street                                   Cordova, MA 21625-0000
Michigan Center, MI    49254-0000
                                                  Matthew Campione
Mary Beth Lovett                                  108 Windsor
2407 Westmoreland Lane                            Forney, TX 75126-0000
Culleoka, TN 38451-0000
                                                  Matthew Carl Hanson
Mary Stephens Photography LLC                     3212 Dewar Drive
31902 Pine Crossing                               Apt 207
Magnolia, TX 77355-0000                           Rock Springs, WY 82901-0000



                                           - 194 -
            Case 20-10036-CSS   Doc 42-1      Filed 02/12/20   Page 196 of 268



Matthew Daniel Pethel                            Matthew Phillips
1163 Union Street South                          48 Taunton Street
Concord, NC 28025-0000                           Unit B
                                                 Wrentham, MA 02093-0000
Matthew Gilbert dba Cleancut Productions
8 Fountain Street                                Matthew Pozega - Lorain County Sheriff
Buxton, ME 04093-0000                            9896 Murray Ridge Rd
                                                 Elyria, OH 44035-0000
Matthew Herrmann
752 New York Avenue                              Matthew R Rinker
Lyndhurst, NJ 07071-0000                         28718 Highland Ct
                                                 Castaic, CA 91384-0000
Matthew Hirschbiel
148 W. 17th Street                               Matthew R. Ernst
Apt 3C                                           5036 Davis Ford Road
New York, NY 10011-0000                          Woodbridge, VA 22192-0000

Matthew Horton                                   Matthew Scott Livingston - Attica PD
PO Box 1485                                      Attica Police Department
West Dover, VT   05356-0000                      200 McDonald Street
                                                 Attica, IN 47918-0000
Matthew J Goings dba Goings Excavating
529 West 200 South                               Matthew Watson
Veedersburg, IN 47987-0000                       368 Baltic Street
                                                 Apt 4R
Matthew J. Shea                                  Brooklyn, NY 11201-0000
4 Burrington Street.
Jaffrey, NH 03452-0000                           Matthew Wayne Moortgat
                                                 4431 NW 9th Court
Matthew Joffe                                    Coconut Creek, FL 33066-0000
10 Devore Road
Flemington, NJ   08822-0000                      Matthew Wertin
                                                 12453 W Green Mountain Circle
Matthew John Kempson                             Lakewood, CO 80228-0000
8524 Calistoga Way
Brentwood, TN 37027-0000                         Matthew Westmore/Evolution Media
                                                 15490 Milldale Drive
Matthew John Snyder                              Los Angeles, CA 90077-0000
404 E Harvard Drive
Tempe, AZ 85283-0000                             Matthias Drager
                                                 Senefelderstr. 13
Matthew John Vlasak                              Berlin, NY 10437-0000
7317 Bob-O-Link Road
Spring Grove, IL 60081-0000                      Maura Hemingway
                                                 178 Paquette Road
Matthew Johnson                                  St Albans, VT 05478-0000
34 North 7th Street
Brooklyn, NY 11249-0000                          Maureen Data System, Inc
                                                 307 West 38th Street
Matthew Kelley                                   Suite 1801
PO Box 1812                                      New York, NY 10018-0000
Crestline, CA 92325-0000
                                                 Maurice Spear Campus Lenawee County
Matthew Lewis                                    2910 Airport Road
13 Cambridge Court                               Adrian, MI 49221-0000
Manalapan, NJ 07726-0000




                                           - 195 -
               Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 197 of 268



Max Parsons dba D&M Pluming LLC                   McRitchie Water
PO Box 798                                        1678 West Fremont Road
Warrensburg, MO 64093-0000                        Port Clinton, OH 43452-0000

Max Samis                                         Meadowlands Consumer Center Inc
50 Grand St                                       100 Plaza Drive
4f                                                Seacaucus, NJ 07094-0000
New York, NY    10013-0000
                                                  Meagan Nicole Martin
Maximum Exposure Promotions, Inc. dba Ma          2660 36th Street
2377 Flute Ave                                    Sacramento, CA 95817-0000
Henderson, NV 89052-6415
                                                  Mears Home Improvement Specialists INC
Maxwell C. Peterson                               35 Pasture Drive
3845 Buchanan Street NE                           Willmington, VT 05363-0000
Columbia Heights, MN 55421-0000
                                                  Mechelle Lianne Sunday
Maxwell Earl Schuman                              49 Regency Point
576 Peachum Place                                 Montgomery, TX 77356-0000
Nixa, MO 65714-0000
                                                  MediaMath, Inc.
Mayday Communications Inc.                        1440 Broadway
19 Gazza Blvd                                     21st Floor
Farmingdale, NY 00011-7354                        New York, NY 10018-0000

Mays Lawn Care                                    Medics on the Ball
Forrest Mays                                      901 North Broadway
5271 Pickett River Dr.                            N. Massapequa, NY 11758-0000
Henrico, VA 23231-0000
                                                  MediFit Corporate Services, Inc
Maysville-Mason County Landfill                   Accounts Receivable
7055 Sherman-Clarkson Road                        PO Box 460
Maysville, KY 41056-0000                          Madison, NJ 07940-0000

MC Value Sales                                    MedPrep Consulting Group LLC
130 Livingston Street                             160 West 71st Street
Brooklyn, NY 11201-0000                           Suite 8E
                                                  New York, NY 10023-0000
McHenry County Emergency Srvcs Volunteer
2200 N Seminary Avenue                            Mega Rentals Inc
Woodstock, IL 60098-0000                          PO Box 8026
                                                  Madison, WI 53708-8026
McIntyre Media Management
5776 Lindero Canyon Road                          Megan Capri
Suite D #448                                      2115 Colorado Ave
Westlake Village, CA 91362-0000                   Santa Monica, CA 90404-0000

McKeen Security Inc                               Megan Julian
PO Box 740                                        7 Susan Terrace
St. Clairsville, OH    43950-0000                 Woburn, MA 01801-0000

McKinnon, Rebecca                                 Megan Mark
29 Goodwin Drive                                  20-50 45th Street
Wyckoff, NJ 07481-0000                            Astoria, NY 11105-0000

Mclaughlin, Kyle
6 Cedar Ave
Montclair, NJ 07042-0000



                                           - 196 -
            Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 198 of 268



Megan Ryan                                      Metro Paws Animal Hospital
32 Joralemon Street                             Attn: Rachel Pena
D112                                            Dallas, TX 75208-0000
Brooklyn, NY 11201-0000
                                                Metro Times, LLC
Megan Sandler                                   1200 Woodward Heights
4300 Dunlavy Street - 5125                      Ferndale, MI 48220-0000
Houston, TX 77006-0000
                                                Metropolitan Government of Nashville & D
Mel Clark Inc.                                  700 2nd Ave S
4680 Melvin Street                              Suite 300
Las Vegas, NV 89115-0000                        Nashville, TN 37210-0000

Melissa Benjamin                                MF Place Inc (My Friend's Place)
579 St. John's Place                            PO Box 3867
Apt 1L                                          Los Angeles, CA 90078-0000
Brooklyn, NY 11238-0000
                                                MF Place, Inc. dba My Friend's Place
Melissa Jo McCants                              PO Box 3867
PO Box 435                                      Los Angeles, CA 90078-0000
Hurley, NM 88043-0000
                                                MHE, LLC
Mel-Tina Ltd DBA Powerline Park                 1500 W. El Camino
69555 Lee Rd                                    #206
St. Clairsville, OH 43960-0000                  Sacramento, CA 95833-0000

Meltwater News US Inc                           Mia Nathanson
225 Bust Street                                 8822 Elm Road
Suite 1000                                      Richmond, VA 23235-0000
San Fransisco, CA 94104-0000
                                                Miami-Dade County Florida
Melvin M. Tucker Jr                             111 NW 1 Street
1700 Lee Co. Rd 468                             Suite 2550
Elgin, TX 78621-0000                            Miami, FL 33128-0000

Men's Hair House                                Michael A. McGrew
Ron Perrington                                  6335 Browns Quarry Rd
1052 Crocus Lane                                Sabillasville, MD 21780-0000
Appleton, WI 54914-0000
                                                Michael Aaron Kimball
Merrill Communications, LLC                     307A 3rd Avenue
One Merrill Circle                              Smithville, TX 78957-0000
St. Paul, MN 55108-0000
                                                Michael Angelo
Meru, LLC                                       172 Meserole Street
1372 Peachtree Street NE                        Brooklyn, NY 11206-0000
Atlanta, GA 30309-0000
                                                Michael Asher
Methuselah Advisors                             18 East Gate Drive
800 3rd Avenue                                  Sayville, NY 11782-0000
Floor 39
New York, NY 10022-0000                         Michael Bailey
                                                1000 Sharon Drive
Metro Golf Cars, Inc                            Chesapeake, VA 23320-0000
4063 South Freeway
Fort Worth, TX 76110-0000                       Michael Beam
                                                11312 Heartleaf Place
                                                Moseley, VA 23120-0000



                                         - 197 -
            Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 199 of 268



Michael Brian Richards                         Michael Fraind
8066 Settlers Creek Circle                     1049 Woodmere Dr.
Lakeland, FL 33810-0000                        Cliffwood Beach, NJ    07735-0000

Michael Briggs                                 Michael Griffin dba Mike's Vending LLC
200 Turkey Trail Drive                         144 Shrewsbury Street
San Marcos, TX 78666-0000                      Boylston, MA 01545-0000

Michael Burns                                  Michael Hanley
93 Creighton Ct                                197 Quaspeck Blvd
Martinsburg, WV   25404-0000                   Valley Cottage, NY    10989-0000

Michael Casali                                 Michael Harrison Oat
37 Woodlant st                                 13870 Steed Hill Lane
East Islip, NY    11730-0000                   Leesburg, VA 20176-0000

Michael Craig Moul                             Michael Harvan
W5848 Tower Road                               103 W Main St.
Burnett, WI 53922-0000                         S.Austers, OH 44001-0000

Michael Crowe                                  Michael Horn
1280 Pacific Street                            1891 Jim Keene Blvd
Apt #15                                        Winter Haven, FL 33880-0000
Brooklyn, NY 11216-0000
                                               Michael Hyun Gu Kang
Michael D Brown dba B&P Excavating LLC         3209 Market Street
23670 Sacajawea Road                           Oakland, CA 94608-0000
Sedalia, MO 65301-0000
                                               Michael J Plant
Michael Dean Rodgers                           3175 Willow Creek Place
11914 Cheryl Drive                             Escondido, CA 92027-0000
Hagerstown, MD 21742-0000
                                               Michael J Weldon
Michael Devin Moote                            2774 Sequoia Drive
1100 S. Loop 336 West                          Macungie, PA 18062-0000
Apt. 2429
Conroe, TX 77304-0000                          Michael J. Connors DBA Mount Pocono Fenc
                                               PO Box 471
Michael E. Mccue                               Albrightsville, PA 18210-0000
PO Box 1750
Big Bear City, CA   92314-0000                 Michael J. Doody
                                               205 3rd Avenue 11T
Michael Egan                                   New York, NY 10003-0000
3 Leaf Court
Kings Park, NY    11754-0000                   Michael J. Kline
                                               616 Halston Road
Michael Elafi                                  West Sunbury, PA    16061-0000
130 Malabar Road SE
Palm Bay, FL 32907-0000                        Michael Jason Hipolito
                                               206 Dodgen Trail
Michael F. Stauffer                            Buda, TX 78610-0000
67442 Grandview Avenue
Bridgeport, OH 43912-0000                      Michael Jay McCorkle
                                               217 Crestland Drive
Michael Flandrick                              Columbia, TN 38401-0000
1823 Windig Trail Road
New Richmond, WI 54017-0000




                                         - 198 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 200 of 268



MICHAEL JOHN WALKER                              Michael Rodrigues
68869 SANDON RD                                  270 Cromwell Hill Road
P O BOX 122                                      Monroe, NY 10950-0000
WASCO, OR 97065-0000
                                                 Michael Russiello
Michael Joseph Lee Jr                            276 Rensselear Ave
2554 Carrington Way                              Staten Island, NY 10312-0000
Frederick, MD 21702-0000
                                                 Michael Ryan Szalach
Michael Kenneth Andrews                          10211 Bens Way
348 Otono Loop                                   Manassas, VA 20110-0000
Kyle, TX 78640-0000
                                                 Michael S Polec
Michael Kuhn                                     4055 48th Street
307 Aster Road                                   Apt 13
West Islip, NY   11795-0000                      San Diego, CA 92105-0000

Michael L Stock                                  Michael S. Finney
PO Box 171                                       4131 E. Vista Grande
Lake Hill, NY 12448-0000                         San Tan Valley, AZ 85140-0000

Michael Maier                                    MICHAEL SCHMITZ
3511 Salem Cove Lane                             2221 COUNTY ROAD I
Murfreesboro, TN 37128-0000                      SOMERSET, WI 54025-0000

Michael Mazzotta dba M.L. Mazzotta               Michael Shannon Biggs
76 Homestead Street                              321 Maplewood Drive
Haverhill, MA 01830-0000                         Cornersville, TN 37047-0000

Michael Moarks dba Wula Drum, Inc.               Michael Smith
PO Box 1811                                      1573 Neosho Street
Long Island, NY 11101-0000                       Palm Bay, FL 32907-0000

Michael Morgan                                   Michael Strange
853 Macy Place                                   4241 Seminole Circle
Apt. 8G                                          Austell, GA 30106-0000
Bronx, NY 10455-0000
                                                 Michael Taylor Nicholson
Michael Myron Bonn                               4444 Vine St
4997 Grenwich Ave N                              Riverside, CA 92507-0000
Oakdale, MN 55128-0000
                                                 Michael Thomas Foster
Michael Nusbaum dba J-Chip USA East LLC          2952 Hearthside Drive
3911 Old Federal Hill Road                       Spring Hill, TN 37174-0000
Jarrettsville, MD 21084-0000
                                                 Michael Tran dba The Grapevine Restauran
Michael Page International, Inc.                 11055 Three Chopt Road
177 Broad Street, Suite 500                      Richmond, VA 23233-0000
Stamford, CT 06901-0000
                                                 Michael Travers
Michael Patrick Elliot                           64 Brower Ave
993 Braxton Drive                                Rockville Center, NY    11570-0000
Concord, NC 28025-0000
                                                 Michael Valente
Michael R. Wilmes                                172 Marlton Road
6 Walnut Street                                  Pilesgrove, NJ 08098-0000
High Hill, MO 63350-0000




                                          - 199 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 201 of 268



Michael W. McLean                                 Midwest Rentals Portables
41-42 24th Street                                 3312 Klondike Road
Apt #1214                                         West Lafayette, IN 47906-0000
Long Island City, NY   11101-0000
                                                  Midwestern Consulting
Michael Wiesman dba Michael Wiesman Phot          3815 Plaza Drive
PO Box 812                                        Ann Arbor, MI 48108-0000
Sheboygan, WI 53082-0000
                                                  MIG & Consultants, Inc
Michelle Curlee DBA Media 2-Way Radio /           PO Box 10487
3140 Commonwealth Drive                           Uniondale, NY 11555-0000
Suite 440
Dallas, TX 75247-0000                             Miguel Guillermo Medina y Cruz Protillo
                                                  11803 Goshen Avenue
Michelle Kluz                                     #204
1859 O'Hara Lane                                  Los Angeles, CA 90049-0000
Middletown, PA 17057-0000
                                                  Miguel Rosario
Michigan Department of Treasury                   10029 Faulkner Road
Michigan Dept of Treasury                         Cleveland, TX 77328-0000
PO Box 30800
Lansing, MI 48909-0000                            Mike Alt
                                                  900 E Main St
Michigan International Speedway, Inc              Crawfordsville, IN    47933-0000
Accounting
PO Box 2801                                       Mike Hilton
Daytona Beach, FL 32120-2801                      163 Palmer Avenue
                                                  Belford, NJ 07718-0000
Microsoft Corporation
One Microsoft Way                                 Mike Plant & Associates Inc. dba MPA Eve
Redmond, WA 98052-0000                            912 South Andreasen Drive, Suite 101
                                                  Escondido, CA 92029-0000
Microsoft Online Inc
6100 Neil Road                                    Mike Yuen
Suite 100                                         Kavo Kerr Group
Reno, NV 89511-0000                               1241 E. Dyer Road, #250
                                                  Santa Ana, CA 92705-0000
Mid Atlantic Steel Fabrication LLC
14 North Ronks Road                               Mike's Vending LLC dba Mikes Moonwalk Re
Ronks, PA 17572-0000                              144 Shrewburg St
                                                  Boylston, MA 01505-0000
Midco/Bicounty
2212 Sixth Street                                 Miko Mountainlion Inc.
Sarasota, FL 34237-0000                           29227 Sandtrap Court
                                                  Murrieta, CA 92563-0000
Middlesex County Fair Association, Inc.
655 Cranbury Road                                 Milam County Sheriff's Office
East Brunswick, NJ 08816-0000                     512 N. Jefferson, Suite A
                                                  Cameron, TX 76520-0000
Midwest Construction Services, Inc dba
Truillium Construction                            Milky Way Farm LLC
PO Box 671854                                     520 Milky Way Road
Detroit, MI 48267-1854                            Pulaski, TN 38478-0000

Midwest Landscape Solutions LLC                   Millan Valdes
5323 Hwy N #402                                   130 Malabar Road
Cottleville, MO 63338-0000                        Palm Bay, FL 32907-0000




                                           - 200 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 202 of 268



Miller and Company Sanitation Services           MNJ Technologies Direct, Inc.
2400 Shepler Church Ave Sw                       1025 Busch Parkway
Canton, OH 44706-0000                            Buffalo Grove, IL 60089-0000

Miller, Jonathan                                 Mobile Mini, Inc
121 Garabrant Street                             7420 S. Kyrene Road, Suite 101
Unit 302                                         Tempe, AZ 85283-0000
Jersey City, NJ 07304-0000
                                                 Mobile Stage Rentals
Millers American Rentals Inc                     2331 North State Road 7, #221
4901 W Grand River Ave                           Fort Lauderdale, FL 33313-0000
Lansing, MI 48906-0000
                                                 MOBILEMONEY INC
mimoYmima                                        941 CALLE NEGOCIO
1109 Prospect Ave #3A                            SAN CLEMENTE, CA 92673-0000
Brooklyn, NY 11218-0000
                                                 MoCap NYC LLC
Minerals Resort & Spa                            325 Gold Street
3621 Route 94                                    Unit 304
Hamburg, NJ 07419-0000                           Brooklyn, NY 11201-0000

Minnesota Department of Revenue                  Modern Waste Systems Inc.
600 N. Robert St.                                PO Box 275
St. Paul, MN 55101-0000                          Napoleon, MI 49261-0000

Minnesota Revenue                                ModSpace
Mail Station 1250                                1200 Swedesford Road
St. Paul, MN 55145-1250                          Berwyn, PA 19312-0000

Minnesota State Colleges and Universitie         Mohammad H. Baalbaki
3300 Century Avenue North                        130 Laconia Avenue
White Bear Lake, MN 55110-0000                   Staten Island, NY 10305-0000

Miracle Development LLC                          Mohsen Jasem dba Maxxum Security Service
1934 Skiles Blvd                                 31696 Rose Hill Circle
West Chester, PA 19382-0000                      Murrieta, CA 92563-0000

Miriam Wasmund                                   MOK Capital Advisors, LLC
111 Lawrence Street #21F                         160 Sylvan Street
Brooklyn, NY 11201-0000                          Danvers, MA 01923-0000

Mirna Valerio                                    Molly Ann Fitzgerald
7555 Wolfork Road                                2301 Florida Street
Rabun Gap, GA 30568-0000                         #2
                                                 Huntington Beach, FL    92648-0000
Missouri State Fair
2503 W 16th Street                               Molly Ann Fitzgerald dba Luminaire Image
Sedalia, MO 65301-0000                           2301 Florida Street
                                                 Unite #2
Misty Farm                                       Huntington Beach, CA 92648-0000
8040 Scio Church Road
Ann Arbor, MI 48103-0000                         Molly Davis
                                                 162 High Street
MKC Associates, Inc                              Bastrop, TX 78602-0000
40 West 4th St
Mansfield, OH 44902-0000




                                           - 201 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 203 of 268



Mom Corps Service LLC                            Moree's Sportsman's Preserve LLC
1205 Johnson Ferry Road                          1217 Moree Road
Suite 136 #507                                   Society Hill, SC 29593-0000
Marietta, GA 30068-0000
                                                 Morgan, Michael
Mom's Food Concessionaires LLC                   853 Macy Place
P.O. Box 69                                      Apt 8G
Scotch Plains, NJ 07076-0000                     Bronx, NY 10455-0000

Mondo International, LLC dba Mondo               Motion Visuals
102 Madison Avenue                               612 Argyle Rd. #5F
7th Floor                                        Brooklyn, NY 11230-0000
New York, NY 10016-0000
                                                 Mount Pleasant Fire Department
Monk & Associates Inc                            1415 N Main Street
1136 Saranap Avenue                              Mt Pleasant, NC 28124-0000
Suite Q
Walnut Creek, CA 94595-0000                      Mount Snow Ltd.
                                                 39 Mount Snow Road
Monmouth Park                                    West Dover, VT 05356-0000
175 Oceanport Ave
Oceanport, NJ 07757-0000                         Mountain Concessions Inc.
                                                 PO Box 218
Monroe County Control Center                     Long Pond, PA 18334-0000
100 Gypsum Road Suite 201
Stroudsburg, PA 18360-0000                       Mountain Movers
                                                 753 Port America Place, Suite 102
Montana and Ware Web                             Grapevine, TX 76051-0000
231 Hawkes Court
Hockessin, DE 19707-0000                         Mountain Roll-Offs Inc
                                                 1058 County Road 100
Montana and Ware Web Solutions, LLC              Carbondale, CO 81623-0000
1479 Filbert Street Apt 509
San Francisco, CA 94109-0000                     Mountain View Fire & Rescue
                                                 32316-148th Avenue S.E.
Montgomery City Area Chamber of Commerce         Auburn, WA 98092-0000
PO Box 31
Montgomery City, MO 63361-0000                   Moxie Media Group dba Nolte
                                                 169 Canal Street
Montgomery County, Maryland Fire Rescue          Suite 300
100 Edison Park Drive                            New York, NY 10013-0000
2nd Floor
Gaithersburg, MD 20878-0000                      MPI Protective Service Corporation
                                                 2418 Crossroads Drive
Montgomery County, Texas (and all Electe         Suite 1200
PO Box 539                                       Madison, WI 53718-0000
Conroe, TX 77305-0000
                                                 Ms. Cheezious, Inc.
Moody Maxon Real Estate                          7418 Biscayne Blvd
159 Lupine Lane                                  Miami, FL 33138-0000
Wells, ME 04090-0000
                                                 MSPC
Moontoast, LLC                                   340 North Avenue
40 Burton Hills Blvd, Suite 100                  Cranford, NJ 07016-0000
Nashville, TN 37215-0000




                                           - 202 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 204 of 268



Mt Pleasant Relief Fund                          Myles Palletts
8550 Cook Street                                 115 Park Avenue
PO Box 1165                                      Brooklyn, NY 11205-0000
Mount Pleasant, NC 28124-0000
                                                 Myndbend Multimedia, Inc.
MTG & Associates Inc dba Subway                  112 W. 34th Street, 18th Floor
17 Burnham Woods Circle                          New York, NY 10120-0000
Scarbourgh, ME 04074-0000
                                                 Myriame Essalki
Mud Run Guide, LLC                               1001 4th Avenue N
931 Monroe Drive NE                              Nashville, TN 37219-0000
STE A-102 #141
Atlanta, GA 30308-0000                           Myrtle Ave Car & Limo
                                                 525 Myrtle Ave
Mulderrig, Celia                                 Brooklyn, NY 11205-0000
159 Tompkins
4B                                               N.Y.S Department of State
Brooklyn, NY 11206-0000                          Apostille and Authentication Unit
                                                 PO Box 22001
Mullen Communications, LLC                       Albany, NY 12201-2001
40 24th Street
Pittsburgh, PA 15222-0000                        Nancy Davis
                                                 200 Westlynn Drive
Mulligans of Rockford, Inc dba Mulligans         Lebanon, TN 37087-0000
2212 North Main Street
Rockford, IL 61103-0000                          Nassau County Department
                                                 200 County Seat Drive
Municipal Building Consultants                   Mineola, NY 11501-0000
233 Broadway
Suite 2050                                       Nassau County Department of Parks, Rec,
New York, NY 10279-0000                          c/o Eisenhower Park
                                                 1899 Hempstead Turnpike
Murs Alison                                      East Meadow, NY 11554-0000
145 West 58th St
Apt 4J                                           Nassau County Dept. of Health
New York, NY 10019-0000                          200 County Seat Drive
                                                 Mineola, NY 11501-0000
Museum of American Armor, Inc
1303 Round Swamp Road                            Nassau Events Center, LLC
Old Bethpage, NY 11804-0000                      15 Metroteck Center
                                                 11th Floor
Mustafa Albdairi dba Greentree                   Brooklyn, NY 11201-0000
4750 15th Avenue NE
Unit #622                                        Natalie Elizabeth Williamson
Seattle, WA 98105-0000                           86 Simpson Lane
                                                 Perry, AR 72125-0000
Mvable Inc. dba Movable Ink
1065 Sixth Avenue                                Natalie Harvey
Ninth Floor                                      2500 Woodland Park Drive
New York, NY 10018-0000                          Houston, TX 77077-0000

MYLAPS US, Inc.                                  Natalie Jenks dba Natalies Fine Foods
2030 Powers Ferry Rd SE                          371 South Bank Road
Ste 110                                          Landenberg, PA 19350-0000
Atlanta, GA 30339-0000
                                                 Natalie Morley
                                                 2901 Stadium Drive
                                                 Fort Worth, TX 07629-0000



                                           - 203 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 205 of 268



Natasha Nicole Grey                              National Cable Communications LLC dba NC
PO Box 61592                                     405 Lexington Ave
Palm Bay, FL 32906-0000                          6th Floor
                                                 New Yor, NY 10174-0000
Nathan Hale
PO Box 94                                        National Car Rental
Dover, TN 37058-0000                             600 Corporate Park Drive
                                                 St. Louis, MO 63105-0000
Nathan Mars dba Chocou, LLC dba Bento Bu
1170 Celebration Drive                           National Cash Systems Inc.
Roswell, GA 30076-0000                           370 Goddard
                                                 Irvine, CA 92618-0000
Nathanael Douglas
6893 W 4505                                      National Construction Rentals INC
Williamsport, IN 47993-0000                      15319 Chatsworth St.
                                                 Mission Hills, CA 91345-0000
Nathanael P. Swason
1460 Erkkila Road                                National Dumpster Delivery LLC
Brule, WI 54820-0000                             4 Union Street
                                                 Medford, NJ 08055-0000
Nathanial R Benavides
27 Sixth Street                                  National Grid
Apt. C                                           PO Box 11741
Shelby, OH 44875-0000                            Newark, NJ 07101-0000

Nathaniel Charles Thienes                        National MS Society
7613 31st Street N                               1950 Willowood Drive N
Oakdale, MN 55128-0000                           Ontario, OH 44906-0000

Nathaniel William Mumford                        National Tool Grinding, Inc dba US Netti
710 Park Place                                   1514 Veshecco Dr
1F                                               Erie, PA 16501-0000
Brooklyn, NY 11216-0000
                                                 Nationl CineMedia LLC
National Association of Sports Commissio         9110 E Nichols Avenue
9916 Carver Road                                 Suite 200
Suite 100                                        Centennial, CO 80112-0000
Cincinnati, OH 45242-0000
                                                 Nationwide Guard Services, Inc
National Barricade Company, LLC                  9327 Fairway View Place
6518 Ravenna Ave N.E.                            Suite 200
Seattle, WA 98115-0000                           Rancho Cucamonga, CA 91730-0000

National Book Foundation, Inc.                   NBCUniversal, LLC
90 Broad Street                                  30 Rockefeller Plaza
Ste 604                                          New York, NY 10020-0000
New York, NY 10004-3329
                                                 Neff Rentals
National Breast Cancer Foundation, Inc.          1460 N. Chase Street
2600 Network Blvd., Suite 300                    Athens, GA 30601-0000
Frisco, TX 75034-0000
                                                 Negev LLC
National Business Investigations, Inc. d         124 -19 Metropolitan Ave.
25020 Las Brisas Road                            Kew Gardens, NY 11415-0000
First Floor
Murrieta, CA 92562-0000                          Nekimi Volunteer Fire Department
                                                 4575 Melody LN
                                                 Oshkosh, WI 54904-0000



                                           - 204 -
              Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 206 of 268



Nell Rojas                                        New Hampshire Motor Speedway, Inc.
2707 Valmont Road                                 P.O. Box 7888
Unit 202A                                         Loudon, NH 03307-0000
Bowder, CO 80304-0000
                                                  New Horizon Security Services Inc
Nelson Navarrete                                  5501 Merchants View Sq #814
16812 Redwing Lane                                Haymarket, VA 20109-0000
Huntington Beach, CA   92649-0000
                                                  New Jersey Division of Taxation
Nelson Tents and Events Inc.                      Revenue Processing Center Sale
1153 Ocoee Apopka Road                            P O BOX 999
Apopka, FL 32703-0000                             TRENTON, NJ 08646-0999

Nestle Pure Life                                  New Jersey Transit Corp.
P.O. Box 856192                                   One Penn Plaza East
Louisville, KY 40285-6192                         Newark, NJ 07105-0000

Nestle Waters NA dba ReadyRefresh by Nes          New Marine Consolidator Inc
PO Box 856192                                     13200 Crossroads Parkway North
Louisville, KY 40285-0000                         Suite 360
                                                  City of Industry, CA 91746-0000
Neustar Inc
Loudon Tech Center                                New Media News LLC dba DNAinfo.com
21575 Ridgetop Circle                             1395 S Platte River Drive
Sterling, VA 20166-0000                           Denver, CO 80223-0000

Nevada BLM                                        New Strong Corp. dba Alpha Strong
PO Box 911                                        977 East Avenue
Tonopah, NV   89049-0000                          Apt #115
                                                  Chico, CA 95926-0000
Nevada Department of Taxation
555 E. Washington Avenue                          New York Media LLC
Ste. 1300                                         75 Varick Street
Las Vegas, NV 89101-0000                          4th Floor
                                                  New York, NY 10013-0000
Nevada Highway Patrol
4615 W. Sunset Road                               New York State Comptroller
Las Vegas, NV 89118-0000                          Office of Unclaimed Funds
                                                  110 State Street
New England Career Connection Inc dba TP          8th Floor
20 Technology Drive                               Albany, NY 12236-0000
Unit 2
Brattleboro, VT 05301-0000                        New York State Department of Health
                                                  Ed Mager
New England Dragway, Inc                          584 Delaware Avenue
280 Exeter Road                                   Buffalo, NY 14202-0000
Epping, NH 03042-0000
                                                  New York State Department of Taxation &
New Hampshire Department of Transportati          Church Street Station
Bureau of Highway Maintenance                     PO Box 3600
District Three - 2 Sawmill RD.                    New York, NY 10008-0000
Gilford, NH 03249-0000
                                                  New York State Department of Taxation an
New Hampshire Distributors Inc.                   State Processing Center
65 Regional Drive                                 PO Box 15150
PO Box 267                                        Albany, NY 12212-5150
Concord, NH 03301-0000




                                           - 205 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 207 of 268



New York State Income Tax                        Nicholas Chobor
NYS Estimated Income Tax                         330461 Georgia Tech Station
Processing Center, PO Box 4122                   Atlanta, GA 30332-0000
Binghamton, NY 13902-4122
                                                 Nicholas Girard
New York State Insurance Fund                    9 Notown Road
199 Church Street                                Westminster, MA    01473-0000
New York, NY 10007-0000
                                                 Nicholas Nunez
New York State Police                            1905 Harriman Lane
1220 Washington Avenue                           Unit B
Building 22                                      Redondo Beach, CA 90278-0000
Albany, NY 12226-0000
                                                 Nicholas O'Sullivan
New York University                              6862 Highland Road
Third Party                                      Granite Bay, CA 95746-0000
Office of the Bursar
105 East 17th Street, 3rd Floor                  Nicholas Schindler
New York, NY 10003-0000                          1700 Campbell Road
                                                 Waxahachie, TX 75167-0000
Newage Lake Las Vegas, LLC. DBA Hilton L
1610 Lake Las Vegas Parkway                      Nicholas Snyder
Henderson, NV 89011-0000                         3635 Joplin Avenue
                                                 San Diego, CA 92117-0000
Newmark & Company Real Estate, Inc
Newmark Grubb Knight Frank                       Nicholas Sotiropoulos
125 Park Avenue                                  3012 View Place
11th Floor                                       Wenatchee, WA 98801-0000
New York, NY 10017-0000
                                                 Nicholas Taylor Piro
NEXO Insurance Services, INC                     6 Honey Hill Road
111 N. Sepulveda Blvd Ste 243                    Norwalk, CT 06851-0000
Manhattan Beach, CA 90266-0000
                                                 Nicholas White
Nexvue Analytics Corp                            710 Jefferson Ave #226
65 Broad Street                                  Cleveland, OH 44113-0000
Stamford, CT 06901-0000
                                                 Nichole Root
NFP Corporate Services (NY) LLC                  2200 Sombrero Court
340 Madison Avenue                               Auburn, CA 95603-0000
21st Floor
New York, NY 10173-0000                          Nick Bodkins
                                                 67 Butler Street
Niall Leonard                                    Apt 2
7 Boniewood Drive                                Brooklyn, NY 11231-0000
Mohopac, NY 10541-0000
                                                 Nick Ceraso
Nicholas Abroe                                   220 Wetzel Road
130 Malabar Road                                 Glenshaw, PA 15116-0000
Palm Bay, FL 32907-0000
                                                 Nick Dwiggins
Nicholas Akturk                                  4676 Soundside Drive
527 Wantagh Avenue                               Gulf Breeze, FL 32563-0000
Wantagh, NY 11793-0000
                                                 Nick Moretti
Nicholas Allmond                                 229 Quintard Street
7514 Capri Drive                                 Staten Island, NY 10305-0000
Whitlake, MI 48383-0000



                                           - 206 -
            Case 20-10036-CSS   Doc 42-1      Filed 02/12/20   Page 208 of 268



Nickademus Hollon                                Nona Van Ness
11894 Meriden Lane                               10264 Country View Lane
San Diego, CA 92128-0000                         Forney, TX 75126-0000

Nickless and Phillips PC dba Nickless, P         NorCal Mud Run
625 Main Street                                  10400 Twin Cities Rd Ste. 20
4th Floor                                        PMB 111
Fitchburg, MA 01420-0000                         Galt, CA 95632-0000

Nicole A.H. Perry                                Norfolk Banana Distributors Inc
31 Hunting Ridge Drive                           1104 Ingleside Road
Simsbury, CT 06070-0000                          Norfolk, VA 23502-0000

Nicole Cornish dba Cornish Smokehouse            Norma J. Willcut
9008 NW 86th Street                              947 Co. Rd. 4611
Yukon, OK 73099-0000                             Poplar Bluff, MO    63901-7601

Nicole Correnti                                  Norma Kortz
3827 Modesto Drive                               18 Port Way
Rockford, IL 61114-0000                          Laconia, NH    03246-0000

Nicole Fleming dba Healthy Bodies                Norris Farms
326 1/2 East Commerical Street                   PO Box 310
Springfield, MA 65803-0000                       Society Hill, SC    29593-0000

Nicole Mericle                                   North Carolina Department of Revenue
5069 Merritt Drive                               501 N Wilmington Street
Boulder, CO 80303-0000                           Raleigh, NC 27640-0000

Nicole Puhl                                      North Coast Spirit
11721 Brookwood Ave                              108 Loperwood Lane
Leawood, KS 66211-0000                           LaGrange, OH 44050-0000

Nicole Sherri Caroffino                          North Fork Express, Inc
924 Hattaras Ter SE                              PO Box 1310
Palm Bay, FL 32909-0000                          Ronkonkoma, NY 11779-0000

Niles, Barton & Wilmer, LLP                      North Hays County Fire Rescue
111 S Calvert Street                             111 EMS Drive
Suite 1400                                       Dripping Springs, TX 78620-0000
Baltimore, MD 21202-0000
                                                 North Lake Tahoe Resort Association dba
Nirav Modi                                       PO Box 1757
26 Crawford St, Apt 2                            Tahoe City, CA 96145-0000
Lowell, MA 01854-0000
                                                 North Memorial Health Care
Nixon Peabody LLP                                3300 Oakdale Avenue N
1300 Clinton Square                              Robbinsdale, MN 55422-0000
Rochester, NY 14604-0000
                                                 North Oxford Stor-n-Lock
Noah Galloway                                    499 N. Oxford Road
235 Park Ave South                               PO Box 688
10th Floor                                       Oxford, MI 48371-0000
New York, NY 10003-0000
                                                 NORTH TAHOE FIRE
Nomani, Adriana                                  NORTH TAHOE FIRE PROTECTION
25-50 30th Rd Apt 3L                             P O BOX 5879
Astoria, NY 11102-0000                           TAHOE CITY, CA 96145-0000



                                           - 207 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 209 of 268



Northeast Cabarrus Volunteer Fire Dept a         NYS Tax Department
1580 Lentz Harness Shop Road                     Disclosure Unit
Mt. Pleasant, NC 28124-0000                      W A Harriman Campus
                                                 Albany, NY 12227-0000
Northeast Charter & Tours Inc
235 Goddard Road                                 NYS Urban Development Corp. dba Empire S
Lewiston, ME 04240-0000                          633 Third Avenue
                                                 New York, NY 10017-0000
Northwest Douglas County Economic Develo
300 W. Plaza Drive                               Obstacle Racing Media
Suite 225                                        967 White Street SW
Highlands Ranch, CO 80129-0000                   Atlanta, GA 30310-0000

Northwest Fire Incorporated dba Fire Ext         Octagon INC
PO Box 1391                                      800 Connecticut Ave #2E
Beaverton, OR 97075-0000                         Norwalk, CT 06854-0000

Nothern Tool & Equipment                         Offerpop Corp. dba Wyng, Inc.
NothernTool.com Customer Care                    360 Park Avenue South
2800 Southcross Drive West                       20th Floor
Burnsville, MN 55306-0000                        New York, NY 10010-0000

NPB Companies, Inc.                              Offerpop Corporation
PO Box 171425                                    36 E 31st Street
Kansas City, KS 66117-0000                       8th Floor
                                                 New York, NY 10016-0000
NRG Packs
PO Box 205                                       Ohio Bureau Workers Comp
Montgomery City, MO   63361-0000                 BWC State Insurance Fund
                                                 Columbus, OH 43271-0000
Nstar Electric Company dba Eversource En
247 Station Way                                  Ohio Department of Taxation
Westwood, MA 02090-0000                          P.O. Box 181140
                                                 Columbus, OH 43218-1140
Nunez, Adam
2714 Wallace Avenue                              Ohio Sceretary of State
Apt 5B                                           PO Box 670
Bronx, NY 10467-0000                             Columbus, OH 43216-0000

NY Area Food Delivery LLC dba Valducci's         Ohio State Treasurer
357 Carlton Blvd                                 Ohio Department of Taxation
Staten Island, NY 10312-0000                     PO Box 2476
                                                 Columbus, OH 43216-2476
NY State Tax Department
POA Central                                      Ohio State University Lantern
W A Harriman Campus                              242 W. 18th Ave., Suite 207
Albany, NY 12227-0000                            Columbus, OH 43210-1107

NYC Dept. of Buildings                           Okemah Community Improvement Association
210 Joralemon Street                             PO Box 535
8th FL                                           Okemah, OK 74859-0000
Brooklyn, NY 11201-0000
                                                 Okemah Public Schools
NYC Fire Department                              107 West Date
9 Metrotech Center                               Okemah, OK 74859-0000
Brooklyn, NY 11201-0000




                                           - 208 -
              Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 210 of 268



Oklahoma City Party Tent & Event, Inc             Omninet Capital, LLC
3301 E Randol Mill Road                           9420 Wilshire Blvd
Arlington, TX 76011-0000                          Suite 400
                                                  Beverly Hills, CA 90212-0000
Oklahoma Tax Commission
Income Tax                                        On Demand Staffing dba On Demand Staffin
PO Box 26890                                      212 W. 10th Street
Oklahoma City, OK 73126-0000                      Suite C485
                                                  Indianapolis, IN 46202-0000
Old   Bridge Police Department
Lt.   Robert Greenway                             On Time Towing LLC
One   Old Bridge Plaza                            1054 Saunders Lane
Old   Bridge, NJ 08857-0000                       West Chester, PA 19380-0000

Old Bridge Township                               Ondra Huyett
1 Old Bridge Plaze                                7584 Morris Court
Old Bridge, NJ 08857-0000                         Suite 210
                                                  Allentown, PA 18106-0000
Old Dominion Freight Line, Inc.
500 Old Dominion Way                              One Lux Studio
Thomasville, NC 27360-0000                        158 West 29th St
                                                  10th Floor
Olivet College                                    New York, NY 10001-0000
320 S Main Street
Olivet, MI 49076-0000                             One Trust LLC
                                                  PO Box 7813
Olivia Dunkley                                    1072 W. Peachtree St NW
100 West 18th Street                              Atlanta, GA 30309-0000
Apt 7A
New York, NY 10011-0000                           OneSource Information Services
                                                  300 Baker Avenue
Olmsted Ice                                       Concord, MA 01742-0000
8134 Bronson Rd
Olmsted Township, OH   44138-0000                 On-line Security Systems, LLC dba Metro
                                                  618 E State Street
Olof S. Dallner                                   Rockford, IL 61104-0000
500 E. 63rd Street
Apt 23G                                           On-Site Commercial Services
New York, NY 10065-0000                           644 N Country Club Dr
                                                  Mesa, AZ 85201-0000
Olympia Media Group
2055 W Theresa Court                              Onsite Gigs LLC
Jasper, IN 47546-0000                             11 Heritage Court
                                                  Woodcliff, NJ 07677-0000
Omar Eduardo Saenz
839 Auburn Preserve Blvd                          Ontario Growth Corp Inc
Auburndale, FL 33823-0000                         1604 Walker Lake Road
                                                  Ontario, OH 44906-0000
Omega Protective Services
6906 Walnut Street                                Optimal Inc.
Northhampton, PA 18067-0000                       100 Bush Street
                                                  Suite 780
Omni Promotional LLC                              San Francisco, CA    94104-0000
1558 Cherry Street
Louisville, CO 80027-0000                         Optimist Club of Plymouth Wisconsin
                                                  1702 N 7th Street
                                                  Sheboygan, WI 53081-0000




                                           - 209 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 211 of 268



OPTIMUM- CABLE VISION                            Output Services, Inc
P O BOX 371378                                   6410 Odell Place
PITTSBURGH, PA 15250-7378                        Boulder, CO 80301-0000

Oracle America Inc.                              Oxford Benefit Management
500 Oracle Parkway                               745 Hope Rd
Redwood City, CA 94065-0000                      Tinton Falls, NJ 07724-0000

Orangeburg Fire-Rescue                           Oxford Community Schools
8002 Day Pike                                    c/o Mary Reynolds., Mentor
Maysville, KY 41056-0000                         10 N. Washington Street
                                                 Oxford, MI 48371-0000
Ori Neidich
2 Gold Street                                    Oxford Fire Department
PH 5                                             96 N. Washington Street
New York, NY 10038-0000                          Oxford, MI 48371-0000

Orla Walsh                                       Oxford Health Plans
107 Hiram Drive                                  PO BOX 1697
Fairfield, CT 05455-0000                         Newark, NJ 07101-0000

Osborn Trash Service                             PA Department Of Revenue
108141 N 3890 Road                               PO Box 280427
Henryetta, OK 74437-0000                         Harrisburg, PA 17128-0000

Oscar Oliveros                                   PA Department of Revenue - CORP. Tax
5555 East 8th Avenue                             Bureau of Corporate Taxes
Hialeah, FL 33013-0000                           PO Box 280425
                                                 Harrisburg, PA 17128-0425
Osceola County Board of County Commissio
1 Courthouse Square                              PA Department of Revenue - IND. Tax
Suite 2100                                       Bureau of Individual Taxes
Kissimmee, FL 34741-0000                         Department 280504
                                                 Harrisburg, PA 17128-0504
Oshkosh Auxiliary Police
1820 Orchard Lane                                PA Department of State, Corporation Bure
Oshkosh, WI 54902-0000                           Commonwealth of Pennsylvania
                                                 PO Box 8722
OSRT                                             Harrisburg, PA 17105-0000
597 Park Ave E
Mansfield, OH 44905-0000                         Pacific Chevron
                                                 14791 Pacific Coast Hwy
OSU Mansfield                                    Santa Monica, CA 90402-0000
Office of Student Engagement
1760 University Drive                            Pacifica LLV Hotel LLC dba Westin Lakes
Ontario, OH 44906-0000                           101 Montelago Blvd
                                                 Henderson, NV 89011-0000
Ott Consulting Inc.
222 Main Street                                  Pacman Inc
Emmaus, PA 18049-0000                            30764 Tanglewood Drive
                                                 Novi, MI 48377-0000
Outdoor Recreational Management
PO Box 1803                                      Pahrump Valley Disposal
La Jolla, CA 92308-0000                          1410 E.Mesquite Ave.
                                                 P.O. Box 1310
Outfront Media Inc                               Pahrump, NV 89401-0000
185 US Highway 46
Fairfield, NJ 07004-0000



                                           - 210 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 212 of 268



Paige Semenza                                     Paragon Charter Academy
45 Pittston Ave                                   1650 Sanctuary Circle
Pittston, PA 18640-0000                           Howell, MI 48855-0000

Palas Security and Investigation                  Paragon Music, Inc.
PO Box 10184                                      2119 W. Hillsborough Avenue
Bedford, NH 03110-0000                            Tampa, FL 33603-0000

Pali Chhabra                                      Park Center Hotel
5371 Brookline Drive                              1000 Griffin Avenue
Orlando, FL 32819-0000                            Enumclaw, WA 98022-0000

Pali Institute                                    Park Kwik, LLC
PO Box 2237                                       45 Main Street, Suite 602
Running Springs, CA    92382-0000                 Brooklyn, NY 11201-0000

Palm Bay Firefighters Community Benevole          Park Slope Typing & Copy dba Park Slope
1465 Georgia Street NE                            123 7th Avenue
Suite B                                           Brooklyn, NY 11215-0000
Palm Bay, FL 32907-0000
                                                  Parkesburg Borough Police
Palmisano Bros Inc dba Peddler's Son Pro          315 W. 1st Avenue
3235 E Jackson Street                             Parkesburg, PA 19365-0000
Phoenix, AZ 85034-0000
                                                  Parking Solutions LLC
Pamela Carpenter                                  4052 South 3550 West
707 Elm St.                                       West Valley, UT 84119-0000
Martins Ferry, OH   43935-0000
                                                  Parkpoint Health Club Santa Rosa
Pamela Parker                                     c/o Jane Nieman
30 Baker Street                                   1200 North Dutton Ave
Apt B                                             Santa Rosa, CA 95404-0000
San Francisco, CA   94117-0000
                                                  Parks McKinney dba Portland Yoga Studio
Pampas Churrascaria Las Vegas LLC                 616 Congress Street
3663 Las Vegas Blvd South #610                    3rd Floor
Las Vegas, NV 89109-0000                          Portland, ME 04101-0000

Panmet Group Inc.                                 Parsons Brinckerhoff Inc
PO Box 249                                        One Penn Plaza
Medinah, IL 60157-0000                            New York, NY 00010-0119

Pantheon Systems, Inc.                            Partners for Community Development, Inc.
717 California Street                             1407 S. 13th Streets
Second Floor                                      Sheboygan, WI 53081-0000
San Francisco, CA 94108-0000
                                                  Party Line Tent Rentals
Paola Pagano Studio                               21 Vreeland Avenue
Via Solari 11                                     Elmsford, NY 10523-0000
Milano, Italia, IL 20135-0000
                                                  Party Rentals Miami Inc. dba Cache Tents
Paparepas, LLC                                    4450 East 11th Avenue
24842 121st Place SE                              Unit A
Kent, WA 98030-0000                               Hieleah, FL 33013-0000

Pape Machinery Inc.                               Party Time Rental, Inc.
31970 Old Highway 34                              3175 S Platte River Dr
Tangent, OR 97389-0000                            Englewood, CO 80110-0000



                                           - 211 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 213 of 268



Pasco Sheriff's Office Extra-Duty Detail         Paul K. Hileman
8700 Citizen Drive                               204 Bent Tree Court
New Port Richey, FL 34654-0000                   Burleston, TX 76028-0000

Patrell Engineering Group, Inc                   Paul M Roura Jr
751 Sunny Grove Lane                             77 East 3rd Street
Glendora, GA 91741-0000                          Apt 2R
                                                 New York, NY 10003-0000
Patricia Ann Ray
4249 East Old Camden Road                        Paul M. Rakoski Jr.
Society Hill, SC 29593-0000                      308 Prospect Ave
                                                 Hamburg, NY 14075-0000
Patricia Wilson dba Wilson Culinary Serv
231 Currie Road                                  Paul Mattison
Slippery Rock, PA 16057-0000                     16 West 16 Street
                                                 #PHDN
Patrick Baynes dba GameTimeUpdates LLC           New York, NY 10011-0000
2013 Walnut Street
3                                                Paul Schwer
Philadelphia, PA 19103-0000                      1913 Bel Aire Drive
                                                 Tullahoma, TN 37388-0000
Patrick D. Williams
1282 Rosedale Drive                              Paul's Electronic Maintenance Inc. DBA S
Mansfield, OH 44906-0000                         1301 New Market Avenue
                                                 South Plainfield, NJ 07080-0000
Patrick Michael Duvall
5802 Gateshead Drive                             Paws 4 You Rescue, Inc.
Austin, TX 78745-0000                            8717 SW 134 Street
                                                 Miami, FL 33176-0000
Patrick Michael Spevak Jr
11124 Highland School Rd                         Payscale, Inc.
Myersville, MD 21773-0000                        1000 1st Avenue South
                                                 Seattle, WA 98134-0000
Patry, Tents & Events dba True Value Who
115 Lystra Ct.                                   PB Swan Management LLC dba Jamba Juice
Santa Rosa, CA 95403-0000                        PO Box 350
                                                 Langley, WA 98260-0000
Patten Industries, Inc.
635 West Lake Street                             Peacemaker National Training Center, LLC
Elmhurst, IL 60126-0000                          1624 Brannons Ford Rd
                                                 Gerrardstown, WV 25420-0000
Paul Basile
222 Maple Street                                 Pearl Realty Mgmt LLC dba Seret Studios
Brooklyn, NY 11225-0000                          202 Plymouth Street
                                                 Brooklyn, NY 11201-0000
Paul Dietrich
77 Ridge Drive                                   Pearlman Advisors, LLC
Mohrsville, PA   19541-0000                      3 Mile Point
                                                 Meredith, NH 03253-0000
Paul E. Steward dba Steward Engineering,
15765 392nd Street                               Pecan Street Real Estate
Center City, MN 55012-0000                       8500 Blazyk Drive
                                                 Austin, TX 78737-0000
Paul Franco
94 Indiana AV                                    Peco's Pit International Franchise, LLC
Long Beach, NY   11561-0000                      7681 South 180th Street
                                                 Kent, WA 98032-0000




                                           - 212 -
            Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 214 of 268



Pee Dee Ice & Fuel Co.                         Perry Gunter
PO Box 1                                       153 Garland Rd
Cheraw, SC 29520-0000                          Washington, GA    30673-0000

Peerless Industries Inc                        Personalized Nutrition & Fitness
2809 S. IH 35                                  8 Crimson Drive
San Marcos, TX 78666-0000                      Windham, ME 04062-0000

Peggy A. Noid                                  Peter Dolan Wheatley
1847 Knapp Avenue                              51 Sargent Road
Marshalltown, IA 50158-0000                    Winchester, MA 01890-0000

Penguin Random House, LLC                      Peter Farrow
1745 Broadway                                  3111 North Wilshire Lane
New York, NY 10019-0000                        Arlington Heights, IL 60004-0000

Penn Mutual                                    Peter Hunt
Payment Processing                             304 W. 92nd Street
L/B 7460 Route 38 East Gate Drive              Apartment 8L
Moorestown, NJ 08057-0000                      New York, NY 10025-0000

Pennsylvania Resources Council                 Peter Paul Czerwinski
64 South 14th Street                           1027 E. Monteleone Street
Pittsburgh, PA 15203-0000                      San Tan Valley, AZ 85140-0000

People Ready Florida, Inc.                     Peter Scott Forrester
1015 A Street                                  1429 Crossbill Trail
Tacoma, WA 98402-0000                          Hanahan, SC 29410-0000

PeopleReady Inc.                               Phaon Randall Carr
FKA Labor Ready MidAtlantic In                 95 Putman Drive
1015 A Street                                  Inwood, WV 25428-0000
Tacoma, WA 98402-0000
                                               Phelan Enterprises LLC
Perfect Drive Golf & Utility Vehicles          PO Box 3076
PO Box 94098                                   Albany, OR 97321-0000
Seattle, WA 98124-9498
                                               Phelps Dunbar, LLP.
Perfect Potty, Inc                             365 Canal Street
9219 Corsair Road, Unit D                      Suite 200
Frankfort, IL 60423-0000                       New Orleans, LA 70130-0000

Performance Audio LLC                          Phelps Towing, Inc.
2456 S. West Temple                            3640 Page Aveue
Salt Lake City, UT 84115-0000                  Jackson, MI 49203-0000

Periscope Inc                                  Philadelphia Insurance Companies
461 2nd Street                                 PO Box 70251
#461                                           Philadelphia, PA 19176-0000
San Fransisco, CA   94107-0000
                                               Philadelphia Media Network Newspapers LL
Perocolate Industries, Inc.                    801 Market Street
107 Grand Street                               Suite 300
Second Floor                                   Philadelphia, PA 19107-0000
New York, NY 10013-0000
                                               Philip J Nungesser
                                               130 Malabar Road
                                               Palm Bay, FL 32907-0000



                                        - 213 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 215 of 268



Philip Lewis Jr. Perkins                         Pinnacle Appliance Care LLC
801 Hillcrest Dr                                 300 Michael Drive
Washington, GA 30673-0000                        Syosset, NY 11791-0000

Philip Wayne Shelton                             Pinnacle Construction Group, Inc.
1030 Waterford Crossing                          350 Lenox Road
Waxahachie, TX 75167-0000                        Unit 4C
                                                 Brooklyn, NY 11226-0000
Phillip Jackson
4323 Eagle Rock Blvd                             Pinnacle National Bank
Apt. 214                                         211 Commerce Street
Los Angeles, CA 90041-0000                       Suite 300
                                                 Nashville, TN 37201-0000
Phillip Jay Putman Jr.
1049 Broadway Street                             Pinney, Ethan A.
Apt. 1D                                          1 Main Street, Apartment 2L
Martins Ferry, OH 43935-0000                     Brooklyn, NY 11201-0000

Phillip Lee Taylor                               Pinterest, Inc
227 Spring Branch Loop                           808 Brannan Street
Kyle, TX 78640-0000                              San Fransisco, CA 94103-0000

Phillip T. Guhl dba Baskin Robbins, Teme         Pioneer Manufacturing Company, Inc. dba
PO Box 892260                                    4529 Industrial Pkwy
Temecula, CA 92589-0000                          Cleveland, OH 44135-0000

Phoenix Engineering and Consulting, Inc.         Piper Jaffray & Co.
110 Londonberry Ct., Ste. 136-C                  800 Nicollet Mall
Woodstock, GA 30188-0000                         Suite 100
                                                 Minneapolis, MN 55402-7020
Phoenix Newspapers, Inc dba Republic Med
200 E Van Buren Street                           Pit Stop Catering, Inc dba The Gear Box
Phoenix, AZ 85004-0000                           11747 Lake Ridge Court
                                                 Kiel, WI 53042-0000
Phoenix Sports Tech
7946 Hamilton Blvd., POBox 774                   Pitkin County
Trexlertown, PA 18087-0000                       530 E Main Street
                                                 Suite 201
Physio Logic Chiropractic & Physical The         Aspen, CO 81611-0000
409 Fulton Street
Second Floor                                     PLACER COUNTY SHERIFF CORONER MARSHAL
Brooklyn, NY 11201-0000                          2929 RICHARDSON DR
                                                 AUBURN, CA 95603-0000
Piedmont Park Conservancy, Inc
PO Box 7795                                      Plantation Field Equestrian Events, Inc.
Atlanta, GA 30357-0000                           P.O. Box 421
                                                 Unionville, PA 19375-0000
Pierre S. Richer
PO Box 100351                                    Platinum T&E Inc. dba EZ Carpet Service
Palm Bay, FL 32910-0000                          1656 Stewart Avenue
                                                 New Hyde Park, NY 11040-0000
Pillar Consulting Group, Inc.
1600 SW Western Blvd                             Plenty Consulting, Inc
Suite 290                                        613 Franklin Street
Corvallis, OR 97333-0000                         Suite A
                                                 Michigan City, IN 46360-0000




                                           - 214 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 216 of 268



Plimpton Excavating LLC                          Policelli and Sons, INC
PO Box 65                                        880 Cara Court
Wardsboro, VT 05355-0000                         Bangor, PA 18013-0000

Plus Group Consulting Engineering, PLLC          Polk County Board of County Commissioner
32 Broadway                                      PO Box 1458
Room 1601                                        Bartow, FL 33831-0000
New York, NY 10004-0000
                                                 Polk County Sheriff's Office
PM Studios                                       1891 Jim Keene Blvd.
357 Central Avenue                               Winter Haven, FL 33880-0000
Salamanca, NY 14779-0000
                                                 Polsa Rosa Ranch Studios, Inc.
PMT Forklift Corp                                PO Box 285
276 Great E Neck Road                            Acton, CA 93510-0000
West Babylon, NY 11704-0000
                                                 Port City Rentals, Inc
PNC Bank Arts Center                             3252 Old Shell Road
Exit 116 Garden State Parkway                    Mobile, AL 36607-0000
Holmdel, NJ 07733-0000
                                                 Porter-Smith, Nicola
Pocono International Raceway Inc.                277 Avenue C
1234 Long Pond Road                              Apt 2H
Long Pond, PA 18334-0000                         New York, NY 10009-0000

Pocono Manor                                     Posterscope USA, Inc.
1 Manor Drive                                    32 Avenue of the Americas
Pocono Manor, PA   18349-0000                    Twenty-Fifth Floor
                                                 New York, NY 10013-0000
Pocono Mountain Regional Foundation
2454 RT. 940                                     Pot-O-Gold Rentals LLC
Pocono Summit, PA 18346-0000                     PO Box 1627
                                                 Hammond, LA 70446-0000
Pocono Mountain Regional Police Departme
2454 Route 940                                   Powdr Corp and Sudsidiaries dba Powdr -
Pocono Summit, PA 18346-0000                     PO Box 3001
                                                 Cooper Mountain, CO 80443-0000
Pocono Raceway
PO Box 500 1234 Long Pond Road                   power Sport Rental
Long Pond, PA 18334-0000                         745 State Route 3
                                                 Gambrills, MD 21054-0000
Pocono Township
PO Box 197                                       Power Sports Rental Network Inc
Tannersville, PA   18372-0000                    4650 W Spencer Street
                                                 Appleton, WI 54914-0000
Point B Communications
750 N Orleans Street                             Power Trip Rentals, LLC
Suite 550                                        2501 Orange Avenue
Chicago, IL 60654-0000                           Signal Hill, CA 90755-0000

Poisel Construction Company                      Powerland Equipment, INC
5845 Poinsettia Drive                            27943 Valley Center Road
Lafayette, IN 47905-0000                         Valley Center, CA 92082-0000

Poland Spring Direct                             PowerPits CS1, LLC dba Pita Pit
6661 Dixie Hwy, Suite 4                          18018 Cypress Rosehill Road
Louisville, KY 40258-0000                        Cypress, TX 77429-0000




                                           - 215 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 217 of 268



POWERS LIQUID WASTE MANAGEMENT                   President and Trustees of Williams Colle
2084 ASPLUND                                     Williams College
NEW RICHMOND, WI 54017-0000                      880 Main Street
                                                 Williamstown, MA 01267-0000
Poythress Tent Rentals, Inc.
1801 Frank Holt Drive                            Prestige Tent Rental
Burlington, NC 27216-0000                        1285 South Trimble Road
                                                 Mansfield, OH 44907-0000
Pozzi Bros Transportation Inc
PO BOX 776                                       Princeton Produce dba A&A Food Service
Kent, WA 98035-0000                              1370 West 9th Street
                                                 Upland, CA 91786-0000
PR Newswire Association LLC
350 Hudson Street                                Print Plus
Suite 300                                        222A Highway 290W
New York, NY 10014-0000                          Dripping Springs, TX    78620-0000

Pradeepa Jeeva                                   Print Tech Copy Service dba Franklin Gro
7275 Franklin Ave. #403                          1856 Flatbush Ave
Los Angeles, CA 90046-0000                       Brooklyn, NY 11210-0000

Precision Dynamics Corp.                         Printing Impressions
27770 N. Entertainment Drive                     68 Reliance Rd
Valencia, CA 91355-0000                          Martinsburg, WV 25403-0000

Precision Plumbing Services, Inc                 Printing Services, Inc.
63 Flushing Avenue                               5711 Industry Lane
Unit 324                                         Unit 20
Brooklyn, NY 11205-0000                          Frederick, MD 21704-0000

Preit Associates, LP dba PR Exton Square         Pro Specialties Group, Inc
200 S. Broad Street                              4863 Shawline Street
Third Floor                                      Suite D
Philadelphia, PA 19102-0000                      San Diego, CA 92111-0000

Premier Claims Management LLC                    Procopio, Cory, Hargreaves & Savitch LLP
2020B North Tustin Avenue                        PO Box 12623
Santa Ana, CA 92705-0000                         San Diego, CA 92101-9998

Premier Companies                                Proctor Productions, Inc
PO Box 382                                       501 Raritan Way
Boulder, CO 80301-0000                           Denver, CO 80204-0000

Premier Graphics Inc                             Prodencio Ochoa III
1248 W. 4th Street                               15285 Park Lane
Mansfield, OH 44906-0000                         Conroe, TX 77302-0000

Premier Produce, LLC dba Bud's Produce           Production Resource Group, LLC
PO Box 1355                                      PRG-Chicago
Elizabethtown, KY 42702-0000                     200 Hastings Drive
                                                 Buffalo Grove, IL 60089-0000
Premier Special Event Services, Inc
PO Box 2718                                      Productive Staffing
Burlington, NC 27216-0000                        502 Poplar Street
                                                 Poplar Bluff, MO 63901-0000
Premiere Credit of North America, LLC
PO Box 19309
Indianapolis, IN 46219-0000



                                           - 216 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 218 of 268



Proelia Partners International LLC               Qari, Rabia
7840 Carysford Avenue                            188 East 78th Street
Las Vegas, NV 89178-0000                         16B
                                                 New York, NY 10075-0000
Profero LLC
386 Park Avenue South                            Qiji Wang
13th Floor                                       333 Central Ave
New York, NY 10016-0000                          Apt 217
                                                 Westfield, NJ 07090-0000
Promenade Car Lease Inc
151 Front Street                                 QPS Employment Group
Brooklyn, NY 11201-0000                          13935 Bishops Drive
                                                 Suite 330
Promotions Perfected Inc. dba Holland Mo         Brookfield, WI 53005-0000
2 North Main Street
Holland, NY 14080-0000                           Quality Ambulance Service
                                                 3702 East Rio Grande
Pronto Assembly and Delivery                     Victoria, TX 77901-0000
593 Vanderbilt Ave. #252
Brooklyn, NY 11238-0000                          Quality Banner Company
                                                 1302 SW 42 Ave
Proof of the Pudding by MGR, INC                 Ocala, FL 34474-0000
1175 Chattahoochee Ave NW
Atlanta, GA 30318-0000                           Quantcast
                                                 201 3rd Street, 2nd Floor
Proquire LLC                                     San Francisco, CA 94103-0000
1255 Treat Blvd
Suite 250                                        Quest Productions
Walnut Creek, CA   94597-0000                    7015 Marshall Rd
                                                 Dexter, MI 48130-0000
Protea-IPS, Inc FBO/Iain PF McDonald
11328 Magnolia Blvd                              Question Pro Inc
N Hollywood, CA 91601-0000                       548 Market St. #62790
                                                 San Francisco, CA 94104-0000
ProValet Parking LLC
PO Box 231                                       Queue Associates, Inc
Montvale, NJ 07645-0000                          420 Lexington Ave
                                                 Room 300
Pryor Learning Solutions, Inc. dba Fred          New York, NY 10170-0000
5700 Broadmoor
Suite 300                                        Quik Park Brooklyn Bridge LLC
Mission, KS 66202-0000                           360 Furman Street
                                                 Brooklyn, NY 11201-0000
Puget Sound Security Patrol Inc. dba Pug
PO Box 1892                                      Quinton Patterson
Bellevue, WA 98009-0000                          29 Hamilton Road
                                                 Maple Shade, NJ 08052-0000
PurCo Fleet Services
136 S Main Street                                Quiznos
Spanish Fork, UT 84660-0000                      32389 Temecula Parkway #110
                                                 Temecula, CA 92592-0000
Putnam County Emergency Services
410 S.S.R. 19                                    Quiznos Sub DBA AJS Sub Inc.
Palatka, FL 32177-0000                           5244 University Parkway Suite E
                                                 San Bernadino, CA 92407-0000




                                           - 217 -
               Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 219 of 268



R.P. Luce & Company                              Rackspace US, Inc.
257 Main Street                                  1 Fanatical Place
P.O. Box 2831                                    Windcrest, TX 78218-0000
Sag Harbor, NY 11963-0000
                                                 Rafeal Hernandez
R/GA Media Group Inc                             5911 Reseda Blvd #16
350 WEST 39H STREET                              Tarzana, CA 91356-0000
NEW YORK, NY 10018-0000
                                                 RagBag Mobile Bistro
Rabia Qari                                       11027 Chesmore Street
205 East 85th Street                             Littleton, CO 80130-0000
New York, NY 10028-0000
                                                 RAIN
Raboy, Jake                                      686 E. 110 S. SUITE 102
339 E 12 St #3                                   AMERICAN FORK, UT 84003-0000
New York, NY 10003-0000
                                                 Rain For Rent
Race Result USA                                  3404 State Road
3822 Abeyta Ct                                   Bakersfield, CA    93308-0000
Boulder, CO 80301-0000
                                                 Rain For Rent Woodland
Raceway989                                       File 52541
2187 Salem Road, NE                              Los Angeles, CA 90074-2541
Conyers, GA 30013-0000
                                                 Rainbow Therapeutic Riding Center
Rachel Coles                                     PO Box 479
8248 High St                                     Haymarket, VA 20168-0000
Thornton, CO    80229-0000
                                                 Ralph Elia
Rachel Holtzman                                  136 Tanglewood Drive
210 Adelphi St, APT. 4                           State Island, NY 10308-0000
Brooklyn, NY 11205-0000
                                                 Ramaker & Associates, Inc.
Rachel Lee                                       1120 Dallas Street
2225 W Broadway                                  Sauk City, WI 53583-0000
Apt E217
Anaheim, CA 92804-0000                           Ramblin Express Inc
                                                 3465 Astrozon Place
Rachel N. Hamrick                                Colorado Springs, CO    80910-0000
201 Melodie Drive
Clarksville, TN 37043-0000                       Rammer Fence Inc.
                                                 1955 Stillman Drive
Rachel Wood                                      Oshkosh, WI 54901-0000
318 Waldoboro Rd.
Bremen, ME 04551-0000                            Ramon Reyes Jr
                                                 3763 Taylorsville Rd
Rachel Woods                                     Red Rock, TX 78662-0000
515 W 170th Street
Apt 32                                           Ramsay Davila
New York, NY 10032-0000                          5601 Freedom Blvd C
                                                 Aptos, CA 95003-0000
Rachelle Vagy
343 Gold Street                                  Ramzey Prentiss
Apt #3714                                        19 Danbury Road
Brooklyn, NY 11201-0000                          Apt. #9
                                                 Ridgefield, CT 06877-0000




                                          - 218 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 220 of 268



Randal Rabede                                    Raquel Wagner
46469 Whitsay Rd                                 85 Maple Street
Willington, OH 44090-0000                        Apt. 3B
                                                 Weehawken, NJ 07086-0000
Randall Koubeck - Lorain County Sheriff
9896 Murray Ridge Rd                             Ray Upshaw
Elyria, OH 44035-0000                            2113 Roma Lane
                                                 Country Club, MO    64505-0000
Randall M. Alderman
67196 Airport Rd.                                Raymond Fong
St. Clairsville, OH   43950-0000                 8863 Blake Alan Ave
                                                 Las Vegas, NV 89147-0000
Randall Uritsky
194 Cinnabar Lane                                Raymond Spencer
Yardley, PA 19067-0000                           1309 N 6th Ave
                                                 Pensacola, FL 32503-0000
Randall's Island Park Alliance, Inc
24 West 61st Street                              Raza Momin dba Crescent LLC dba Urban Tr
4th Floor                                        3099 Breckinridge Blvd
New York, NY 10023-0000                          Suite 209B
                                                 Duluth, GA 30096-0000
Randstad Finance & Accounting
12516 Collection Center Drive                    RBR Management LLC dba Community Ambulan
Chicago, IL 60693-0000                           91 Corporate Park Drive
                                                 Suite 120
Randy Helms                                      Henderson, NV 89074-0000
15015 62nd St N
Stillwater, MN 55082-0000                        RDS Delivery Service
                                                 436 East 11th Street
Randy J Walter                                   New York, NY 10009-0000
N2898W County Road A
Cascade, WI 53011-0000                           Rea Kolbl
                                                 4998 Moorehead Avenue
Randy James Dahl                                 Apt. 215
1275 Mahogany Mill Road                          Boulder, CO 80305-0000
Pensacola, FL 32507-0000
                                                 Rebecca Corry
Randy John Peardon Jr.                           1165 1/2 N. Orange Grove
1891 Jim Keene Blvd                              Los Angeles, CA 90046-0000
Winter Haven, FL 33880-0000
                                                 Rebecca Engel Braatz
Randy McMillan                                   6890 Joliet Ave South
758 S Washington Street                          Cottage Grove, MN 55016-0000
Lagrange, TX 78945-0000
                                                 Rebecca Rupff
Randy Scott Stewart                              1440 River Rock Place
65782 McGregor Hill Road                         Apt. 204
Bellaire, OH 43906-0000                          Memphis, TN 38103-0000

Randy Scott Weldon                               Rebecca Tillett
2774 Sequioa Drive                               130 Malabar Road
Macungie, PA 18062-0000                          Palm Bay, FL 32907-0000

Raptor Safety Management LLC                     Reclamation Sciences, LLC
PO BOX 5752                                      3218 East Bell Road, Suite 216
Frisco, TX 75035-0000                            Phoenix, AZ 85032-0000




                                          - 219 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 221 of 268



Red Coats, Inc. dba Admiral Security Ser         Relative Consulting, LLC
2117 Lake Avenue                                 1201 Adams Street
Richmond, VA 23230-0000                          Apt. 404
                                                 Hoboken, NJ 07030-0000
Red Flag Rescue
50 Bridge Street                                 Renate Kaufman
#403                                             PO Box 2108
Brooklyn, NY 11201-0000                          Olymic Valley, CA    96146-0000

Red Oak Transportation Inc.                      RENE SANDOVAL
307 Boston Post Road                             9200 EAGLE CIRCLE
Port Chester, NY 10573-0000                      TACOMA, WA 98133-0000

Reddy Ice                                        Rentals Only
PO Box 1143                                      278 Rt. 100 North
Martinsburg, WV   25402-0000                     West Dover, VT 05356-0000

Redlands Elks Lodge 583                          Rentals Unlimited, Inc
663 New York St                                  Joe Joyce
Redlands, CA 92373-0000                          PO Box 600
                                                 Clarksburg, MD 20871-0000
Redwood Empire Disposal Sonoma County, I
PO Box 1300                                      Represnt Holdings, LLC
Suisun, CA 94585-0000                            1680 Vine Street
                                                 Suite 400
Reed F. Caswell                                  Los Angeles, CA 90028-0000
226 McClain Drive
West Melbourne, FL   32904-0000                  Republic Services Inc DBA Allied Waste T
                                                 18500 N. Allied Way
Reed Ice Company, Inc                            Pheonix, AZ 85054-0000
2642 Double Branches Road
Lincolnton, GA 30817-0000                        Republic Services, Inc.
                                                 18500 North Allied Way
ReedSmith                                        Phoenix, AZ 85054-0000
2672 Paysphere Circle
Chicago, IL 60674-0000                           Rescue 1 Roadside
                                                 180 Ghost Creek
Reese & Associates, Inc.                         Buda, TX 78610-0000
134C Lystra Court
Santa Rosa, CA 95403-0000                        Resolute Security Group
                                                 PO Box 1755
Refinery 29, Inc.                                Minden, NV 89423-0000
225 Broadway
23rd Floor                                       Resort Parking Services INC
New York, NY 10007-0000                          68-364 Commercial Road, Suite A
                                                 Cathedral City, CA 92234-0000
Regional Marketing Concepts, Inc. DBA RM
3700 West End Drive                              Resource Staffing Group
Henrico, VA 23294-0000                           PO Box 8008
                                                 Portland, OR 97207-8008
Register of Copyrights
Copyright I&R/Recordation                        Results Staffing, Inc.
PO Box 71537                                     1555 W. Mockingbird Lane
Washington, DC 20024-0000                        Suite 220
                                                 Dallas, TX 75235-0000
Reinier Gomez
130 Malabar Road SE
Palm Bay, FL 32907-0000



                                           - 220 -
            Case 20-10036-CSS    Doc 42-1    Filed 02/12/20   Page 222 of 268



Revenue Collection Operations                   Richard G. Hange
PO Box 16350                                    87 Westgate Drive
Mesa, AZ 85211-6350                             Mansfield, OH 44906-0000

Revfluence, Inc.                                Richard Krupa
530 Howard Street                               14 4th St. Apt. 3A
Suite 350                                       Brooklyn, NY 11231-0000
San Francisco, CA   94105-0000
                                                Richard L. Hoffman & Associates, Inc.
Reviora, LLC.                                   15 West 36th Street
2519 N. McMullen Booth Road                     New York, NY 10018-0000
Ste 510-231
Clearwater, FL 33761-0000                       Richard M Wilde
                                                50 Bridge Street #403
RexMoore                                        Brooklyn, NY 11201-0000
6001 Outfall Circle
Sacramento, CA 95282-0000                       Richard M. Salt , CPA
                                                10 Claremont Lane
RFE Enterprise LLC                              Suffern, NY 10901-0000
15 W. Factoryville Road
Bangor, PA 18013-0000                           Richard Osborne dba Djester Brother
                                                75 Loop 150 West
Rhoan G. Thomas                                 Suite F
4011 Boring Road                                Bastrop, TX 78602-0000
Decatur, GA 30034-0000
                                                Richard Ryan dba RT Run LLC
Ricardo Aragon DBA Barbed Wire Reef LLC         1914 Pine Street
449 W 38th Ave                                  Philadelphia, PA 19103-0000
Unit 102
Denver, CO 80212-0000                           Richard Shelling dba Grilling Shilling
                                                4646 Papania Drive
Ricardo Lozano Jr.                              New Orleans, LA 70127-0000
1307 Redbud Trail
Lockhart, TX 78644-0000                         RICHARD T. HOLM
                                                23360 WINLOCK LN
Rice Energy                                     FOSSIL, OR 98730-0000
334 Chapman St.
Greenfield, MA 01301-0000                       Richard William McConnaughey
                                                8900 Freedom Center Blvd
Richard Benavides                               Manassas, VA 20110-0000
27 Sixth Street
Apt. C                                          Richard William Powell III
Shelby, OH 44875-0000                           22501 Chase
                                                Apt 12313
Richard C Hutchinson Jr                         Aliso Viejo, CA 92656-0000
594 Juri Cr
Gonazalez, CA 93926-0000                        Richbourg's Rentals
                                                1500 W. Lucas Street
Richard Cole                                    Florence, SC 29501-0000
155 Balch Rd
Elgin, TX 78621-0000                            Richeliey Austin
                                                130 Malabar Road
Richard E Wonderlic                             Palm Bay, FL 32908-0000
329 W Camargo Ct
Vernon Hills, IL 60061-0000                     Richland Community Development Group,Inc
                                                55 N Mulberry Street
                                                Mansfield, OH 44902-0000




                                          - 221 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 223 of 268



Richland County Sheriff's Office                 Rite-Way Internal Removal Inc.
597 Park Ave East                                64-05 34th Avenue
Mansfield, OH 44905-0000                         Woodside, NY 11377-0000

Richland Engineering Limited                     River City Petroleum Inc.
29 North Park Street                             3775 N. Freeway Blvd
Mansfield, OH 44902-0000                         Suite 101
                                                 Sacramento, CA 95834-0000
Richland Mall
Centro Richland, LLC                             River City Produce Co. Inc.
2209 Richland Mall                               1616 S. Laredo Street
Mansfield, OH 44906-0000                         San Antonio, TX 78207-0000

Richmond Hunting Club, Inc.                      River Parish Disposal, LLC
5016 IL Route 173                                7201 Airline Drive
Richmond, IL 60071-0000                          Metairie, LA 70003-0000

Richmond Traffic Control, Inc.                   Riverside County Sheriff's Department
12255 Washington HWY.                            333 Limited Ave
Ashland, VA 23005-0000                           Lake Elsinore, CA 92530-0000

Richmond Twp. Fire Protection District           Riverside Productions, LP
5601 Hunter Drive                                1097 County Road 428
Richmond, IL 60071-0000                          Rockdale, TX 76567-0000

Rick Boone - Jackson county sheriffs             RM Cleaning, LLC.
115 West Main                                    1 S College St
Enda, TX 77957-0000                              # 2460
                                                 Statesboro, GA 30458-0000
Rick Lawson
106 Sugar Maple Lane                             Road Runner Safety Services
Hendersonville, TN 37075-0000                    PO BOX 552
                                                 Jackson, MO 63755-0000
Ricoh USA, Inc.
6700 Sugarloaf Pkwy                              RoadSafe Traffic Systems, Inc.
Duluth, GA 30097-4925                            3015 E Illini Street
                                                 Pheonix, AZ 85040-0000
Ridge Printing Inc. DBA Ridge Printing C
234 E Bullard Ave                                Roaring Fork Transportation Authority
Lake Wales, FL 33853-0000                        0766 Industry Way
                                                 Carbondale, CO 81623-0000
Rightway Site Services Inc dba Rightway
653 W. Minthorn Street                           Robert A. Mitchell III
Lake Elsinore, CA 92530-0000                     1020 Broadway Street
                                                 Apt A3
Ring Power Corporation                           Martins Ferry, OH 43935-0000
7500 26th Ct E
Sarasota, FL 34243-0000                          Robert Aaron Anderson
                                                 308 Lakeview Drive
Rising Tide Capital Inc.                         Palmer, TX 75152-0000
334 Martin Luther King Dr.
Jersey City, NJ 07305-0000                       Robert Allen Morgan
                                                 146 Bosque
Rite Aid Corp. dba Rite Aid Pharmacy             Bastrop, TX 78602-0000
PO Box 360321
Pittsburg, PA 15250-0000                         Robert Berganza
                                                 1891 Jim Keene Blvd
                                                 Winter Haven, FL 33880-0000



                                           - 222 -
            Case 20-10036-CSS   Doc 42-1      Filed 02/12/20   Page 224 of 268



Robert C Cutler DBA The EDGE! DJ Product         Robert L Moore
41 Deerfield Ct.                                 69324 Barton Road
Wentzville, MO 63385-0000                        St Clairsville, OH    43950-0000

Robert Charles Rama                              Robert L Schlosser dba Tents and Party R
713 James Circlet NE                             725 West Saar St
Palm Bay, FL 32905-0000                          Kent, WA 98032-0000

Robert D Caltrider Jr.                           Robert L. Collura
894 Wallace Road                                 727 Molasses Road
Mansfield, OH 44903-0000                         Bangor, PA 18013-0000

Robert D. Story                                  Robert McDonough
55 Tinney Rd                                     20 Glenville Ave
Charlemont, MA 01339-0000                        Apt #3
                                                 Allston, MA 02134-0000
Robert Elgin Berganza
533 Duchess Ct                                   Robert Michael Hughes
Lakeland, FL 33803-0000                          7 Holly Springs Drive
                                                 Louisa, VA 23093-0000
Robert Eric Zimmerman DBA Zimmerman Stra
235 East 57th Street                             Robert Michael Wiltshire
Apt. 6F                                          3400 S. Lowell Blvd
New York, NY 10022-0000                          Apt # 12-2002
                                                 Denver, CO 80236-0000
Robert Half
PO Box 743295                                    Robert Noyce
Los Angeles, CA   90074-0000                     2313 NE 10th Court
                                                 Grimes, IA 50111-0000
Robert Half International dba Office Tea
12400 Collections Center Dr                      Robert Potrykus
Chicago, IL 60693-0000                           6211 S. Lewis Street
                                                 Littleton, CO 80127-0000
Robert Hodde
7028 Old Independence Rd.                        Robert R. O'Malley
Brenham, TX 77833-0000                           4511 Tujunga Ave
                                                 Studio City, CA 91602-0000
Robert J. Duimet
559 Princeton Avenue                             Robert R. Torres
Brick, NJ 08724-0000                             280 Church St
                                                 Maxwell, TX 78656-0000
Robert Jeffrey Williams
PO Box 1081                                      Robert Silman Associates Structural Engi
Mt. Pleasant, NC 28075-0000                      32 Old Slip
                                                 10th Floor
Robert Judd                                      New York, NY 10005-0000
2835 E. Toledo Ct
Gilbert, AZ 85295-0000                           Robert T. Walker
                                                 46705 Old Hopedale Rd
Robert Killian                                   Cadiz, OH 43907-0000
2183 Hackberry Circle
Longmont, CO 80501-0000                          Robert Tahir Moore
                                                 1346 N. Columbus Ave
Robert Kolmetz                                   Apt 3
96 Pierpont Avenue                               Glendale, CA 91202-0000
Williamsville, NY 14221-0000




                                           - 223 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 225 of 268



Robert W Hodde dba Bastrop Powersports           Rocking H Ranch Enterprises, LLC
1563 Texas 71                                    101 Burch Road
Cedar Creek, TX 78612-0000                       Wellsville, MO 63361-0000

Robert W. Reinckens Consulting LLC               Rocky Mountain Cabana Specialist
3 Justamere Lane                                 PO Box 96
Hopewell Junction, NY 12533-0000                 Empire, CO 80438-0000

Robert Wood Johnson University Hospital          Rocky Mountain Extreme Rentals LLC
1 RWJ Place                                      67809 E Highway 50
PO Box 2601                                      Montrose, CO 81401-0000
New Brunswick, NJ 08903-2601
                                                 Rodale, INC.
Robert Young Nguyen                              PO Box 415173
13528 Oregon Flat Trail                          Boston, MA 02241-0000
Austin, TX 78727-0000
                                                 Roderick Holloway
Roberta Moon dba Thunder Staffing & Busi         1926 Summit Avenue
18910 Stonewood Way                              Saint Paul, MN 55105-0000
Lake Elsinore, CA 92530-0000
                                                 Rodney Lester
Roberts & Holland LLP                            35701 Rockhill Drive
825 8th Avenue, 37th Floor                       Lebanon, OR 97355-0000
New York, NY 10019-0000
                                                 Rodney Robersora
Roberts Lions Club                               427 CR 235
PO Box 295                                       GANADO, TX 77962-0000
Roberts, WI 54023-0000
                                                 Roger A. Lightle
Robie's Family Dining                            1301 North Maple St
109 West Main Street                             Veedersburg, IN 47987-0000
Attica, IN 47918-0000
                                                 Rogue Fitness
Rob's Fun Center                                 1080 Steelwood Rd
1805 Hwy 290 East                                Columbus, OH 43212-0000
Brenham, TX 77833-0000
                                                 Rohrer Bros Inc
Rochester ATM                                    PO Box 731
PO Box 586                                       Sacramento, CA 95812-0000
Henrietta, NY   14467-0000
                                                 Rokkan Media LLC dba Rokkan
Rock River Disposal Services, Inc                300 Park Avenue South
4002 S Main Street                               New York, NY 10010-0000
Rockford, IL 61102-0000
                                                 Roland Williams
Rock Solid Security, Inc.                        3835R East Thousand Oaks Blvd
548 Rosedale Ave                                 Suite 305
Nashville, TN 37211-0000                         Westlake Village, CA 91362-0000

Rockerbox, Inc.                                  Roman Asphalt Corp
230 East 2nd Street                              14 Ogden Street
Apt. 2C                                          Newark, NJ 07104-0000
New York, NY 10009-0000
                                                 Ronald E Shaw
Rocket Restrooms & Fencing, Inc.                 218 Dorer Avenue
PO Box 293164                                    Bellaire, OH 43906-0000
Sacramento, CA 95829-0000




                                           - 224 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 226 of 268



Ronald Gene Nitsche                              Roxana Castillo
1103 NE 9th Street                               15365 Crowley Road
Smithville, TX 78957-0000                        Conroe, TX 77306-0000

Ronald James Manila Jr dba DJ Ron Manila         Roy LaVanture
12231 Declaration Ave                            130 Malabar Road
Chester, VA 23836-0000                           Palm Bay, FL 32907-0000

Ronald L. Miro                                   Roy P Reach
49285 Cemetery RD.                               214 Imperial Drive
Cadiz, OH 43907-0000                             Greenville, SC 29615-0000

Ronald Sklar                                     RPM Philly, LLC
352A Ninth Street                                1617 JFK Boulevard
Brooklyn, NY 11215-0000                          Suite 1005
                                                 Philadelphia, PA 19103-0000
Ronald W Koenig dba Koenig Consulting En
Ronald Koenig                                    RSC Equipment
9390 Research Blvd                               PO Box 840514
Suite ll - 320                                   Dallas, TX 75284-0000
Austin, TX 78759-0000
                                                 RSVP Party Rentals Inc
Ronald Williams dba Ronald Williams Inte         4445 S Valley View Blvd
3835R East Thousand Oask Blvd                    Suite 7
Suite 305                                        Las Vegas, NV 89103-0000
Westlake Village, CA 91362-0000
                                                 RTS Unified Communications
Ronne L. Swisher                                 85 Schmitt Blvd
13 Grant Drive                                   Farmingdale, NY 11735-0000
Shelby, OH 44875-0000
                                                 Ruben James Orosco
Ronnie K Lake                                    10741 Harcourt Ave
4615 Carolyn Lane                                Anaheim, CA 92804-0000
White Bear Lake, MN   55110-0000
                                                 Rubie's Costume Company Inc
Ronnie L. Everett                                One Rubie Plaza
71295 Chini Orchard Rd.                          Richmond Hill, NY 11418-0000
Flushing, OH 43977-0000
                                                 Rudy Arce
Rooney Roberson - Jackson County Sheriff         100 W. Erie Ave
115 West Main                                    Lorain, OH 44052-0000
Edna, TX 77957-0000
                                                 Run Like Deer
Rosemarie Corona, Inc dba Corona Ranch a         Andrew James Santino
33320 Highway 79                                 1114 N. Harper Ave.
Temecula, CA 92592-0000                          Apt.14
                                                 West Hollywood, CA 90046-0000
Rosemary Wetzel
864 W Willow Street                              Runners High
Louisville, CO 80027-0000                        83 Cranberry Road
                                                 Grove City, PA 16127-0000
Ross Andrew Provost
1445 Independence Square                         Rural/Metro Medical Services
Kannapolis, NC 28081-0000                        481 William L. Gaiter Parkway
                                                 Buffalo, NY 14215-0000
Ross Michael Flynn
145 Fairway Landings Drive
Canonsburg, PA 15317-0000



                                           - 225 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 227 of 268



Russell B. Lynch dba Russell B. Lynch SP          Ryan B Hull
3816 Saxon Drive                                  335 Forest Avenue
New Smyrna Beach, FL 32169-0000                   Maysville, KY 41056-0000

Russell Fox                                       Ryan Bradley Allar
812 165th Ave                                     36981 Opal Drive
New Richmond, WI   54017-0000                     Barnesville, OH 43713-0000

Russell Grant Piche                               Ryan Brown
1891 Jim Keene Blvd                               14235 Masterpiece Lane
Winter Park, FL 33880-0000                        North Potomac, MD 20878-0000

Russell Howard                                    Ryan Daly
6533 East Jefferson                               2010 Spruce Street
Detroit, MI 48207-0000                            Apartment 1
                                                  Philadelphia, PA 19103-0000
Russell L. Rayburn
876 Villa Drive                                   Ryan Daniel Garner
Crystal Lake, IL 60014-0000                       2191 Bowen Road
                                                  Mansfield, OH 44903-0000
Russell Osborne
19556 Oakdale Ln                                  Ryan David Fanelli
Huntington Beach, CA   92648-0000                 67 East Franklin Street #4
                                                  Topton, PA 19562-0000
Rutgers University Foundation
Zelnick Endowed Research Fund                     Ryan F. Engler
Office of Gift Planning                           1893 Ackermanviller Rd
7 College Ave, Winants Hall                       Bangor, PA 18013-0000
New Brunswick, NJ 08901-0000
                                                  Ryan Ivanoff dba Androff Media
Ruth Barnett                                      261 Powers Street
17 Hilton Place                                   Apt #1
Hempstead, NY 11550-0000                          Brooklyn, NY 11211-0000

Rx Smart Gear Inc.                                Ryan Kempson
1800 John Towers Ave                              322 Holly Ave
Suite B                                           Brewster, MA 02631-0000
El Cajon, CA 92020-0000
                                                  Ryan King
Ryan A.Kent                                       666 Ocean Avenue C1
515 Hornsbyville Road                             Brooklyn, NY 11226-0000
Yorktown, VA 23692-0000
                                                  Ryan Lee Counts
Ryan Allar                                        5755 E Milton Road
36981 Opal Drive                                  Milton, FL 32583-0000
Barnesville, OH 43713-0000
                                                  Ryan Michael Tessler
Ryan Alt                                          81 Cypress Place
23 Wessel Lane                                    Newtown, PA 18940-0000
Medford, NY 11763-0000
                                                  Ryan O'Connor
Ryan Anderson                                     77 Buff Road
1901 5th Avenue N                                 Bristol, CT 06010-0000
Apt. #4
Minneapolis, MN 55405-0000                        Ryan Spencer Trudeau
                                                  341 SW Lamar Ave
                                                  Port St Lucie, FL 34953-0000




                                           - 226 -
            Case 20-10036-CSS   Doc 42-1      Filed 02/12/20   Page 228 of 268



Ryan T. Palmer                                   Saint Barnabus Development Foundation
N 3724 Hwy 78                                    95 Old Short Hills Road
Merrimac, WI 53561-0000                          West Orange, NJ 07052-1008

Ryan W Schultz                                   Saint Leo University
N 3724 Hwy 78                                    University Campus-MC2038
Merrimac, WI 53561-0000                          Saint Leo, FL 33574-0000

Ryan White dba Element 7 Productions LLC         Saint Leo University - Women's Lacrosse
10015 Lake City Way NE                           37701 State Road 52
Suite 425                                        Saint Leo, FL 33574-0000
Seattle, WA 98125-0000
                                                 Salesforce.com, Inc
Ryan Woods                                       One Mark Street~The Landmark
1277 Castle Ford Road                            Suite 300
Boone, NC 28607-0000                             San Fransisco, CA 94105-0000

Ryder Transportation Services                    Sallie Benson
Lockbox File 56347                               50 Granite Street
Los Angeles, CA 90074-0000                       Auburn, ME 04210-0000

Ryon Woods                                       Sallie Tanksley
1277 Castle Ford Road                            113 Sim Dill Drive
Boone, NC 28607-0000                             Washington, GA 30673-0000

S & N Ventures Inc dba Professional Bart         Sally Jan Hennessey
3754 Buford Highway NE                           31 Birch Meadow Road
Suite C-1                                        Merrimac, MA 01860-0000
Atlanta, GA 30329-0000
                                                 Salt Ministry
S&N Ventures, Inc. dba Bartenders for Al         10695 Morton Chase Way
3754 Buford Highway NE                           Johns Creek, GA 30022-0000
Brookhaven, GA 30329-0000
                                                 Salted Services, Inc. dba Litmus
Saber Protective Services & Investigatio         675 Massachusetts Avenue
2625 S Memorial Dr                               Suite 11
Suite B                                          Cambridge, MA 02139-0000
Tulsa, OK 74129-0000
                                                 Sam Hill Entertainment, INC.
Sabol Michael Thomas                             220 Garrett Street
110 Church Street                                Suite I
Scio, OH 43988-0000                              Charlottesville, VA 22902-0000

Sabrina Boutin                                   Sam Jaden Stankos
22 Lynwood Drive                                 25 Scott Drive
Westbury, NY 11590-0000                          Alton Bay, NH 03810-0000

Safety Signs LLC                                 Sam Leon Pratt III dba Crosswood Constru
19784 Kenrick Ave                                2283 Green Schoolhouse Road
Lakeville, MN 55044-0000                         Columbia, TN 38401-0000

Saia Motor Freight Line, LLC                     Sam Weaver Osborne
11465 Johns Creek Parkway                        3636 Madison Street
Suite 400                                        Denver, CO 80205-0000
Johns Creek, GA 30097-0000
                                                 Sam Wheatly
                                                 51 Sargent Road
                                                 Winchester, MA 01890-0000



                                           - 227 -
            Case 20-10036-CSS   Doc 42-1      Filed 02/12/20   Page 229 of 268



Samantha Anne Missale                            Sandy Sanders dba Sandy Sanders, LLC
130 Malabar Road                                 131 Remington Circle
Palm Bay, FL 32907-0000                          Harve de Grace, MD 21078-0000

Samatha Oleskey                                  Santa Maria Barbecue & Grill
9276 Briar Road                                  14071 Peyton Drive
Magnolia, OH 44643-0000                          #525
                                                 Chino Hills, CA 91709-0000
SamTam, LLC
423 Chevy Chase Rd                               Santa Rosa County Fair Association, Inc
Mansfield, OH 44907-0000                         PO Box 884 (8604 Bobby Brown Road)
                                                 Milton, FL 32572-0000
Samuel Armour Mogilner
87 Monroe Street                                 Sanzo Beverage Company, Inc
Pelham, NY 10803-0000                            3165 Route 16N
                                                 Olean, NY 14760-0000
Samuel S. Hitch
201 Allen Street                                 Sara Ellis
Apt. 3C                                          209 Hassan Avenue
New York, NY 10002-0000                          New Castle, ME 04553-0000

Samuel Vanden Langenberg                         Sara Ginsberg
4413 Primrose Court                              75 West Street 3R
Apt Q104                                         New York, NY 10006-0000
Sheboygan, WI 53081-0000
                                                 Sara Kirley
San Bernardino County Fire Protection Di         22104 Tumbleweed Dr.
Community Safety Division                        Canyon Lake, CA 92587-0000
157 West 5th St.
2nd FL                                           Sara Knight
San Bernardino, CA 92415-0000                    16533 Walking M Lane
                                                 Mount Venon, WA 98273-0000
San Bernardino International Airport Aut
1601 E. 3rd Street                               Sara Korba
San Bernardino, CA 92408-0000                    3205 Wayne Street
                                                 Endwell, NY 13760-0000
San Francisco Puffs & Stuff, Inc.
3698 NW 16th Street                              Sara Woodward
Fort Lauderdale, FL 33311-0000                   901 Monroe Street
                                                 Denver, CO 80209-0000
Sanco Services, Inc dba Sanco Traffic Co
200 Quaker Road                                  Sarah Harrison
Rockford, IL 61104-0000                          3208 Bay Club Circle
                                                 Tampa, FL 33607-0000
Sandra Martin
245 Highline Drive                               Sarah J. Hockman Tostrud
Bastrop, TX 78602-0000                           1143 Sommers Street North
                                                 Hudson, WI 54016-0000
Sandra S. Moore
29 Copley Court #5                               SARAH KIRLEY
Freehold, NJ 07728-0000                          22104 TUMBEWEED DR
                                                 CANYON LAKE, CA 92587-0000
Sandra Segrest dba Sandra Segrest Voiceo
1000 N. Green Valley Parkway                     Sarah Poulos
Unit #440-226                                    8958 Birch Bay Circle
Henderson, NV 89074-0000                         Lorton, VA 22079-0000




                                           - 228 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 230 of 268



Sarasota County Planning and Development         Scott Christopher Weber
1001 Sarasota Center Blvd                        548 First Street
Sarasota, FL 34220-0000                          Inwood, WV 25428-0000

Sarasota County Sheriff's Office                 Scott David Minto
2071 Ringling Blvd                               4201 30th Street
Sarasota, FL 34237-0000                          Unit 318
                                                 San Diego, CA 92104-0000
Sauk Prairie Ambulance Association
110 Washington Street                            Scott G Davis dba Backyard Paradise Pool
Sauk City, WI 53583-0000                         12318 US Highway 59N
                                                 Splendora, TX 77372-0000
Sausagefest
8514 Lambert Drive                               Scott Gary Yager
Las Vegas, NV 89147-0000                         4742 E. Redfield Rd
                                                 Gilbert, AZ 85234-0000
Saylorsburg Lumbar Co Inc
673 Route 115                                    Scott Hillier
PO Box 729                                       211 E. 14th St #4
Saylorsburg, PA 18353-0000                       New York, NY 10003-0000

SB New York dba Metro NY                         Scott Jeffrey Zitzloff
120 Broadway                                     3750 Van Dyke Street
6th Floor                                        White Bear Lake, MN 55110-0000
New York, NY 10271-0000
                                                 Scott Jerzak
SBT Core Trainer INC                             1102 Jefferson Street
4350 Oakes Road. Suite 513                       Bastrop, TX 78602-0000
Davie, FL 33314-0000
                                                 Scott Little
Schell-Vista Fire Protection District            1105 Bryn Mawr Street
22950 Broadway                                   Orlando, FL 32804-0000
Sonoma, CA 95476-0000
                                                 Scott Maldonado
Schneider Publishing                             736 West 181 Street
11835 W. Olympic Blvd. #1265                     Apt 4C
Los Angeles, CA 90064-0000                       New York, NY 10033-0000

Schroeder Rental dba Taylor Rental Cente         Scott R. Dinin, P.A.
787 Susquehanna Avenue                           4200 NW 7th Avenue
Franklin Lakes, NJ 07417-0000                    Miami, FL 33127-0000

Scot Campbell                                    Scott Roman
4403 Susan Drive                                 434 Schoolhouse Rd
Raleigh, NC 27603-0000                           Monroe Twp, NJ 08831-0000

Scott A Cutler                                   Scott Sonnenberg
956 Lexington                                    8169 Millwright Lane
Washington, GA   30673-0000                      Charlotte, NC 28277-0000

Scott Allen Williams                             Scott Taylor
8854 Erbach Lane                                 31380 Godt Road
Mt Pleasant, NC 28124-0000                       Wright City, MO    63390-0000

SCOTT CAPOROSSI                                  Scott Wheatley
8107 TURNING LANE                                33 Gulf Breeze Parkway
CHESTERFIELD, VA 23832-0000                      Gulf Breeze, FL 32561-0000




                                           - 229 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 231 of 268



ScottishAmerican Risk Services                    Sean Joseph Geiser
19563 E Mainstreet Suite 200                      2505 Shelley Circle
Parker, CO 80138-0000                             Unit 2C
                                                  Frederick, MD 21702-0000
Scott's Cheap Flight's, LLC
1942 Broadway Street                              Sean Lanier Wheetley
Suite 314C                                        6201 Toscana Circuit
Boulder, CO 80302-0000                            Forth Worth, TX 76140-0000

Scratch Events LLC                                Sean Nealon
36 Cooper Square 2nd Floor                        39 Ogston Terrace
New York, NY 10003-0000                           Malvern, NY 11565-0000

Screen Process                                    Sean Pindar
61-23 Woodbine Street Suite 3B                    1145 N Shannon Ave - 6
Ridgewood, NY 11385-0000                          Indialantic, FL 32903-0000

Scribe Software Corporation                       Sebastian Hudemann
1750 Elm Street                                   9494 E Redfield Road - 1098
Suite 200                                         Scottsdale, AZ 85260-0000
Manchester, NH 03104-2903
                                                  Sebastien Peron
SD Commercial, LLC                                4706 El Salvador Court
5440 Morehouse Drive                              Arlington, TX 76017-0000
Suite 4000
San Diego, CA 92121-0000                          Sebesta, Inc
                                                  1450 Energy Park Drive
Seaman's Custom Fence                             Suite 300
8128 Planktown North Rd                           Saint Paul, MN 55108-0000
shiloh, OH 44878-0000
                                                  Secretary Of State IL
Sean Balogh                                       501 S.Second St. Rm 351
4257 Amanda Ln                                    Springfield, IL 62756-0000
Schenectady, NY   12303-0000
                                                  Secretary of State NC
Sean Call dba Sports& Fitness Publicatio          P.O. Box 29622
2448 E 81st Street                                Raleigh, NC 27626-0000
Suite 2051
Tulsa, OK 74137-0000                              Securitas Security Services USA, Inc.
                                                  2 Campus Drive
Sean Clayton                                      Parsippany, NJ 07054-0000
301 Bridleridge Road
Lexington, SC 29073-0000                          Security Pro of Illinois, Inc.
                                                  7120 Windsor Lake Parkway
Sean Cummings                                     Loves Park, IL 61111-0000
PO Box 10894
South Lake Tahoe, CA   96158-0000                 Security Resources, Inc.
                                                  1155 Marlkress Road
Sean Galley                                       Cherry Hill, NJ 08003-0000
1 Kokora Ave
Montville, NJ   07045-0000                        Security Specialists, Inc.
                                                  2830 Woodridge Lane
Sean Humphrey                                     Stillwater, MN 55082-0000
6510 Greenspring Drive
Arlington, TX 76016-0000                          Sedalia Lions CLub
                                                  PO Box 1085
                                                  Sedalia, MO 65302-1085




                                           - 230 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 232 of 268



Seebridge Media, LLC                             Sergio Fernandez
707 West Road                                    450 N. Broadway Avenue
Houston, TX 77038-0000                           Bartow, FL 33830-0000

Seeger Afterprom                                 Sergio Rivera
c/o Dheri Stout 358 State Rd W                   5036 Davis Ford Road
Williamsport, IN 47993-0000                      Woodbridge, VA 22192-0000

Segment.io, Inc                                  SeriousFun Children's Network
142 Minna Street                                 228 Saugatuck Ave
2nd Floor                                        Westport, CT 06880-0000
San Fransisco, CA   94105-0000
                                                 Serra R. Langone
Selena Watkins                                   25 Brookside Lane
191 Lake Avenue                                  Burlington, MA 01803-0000
Yonkers, NY 10703-0000
                                                 Serving Him, LP dba Rental Stop
Selman Breitman LLP                              2935 South Highway 360
11766 Wilshire Blvd 6th FL                       Grand Prairie, TX 75052-0000
Los Angeles, CA 90025-0000
                                                 Sesac
Seminaro Enterprises II dba Tropical Smo         PO BOX 5246
171 Retail Commons Pkwy #7                       New York, NY    10008-0000
Martinsburg, WV 25403-0000
                                                 Seth Baumiller
SendGrid                                         206 Willow Grove Street
929 Pearl St Suite 200                           Hackettstown, NJ 07840-0000
Boulder, CO 80302-0000
                                                 Seth Morozowski
Seneca Grade School District #170                815 Auburn Preserve Blvd
174 Oak St                                       Auburndale, FL 33823-0000
Seneca, IL 61360-0000
                                                 Seton Identification Products
SENECA HUNT CLUB, LTD                            P.O. Box 95904
P O BOX 824                                      Chicago, IL 60694-5904
SENECA, IL 61360-0000
                                                 Shamrock Sports Group LLC
Seneca Township High School 160                  215 Commercial Street
307 East Scott Street                            Suite 200
Seneca, IL 61360-0000                            Portland, ME 04101-0000

Seneca Volunteer Fire Department                 Shane Kasper
Jerry Sears                                      P.O. Box 812
121 East Armour St                               129 Old Firetower Road
Seneca, IL 61360-0000                            Bastrop, TX 78602-0000

Sentry Event Services                            Shane M Mertens
4201 N Dale Mabry Hwy                            130 Malabar Road SE
Tampa, FL 33607-0000                             Palm Bay, FL 32909-0000

Sentry Force Security LLC                        Shane McKeon
3915 Old Lee Highway                             39-54 48th Street
Suite 22A                                        Sunnyside, NY 11104-0000
Fairfax, VA 22030-0000
                                                 Shane Pomeroy
Sergio F. Diaz                                   2850 E. Baseline Road
5555 East 7th Avenue                             Apt #5
Hialeah, FL 33013-0000                           Mesa, AZ 85204-0000



                                           - 231 -
            Case 20-10036-CSS   Doc 42-1      Filed 02/12/20   Page 233 of 268



Shane T Schwindenhammer                          Shelby Cotton
1591 Cherry Lane                                 100 John Street
Macungie, PA 18062-0000                          Apt #2207
                                                 New York, NY 10038-0000
SHane W. Thompson
2361 Springer Road                               Shelby Lee
Midlothian, TX 76065-0000                        4212 Tyler Way
                                                 Anacortes, WA 98221-0000
Shannon Woodard
16911 S. Vermont Ave                             Sheraden Lighting and Electric Product C
Apt. D                                           1617 63rd Street
Gerdena, CA 90247-0000                           Brooklyn, NY 11204-0000

Sharingbox Inc.                                  Sher-Del Transfer & Relocation Services,
47 Thames Street                                 140 Varick Avenue
Unit 106                                         Brooklyn, NY 11237-0000
Brooklyn, NY 11237-0000
                                                 Sheriff Dennis Crane
Sharon Wagner                                    10 E 5th Street
3700 Highway 30                                  Fulton, MO 65251-0000
Lonedell, MO 63060-0000
                                                 Sherry Artesi
Sharprint Silkscreen & Graphics Inc.             4213 Harvest Hill Road
4200 West Wrightwood Ave                         Carrollton, TX 75010-0000
Chicago, IL 60639-0000
                                                 Sherry Bray
Shauna L. Dooley                                 Showtime Promotions
668 Lancaster Drive                              7404 Magenta Lane
Spring Hill, TN 37174-0000                       Austin, TX 78739-0000

Shawmut Woodworking & Supply, Inc dba Sh         Sherwood Forest Faire LLC
560 Harrison Avenue                              PO Box 10816
Boston, MA 02118-0000                            Houston, TX 77206-0000

Shawn Byrne                                      SHIELD CLEANING CO
610 Woodett Drive                                511 6TH AVENUE
Nashville, TN 37211-0000                         SUITE 527
                                                 NEW YORK, NY 10011-0000
Shawn Casey
1160 Reed Ave                                    SHIFT Communications, Inc
San Diego, CA   92109-0000                       275 Washington Street
                                                 Newton, MA 02458-0000
Shawn Jun
1316 Eltham Place                                Shuttlerock, LLC
Fullerton, CA 92833-0000                         925 N. La Brea Ave
                                                 Los Angeles, CA 90038-0000
Shawn Richard Loehr
25286 Butler Road                                Sidarth Soni dba Soni Resources Group, L
Junction City, OR 97448-0000                     315 West 36th Street
                                                 New York, NY 10018-0000
Sheboygan County Treasurer
1211 North 23rd Street                           Sidelifter.com, INC
Sheboygan, WI 53081-0000                         PO Box 980756
                                                 West Sacramento, CA    95798-0000
Sheetal Aiyer
226 W 78th Street                                Siena Heights University
Apt 5A                                           1247 E Siena Heights Drive
New York, NY 10024-0000                          Adrian, MI 49221-0000



                                           - 232 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 234 of 268



Sigma Omega Nu Latina Interest Sorority          SJC Advisors LLC
4505 S Maryland Pkwy - 2008                      2100 N Dayton ST.
Las Vegas, NV 89154-0000                         Chicago, IL 60614-0000

Sigma Services                                   SK Global Software LLC
8310 South Country Road 39                       PO Box 733054
Plant City, FL 33567-0000                        Dallas, TX 75373-0000

Signal 88 Security LLC                           Skoglund Oil Company Inc.
3880 South 149th St. Suite 102                   1985 145th Street
Omaha, NE 68144-0000                             New Richmond, WI 54017-0000

Signature Research Inc.                          Skyline Tent Company
PO Box 6022                                      106 Goodman Street A-1
Douglasville, GA 30154-0000                      Charlottesville, VA 22902-0000

Signs West Outdoor Inc                           Skyworks, LLC
9030 West Sahara Avenue - 222                    100 Thielman Drive
Las Vegas, NV 89117-0000                         Buffalo, NY 14206-0000

Sigourney Jade Chapman                           Sliman Lumber
950 S Flower Street                              46480 Telegraph Road
Los Angeles, CA 90015-0000                       South Amherst, OH 44001-0000

Silman Lumber & Supply                           Slippery Rock Hotel Properties LP
47550 Garfield Road                              945 S. Rochester Road
Oberlin, OH 44074-0000                           Suite 103
                                                 Rochester Hills, MI 48307-0000
Silva Rentals, LLC
1820 Ferrington Drive                            Smartsheet.com Inc
Corona, CA 92880-0000                            10500 NE 8th Street
                                                 Suite 2000
Silverpop Systems, Inc.                          Bellevue, WA 98115-0000
200 Galleria Parkway
Suite 1000                                       Smith & Co. Engineers
Atlanta, GA 30339-0000                           901 Vine Street
                                                 Poplar Bluff, MO 63902-0000
SilverSearch Consulting Services, Inc
2 Executive Drive                                Smith Protective Serivces, Inc
Suite 705                                        1301 S. IH 35, Suite 100
Fort Lee, NJ 07024-0000                          Austin, TX 78741-1174

SilverVines Solutions                            Snake-Eaters, LLC dba Phalanx Risk Solut
103 Scenic Drive West                            PO Box 150922
Croton-on-Hudson, NY 10520-0000                  Nashville, TN 37215-0000

Simon Kucher & Partners, Strategy & Mark         SnapLock Industries, Inc.
One Canal Park                                   2330 California Ave
Cambridge, MA 02141-0000                         Salt Lake City, UT 84104-0000

Simone McLaughlin                                Snappy App Inc. dba Snappy Gifts
410 West 25th Street                             125 5th Ave
Apt #1C                                          Floor 5
New York, NY 10001-0000                          New York, NY 10003-0000

Site Selection Group
Attn: Tristan Tanner
Dallas, TX 75205-0000



                                           - 233 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 235 of 268



Snow Valley LLC                                  Sound Rental Service, Inc.
35100 Hwy 18                                     907 Rayon Drive
Box 2337                                         Parkersburg, WV 26101-0000
Running Springs, CA   92382-0000
                                                 Source Marketing, LLC
Snow Valley, LLC                                 761 Main Avenue
35100 Hwy 18, P.O. Box 2337                      Norwalk, CT 06851-0000
Running Springs, CA 92382-0000
                                                 South Central Fire Rescue
Snowmass Wildcat Fire Protection Distric         Pasco County Fire Rescue
PO Box 6436                                      4111 Land O Lakes Blvd., Suite 208
Snowmass Village, CO 81615-0000                  Land O Lakes, FL 34639-0000

Snyder and Schneider Property Developmen         South End Equipment Co., LLC
200 Lake Front Drive                             730 South Road
Suite 103                                        East Aurora, NY 14052-0000
Mineral, VA 23117-0000
                                                 South Florida Carefree Catering, Inc
Soccer Village Foundation                        140 NE 1st Street
17602 N. Conestoga Drive                         Boca Raton, FL 33444-0000
Sun City, AZ 85373-0000
                                                 South Old Bridge Volunteer Fire Dept.
Social Endurance LLC                             PO Box 426
PO Box 5171                                      Old Bridge, NJ 08857-0000
Denver, CO 80217-5171
                                                 South Star Propane INC
SoftLayer Technologies Inc dba SoftLayer         305 Lanis Alley
4849 Alpha Road                                  Washington, GA 30673-0000
Dallas, TX 75244-0000
                                                 South Texas Steel Service Co., LLC.
Solano County Fair Association                   PO Box 2208
900 Fairgrounds Drive                            Victoria, TX 77902-0000
Vallejo, CA 94589-0000
                                                 Southern EMS Inc
Solutions Event Services, Inc.                   PO Box 82451
4043 Long Beach Road                             Hapeville, GA 30354-0000
Island Park, NY 11558-0000
                                                 Southside Rental Center, Inc.
Somerset Amphitheater LLC                        1717 S. Walnut Street
715 Spring Street                                Bloomington, IN 47401-0000
Somerset, WI 54025-0000
                                                 Southwest Florida Water Management Distr
Somerstar Entertainment LLC                      7601 US Highway 301 North
900 Wayzata Blvd E, Suite 130                    Tampa, FL 33637-0000
Wayzata, MN 55391-0000
                                                 SP Plus Corporation
SOROC                                            200 East Randolph Street
359 Lenoir Drive                                 Suite 7700
Spring Lake, NC 28390-0000                       Chicago, IL 60601-0000

SOS Global Express INC.                          Space Coast Paratroopers Association
PO Box 12307                                     PO Box 100594
New Bern, NC 28561-0000                          Palm Bay, FL 32910-0000

Soul Customs                                     Spacetron Inc.
320 West Main St.                                2459 Fruitvale Ave
Pen Argyl, PA 18072-0000                         Unit #4
                                                 Bakersfield, CA 93308-0000



                                           - 234 -
            Case 20-10036-CSS    Doc 42-1    Filed 02/12/20   Page 236 of 268



Spainhour Diner                                 SPONGECELL
7076 James D Hagood Hwy                         261 MADISON AVENUE
Scottsburg, VA 24589-0000                       14TH FLOOR
                                                NEW YORK, NY 10016-0000
Sparkletts and Sierra Springs
PO BOX 660579                                   Sponsorhouse, Inc. dba Hookit.com
Dallas, TX 75266-0000                           3398 Carmel Mountain Road
                                                Suite 100
Spartan Booster Club                            San Diego, CA 92121-0000
1206 Laurelwood Road
Mansfield, OH 44907-0000                        Sport Tutor Inc
                                                3300 Winona Avenue
Special Event Ice LLC                           Burbank, CA 91504-0000
9230 Collins Ave
Pennsauken, NJ 08110-0000                       Sports Business
                                                120 W Morehead St
Special Events of New England, LLC              Suite 310
PO Box 5203                                     Charlotte, NC 28202-0000
Manchester, NH 03108-0000
                                                Sports Humanitarian Group Inc. dba Right
Special Olympics Florida Inc                    134 West 26th Street
1915 Don Wickham Drive                          Suite 404
Clermont, FL 34711-0000                         New York, NY 10001-0000

Specialists Marketing Services                  Sports Recruit, LLC
777 Terrace Avenue                              15 Metrotech Center
Suite 401                                       8th Floor
Hasbrouck Heights, NJ 07604-0000                Brooklyn, NY 11201-0000

Specialized Protective Services, LLC            Sports Recruits, LLC
PO Box 10926                                    15 Maiden Lane, Suite 900
Aspen, CO 81612-0000                            Attn: Chris Meade, Chief Executive Offic
                                                New York, NY 10038-0000
Spectrum
PO Box 7130                                     Sports Unlimited Mngmnt & Promotions, In
The Woodlands, TX   77387-0000                  5331 SW Macadam Ave
                                                Suite 348
Spectrum Marketing Companies                    Portland, OR 97239-0000
95 Eddy Road
Suite 101                                       Sports Video Innovations LLC
Manchester, NH 03102-0000                       9228 Linwood Ave
                                                Suite L
Speedway Children's Charities                   Shreveport, LA 71106-0000
5401 E Independence Blvd
Charlotte, NC 28212-0000                        Spotlight Graphics Inc
                                                6054 Clark Center Ave
Spencer Roy Grundhofer dba Mobile Brats         Sarasota, FL 34238-0000
14754 Foxhill Ave N
Hugo, MN 55038-0000                             SpotXchange
                                                11030 Circle Point Rd., Suite 350
Spiffy Ice and Cold Storage                     Westminster, CO 80020-0000
3500 South West TEmple
Salt Lake City, UT 84115-0000                   Squamata Reptile Services of Florida
                                                5215 Mentmore Avenue
Spitfire Event Marketing, LLC                   Spring Hill, FL 34606-0000
4642 Forsman Court
Murfreesboro, TN 37128-0000




                                          - 235 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 237 of 268



Squaw Valley Development & Company                Stanislaus County
1960 Squaw Valley Rd                              1716 Morgan Road
Olympic Valley, CA 96146-0000                     Modesto, CA 95358-0000

Squaw Valley Resort LLC                           STANISLAUS COUNTY SHERIFFS DEPARTMENT
PO Box 2138                                       250 E HACKETT ROAD
Olympic Valley, CA 96146-0000                     MODESTO, CA 95358-0000

SRI Cheyenne, Inc.                                Stanley Qualls - Lorain County Sheriff
551 5th Avenue                                    9896 Murray Ridge Rd
Suite 417                                         Elyria, OH 44035-0000
New York, NY 10176-0000
                                                  Stantec, Inc.
SSM Health Care DBA SSM St. Joseph Hospi          13980 Collections Center Drive
100 Medical Plaza                                 Chicago, IL 60693-0000
Lake St. Louis, MO 66367-1366
                                                  Staples Advantage Dept NY
St Croix County                                   PO Box 415256
920 3rd Street                                    Boston, MA 02241-5256
PO Box 108
Hammond, WI 54015-0000                            Star Ice & Fuel
                                                  8220 Pacific Highway East
St. Ann's Catholic Church dba Cub Scout           Fife, WA 98422-0000
105 S. Snead Street
Ashland, VA 23005-0000                            Start Grading Inc.
                                                  1609 Stonewall Drive
St. Moritz Security Services, Inc.                Lewisville, TX 75056-0000
4600 Clairton Blvd.
Pittsburgh, PA 15236-0000                         Stat Medical
                                                  PO Box 5752
STA Travel Inc                                    Frisco, TX 75035-0000
585 N Juniper Drive #250
Chandler, AZ 85226-0000                           State Board of Equalization
                                                  PO Box 942879
Stacie Tovar                                      Sacramento, CA 94279-0000
13529 Atwood Ave
Omaha, NE 68144-0000                              State Corporation Commission
                                                  PO BOX 7621
Staff Pro, Inc                                    Merrifiend, VA 22116-0000
15272 Newsboy Circle
Huntington Beach, CA   92649-0000                 State Insurance Fund
                                                  PO Box 5261
StageCoach Improv                                 Binghamton, NY 13902-0000
100 Saint Botolph Street
Boston, MA 02115-0000                             State of California
                                                  Office Billings
Standard Quick Print                              10077 SR-89s
1430 US 68                                        Truckee, CA 96161-0000
Maysville, KY 41056-0000
                                                  State of California Franchise Tax Board
Standard Waste Service                            PO Box 942857
21 Edgeboro Road                                  Sacramento, CA 94257-0531
East Brunswick, NJ 08816-0000
                                                  State of Connecticut
Stanford University                               Department of Revenue Services
Graduate School of Business                       450 Columbus Blvd.
655 Knight Way                                    Suite 1
Stanford, CA 94305-0000                           Hartford, CT 06103-1837



                                           - 236 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 238 of 268



State of Connecticut Dept of Emrg Svc &          State of Washington
1111 Country Club Road                           801 Capitol Way S, PO Box 40234
Middletown, CT 06457-0000                        Olympia, WA 98504-0000

State of Kentucky                                State of Wisconsin - Department of Finan
PO Box 718                                       PO Box 7846
Frankfort, KY 40602-0000                         Madison, WI 53707-7846

State of Maryland                                StatePoint Media, Inc.
301 W. Preston St. Room 801                      183 Madison Ave
Baltimore, MD 21201-0000                         Suite 605
                                                 New York, NY 10016-0000
State of Michigan dba Dept. of State Pol
7150 Harris Drive                                StateWide Patrol, Inc.
PO Box 30266                                     2520 S. IH35 Suite 204
Lansing, MI 48909-0000                           Austin, TX 78704-0000

State of Missouri                                Steadman Recreation, Inc
600 West Main Street Room 322, PO Bos 77         916 North Main St
Jefferson City, MO 65102-0000                    Tooele, UT 84074-0000

State of New Hamsphire                           Steele Imaging Ltd
107 North Main Street                            10103 Winding Creek Lane
Concord, NH 03301-0000                           Fort Wayne, IN 46804-0000

State of New Jersey                              Stefanie Bishop
Revenue Processing Center                        251 Mason Drive
PO Box 642                                       Manhasset, NY 11030-0000
Trenton, NJ 08646-0000
                                                 Stefano Pennisi
State of New York                                261 Powers Street
Division of State Police                         Apt #1
1220 Washington Ave                              Brooklyn, NY 11211-0000
Bldg 22
Albany, NY 12226-0000                            Stephan Brakebusch
                                                 555 W 53rd St #558
State of New York Department of Transpor         New York, NY 10019-0000
Hornell, NY 14843-0000
                                                 Stephanie A. Gruenberg
State of New York Worker's Compensation          32 Larkin Pond Rd S
328 State Street                                 West Kingston, RI 02892-0000
Finance Office, Room 331
Schenectady, NY 12305-0000                       Stephanie Churchill
                                                 1231 Clymer Street
State of Ohio dba Ohio Attorney General          Philadelphia, PA 19147-0000
Collections Enforcement Section
150 E Gay Street                                 Stephanie Fay
Columbus, OH 43215-3191                          2785 Fields Ave SE
                                                 Palm Bay, FL 32909-0000
State of South Carolina
1205 Pendleton Street, Suite 525                 Stephanie Gonzales
Columbia, SC 29201-0000                          14439 Glorietta Drive
                                                 Sherman Oaks, CA 91423-0000
State of Utah
PO Box 146705                                    Stephanie Jacobson
Salt Lake City, UT   84114-0000                  1200 Clinton Street
                                                 Apt #5200
                                                 Hoboken, NJ 07030-0000



                                           - 237 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 239 of 268



Stephen Bland                                    Steve Jakupca - South Amherst PD
346 Breckenridge Circle                          103 West Main Street
Palm Bay, FL 32909-0000                          South Amherst, OH 44001, OH 44001-0000

Stephen Bradley Dean                             Steve Opersteny dba Brazos Valley Off Ro
215 Short Street                                 7744 Jones Road
Maysville, KY 41056-0000                         College Station, TX 77845-0000

Stephen Broderick                                Steve Pitre
18013 Aleppo Pine Trail                          3822 Monterey Blvd
Elgin, TX 28621-0000                             Oakland, CA 94619-0000

Stephen C Lyell                                  Steve Thompson - Jackson County Sheriff
9312 Forrister Road                              115 West Main
Adrian, MI 49221-0000                            Edna, TX 77957-0000

Stephen C. Boyd                                  Steven Clark Meckfessel
1385 Maxwalton Drive                             5508 Terrain de Golf Drive
Mansfield, OH 44903-0000                         Lutz, FL 33558-0000

Stephen Moody dba Dunn Media LLC                 Steven E. Gintowt
2900 East Gadsden Street                         128 Breakwater Road
Pensacola, FL 32503-0000                         Carlsbad, CA 92011-0000

Stephen Roman                                    Steven E. Thompson
434 Schoolhouse Rd                               200 E. Southern Ave., #149
Monroe Twp, NJ 08831-0000                        Tempe, AZ 85282-0000

Stephen T. Brane                                 Steven Eric Rattner
49 Mayfair Road                                  2894 E. Isaiah Ave
Lexington, OH 44904-0000                         Gilbert, AZ 85238-0000

Stephen T. Jones                                 Steven J Van Beckum DBA SVB Media
3550 Cedar Grove Road                            430 Grant Street, Suite 265
Lebanon, TN 37087-0000                           De Pere, WI 54115-0000

Stephen Wilk                                     Steven Lucio
320 11th Street East                             209 Valruth Drive
Apt. #5212                                       Kyle, TX 78640-0000
Bradenton, FL 34208-0000
                                                 Steven Ogg
Stephen Winchester                               200 West 86th Street #140
6020 Paradise Drive                              New York City, NY 10024-0000
Arlington, TX 76001-0000
                                                 Steven P. Alger
Sterling Ranch LLC                               1733 West Superior Street
8155 Piney River Ave                             Unit 2
Suite 200                                        Chicago, IL 60622-0000
Littleton, CO 80125-0000
                                                 Steven Procknal
Stetts Model Management, Inc                     762 Elmwood Avenue
433 Broadway 602                                 Apt. 2
New York, NY 10013-0000                          Buffalo, NY 14222-0000

Steve Gustafson dba Experience Based Lea         Steven R Fox
3634 Laura Lane                                  4780 Twp Road 132
Rockford, IL 61114-0000                          Cardington, OH 43315-0000




                                           - 238 -
             Case 20-10036-CSS   Doc 42-1     Filed 02/12/20   Page 240 of 268



Steven R Justman                                 Street Teams USA
54 Banksville Road                               2537 Walnut Drive
Armonk, NY 10504-0000                            Delaware Water Gap, PA    18327-0000

STEVEN ROADWAY                                   Stress Less Moving
563 HENRY STREET                                 115 Manhattan Ave, #3
BROOKLYN, NY 11231-0000                          New York, NY 10025-0000

Steven Schaefer Associates, Inc dba Scha         Strider Security LLC
10411 Medallion Drive                            779 E 300 N
Suite 121                                        Provo, UT 84606-0000
Cincinnati, OH 45241-0000
                                                 Strike Force Protective Services, Inc
Steven Sean Paxon                                51 Progress Street
PO Box 164                                       Union, NJ 07083-0000
Gypsom, CO 81637-0000
                                                 Structural Innovations Engineering and C
Steven's Perfect Painting                        PO Box 596
555 Ovington Avenue                              Harrisburg, NC 28075-0000
Brooklyn, NY 11209-0000
                                                 Strudel and More LLC
Steve's ATV Service, Inc                         950 Pamela Circle
1586 Railroad Street                             Ormond Beach, FL 32176-0000
Oceano, CA 93445-0000
                                                 Student Veterans of America
Stewart Burns                                    1012 14th St NW
PO Box 321                                       Suite 1200
Smithville, TX   78957-0000                      Washington, DC 20005-0000

Stickman Sound, Inc.                             Suffolk County Community College
2700 E. Patrick Lane #5                          533 College Road
Las Vegas, NV 89120-0000                         Selden, NY 11784-0000

Storm Events LLC                                 Sulpher Springs YMCA
500 Diamond Drive                                8412 N 13th Street
Lake Elsinore, CA   92530-0000                   Tampa, FL 33604-0000

Storm-OV                                         Summerlin Lacrosse
PO Box 278                                       c/o Todd Taylor
Beatty, NV   89003-0000                          6988 Hayter Drive
                                                 Lakeland, FL 33813-0000
Stosh Messengers
West 20th Street                                 Summerville Security Inc.
11th Floor Suite 1101                            PO Box 476
New York, NY 10011-0000                          Westfield, NY 14787-0000

Stout Risius Ross, Inc.                          Summit Ice
4000 Town Center                                 PO Box 968
20th Floor                                       Greenfield, MA    01302-0000
Southfield, MI 48075-0000
                                                 Summit Ice Company
Streat Hoerner                                   PO Box 2133
810 10th Avenue Place                            Dillon, CO 80435-0000
Coralville, IA 55241-0000
                                                 Summit Tree & Landscaping
Street Smart Rental                              46 Heath Lane
7526 4th Avenue                                  Pocono Summit, PA 18346-0000
Lino Lakes, MN 55014-0000



                                           - 239 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 241 of 268



Sun Press Printing                               Susan Garunay Emanuel-Lawrence
1721 West Valley HWY                             1891 Jim Keene Blvd
North Suite 4                                    Winter Haven, FL 33880-0000
Auburn, WA 98001-0000
                                                 Susan Hahn
Sun Publishing LLC                               221 Franklin Street
11 South Main Street                             4L
Alfred, NY 14709-0000                            Brooklyn, NY 11222-0000

Sunbelt Rentals, INC                             Susan Hollaway
2341 Deerfield Drive                             709 W. 100 South
Fort Mili, SC 29715-0000                         Hebron, IL 46341-0000

Sunscape Builders, INC                           Susan Vittner
15818 U.S. Hwy 301                               100 Deerfield Road
Dade City, FL 33523-0000                         #1
                                                 Portland, ME 04101-0000
Sunset Canyon, LLC
9521 Morton Davis Drive                          Susan Williams & Associates LLC
Patterson, CA 95363-0000                         552 Parkside Court
                                                 Allentown, PA 18104-0000
Sunset Ridge Golf Club LLC
771 Cumberland St.                               Susana V. Prieto
Westbrook, ME 04092-0000                         2574 33rd Street
                                                 Apt 6H
Sunshine Tents & Event Rentals                   Astoria, NY 11102-0000
2322 S.W. 58th Terrace
West Park, FL 33023-0000                         Suzi Chun-Turley
                                                 1 HORIZON ROAD #404
Sunstate Equipment Co, LLC                       FORT LEE, NY 07024-0000
5552 E Washington
Pheonix, AZ 85034-0000                           SV Hotel LLC
                                                 PO Box 6985
SUNY College of Technology at Alfred             130 Wood Road
10 Upper College Drive                           Snowmass Village, CO    81615-0000
Alfred, NY 14802-0000
                                                 Swanson Services LLC
SUNY Farmingdale dba Farmingdale State C         501 E Franklin Street
2350 Broadhollow Road                            Suite 310
Farmingdale, NY 11735-0000                       Richmond, VA 23219-0000

Superior Express, Inc                            SweatWorks, LLC
210 West Third Street                            1530 Clarendon Blvd
Waterloo, IL 62298-0000                          Unit PH01
                                                 Arlington, VA 22209-0000
Superior Plus Energy Services, Inc
1870 Winton Road South                           Sweet Water Sound Inc.
Suite 200                                        5501 US Highway 30 W
Rochester, NY 14618-0000                         Fort Wayne, IN 46818-0000

Surefoot Group LLC                               Swiss Select Advisors LLC
1135 Barton Hills Drive                          590 Madison Avenue
Unit 319                                         35th Floor
Austin, TX 78704-0000                            New York, NY 10022-0000

Survey Supply Inc
7 Marshall Street
Milford, DE 19963-0000



                                           - 240 -
            Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 242 of 268



Switchblade Entertainment LLC                  Sysco Memphis
200 Varick Street                              4359 BF Goodrich Blvd
Suite 501                                      Memphis, TN 38118-0000
New York, NY 10014-0000
                                               Sysco Metro New York, LLC
Switi, Inc. dba Hello Vera                     20 Theodore Conrad Dr.
81 Cobb Road                                   Jersey City, NJ 07305-0000
Mountain Lakes, NJ 07046-0000
                                               SYSCO Minnesota
Symphonic Source dba Cloudingo                 2400 County Road J
4004 Betline Road                              Moundsview, MN 55112-0000
Sutie 120
Addison, TX 75001-0000                         Sysco of Central California
                                               P.O. Box 729
Sysco Atlanta                                  Modesto, CA 95353-0729
2225 Riverdale Rd.
College Park, GA 30349-0000                    Sysco Riverside, Inc.
                                               15750 Meridian Parkway
SYSCO Central Texas, Inc.                      Riverside, CA 92518-0000
1260 Schwab Road
New Braunfels, TX 78132-0000                   Sysco Seattle, Inc.
                                               PO Box 97054
Sysco Cleveland, Inc                           22820 54th Avenue South
4747 Grayton Road                              Kent, WA 98064-9754
Cleveland, OH 44135-0000
                                               Sysco South Florida
Sysco Columbia LLC                             PO Box 64000-A
PO Box 9224                                    Miami, FL 33164-0000
Columbia, SC 29290-0000
                                               Sysco Virginia, LLC
Sysco Eastern Wisconsin, LLC                   5081 South Valley Pike
One Sysco Drive                                PO Box 20020
Jackson, WI 53037-9226                         Harrisonburg, VA 22801-0000

SYSCO Food Sevices of San Diego, Inc.          Sysco, West Coast Florida
PO Box 509101                                  Debby Minnier
San Diego, CA 92150-0000                       3000 69th Street East
                                               Palmetto, FL 34221-0000
Sysco FS of Sacramento, Inc.
PO Box 138007                                  T & M Associates
Sacramento, CA 95813-0000                      11 Tindall Road
                                               Middletown, NJ 07748-0000
Sysco Intermountain
9494 S. Prosperity Road                        T & M Hardware & Rental, Inc
West Jordan, UT 84081-0000                     4 Fountain Ave
                                               Ellwood City, PA 16117-0000
Sysco Jacksonville
1501 Lewis Industrial Drive                    T&G Industries, Inc dba TGI Office Autom
PO Box 37045                                   120 Third Street
Jacksonville, FL 32236-0000                    Brooklyn, NY 11231-0000

Sysco Las Vegas, Inc.                          T&M Hardware & Rental
6201 E. Centennial Pkwy                        4 Fountain Ave
Las Vegas, NV 89115-0000                       Ellwood City, PA 16117-0000

SYSCO Los Angeles Inc.                         T&T Produce
20701 East Currier Road                        PO Box 5756
Walnut, CA 91789-0000                          Fort Oglethorpe, GA    30742-0000



                                        - 241 -
            Case 20-10036-CSS   Doc 42-1      Filed 02/12/20   Page 243 of 268



Tableau Software, Inc.                           Tanner Honan
837 N. 34th Street, Suite 200                    3897 Boston Road
Seattle, WA 98103-0000                           Lexington, KY 40514-0000

TableauHelp.com                                  Tarifiq, LLC dba Naranga, LLC
1802 Morning Quail Dr.                           980 Hammond Dr
Austin, TX 78758-0000                            Ste 900A
                                                 Atlanta, GA 30328-0000
Tactical Security LLC dba Signal 88 Illn
114 S Genesee Street                             TattooFun Inc
Suite 504                                        2205 Faraday Ave
Waukegan, IL 60085-0000                          Suite B
                                                 Carlsbad, CA 92008-0000
Tahoe Staff LLC
PO Box 642                                       Taylor Clark
Truckee, CA 96160-0000                           5574 Lundy Whitacre Rd
                                                 Morrow, OH 45152-0000
Tahoe Truckee Sierra Disposal
PO Box 6479                                      Taylor Dutch
Tahoe City, CA 96145-0000                        2502 E 6th Street
                                                 Austin, TX 78702-0000
Talayna Fortunato
6046 Hollow Drive                                Taylor English Duma LLP
Naples, FL 34112-0000                            1600 Parkwood Circle
                                                 Suite 400
Talbot Construction Inc.                         Atlanta, GA 30339-0000
5000 Research Court
Suite 750                                        Taylor Hodson
Suwanee, GA 30024-0000                           133 West 19th Street, 2nd floor
                                                 New York, NY 10011-0000
TAMIMENT GOLF LLC
125 TAMIMENT ROAD                                Taylor Kenny
TAMIMENT, PA 18371-0000                          185 Pulaski Street
                                                 Apt 3
Tamme, Inc. dba Signature Party Rentals          Brooklyn, NY 11206-0000
3100 South Susan Street
Santa Ana, CA 92704-0000                         Taylor Made Repairs
                                                 E13613 Grace Street
Tampa Sports Authority                           Merrimac, WI 53561-0000
4201 N Dale Mabry Highway
Tampa, FL 33607-0000                             Taylor Oil Company
                                                 77 Second Street
Tampa YMCA Sulpher Springs                       PO Box 974
Community Initiatives, Sulpher springs           Sommerville, NJ 08876-0000
110 E. Oak Ave
Tampa, FL 33602-0000                             Taylor-Made Printing
                                                 217 West Stewart
Tampa YMCA Synchro Team                          Puyallap, WA 98371-0000
3207 S. Manhattan Avenue
Tampa, FL 33629-0000                             Team Jennifer Inc
                                                 4303 Whitsett Ave
Tanielle Luepkes                                 Unit 4
232 Coneflower Place                             Studio City, CA 91604-0000
Fort Mills, SC 29708-0000
                                                 Team Marketing USA
Tannenbaum Helpern Syracuse & Hirschtrit         721 Broadway, Ste. 120
900 Third Avenue                                 Kingston, NY 12401-0000
New York, NY 10022-4775



                                           - 242 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 244 of 268



Team Retail Solutions                            Tents for Rent LLC
675 North Main Street, #407                      110 Wood Corner Road
Winston Salem, NC 27101-0000                     Lititz, PA 17543-0000

Team Rubicon                                     Teresa Dorman
300 N. Continental Blvd                          12710 SW 43rd Drive
Suite 150                                        Miami, FL 33175-0000
El Segundo, CA 90245-0000
                                                 Terra Aventures, Inc.
Teamwork Online LLC                              3968 North Xavier Road
22550 McCauley Road                              Attica, IN 47918-0000
Shaker Heights, OH 44122-0000
                                                 Terra Excavation and Construction LLC
Technical Associates                             213 Pheasant Trail
12276 San Jose Blvd                              Bastrop, TX 78602-0000
Suite 427
Jacksonville, FL 32223-0000                      Terrence Thames
                                                 14401 Little Eagle Court
TechniCom Audio and Visual Inc.                  Elgin, TX 78621-0000
Lis Flynn
6891 Horseshoe Road                              Terry L McIntyre
Orefield, PA 18069-0000                          1254 W Westwood Drive
                                                 Adrian, MI 49221-0000
Technique Fitness, Inc. dba Club OS
1735 Market Street                               Terry L. Fryman
Unit A477                                        1658 Chrissie Lane
Philadelphia, PA 19103-0000                      Maysville, KY 41056-0000

Ted Metellus                                     Tessa Newstadt
5000 Wood Bine Ave                               230 West Alamar #3
#215                                             Santa Barbara, CA 93105-0000
Philadelphia, PA 19131-0000
                                                 Texas Comptroller of Public Accounts
TeleSearch, Inc. dba TeleSearch Staffing         PO Box 13528
251 US Highway 206                               Austin, TX 78711-3528
Flanders, NJ 07836-0000
                                                 Texas Produce Co. Inc
Temeka Advertising Inc. DBA Temeka Group         3186 Produce Row
9073 Pulsar Court "B"                            Houston, TX 77023-0000
Corona, CA 92883-0000
                                                 TFI Resources
Temple University School of Tourism and          P.O. Box 4346
1805 N. Broad St,                                Dept. 517
1108 Wachmann Hall                               Houston, TX 77210-4346
Philadelphia, PA 19122-0000
                                                 TGIF Event Services
Temp-Power, Inc.                                 100 Corporate Drive
12269 Livingston Road                            Holtsville, NY 11742-0000
Manassas, VA 20109-0000
                                                 Thai U Up
Ten Twenty-Six LLC dba Whole Sum Kitchen         3516 169th Avenue NE
824 West 50th Street                             Bellevue, WA 98008-0000
Minneapolis, MN 55419-0000
                                                 Thatcher Engineering, Inc.
Tennessee Department of Revenue                  3055 Old Highway 8, Suite 103
500 Dearderick Street                            Minneapolis, MN 55418-0000
Andrew Jackson State Office Building
Nashville, TN 37242-0000



                                           - 243 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 245 of 268



The All Occasions Group, Inc dba All Occ         The Eastern Progress
10629 Reading Road                               511 Lancaster Ave.
Cincinnati, OH 45241-0000                        Combd Buliding 326
                                                 Richmond, KY 40475-0000
The Ashland County Agricultural Society
2042 Claremont Ave                               The Epi-Center
Ashland, OH 44805-0000                           41 Avalon Road
                                                 Hewlett, NY 11557-0000
The Associated Press
450 West 33rd Street                             The Feed Station
New York, NY 10001-0000                          9120 Highway 290
                                                 W Austin, TX 78736-0000
The Barrington Group, Ltd
One Barrington Place                             The Franchising Consulting Company, Inc.
2300 N Haskell Avenue                            12601 Old Cutler Road
Dallas, TX 75204-0000                            Coral Gables, FL 33156-0000

The Battlegrounds, Ltd                           The FruitGuys, LLC
2451 Schuetz Road                                405 VICTORY AVENUE, UNIT D
Maryland Heights, MO 63043-0000                  SOUTH SAN FRANCISCO, CA 94080-0000

The Boulder Field, LLC                           The Goodman Venegas Insurance Agency, In
PO Box 967                                       2800 Livernois
Healdsburg, CA 95448-0000                        Suite 170
                                                 Troy, MI 48083-0000
The Buffet
3131 Las Vegas Blvd S                            The Gulf Breeze News, Inc
Las Vegas, NV 89109-0000                         913 Gulf Breeze Pkwy
                                                 Unit 35
The City of Frederick                            Gulf Breeze, FL 32561-0000
140 West Patrick Street
Frederick, MD 21701-0000                         The Highlands Sportsmen's Club and Kenne
                                                 N3041 West County Road A
The Conference Group LLC                         Cascade, WI 53011-0000
254 Chapman Road
Suite 200, Topkis Bldg                           The Holden Corporation dba Mr John, Trib
Newark, DE 19702-0000                            1220 McKee Street
                                                 McKee Rocks, PA 15136-0000
The Conspiracy, LLC
119 8th Street Suite #307                        The Ice Wagon
Brooklyn, NY 11215-0000                          PO Box 6010
                                                 Phoenix, AZ 85005-0000
The Corporation Trust Company
Corporation Trust Center                         The Lighting & Sound Company LLC
1209 Orange Street                               Office
Wilmington, DE 19801-0000                        1535 West Avenue
                                                 Richmond, VA 23220-0000
The Denver Post LLC
101 W. Colfax Ave                                The Long Island Rail Road
Denver, CO 80202-0000                            146-01 Archer Ave
                                                 Jamaica, NY 11435-0000
The Dumbo Loft
155 Water Street                                 The Louisville Cardinal
Brooklyn, NY 11201-0000                          Houchens Building- Suite LL07
                                                 University Of Louisville
                                                 Louisville, KY 40292-0000




                                           - 244 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 246 of 268



The Maine State Society for the Protecti         The Rental Depot, INC.
279 River Road                                   4271 Produce Road
PO Box 10                                        Louisville, KY 40218-0000
South Windham, ME 04082-0010
                                                 The Ski Barn
The Max Cure Foundation, Inc.                    45 Beech Grove Road
560 Sylvan Ave                                   Roseland, VA 22867-0000
Suite 1225
Englewood Cliffs, NJ 07632-0000                  The Slate Group, LLC
                                                 c/o Kaplan, Inc.
The Mergis Group                                 750 Third Avenue 7th Floor
PO Box 100153                                    Attn: VP of Real Estate
Atlanta, GA 30384-0153                           New York, NY 10017-0000

The Mobile Locker                                The Standard Life Insurance Company of N
175 Derby Street                                 360 Hamilton Avenue
Suite 38                                         White Plains, NY 10601-0000
Hingham, MA 02043-0000
                                                 The Strand Theater Initiative
The Montpetit Group LLC                          119 North Main Street
1868 County Road 1 / PO Box 12                   Zeilenople, PA 16063-0000
Somerset, WI 54025-0000
                                                 the Sweatshop dba Gryco Sportswear
The NYU Wasserman Center for Career Deve         1545 Third Avenue
133 E. 13th Street - 2nd Floor                   Walnut Creek, CA 94597-0000
New York, NY 10003-0000
                                                 The Sweet Julia Grace Foundation
The Ohio State University                        9000 Mike Garcia Drive
Office of Student Engagement                     #140
1760 University Drive                            Manassas, VA 20109-0000
Mansfield, OH 44906-0000
                                                 The Tiberti Company
The Oklahoma Publishing Company dba The          4975 Rogers street
PO Box 25125                                     Las Vegas, NV 89118-0000
Oklahoma City, OK 73125-0000
                                                 The Tuttle Agency
The Pidcock Company                              P.O. Box 912388
2451 Parkwood Drive                              Denver, CO 80291-0000
Allentown, PA 18103-9608
                                                 The Ultimate Software Group, Inc
The Plains Redevelopment Corp dba Antioc         1485 North Park Drive
PO Box 301                                       Weston, FL 33326-0000
Broad Run, VA 20137-0000
                                                 The University of Findlay
The Pop Offs - Larry Lehnertz                    1000 N main Street
2334 N. 185th Street                             Findlay, OH 45840-0000
Shoreline, WA 98133-0000
                                                 The University of West Florida
The Print House                                  11000 University Parkway
538 Johnson Avenue                               Pensacola, FL 32514-0000
Brooklyn, NY 11237-0000
                                                 The UPS Store - Dominion Valley
The Redeemed Outreach Center                     5501 Merchants View Square
130 Garrett Street                               Haymarket, VA 20169-0000
Harriman, TN 37748-0000




                                           - 245 -
               Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 247 of 268



The Vanella Group of MN, LLC                     Thomas Glenn DeVaul
16526 West 78th Street                           72084 South Sharon Rd.
Unit #268                                        Bridgeport, OH 43912-0000
Eden Prairie, MN 55346-0000
                                                 Thomas Joseph Stellato Jr.
The Village Market                               PO Box 13397
34295 US Highway 6                               Arlington, TX 76094-0000
Edwards, CO 81632-0000
                                                 Thomas Keenan
the Waterman Inc.                                3055 N. Red Mt. Rd.
11122 W Rogers St.                               #211
Milwaukee, WI 53227-0000                         Mesa, AZ 85207-0000

The Waterman, Inc                                Thomas McPhail
11122 West Rogers Street                         1011 Hidden View Court
Milwaukee, WI 53227-0000                         Burleston, TX 76028-0000

The Welcoming Committee                          Thomas Mumme
538 Green Street                                 730 Campina Ave
Unit 2                                           Palm Bay, FL 32909-0000
Cambridge, MA 02139-0000
                                                 Thomas Olesnevich
The Wharton School                               3 Sheridan Square
Lockbox #9726                                    Apartment 6B
PO Box 8500                                      New York, NY 10014-0000
Philadelphia, PA 19178-0000
                                                 Thomas Protective Service, Inc.
Theatrical Concepts, Inc                         8475 County Road 156
3030 Triunfo Canyon Road                         PO Box 883
Agoura, CA 91301-0000                            Kaufman, TX 75142-0883

Theodosia Ware                                   Thomas Ribnicky
3869 Tignall Rd                                  130 Malabar Road
Washington, GA 30673-0000                        Palm Bay, FL 32907-0000

Theresa Edwards                                  Thomas Sneeringer
20907 6th Street                                 4056 State Route 546
Ct. E                                            Lexington, OH 44904-0000
Lake Tapps, WA 98391-0000
                                                 Thomas Stephen Galloway
Think-Cell                                       402 E Main St
845 3rd Ave                                      Attica, IN 47918-0000
6th floor
New York, NY    10022-0000                       Thompson International Speedway LLC
                                                 PO Box 278
Thomas C. Bailey                                 205 East Thompson Road
391 Bellewood Dr                                 Thompson, CT 06277-0000
Washington, GA 30673-0000
                                                 Thomson Reuters
Thomas Cole Giovannetti                          P.O. Box 6292
3528 Aurora Circle                               Carol Stream, IL    60197-0000
Memphis, TN 38111-0000
                                                 Thornton Tomasetti, Inc.
Thomas Gimler                                    Lockbox #1187
8512 Tuscany Avenue                              P.O. Box 8500
222                                              Philadelphia, PA 19178-0000
Playa Del Rey, CA 90293-0000




                                          - 246 -
            Case 20-10036-CSS       Doc 42-1   Filed 02/12/20   Page 248 of 268



Those Guys                                        Timothy Chirdo
6602 Wrenfield Drive                              6401 Del Rio ST
Huntington Beach, CA   92647-0000                 Apartment 1812
                                                  Houston, TX 77021-0000
Three Rivers Colleges Student Ambassador
2080 Three Rivers Blvd                            Timothy D. Mitchell
Poplar Bluff, MO 63901-0000                       4021 Hwy 10
                                                  Maysville, KY 41056-0000
Three Ships Media
111 East Hargett St.                              Timothy Horvath - South Amherst PD
Raleigh, NC 27601-0000                            103 West Main Street
                                                  South Amherst, OH 44001-0000
Tiana Murray
351 Howard Ave                                    Timothy J Ybarra
Apt. 24                                           1041 E Hunt Street
Brooklyn, NY 11233-0000                           Adrian, MI 49221-0000

Tienchiev Ma                                      Timothy Ray Hurlocker
3625 Glendon Ave                                  212 Brackenberry Circle
Apt 106                                           Mt. Pleasant, NC 28124-0000
Los Angeles, CA 90034-0000
                                                  Timothy William Lancaster
Tillmac, Inc. dba Premier Party Rentals           1626 Sun Gazer Drive
553 West Brannen Road                             Rockledge, FL 32955-0000
Lakeland, FL 33813-0000
                                                  Tiona LLC dba Antonio, Antoinette's, Amo
tilton-Northfield Fire District dba Tilt          18 West Mill Street
12 Center Stree                                   Plymouth, WI 53073-0000
Tilton, NH 03276-0000
                                                  Tipton Staffing
Tim Cooke                                         340 Legion Drive
18524 NE 20th Place                               Suite 10
Redmond, WA 98052-0000                            Lexington, KY 40504-0000

Tim Newhart                                       Tiriona LLC dba Antonio's, Antoinette's,
RT 1 Box 1 Wegee Lane                             18 West Mill Street
Shadyside, OH 43947-0000                          Plymouth, WI 53073-0000

Time Out America, LLC dba Time Out New Y          Titan Outdoor Holdings, Inc dba Titan Ou
475 Tenth Avenue                                  100 Park Avenue
12th Floor                                        Suite 610
New York, NY 10018-0000                           New York, NY 10017-0000

Time Warner Cable                                 TLINE TV, Inc.
PO Box 11820                                      1365 York Avenue
Newark, NJ 07101-0000                             Suite 23G
                                                  New York, NY 10021-0000
Timothy A Rodriguez
5755 E MiltonRoad                                 TM Communications
Milton, FL 32572-0000                             1133 Fowlkes St.
                                                  Sealy, TX 77474-0000
Timothy Brent Pyle Jr
1735 N Old State Road                             TNT Security Solutions, LLC
Delaware, OH 43015-0000                           17943 Saddle Creek Drive
                                                  College Station, TX 77845-0000




                                           - 247 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 249 of 268



Todd Hite                                        Tooele County Sheriff's Department - Tra
33001 Curtis Blvd                                1570 N. Candellaria Drive
Apt B                                            Tooele, UT 84074-0000
Eastlake, OH 44095-0000
                                                 Tool Time
Todd Michael McIntyre                            1320 North Milford Road, PO Box 47
1881 Sand Creek Hwy                              Highland, MI 48357-0000
Adrian, MI 49221-0000
                                                 Toole County Sheriff's Department - Herm
TOLLESBORO LIONS CLUB                            576 South Park Hill Drive
P O BOX 123                                      Tooele, UT 84074-0000
TOLLESBORO, KY 41189-0000
                                                 Top Hat Party Rentals LLC
Tom Bell DeVenger                                1345 W 4th St BLDG C
137 Ray Ave                                      RENO, NV 89503-0000
Crawfordville, GA   30631-0000
                                                 Top Shelf Services Inc dba Top Shelf Man
Tom Gullickson Trucking                          6436 N Business Park Loop
3474 State Road 73                               Unit C
PO Box 426                                       Park City, UT 84098-0000
Deerfield, WI 53531-0000
                                                 Toreon Pierre Foster Jr.
Tom Maceri and Son, Inc.                         1891 Jim Keene Blvd
23000 W. industrial Drive                        Winter Haven, FL 33880-0000
Suite A
St. Clair Shores, MI 48080-0000                  Total Administrative Service Corporation
                                                 2302 International Lane
Toma Pittman                                     Madison, WI 53704-0000
732 Santa Elena
Kingsville, TX 78363-0000                        Total Events and More LLC - DBA T.E.A.M.
                                                 1826 W. 4th Street
Tomcat USA, Inc                                  Tempe, AZ 85281-0000
5427 North National Drive
Knoxville, TN 37914-0000                         Total Media Productions, Inc
                                                 489 Washington Ave
Toni M. Strickland                               Calstadt, NJ 07072-0000
450 Broadway Avenue
Barton, FL 33830-0000                            Total Rentals, Inc. DBA Preferred Party
                                                 1651 Sicklerville Road
Tony Leach                                       Sicklerville, NJ 08081-0000
84 Prescott St., Apt 21
Cambridge, MA 02138-0000                         Touchstorm. LLC
                                                 9011 Abroretum Parkway
Tony's Water Service                             Suite 210
295 Sycamore Street                              Richmond, VA 23236-0000
Homer, GA 30547-0000
                                                 Tough Mudder Bootcamp Burlington
Tooele County Sheriff's Department               34 Cambridge St
47 South Main Street                             Burlinton, MA 01803-0000
Tooele, UT 84074-0000
                                                 Tough Mudder Offices
Tooele County Sheriff's Department - Ron         15 Metrotech Center
1783 E. Pinecanyon Road                          7th & 8th Floor
Tooele, UT 84074-0000                            Brooklyn, NY 11201-3856

Tooele County Sheriff's Department - Spe         Toum LLC
395 Antelope Avenue                              246 Seaview Avenue
Tooele, UT 84074-0000                            Staten Island, NY 10305-0000



                                           - 248 -
            Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 250 of 268



Towel Trading Group                             Town of Windham
20507 Belshaw Ave                               8 School Road
Carson, CA 90746-0000                           Windham, ME 04062-0000

Town of Burlington                              Towne Park, Ltd.
29 Center Street                                One Park Place
Burlington, MA 01803-0000                       Suite 200
                                                Annapolis, MD 21401-0000
Town of Canterbury
10 Hackleboro Road                              Township of Aberdeen
PO Box 500                                      1 Aberdeen Square
Canterbury, NH 03224-0000                       Aberdeen, NJ 07747-0000

Town of Charlton                                Tractor Supply Company
37 Main Street                                  200 Powell Place
Charlton, MA 01507-0000                         Brentwood, TN 37027-0000

Town of Epping                                  Tracy Soos-Walker DBA Nurture Yoga & Mas
157 Main Street                                 912 North Madison Street
Epping, NH 03042-0000                           Woodstock, IL 60098-0000

Town of Gilford, NH                             Trademarc Associates
47 Cherry Valley Road                           Gary Brewer
Golford, NH 03249-0000                          880 Cara Court
                                                Bangor, PA 18013-6146
Town of Loudon
PO Boc 7837                                     Trademarc Associates Inc.
29 S. Village Rd.                               880 Cara Court
Loudon, NH 03307-0000                           Burlington, MA 01803-0000

Town of Mitchell                                Trades Labor Auburn, LLC dba Trades Labo
W 8095 Parnell Road,                            216 Auburn Way South
Cascade, WI 53011-0000                          Auburn, WA 98002-0000

Town of Mount Pleasant                          Traffic Control Services, LLC
PO Box 787                                      8170 Adams Drive
Mount Pleasant, NC 28124-0000                   Hummelstown, PA 17036-0000

Town of Saint Joseph                            Traffic Managmemt, Inc.
1337 County Road V                              2435 Lemon Avenue
Hudson, WI 54016-0000                           Signal Hill, CA 90755-0000

Town of Saugerties                              Trafficade Service, Inc.
4 High Street                                   2533 W. Holly Street
Saugerties, NY 12477-0000                       Phoenix, AZ 85009-0000

Town of Snowmass Village                        Trafic Services, Inc.
PO Box 5010                                     425 Miles Parkway
Snowmass Village, CO 81615-0000                 Bartlett, IL 60103-0000

Town of Sturbridge Police Dept.                 Traliant, LLC
346 Main Street                                 1600 Rosecrans Avenue
Sturbridge, MA 01566-0000                       4th Floor
                                                Manhattan Beach, CA 90266-0000
Town of Truckee
10183 Truckee Airport Road                      TransAmerica
Truckee, CA 96161-0000                          4333 Edgwood Road, NE
                                                Cedar Rapids, IA 52499-0000



                                         - 249 -
            Case 20-10036-CSS   Doc 42-1    Filed 02/12/20   Page 251 of 268



Transcell Technology, Inc                      Trevor Cichosz
975 Deerfield Pkwy                             3802 NW 121st st
Buffalo Grove, IL 60089-0000                   Vancouver, WA 98685-0000

Transfix, Inc.                                 Trevor Clark dba Trevor Clark Photograph
111 West 19th Street                           14817 Alder Creek Road
6th Floor                                      Truckee, CA 96161-0000
New York, NY 10011-0000
                                               Trevor R. Bobb
Transistics                                    3030 Cortina Drive
PO Box 53485                                   Colorado Springs, CO    80918-0000
Cincinnati, OH   45253-0000
                                               Trey Davis
Transportation Design Consultation LLC         301 S. El Paso Street
166 Moccasin Canyon                            Colorado Springs, CO 80903-0000
Cedar Creek, TX 78612-0000
                                               Tri For the Sky! Adventures INC
Trans-Pro Logistic INC                         PO BOX 641
1320 Route 9 (Suite 3500)                      Ojai, CA 93024-0000
Champlain, NY 12919-0000
                                               Tri Kappa
Traube Tent Company, Inc.                      358 State Rd W
510 DD Road                                    Williamsport, IN    47993-0000
Columbia, IL 62236-0000
                                               Triad Consulting Group LLC
Travelers Insurance                            520 W 19th Street
PO Box 660347                                  5C
Dallas, TX 75266-0000                          New York, NY 10011-0000

Travis Jagroo                                  Tribune Publishing Company, LLC dba LA T
1621 Union Street                              435 N Michigan Ave
Apt 1E                                         Chicago, IL 60611-0000
Brooklyn, NY 11213-0000
                                               Tricia Gordon
Travis Patrick McGhee                          445 Middleboro Ave
4231 Sebring Ct. SW                            PO Box 514
Concord, NC 28025-0000                         East Taunton, MA 02718-0000

TRC Staffing Services, Inc.                    Triggit INC.
115 Perimeter Center Place NE                  1535 Mission Street, 2nd floor
South Terraces - Suite 850                     San Francisco, CA 94103-0000
Atlanta, GA 30346-1249
                                               Tri-Med Ambulance, LLC
Treasurer of Frederick County                  PO Box 3733
12 East Church Street, Winchester Hall         Seattle, WA 98124-0000
Frederick, MD 21701-0000
                                               Trimont Land Company
Treasurer of Virginia                          PO BOX 129
P.O. Box 7621                                  Truckee, CA 96160-0000
Merrifield, VA 22116-7621
                                               Triple B Corp. dba Charlie's Produce, Ro
Tremor Video Inc.                              4103 Second Avenue South
PO Box 83290                                   Seattle, WA 98134-0000
Woburn, MA 01813-0000
                                               Triple B Corporation dba Charlie's Produ
Trevin Tuovinen                                4103 2nd Avenue South
1768 Hermes Street                             Seattle, WA 98134-0000
San Diego, CA 92154-0000



                                         - 250 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 252 of 268



Triple R Ranch, L.P.                             Truckee Fire Protection District
1017 E. Highway 175                              10049 Donner Pass Rd
Crandall, TX 75114-0000                          Post Office Box 2768
                                                 Truckee, CA 96160-0000
Trippin On Sunrise
1950 Willowood Drive North                       Truckee-Donner Recreation and Park Distr
Ontario, CA 44906-0000                           Cathy Riley
                                                 8924 Donner Pass Road
Tristan Schwartz                                 Truckee, CA 96161-0000
89 Angela Ave
San Anselmo, CA 94960-0000                       True The Magazine, Inc.
                                                 504 Grand Street
Tri-State Golf Carts                             Unit E62
469 US Highway 206                               New York, NY 10002-0000
Branchville, NJ 07826-0000
                                                 Trukee Copy Center
Tri-State Iron Works Inc                         11429 Donner Pass Rd
24 Industrial Park Drive                         Truckee, CA 96161-0000
Concord, NH 03301-0000
                                                 Trustee of Columbia University in the Ci
Tristen Crow                                     615 West 131st Street
310 Fieldcrest Drive                             3rd Floor
Algonquin, IL 60102-0000                         New York, NY 10027-0000

Triumph Display Group                            Trusten Morrow
19 West 34th Street, Suite 602                   938 Caligula Ave
New York, NY 10001-0000                          Palm Bay, FL 32909-0000

Troop Swap, Inc (aka Troop ID)                   TSE Promotions & Staffing
Accounts Receivable                              4850 Golden Parkway Suite B-433
7927 Jones Branch Dr                             Buford, GA 30518-0000
Suite 3350
McLean, VA 22102-0000                            T-Shirt Express
                                                 209 W. 80th Street
Troy A. Noice                                    New York, NY 10024-0000
265 Kerners Circle
Wheeling, WV 26003-0000                          Tssm
                                                 250 West 39th Street
Troy Associates                                  9th floor
295 Madison Ave 14th floor                       New York, NY 10018-0000
New York, NY 10017-0000
                                                 TSV SOUND & VISION
Troy Medina                                      TOWER SOUND & VISION
3505 Ashley Street                               6637 MANCHESTER AVE
Arlington, TX 76016-0000                         ST.LOUIS, MO 63139-0000

Troy Tidwell                                     TTP, Inc
9038 Phyllis Avenue                              0326 Hwy 133
West Hollywood, CA 90069-0000                    Ste 20
                                                 Carbondale, CO    81623-0000
Troys Boys Inc dba Better Days Sports Ba
3564 County Road 12                              Tulip Enterprises Inc dba T1O Events & P
Andover, NY 14806-0000                           2655 Camino Del Rio N Ste 410
                                                 San Diego, CA 92108-0000
Truckee Copy Center, The
11429 Donner Pass Road Ste. 10                   Turk, Daniel
Truckee, CA 96161-0000                           33 Mayfair Square
                                                 Danbury, CT 06810-0000



                                           - 251 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 253 of 268



Turnkey Operations                               Tyler S. Bertles
4018 Caven Road                                  1006 Fernshire Drive
Austin, TX 78744-0000                            Centerville, OH 45459-0000

Twenty Recruitment Group                         Tyler Veerman
370 Lexington Avenue                             5283 Gocf Course Drive
26th Floor                                       Morrison, CO 80465-0000
New York, NY 10017-0000
                                                 Tylor Tarantino
Twitter, Inc                                     3625 Dorshire Court
1355 Market Street                               Pasadena, MD 21122-0000
Suite 900
San Francisco, CA 94103-0000                     Tyrone J. Rucker Jr. dba Uninhibited Amb
                                                 3808 Spring Lake Place
Two Fat Men Catering, Inc                        Glen Allen, VA 23060-0000
1331 West Main Street
Lebanon, TN 37087-0000                           U.S. Coachways
                                                 100 St. Mary's Avenue
Two Kings Concessions, LLC dba Two Kings         Suite 2B
2601 Torquay Loop                                Staten Island, NY 10305-0000
North Chesterfield, VA 23236-0000
                                                 U.S. Department of Commerce
Two Limbs LLC                                    Swiss Safe Harbor Programs
PO Box 1970                                      ATTN: David Ritchie
Alabaster, AL   35007-0000                       1401 Constitution Avenue NW Room 20007
                                                 Washington, DC 20230-0000
Two Stars Liberty
1620 Valwood Pkway, STE-115                      U.S. Department of the Interior, BLM.
Carrollton, TX 75006-0000                        PO Box 911
                                                 1553 South Main Street
Tyler Citro                                      Tonopah, NV 89049-0000
PO Box 2247
Running Springs, CA   92382-0000                 U.S. Mechanical
                                                 412 8th Avenue
Tyler Danielson                                  New York, NY 10001-0000
240 Elmira Trl
Hopatcong, NJ 07843-0000                         U.S. Trustee
                                                 Office of the United States Trustee
Tyler Fooks                                      J. Caleb Boggs Federal Building
1125 Fairlawn Drive                              844 King St., Suite 2207 Lockbox 35
Rockledge, FL 32955-0000                         Wilmington, DE 19801-0000

Tyler Hoopaugh                                   Ultimate Fun Production, Inc.
1726 Eastover Street                             3315 Forest Road
Mt. Pleasant, NC 28124-0000                      Harrison, MI 48625-0000

Tyler James Spidle                               Ultimate Internet Access, Inc
8680 D'Iberville Drive West                      3633 Inland Empire Blvd
Mobile, AL 36695-0000                            Suite 890
                                                 Ontario, CA 91764-0000
Tyler McCredie
124 Highland Ave                                 Under Armour, INC
New Freedom, PA 17349-0000                       PO Box 791022
                                                 Baltimore, MD 21279-0000
Tyler Nash
1503 Irene Drive
Boulder City, NV   89005-0000




                                           - 252 -
            Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 254 of 268



UNiDAYS, Inc.                                   University of Southern California dba Da
276 Fifth Avenue                                University Gardens
9th Floor, Suite 711                            Suite 205
New York, NY 10001-0000                         Los Angeles, CA 90089-0000

United Beverages of North Carolina, LLC         University Tees Inc.
105 9th Street, NW                              13000 Athens Ave. Suite 210
Hickory, NC 28601-0000                          Lakewood, OH 44107-0000

United Distributors, Inc.                       UNLV Women's Lacrosse
5500 United Drive                               4505 S. Maryland Parkway
Smyrna, GA 30082-0000                           Box 2012
                                                Las Vegas, NV 89154-2012
United Healthcare
Dept. CH 10151                                  Unruh Management and Consulting dba Oreg
Palatine, IL 60055-0000                         2713 19th Street SE
                                                Salem, OR 97302-0000
United Metro Golf Business Management
PO Box 339                                      Uplift, LLC
Brandywine, MD 20613-0000                       24 West 23rd Street
                                                New York, NY 10011-0000
United Party Rental Inc.
7232 Stockton Blvd.                             UPS
Sacramento, CA 95823-0000                       P.O. Box 7247-0244
                                                Philadelphia, PA 19170-0001
United Petroleum t/a Northeast Propane
558 Remsen Road                                 UPS Supply Chain Solutions, INC
Philadelphia, PA 19115-0000                     28013 Network Place
                                                Chicago, IL 60673-0000
United Protective Services, LP
6500 Greenville Avenue                          Urban Park Concessionaires
Suite 525                                       2150 Main Street
Dallas, TX 75206-0000                           Suite 5
                                                Red Bluff, CA 96080-0000
United Rentals Northwest
Five Greenwich Office Park                      Urban Sherpa Inc.
Greenwich, CT 06831-0000                        2 Jason Court
                                                Jackson, NJ 08527-0000
United States Treasury
PO Box 37007                                    US Foods Inc.
Hartford, CT 06176-0000                         PO Box 99021
                                                Chicago, IL 60693-0000
United Way of Butler County Inc
184 Pittsburgh Road                             US Raceworks LLC
Butler, PA 16001-0000                           Chargeback Department
                                                9030 Stony Point Parkway, Suite 450
Universal Contracting and Construction,         Richmond, VA 23235-0000
9075 Ellis Road
West Melbourne, FL 32904-0000                   US Security Associates Inc,
                                                200 Mansell Court
Universal Foam Products, LLC                    5th Floor
16 Stenersen Lane                               Roswell, GA 30076-4852
Suite 4B
Hunt Valley, MD 21030-0000                      US Security Care, Inc.
                                                David Rubenstein
University Emergency Medical Services           725 Skippack Pike
462 Grider Street                               Suite 200
Buffalo, NY 14215-0000                          Blue Bell, PA 19422-0000



                                          - 253 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 255 of 268



USA Dumpster Rentals, LLC                        Valuation Research Corporation
3147 NW North River Drive                        500 Fifth Avenue
Miami, FL 33142-0000                             39th Floor
                                                 New York, NY 10112-0000
Usbilla Inc.
228 E. 45th Street                               Van Tran
Suite 9E                                         4330 Crystal Bay
New York, NY 10017-0000                          San Antonio, TX 78259-0000

USDA Forest Service                              Vanderpool Masonry
PO Box 301550                                    2540 Lake Minsi Drive
Los Angeles, CA 90030-0000                       Bangor, PA 18013-0000

Usimprints, LLC                                  Vanessa Anthes DBA Anthes Enterprises
1724A General George Patton Drive                111 Willow Lane
Brentwood, TN 37027-0000                         Carbondale, CO 81623-0000

Utah County Government                           Vanessa Checchio
100 E. Center Street                             40 Columbia Terrace
Suite 3600                                       Apt 3
Provo, UT 84606-0000                             Weehawken, NJ 07086-0000

Utopia Lands Partnership, LLLP                   Vanessa Hamalian
11708 Fruitville Road                            PO Box 15901
Sarasota, FL 34240-0000                          Sarasota, FL 34277-0000

U-Turn Inc dba U-Turn Sports Performance         Vanessa Lea
2101 Maywill Street                              1133 Stone Brook Lane
Richmond, VA 23230-0000                          Bremen, GA 30110-0000

V.I.P. Valet Services, Inc.                      Vanguard Health Systems
PO Box 6014                                      611 Route 46W
Elgin, IL 60121-0000                             Hasbrouck Heights, NJ 07604-0000

Vail Associates, Inc.                            Vanity Project LLC
390 Interlocken Cresent, Suite 1000              875 Avenue of the Americas
Broomfield, CO 80021-0000                        Suite 1700
                                                 New York, NY 10001-0000
VAIL LAKE RESORT
38000 Temecula Pkwy                              VAR Resources LLC
Temecula, CA 92592-0000                          2330 Interstate 30
                                                 Mesquite, TX 75150-0000
Valley Builders
William Wall                                     VariDirect Solutions
775 Furnace St                                   39 Washington Avenue
Emmaus, PA 18049-0000                            Pleasantville, NY 10570-0000

Valley Builders, LLC                             Varnell LLC
775 Furnace Street                               700 Plant Lady Lane
Emmaus, PA 18049-0000                            Dripping Springs, TX    78620-0000

Valley Dumpster & Disposal Service Inc d         Velocity Print Solutions
577 Bristol Cove                                 199 Park Road Extension
Tooele, UT 84074-0000                            Middlebury, CT 06762-0000

                                                 Velocity Sports & Entertainment LLC dba
                                                 230 East Ave
                                                 Norwalk, CT 06855-0000



                                           - 254 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 256 of 268



Venable LLP                                      Vic Ice Company
750 E. Pratt Street                              PO Box 110
Suite 900                                        Yoakum, TX 77995-0000
Baltimore, MD 21202-0000
                                                 Vicky Morris
Venture Crew 182                                 906 Eastwood Court
PO Box 673                                       Sugar Land, TX 77478-0000
Edna, TX 77957-0000
                                                 Vico Construction
Venturing Crew 409                               136 Roe Street
14907 Kneisel Rd.                                Staten Island, NY    10310-0000
Vermilion, OH 44089-0000
                                                 Victor Alfonso Grimaldos
Venue Creation Resources                         2079 Cranberry Lane
2626 Country Square                              Culpepper, VA 22701-0000
San Antonio, TX 78209-0000
                                                 Victor David Quezada
VER - Video Equipment Rentals MD                 1009 Henry Court
4390 Parliament Place                            Forney, TX 75126-0000
Lanham, MD 20706-0000
                                                 Victoria Bearing & Industrial Supply, In
Verinoca Lee Weaver dbc VMC LLC dba Char         P.O. Box 2112
PO Box 46171                                     Victoria, TX 77902-0000
Seattle, WA 98146-0000
                                                 Victoria Jane Negron Rodriguez
Verizon                                          130 Malabar Road
1095 Avenue of the Americas                      Palm Bay, FL 32907-0000
8th Floor
New York, NY 10036-0000                          Victoria Lynn dba Victoria's Secret Gard
                                                 2890 Sacramento Avenue
Verizon Wireless                                 South Lake Tahoe, CA 96150-0000
PO Box 408
Newark, NJ 07101-0000                            Victoria Valles
                                                 1141 Hancock Street
Vermont Department of Taxes                      Second Floor
PO Box 1779                                      Brooklyn, NY 11221-0000
Montpelier, VT 05601-0000
                                                 Video Equipment Rentals
Vermont Secretary of State                       912 Ruberta Avenue
128 State Street                                 Glendale, CA 91201-0000
Montpelier, VT 05633-0000
                                                 Village of Genoa City
Vernon D. Langham                                715 Walworth Street
127 Nugget Ln                                    Genoa City, WI 53128-0000
Bastrop, TX 78602-0000
                                                 Village of Genoa City - Police Departmen
Veronica Guerrero                                715 Walworth Street
1041 E Hunt Street                               PO Box 428
Adrian, MI 49221-0000                            Genoa City, WI 53128-0000

Veronica tents, LLC dba Freedom Tents            Village of Oxford
2300 Quitman Street                              22 West Burdick Street
Suite 36                                         Oxford, MI 48371-0000
houston, TX 77026-0000
                                                 Village of Richmond
Via Trading Corporation                          5600 Hunter Drive
2520 Industry Way                                Richmond, IL 60071-0000
Lynwood, CA 90262-0000



                                           - 255 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 257 of 268



Village of Seneca                                Viridian Holdings LP
PO Box 27                                        835 E. Lamar Blvd
Seneca, IL 61360-0000                            Suite #254
                                                 Arlington, TX 76011-0000
Village of South Amherst
103 West Main Street                             Virk Food Incorporated
South Amherst, OH 44001-0000                     PO Box 339
                                                 Kings Beach, CA 96143-0000
Village of Spring Grove - Police Departm
7401 Meyer Road                                  Virtual Media
Spring Grove, IL 60081-0000                      6135 Riverview Drive
                                                 Indianapolis, IN 46208-0000
Village of Twin Lakes
108 E Main Street                                Visible Display Corporation
Twin Lakes, WI 53181-0000                        372 South Eagle Road
                                                 Suite 291
Vimeo                                            Eagle, ID 83616-0000
225 APRK Ave. 17th floor
New York, NY 10003-0000                          Visjal Ramsoedh
                                                 11001 Bronson Road
Vincent C. Grosso                                Clermont, FL 34711-0000
161 West 75th Street Suite 14E
New York, NY 10023-0000                          Vitaliy Piltser
                                                 41 East Corwin Avenue
Vincent James Galioto                            Smallwood, NY 12778-0000
722 Geary Street
Palm Bay, FL 32908-0000                          Volunteer Ctr of Gloucester County dba V
                                                 1400 Tanyard Road
Vinny's Towing & Recovery                        Sewell, NJ 08080-0000
6039 Mt. Philip Rd.
Frederick, MD 21703-0000                         Voya Retirement Insurance and Annuity Co
                                                 PO Box 990064
Violet Fivel                                     Hartford, CT 06199-0064
6600 Kilmarnoch Drive
Catonsville, MD 21228-0000                       VVA, LLC
                                                 117 East 31st Street
Virgilio & Associates Ltd                        New York City, NY 10016-0000
24069 North Echo Lake Road
Lake Zurich, IL 60047-0000                       WageWorks, Inc. dba TransitChek
                                                 1100 Park Place
Virginia Kilmer                                  4th Floor
404 Hurst Road                                   San Mateo, CA 94403-0000
Palm Bay, FL 32907-0000
                                                 Wagner Water Polo
Virginia Medical Transport, LLC dba Phys         One Campus Road
PO Box 841439                                    Staten Island, NY    10301-0000
Dallas, TX 75284-1439
                                                 Wagner Women's Lacrosse Team
Virginia State Corporation Commission            One Campus Road
1300 East Main Street                            Staten Island, NY 10301-0000
Tyler Building, 1st Floor
Richmond, VA 23219-0000                          Walker Lindemann
                                                 617 Phyllis Court
Virginia Tent Rental                             Conroe, TX 77303-0000
PO Box 5124
Charlottesville, VA 22905-0000




                                           - 256 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 258 of 268



Wall Enterprises of NY, Inc dba Larry's          Waste Management Inc. of Florida
PO Box 43                                        PO Box 42930
894 State Route 21                               Pheonix, FL 85080-0000
Hornell, NY 14843-0000
                                                 Waste Management of Colorado, Inc
Wallace Electric Company                         PO Box 78251
117 Park West Drive                              Pheonix, AZ 85062-0000
P.O. Box 1512
McDonough, GA 30253-0000                         Waste Management of Tennessee dba Nashvi
                                                 1428 Antioch Pike
Waller Lansden Dortch & Davis, LLP               Antioch, TN 37013-0000
511 Union Street
Suite 2700                                       Waste of Management Arizona Inc.
Nashville, TN 37219-0000                         1001 Fannin
                                                 Suite 4000
Walter Franklin Barringer                        Houston, TX 77055-0000
9880 Foil Road
Mt. Pleasant, NC 28124-0000                      Wastler and Sons
                                                 2640 Sumantown Road
WALTON ISAACSON, LLC                             Middletown, MD 21769-0000
3630 EASTHAM DRIVE
CULVER CITY, CA 90232-0000                       Water Buffalo, Inc.
                                                 21512 South Prairie Road E
Ware Farm, LLC dba Union Hall                    Bonney Lake, WA 98391-0000
168 7th Street
Suite 1A                                         Water's Water Trucks
Brooklyn, NY 11215-0000                          P.O. Box 684
                                                 Truckee, CA 96160-0000
Warren County Ambulance District
604 Fairgrounds Road                             Watty and Meg
Warrenton, MO 63383-0000                         248 Court Street
                                                 Brooklyn, NY 11201-0000
Wasatch Wing & Clay, LLC
18489 Wilson Avenue                              Wavepoint Inc
P.O. Box 289                                     912 Hilldale Avenue
Cedar Valley, UT 84013-0000                      Suite 4
                                                 West Hollywood, CA 90069-0000
Washington County Sheriff's Office
15015 62nd Street N                              Wayne E Johnson
Box 3801                                         PO Box 51
Stillwater, MN 55082-0000                        Milltown, WI 54858-0000

Washington County Wisconsin                      Wayne McMahan
432 E. Washington Street                         6209 78th Street
West Bend, WI 53095-0000                         Lubbock, TX 79424-0000

Washington Fire Department                       WB Mason
212 Court Street                                 59 Centre Street
Washington, GA 30673-0000                        Brockton, MA 02303-0000

Washington Secretary of State                    WE Buy Excess LLC
801 Capitol Way South, PO Box 40234              463 1st Street
Olympia, WA 98504-0000                           Suite 7D
                                                 Hoboken, NJ 07030-0000
Waste Corporation of Missouri, Inc.
24461 Oak Grove Lane                             Web Trends Inc.
Sedalia, MO 65301-0000                           4504 Solutions Center
                                                 Chicago, IL 60677-0000



                                          - 257 -
            Case 20-10036-CSS     Doc 42-1   Filed 02/12/20   Page 259 of 268



Webfolio V LLC dba Picreel                      West Stanislaus County Fire Protection D
507 Casazza Drive                               344 W. Las Palmas Ave
Suite A                                         PO Box 565
Reno, NV 89502-0000                             Patterson, CA 95363-0000

Webnet Security LLC                             West Virginia Secretary of State
Robert Duffy                                    1900 Kanawha Blvd E. Bldg. 1
2762 E. CR 100 N                                Suite 157-K
Danville, IN 46122-0000                         Charleston, WV 25305-0000

Wellpoint Holding Corp.                         West Virginia State Tax Department
120 Monument Circle                             P.O. Box 11425
Indianapolis, IN 46204-0000                     Charleston, WV 25339-0000

Wendy Boyd                                      Westbrook School Dept
3901 Casade Sky Drive                           117 Stroudwater Street
Arlington, TX 76005-0000                        Westbrook, ME 04092-0000

Wenger Corp.                                    Western Adventures Inc
555 Park Drive                                  PO Box 900
Owatonna, MN 55060-0000                         Woody Creek, CO 81656-0000

Werner Enterprises Inc                          Western Diesel Services, Inc. dba CK Pow
14507 Frontier Rd                               1100 Research Blvd
Omaha, NE 68138-0000                            St. Louis, MO 63132-0000

Wesley A Blasberg                               Western Hills Water District
PO Box 6512                                     9521 Morton Davis Dr
141 Club Circle Drive, Apt 413                  Patterson, CA 95363-0000
Snowmass Village, CO 81615-0000
                                                Westgate Resorts Ltd
Wesley Kerr                                     5601 Windhover Drive
45875 Ocotillo Dr                               Orlando, FL 32819-0000
#3
Palm Desert, CA 92260-0000                      Weston & Sampson Engineers, Inc
                                                5 Centennial Drive
Wesley R. Lowe                                  Peabody, MA 01960-0000
6329A Negley
Kyle, TX 78640-0000                             Weston R. LeMay
                                                89 Eaton Road
Wesley T. Welch                                 Pittsfield, NH 03263-0000
31 South Mill Street
Lexington, OH 44904-0000                        Weston Walker
                                                11260 Donner Pass Road #239
Wesleyan University                             Truckee, CA 96161-0000
45 Wyllys Avenue
Middletown, CT 06459-0000                       Weston Whitcomb
                                                6320 E 98th Street
West Coast Audio Visual LLC                     Fisher, IN 46038-0000
80 Coney Island Drive
Sparks, NV 89431-0000                           Westside Dock LLC dba Old Kan Beer and C
                                                95 Linden St
West County Equipment Rentals                   Suite 11
POB 191, 46 Conway ST.                          Oakland, CA 94607-0000
Shelburne Falls, MA 01370-0000




                                         - 258 -
            Case 20-10036-CSS    Doc 42-1   Filed 02/12/20   Page 260 of 268



Westtown-Goshen Rotary Foundation              William David Garland
Robert Thomas, Treasurer                       4223 South 165th Way
116 South High Street                          Gilbert, AZ 85297-0000
West Chester, PA 19382-0000
                                               William Denver akd The Denver Law Firm L
Wheeler County Planning Department             331 Newman Springs Road
PO Box 327                                     Bld 1, 4th Floor, Suite 143
Fossil, OR 97830-0000                          Red Bank, NJ 07701-0000

Wheeler County Sheriffs Department             William Douglas DeBusk
701 Adams St                                   130 Malabar Road
PO Box 345                                     Palm Bay, FL 32907-0000
Fossil, OR 97830-0000
                                               William E. Oakman
Whiting Roll-Offs Inc                          31807 Valley View Drive
4197 W State Street                            Cedar Hill, TX 75104-0000
Edinburgh, PA 16116-0000
                                               William Earl Coggins Jr.
Whitney Hall                                   5113 Old Rome Pike
133 Country Lane                               Lebanon, TN 37087-0000
Hurley, NY 12443-0000
                                               William Eugene Foil
Wild Rompit LLC                                10000 Foil Road
1165 Aster Drive                               Mount Pleasant, NC 28124-0000
Toms River, NJ 08753-0000
                                               William Gill Construction, INC
Wildfire Interactive, Inc.                     42 Meadowbrook Drive
400 White Clay Center Drive                    Grafton, OH 44044-0000
Newark, DE 19711-0000
                                               William Harrison Murphy
Wilkes County Board of Commissioners           12 E 34th Place
23 Court Street room 222                       Steger, IL 60475-0000
Washington, GA 30673-0000
                                               William Hicks
Wilkes County Sheriff's Office                 1155 Camino del Mar
225 Andrew Drive                               Unit 430
Washington, GA 30673-0000                      Del Mar, CA 92014-0000

Will Burghes                                   William Kombol
19 Jones Street                                31407 WA-169
Apt 2                                          Black Diamond, WA    98010-0000
New York, NY 10014-0000
                                               William Luke Anderson
Will Downey                                    194 Crooked Creek Road
89-21 Aubrey Avenue                            Black Mountain, NC 28711-0000
Glendale, NY 11385-0000
                                               William R Blakely
William A. Krimmel                             2077 Chapel Creek Road SW
1832 Lesher Mill Rd                            Concord, NC 28025-0000
PO Box 263
PAlm, PA 18070-0000                            William Scott Hongell
                                               48 Layton Circle
William Brumbach                               Layton, UT 84041-0000
5896 Mastang Ter
Plainfield, IN 46168-0000                      William Stultz - Attica PD
                                               Attica Police Department
                                               200 McDonald Street
                                               Attica, IN 47918-0000



                                        - 259 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 261 of 268



William Thomas                                   Winnebago County Sheriff's Office
400 2nd Ave Apt 13H                              LT. Darin Rice
New York, NY 10010-0000                          4311 Jackson Street
                                                 Oshkosh, WI 54901-0000
William Thomas Land
202 Lovelace Way                                 Winston Farm Limited Partnership
Washington, GA 30627-0000                        1654 Second Avenue
                                                 New York, NY 10028-0000
William Veronese
3481 Edgerton Avenue                             Wintergreen Fire Department
Wantagh, NY 11793-0000                           PO Box 711
                                                 Wintergreen, VA 22958-0000
William W Gilbert Jr
13052 Moorpark Street                            Wintergreen Property Owners Association
Unit #201                                        88 Wintergreen Drive
Studio City, CA 91604-0000                       Wintergreen, VA 22967-0000

William Winters dba Westlake Pictures LL         Wintergreen Resort
131 Carrollwood Drive                            P.O. Box 706
Tarrytown, NY 10591-0000                         Wintergreen, VA 22958-0000

Willie C Byars                                   Wisconsin Department of Revenue
11100 County Road 1042                           PO Box 930208
Montgomery City, MO 63361-0000                   Milwaukee, WI 53293-0000

Wilson Elser Moskowitz Edelman & Dicker          Withholding Services and Compliance
150 East 42nd Street                             PO Box 942867
New York, NY 10017-0000                          Sacramento, CA 94267-0000

Wilson Ranches Retreat, LLC                      Woburn Host Lions Club, Inc.
PO Box 274                                       PO Box 81
Fossil, OR 97830-0000                            Woburn, MA 01801-0000

Wilson Sonsini Goodrich & Rosati                 Wolfsdorf Rosenthal LLP
P.O. Box 742866                                  1416 2nd Street
Los Angeles, CA 90074-0000                       Santa Monica, CA 90401-0000

Wilson Trucking Corporation                      Wolverine Woldwide, Inc
PO Box 200                                       9341 Courtland Dr NE
Fisherville, VA 22939-0000                       Rockford, MI 49351-0000

WinCraft, Incorporated                           Womack Newspapers, Inc dba YES! Weekly &
960 E Mark Street                                PO Box 530
Winona, MN 55987-0000                            Chatham, VA 24531-0000

Windemuller Technical Services                   Women In Sports and Events, Inc
7504 Pennsylvania Ave                            244 Fifth Avenue
Sarasota, FL 34243-0000                          No 2087
                                                 New York, NY 10001-0000
Windham County Agricultural Society Inc
PO Box 410                                       Wonderlic
Brooklyn, CT 06234-0000                          3401 Salterbeck Ct. Suite 201
                                                 Mount Pleasant, SC 29466-0000
Winick Productions LLC
250 West 103 Street                              Wondersauce LLC
Apt 4C                                           45 West 25th Street
New York, NY 10025-0000                          Sixth Floor
                                                 New York, NY 10010-0000



                                           - 260 -
            Case 20-10036-CSS    Doc 42-1     Filed 02/12/20   Page 262 of 268



Woodbolt Distribution LLC dba Nutra Life         Wright Celebrations, Inc dba Celebration
3891 S. Traditions Drive                         8845 Washington Blvd
Bryan, TX 77807-0000                             Suite 140
                                                 Roseville, CA 95678-0000
Workers Compensation Fund
PO Box 26488                                     Wright City Athletic Boosters
Salt Lake City, UT 84126-0000                    PO Box 1
                                                 Wright City, MO 63390-0000
World Class Distributors LLC
91 Motherlode Drive                              WW BUILDING SUPPLY Inc.
Leadville, CO 80461-0000                         PO Box 299
                                                 Newfane, VT 05345-0000
World Cup Supply, Inc.
3 Ely Road                                       www.logmein.com
Suite 1                                          500 unicorn park drive
Fairlee, VT 05045-0000                           Woburn, MA 01801-0000

World International LLC                          Wyatt Rose
9521 Morton Davis Drive                          4555 West Side Street
Patterson, CA 95363-0000                         Shelby, OH 44875-0000

World Trans Services, INC                        Wynn Business Center
7130 Miramar Rd. Suite 100A                      3131 Las Vegas Blvd S
San Diego, CA 92121-0000                         Las Vegas, NV 89109-0000

WOROBEY TRANSPORT INCORPORATED                   Wynn Las Vegas Hotel
539 SHEHAWKEN ROAD                               3131 Las Vegas Blvd S
P O OX 72                                        Las Vegas, NV 89109-0000
PRESTEN PARK, PA 18455-0000
                                                 Wyvern Budram
Worth Township, Butler County                    3966 Brookside Parkway
815 West Park Road                               Decatur, GA 30034-0000
Slippery Rock, PA 16057-0000
                                                 Xact Acquisition, LLC dba Xact Telesolut
Wortham Volunteer Fire Department                255 Primera Boulevard
PO Box 592                                       Suite 160B
Wortham, TX 76693-0000                           Lake Mary, FL 32746-0000

Worthman Police Department Reserve               Xavier William Niz
104 West Concho Street                           86-10 34th Avenue
PO Box 186                                       Apt #313
Wortham, TX 76693-0000                           Jackson Heights, NY    11372-0000

Wounded Warrior Project                          Xpert Trade Show Carpet, LLC
4899 Belfort Road Suite 300                      430 W. Wrightwood Ave
Jacksonville, FL 32256-0000                      Elmhurst, IL 60126-0000

Wowzer, Inc.                                     XTRA Lease
111 W. Evelyn Ave., Suite 202                    PO Box 99262
Sunnyvale, CA 94086-0000                         Chicago, IL 60693-0000

Wright Beverage Dist. dba Wright Wisner          Xtraining Equipment
3 Wright Ave                                     4266 Eldridge Loop
PO Box 10                                        Orange Park, FL 32073-0000
LeRoy, NY 14482-0000
                                                 XTraining Inc. dba Again Faster Equipmen
                                                 4266 Eldrige Loop
                                                 Orange Park, FL 32073-0000



                                           - 261 -
            Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 263 of 268



Yahoo! Inc.                                   Zachary O'Neal
701 First Avenue                              6202 S. Course View
Sunnyvale, CA 94089-0000                      Franklin, TN 37067-0000

Yancarlo Torres                               Zachary S. Rubino
2455 Buck Street                              1728 Sigel St
Bronx, NY 10461-0000                          Philadelphia, PA 19145-0000

Yancy Culp                                    Zachary Sumner
1504 Hunter Ace Way                           626 S. Meldrum Street
Cedar Park, TX 78613-0000                     Fort Collins, CO 80521-0000

Yaw B Sarpong                                 Zachery Warren Camden
1501 East Burnsville Parkway                  105 Kula Court
Apt 506                                       Unit #13
Burnsvilee, MN 55337-0000                     Bastrop, TX 78602-0000

Yelp Inc.                                     Zack Delaune
140 New Montgomery Street                     1010 President Street
9th Floor                                     Apt 2K
San Francisco, CA 94105-0000                  Brooklyn, NY 11225-0000

Yoga & Fine Arts Center LLC                   Zanker Road Resources Mgmt, Ltd dba Zank
92 US Highway 9 North                         1500 Berger Drive
Englishtown, NJ 07726-0000                    San Jose, CA 95112-0000

Yoke Group LLC                                Zendesk, Inc
81 Prospect Street                            989 Market Street
Brooklyn, NY 11201-0000                       Suite 300
                                              San Fransisco, CA    94103-0000
Young, Donald
9 Paisley Drive                               Zero Waste Event Productions, LLC
Edinburgh EH8 7NQ                             9030 Hocking Hills Drive
UNITED KINGDOM                                The Plains, OH 45780-0000

Yue Ou                                        Zeus Enterprise Inc. dba Yieldify
211 Lenora Street                             33 Irving Place
Apt #504                                      New York, NY 10003-0000
Seattle, WA 98121-0000
                                              Ziegler Inc
Yvetta McCall                                 SDS 12-0436
8157 Stonelink Road                           Minneapolis, MN    55486-0000
Maysville, KY 41056-0000
                                              Zing Rental LLC
Zach Bartholomay                              76C Wagon Yard Plaza
5301 Jon Dodson Drive                         Carrollton, GA 30117-0000
Agoura Hills, CA 91301-0000
                                              Zmetra Clear Span Structures, LLC
Zachariah Price                               2 Old Worcester Road
1 Gold Mine Rd                                PO Box 218
Flanders, NJ 07836-0000                       Webster, MA 01570-0000

Zacharias Cassidy LLC dba Urban Sub           Zoe Chazen
15805 Highwood Drive                          745 Fifth Avenue
Minnetonka, MN 55345-0000                     Sixth Floor
                                              New York, NY 10151-0000




                                       - 262 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 264 of 268



Zoe Marie Szczepanek                             McGuinness, James
205 Anacapa Drive                                1666 8th Avenue
Camarillo, CA 93010-0000                         Suite 5
                                                 Brooklyn, NY 11215-0000
Zoom Media Corp.
345 Seventh Avenue                               Losey, Connor
Suite 1501                                       25 Skillman Ave
New York, NY 10001-0000                          3C
                                                 Brooklyn, NY 11211-0000
Zoro Tools Inc dba Zoro
909 Asbury Drive                                 Little, John
Buffalo Grove, IL 60089-0000                     9 Maiden Lane
                                                 Port Jervis, NY    12771-0000
Zters Waste Value
11803 Grant Road                                 Larbey, Claire
Suite 115                                        156 Sackett Street
Cypress, TX 77429-0000                           Apt 5a
                                                 Brooklyn, NY 11231-0000
Zuar, Inc.
504 Long Bow Lane                                Landers, Sydney M.
Unit B                                           1052 Dean Street
Austin, TX 78704-0000                            Apt 4B
                                                 Brooklyn, NY 11216-0000
Zuffa Parent, LLC dba Zuffa, LLC
6650 S. Torrey Pines Drive                       Komorowski, Sara
Las Vegas, NV 89118-0000                         22-07 19th Street
                                                 Apt 34
Uva, Christina                                   Astoria, NY 11105-0000
169 Rogers Ave
Apt 3A                                           Katz, Aaron J.
Brooklyn, NY 11216-0000                          594 Franklin Avenue #3
                                                 Brooklyn, NY 11238-0000
Sers, Evert
995 Bergen St                                    Hoffman, Brian P.
Apt 2                                            80 Downing Street
Brooklyn, NY 11216-0000                          Apt 3
                                                 Brooklyn, NY 11238-0000
Quinn, Brendan
428 Hart Street #2F                              Harsley, Kurt A.
Brooklyn, NY 11221-0000                          120 Highland Ave
                                                 Boonton, NJ 07005-0000
Poock, Rachel L.
594 Franklin Ave                                 Hagberg, Aron
Apt 3                                            443 Harman St
Brooklyn, NY 11238-0000                          Apartment 1
                                                 Brooklyn, NY 11237-0000
Parke, Daniel
199 Pacific Street                               Cooper, Anne K.
Apt 5A                                           8690 Jenner Lane South
Brooklyn, NY 11201-0000                          Cottage Grove, MN 55016-0000

Monette, Allen J.                                Chernick, Molly
1914 E Franklin Street                           849 W Buckingham Pl Unit F
Apt 213                                          Chicago, IL 60657-0000
Richmond, VA 23223-0000
                                                 Brazina, Scott C.
                                                 68 Country Squire Way
                                                 Branchburg, NJ 08876-0000



                                          - 263 -
            Case 20-10036-CSS    Doc 42-1    Filed 02/12/20   Page 265 of 268



Arias, Irene C.                                 The Magnum Companies Ltd
305 Avenue W                                    205 Armour Drive NE
Brooklyn, NY 11223-0000                         Atlanta, GA 30324-0000

Whitten Management Inc                          The Home City Ice CO.
PO Box 2239                                     PO Box 111116
Dallas, GA 30132-0000                           Cincinnati, OH 45211-0000

Water Monster                                   TexPlex, LLC
172 Trademark Drive                             4413 Carey Street
Buda, TX 78610-0000                             Ft. Worth, TX 76119-0000

Volume Services, Inc                            Speedway Motorsports, Inc.
dba Centerplate                                 dba Sonoma Raceway
1 Independence Point                            Highways 37 & 121
Suite 305                                       Sonoma, CA 95476-0000
Greenville, SC 29615-0000
                                                Sierra Sanitation Services
Valley Builders, LLC                            P.O. Box 1447
775 Furnace Street                              Buckeye, AZ 85326-0000
PO Box 189
Emmaus, PA 18049-0000                           SEM Events, LLC
                                                dba Classic Tents & Events
Universal Packaging                             6380 Best Friend Road
16 Stenersen Lane                               Norcross, GA 30071-0000
Hunt Valley, MD 21030-0000
                                                Security Unlimited Inc
United Site National Services Company           30009 Judson Lane
200 Friberg Parkway suite 400                   Dagsboro, DE 19939-0000
Westborough, MA 01581-0000
                                                Robert Morris University
United Rentals (North America),Inc.             6001 University Blvd
Five Greenwich Office Park                      Moon Township, PA 15108-0000
Greenwich, CT 06831-0000
                                                Ridge Youth Sports Assoc.
Uline                                           dba Four Corners Football Club
2200 S. Lakeside Drive                          PO Box 137185
Waukegan, IL 60085-0000                         Clermont, FL 34713-0000

Trinity Timing & Consulting                     Raceway Park
1450 East 83rd Street                           230 Pension Road
Indianapolis, IN 46240-0000                     Englishtown, NJ 07726-0000

Transportation Management Services Inc.         PUAC, Inc.
17810 Meeting House Road                        dba Pull Up A Chair Event Rentals
Sandy Spring, MD 20860-0000                     1523 N. 3rd Ave
                                                Upland, CA 91786-0000
Trademarc Associates, Inc.
880 Cara Court                                  Promise686, Inc.
Bangor, PA 18013-0000                           19 Holcomb Bridge Road
                                                Norcross, GA 30071-0000
Total Property, Inc.
9960 S. Ranch Road                              Prince William County
Highlands Ranch, CO 80126-0000                  1 County Complex Court
                                                Prince William, VA 22192-0000
The Vail Corporation
P O Box 731939
Dallas, TX 75373-0000



                                          - 264 -
              Case 20-10036-CSS   Doc 42-1   Filed 02/12/20   Page 266 of 268



Poke2Go, LLC                                    Matthew Greenstein
650 S. Spring Street                            1530 Pennsylvania Ave North
Unit 715                                        Golden Valley, MN 55427-0000
Los Angeles, CA 90014-0000
                                                Mark Sullins dba AM Pressure Washing
Pete McAfee dba Aloha Acai Bowls SD             32841 Alderbrook Road
1758 Kenwood Place                              Wildomar, CA 92595-0000
San Marcos, CA 92078-0000
                                                Maria Rangel
Per Mar Security& Research Co.                  11827 Stagg Street
dba Per Mar Security Services                   North Hollywood, CA    91605-0000
1910 E. Kimberly Road
Davenport, IA 52807-0000                        Majer Printing LLC
                                                1580 Carroll Street
PeopleReady Inc.                                Brooklyn, NY 11213-0000
1015 A Street
Tacoma, WA 98402-0000                           LVC Transport, LLC
                                                PO Box 6944
PASADENA - American Medical Response            Monroe, NJ 08831-0000
Ambulance Service, Inc.
P.O. Box 31001-1584                             Loomis Armored US, LLC
Pasadena, CA 91110-1584                         2500 Citywest Blvd
                                                STE 900
Paramedics Unlimited, LLC                       Houston, TX 77042-9000
103 W. Windsor Avenue
Phoenix, AZ 85003-0000                          Lock Ridge Engineering, LLC
                                                160 Main Street
Palmer Coking Coal Company LLP                  Emmaus, PA 18049-0000
31407 Highway 169
PO Box 10                                       Liquidated LLC dba Base Camp Bar and Gri
Black Diamond, WA 98010-0000                    73 Wood Road
                                                Suite 1100
P.F. Chang's China Bistro                       Snowmass Village, CO 81615-0000
8377 East Hartford Srive
Suite 200                                       Levy Premium Foodservice, LP
Scottsdale, AZ 85255-0000                       dba Levy Restaurants
                                                980 North Michigan Ave. 1315
Northwest Staffing Resources, Inc.              Chicago, IL 60611-0000
851 SW Sixth Avenue
Suite 300                                       Laney C Racing, LLC dba Nola Motor Club,
Portland, OR 97204-0000                         11075 Nicolle Blvd
                                                Avondale, LA 70094-0000
Neal Farms Inc
2564 Ben Brun Road                              Landers Drafting, Inc.
Lebanon, TN 37087-0000                          dba Cook Sign Services
                                                105 North Garfield Avenue
Nationwide Logistics, LLC                       Marquette, MI 49855-0000
P.O. Box 53485
Cincinnati, OH 45253-0000                       Koenig Sand & Gravel LLC
                                                30555 Southfield Road
Myers Landscaping, Inc.                         Suite#200
58 Spring Creek Road                            Southfield, MI 48076-0000
Rockford, IL 61114-0000
                                                Knight Shield Sercurity, LLC
Midlothian   Event Center, LLC                  PO Box 13163
dba Blaine   Stone Lodge                        Sacramento, CA 95813-0000
4413 Carey   Street
Ft. Worth,   TX 76119-0000



                                         - 265 -
            Case 20-10036-CSS      Doc 42-1   Filed 02/12/20   Page 267 of 268



Kingscote                                        Grand Central Party Rental
PO Box 72170                                     812 Madison Industrial Road
Cleveland, OH   44192-0000                       Madison, TN 37115-0000

King County Fire District #44                    Golden State Concessions & Catering Inc.
32316 148th Avene SE                             500 Diamond Drive
Auburn, WA 98092-0000                            Lake Elsinore, CA 92530-0000

King County dba Seattle King                     Gaia, LLC
County Dept. of Public Health                    dba Chattahoochee Hills Eventing
401 5th Ave. Ste. 1300                           PO Box 4449
Seattle, WA 98104-0000                           Dalton, GA 30719-0000

KD Kanopy                                        FedEx Freight Inc
1921 E. 68th Ave                                 2200 Forward Drive
Denver, CO 80229-0000                            Harrison, AR 72601-0000

JS Enterprise & Event Rental LLC                 Falck Northern California Corp
dba East Coast Event Rental                      1517 West Braden Court
412 Blomfield Drive                              Orange, CA 92868-0000
Berlin, NJ 08091-0000
                                                 Executive Cleaning Services, LLC
Insane Impact, LLC                               460 New York Abenue
4673 121st Street                                Hungtington, NY 11743-0000
Urbandale, IA 50323-0000
                                                 Event Medic NY Inc.
Humane Animal Rescue                             901 North Broadway
6926 Hamilton Avenue                             North Massapequa, NY    11758-0000
Pittsburgh, PA 15208-0000
                                                 Emiia Almonace dba Lulu's Roasted Corn
Hone-Tech Industries                             2042 S. Bell School Road
dba Premiere Events                              Cherry Valley, IL 61016-0000
11939 Manchaca
Austin, TX 78748-0000                            Dream Event Planning
                                                 70 Milburn Ave
Herc Rentals Inc                                 Baldwin, NY 11510-0000
fka Hertz Equipment Rental Corporation
27500 Riverview Center                           Dover Gourmet Corporation
Bonita Springs, FL 34134-0000                    dba The Dover Group
                                                 27 Saint Johns Place
Henry Ford College Foundation                    Freeport, NY 11520-0000
5101 Evergreen Road
Dearborn, MI 48128-0000                          DC Rentals Radio
                                                 5 Whitmore Road
Guardian Security Management Inc.                Revere, MA 02151-0000
2839 Church Street
Atlanta, GA 30344-0000                           David Watkins Homes, INC
                                                 659 Wexford Drive
Great American Ventures Inc.                     Lafyette, IN 47905-0000
dba Seivers Concessions
141 Amsterdam Road                               Dang Brother, LLC dba Dang Brother Pizza
Grove City, PA 16127-0000                        4826 Biona Drive
                                                 San Diego, CA 92116-0000
Grassmats USA, LLC
PO Box 51099                                     D+D Events Inc.
Powdersville, SC 29673-0000                      PO Box 100295
                                                 Nashville, TN 37224-0000




                                          - 266 -
            Case 20-10036-CSS     Doc 42-1    Filed 02/12/20   Page 268 of 268



CT Corporation                                   Assist Marketing, Inc.
PO Box 4349                                      W149N7503 Sylcan Lane
Carol Stream, IL   60197-0000                    Menomonee Falls, WI 53051-0000

CSW/Stuber-Stroeh Engineering Group, Inc         Aspen Camp Spices LLC
45 Leveroni Court                                4862 Snowmass Creek Road
Novato, CA 94949-0000                            Snowmass, CO 81654-0000

Creative Communications                          Araco Enterprise LLC
3332 East Broadway Road                          dba Athen Environmental Services
Phoenix, AZ 85040-0000                           PO Box 760
                                                 Sun Valley, CA 91353-0000
CP Holding LLC
dba Classic Party Rentals                        American Medical Student Association
901 W Hillcrest Blvd                             Pre-Medical Chapter
Inglewood, CA 90301-0000                         4505 S. Maryland Pkwy
                                                 Student Union, Room 316
County of Sacramento                             Las Vegas, NV 89074-9900
700 H Street
Suite 3650                                       Alanic International Corporation
Sacramento, CA 95814-0000                        19 W 34th Street
                                                 Suite 1018
Collins Building Services, Inc.                  New York, NY 10001-0000
Court Square Place
24001 44th Road                                  Addison Township
Long Island City, NY 11101-0000                  1440 Rochester Rd
                                                 Leonard, MI 48367-0000
Clear Selections Group Inc.
dba Liberty Waste Management
2498 S. Tejon Street                             13505601
Englewood, CO 80110-0000

CitySide Archives LLC
PO Box 21736
New York, NY 10087-1736

City of Rockford
425 East State Street
Rockford, IL 61104-0000

Charleston, Kelly & Associates LLC
150 E. Swedesford Road
Wayne, PA 19087-0000

California Rampworks, INC
273 North Benson Avenue
Upland, CA 91786-0000

Bear Ice Co., LLC
2201 N. Lakewood Blvd
Suite D244
Long Beach, CA 90815-0000

Baja Produce
1886 Newton Avenue
San Diego, CA 92113-0000




                                           - 267 -
